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SENIOR SECURED SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT AGREEMENT

                                           dated as of

                                      November [●], 2019,


                                             among

                                   DEAN FOODS COMPANY,
          as Borrower and debtor-in-possession under Chapter 11 of the Bankruptcy Code,

                                    the Lenders Party Hereto,

                                              and

                     COÖPERATIEVE RABOBANK U.A., NEW YORK BRANCH,
                            as Administrative Agent and Issuing Bank


                     COÖPERATIEVE RABOBANK U.A., NEW YORK BRANCH,
                               as Lead Arranger and Bookrunner




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        SENIOR SECURED SUPERPRIORITY DEBTOR-IN-POSSESSION CREDIT
AGREEMENT (as amended, amended and restated, supplemented or otherwise modified from
time to time in accordance with the terms hereof, this “Agreement”) dated as of November [●],
2019, is by and among DEAN FOODS COMPANY, a Delaware corporation and a debtor and
debtor-in-possession under chapter 11 of the Bankruptcy Code (the “Borrower”), the Lenders party
hereto, and COÖPERATIEVE RABOBANK U.A., NEW YORK BRANCH, as Administrative
Agent and Issuing Bank.

       WHEREAS, on November [●], 2019 (the “Petition Date”), the Borrower and certain of the
Borrower’s subsidiaries (collectively, the “Debtors” and each individually, a “Debtor”) each
commenced cases (collectively, the “Bankruptcy Cases” and each individually, a “Bankruptcy
Case”) under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the
Southern District of Texas, Houston Division (the “Bankruptcy Court”);

       WHEREAS, the Debtors continue to operate their businesses and manage their properties
as debtors and debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
Code;

        WHEREAS, prior to the Petition Date, certain financial institutions provided financing to
the Borrower, certain of the other Loan Parties and their respective subsidiaries pursuant to (i) that
certain Credit Agreement, dated as of February 22, 2019 (as amended, amended and restated,
supplemented or otherwise modified from time to time through the Petition Date, the “Pre-Petition
Credit Agreement”) by and among the Borrower, the lenders from time to time party thereto (the
“Pre-Petition Lenders”) and Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), as
administrative agent for the Pre-Petition Lenders (in such capacity, the “Pre-Petition
Administrative Agent”) and (ii) that certain Eighth Amended and Restated Receivables Purchase
Agreement, dated as of February 22, 2019 (as amended, amended and restated, supplemented or
otherwise modified from time to time through the Petition Date, the “Pre-Petition Receivables
Purchase Agreement”) by and among Dairy Group Receivables, L.P. and Dairy Group Receivables
II, L.P., as sellers, the financial institutions from time to time party thereto as purchasers, PNC
Bank, National Association, as co-agent and issuing bank, Rabobank, as agent for the purchasers
and the other parties thereto;

        WHEREAS, the Borrower has requested that the Lenders and the Issuing Banks make
available to the Loan Parties for the purposes specified in this Agreement a senior secured,
superpriority debtor-in-possession facility in an aggregate principal amount of $425,000,000,
pursuant to which (i) the Lenders and the Issuing Banks will provide a “new money” revolving
credit facility in a maximum principal amount of $236,200,000.00, which may be drawn by way
of cash advances or, subject to a sublimit, in the form of letters of credit, and (ii) on the Final Order
Date (as defined below), all of the outstanding loans under the Pre-Petition Credit Agreement (the
“Pre-Petition Revolving Loans”) will be, on a dollar-for-dollar basis, refinanced, and deemed
repaid by (and converted into) term loans hereunder;

          WHEREAS, the Lenders and the Issuing Banks are willing to provide such financing only
if (a) all of the Obligations under the Loan Documents, and all other obligations of the Loan Parties
(whether as borrower or guarantors) owing to the Administrative Agent and the Lenders (i)
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     constitute allowed superpriority administrative expense claims pursuant to section 364(c)(1) of the
     Bankruptcy Code in the Bankruptcy Cases with priority over any and all other administrative
     expense claims of the kind specified or ordered pursuant to any provision of the Bankruptcy Code;
     provided that the superpriority administrative expense status of the Obligations shall be subject
     only to the Carve-Out and certain claims in connection with the Permitted Receivables Financing,
     and (ii) are secured by senior Liens on Collateral in which the Loan Parties have an interest
     (including pledges of Equity Interests), in each case pursuant to the Collateral Documents and/or
     as provided in the Orders, and (b) on or before the Effective Date, (i) the Pre-Petition Receivables
     Purchase Agreement is amended and restated by the parties thereto on terms acceptable to the
     Lenders and the Issuing Bank and (ii) the Bankruptcy Court enters an order approving the
     continuation postpetition of the Permitted Receivables Financing;

             WHEREAS, the Borrower’s and the other Loan Parties’ business is a mutual and collective
     enterprise and the Borrower and the other Loan Parties believe that the loans and other financial
     accommodations provided to the Borrower under this Agreement will enhance the aggregate
     borrowing powers of the Borrower and facilitate the administration of the Bankruptcy Cases and
     their loan relationship with the Administrative Agent and the Lenders, all to the mutual advantage
     of the Borrower and the other Loan Parties;

            WHEREAS, the Borrower acknowledges that it and the other Loan Parties will receive
     substantial direct and indirect benefits by reason of the making of loans and other financial
     accommodations to the Borrower as provided in this Agreement; and

             WHEREAS, the Administrative Agent’s, the Lenders’ and the Issuing Banks’ willingness
     to extend financial accommodations to the Borrower as more fully set forth in this Agreement and
     the other Loan Documents is done solely as an accommodation to the Borrower and the other Loan
     Parties and at the Borrower’s and the other Loan Parties’ request and in furtherance of the
     Borrower’s and the other Loan Parties’ mutual and collective enterprise.

            NOW, THEREFORE, in consideration of the premises and the covenants and agreements
     contained herein, the parties hereto hereby agree as follows:

                                                ARTICLE I

                                                 Definitions

              SECTION 1.01.       Defined Terms. As used in this Agreement, the following terms
have the meanings specified below:

                     “ABR”, when used in reference to any Loan or Borrowing, refers to whether such
     Loan, or the Loans comprising such Borrowing, are bearing interest at a rate determined by
     reference to the Alternate Base Rate.

                    “Acceptable Plan” means any chapter 11 plan for each of the Bankruptcy Cases,
     (a) the provisions of which are in form and substance reasonably satisfactory to the Required
     Lenders or (b) which provides (i) for the Full Satisfaction of the Secured Obligations upon
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confirmation or effectiveness of such plan and (ii) market standard exculpations, indemnities and
releases in favor of the Administrative Agent, the Lenders, the Issuing Bank, the other Holders of
Secured Obligations, and their respective related parties in such capacities (as reasonably
determined by the Required Lenders).

               “Actual Capital Expenditures Amount” means the sum of all Capital Expenditures
made by the Borrower and its Restricted Subsidiaries during the relevant period of determination
which corresponds to the Capital Expenditures identified in the Agreed Capital Expenditures
Budget, as determined in a manner consistent with the Agreed Capital Expenditures Budget.

               “Actual Operating Cash Receipts” means all cash or other collections received by
the Borrower and its Restricted Subsidiaries from operations which correspond to the cash and
other collections identified by the line item under the heading “Operating Cash Receipts” in the
Agreed Budget, as determined in a manner consistent with the Agreed Budget.

                “Actual Operating Disbursements Amount” means the sum of all disbursements,
expenses and payments made by the Borrower and its Restricted Subsidiaries during the relevant
period of determination which corresponds to the disbursements, expenses and payments identified
on a line-by-line basis described under the heading “Total Operating Disbursements” in the Agreed
Budget, as determined in a manner consistent with the Agreed Budget.

               “Adjusted LIBO Rate” means, with respect to any LIBOR Borrowing for any
Interest Period, an interest rate per annum equal to (a) the LIBO Rate for such Interest Period
multiplied by (b) the Statutory Reserve Rate.

               “Administrative Agent” means Rabobank, in its capacity as administrative agent
for the Lenders under the Loan Documents and any successor Administrative Agent appointed
pursuant to Article VIII.

               “Administrative Agent’s Office” means the Administrative Agent’s address and, as
appropriate, account as set forth in Section 9.01, or such other address or account as the
Administrative Agent may from time to time notify to the Borrower and the Lenders.

               “Administrative Questionnaire” means an Administrative Questionnaire in a form
supplied by the Administrative Agent.

                “Affiliate” means, with respect to a specified Person, another Person that directly,
or indirectly through one or more intermediaries, Controls or is Controlled by or is under common
Control with the Person specified. Notwithstanding the foregoing, no individual shall be an
Affiliate solely by reason of his or her being a director, officer or employee of the Borrower or any
of its Subsidiaries.

              “Agent Fee Letter” means that certain Fee Letter, dated as of November 11, 2019,
executed by the Borrower setting forth the applicable fees relating to this Agreement to be paid to
the Administrative Agent, on its behalf and on behalf of the Lenders.


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               “Agent’s Group” has the meaning assigned to such term in Article VIII.

               “Aggregate Commitment” means the aggregate of the Commitments of all of the
Lenders, as reduced from time to time pursuant to the terms and conditions hereof.

              “Aggregate Revolving Commitment” means the aggregate of the Revolving
Commitments of all of the Revolving Lenders, as reduced from time to time pursuant to the terms
and conditions hereof. As of the Effective Date, the Aggregate Revolving Commitment is
$236,200,000.00.

               “Agreed Budget” means the initial budget prepared by the Borrower in the form of
Exhibit B and initially furnished to the Administrative Agent and the Lenders on or before the
Effective Date and which is approved by, and in substance reasonably satisfactory to, the
Administrative Agent and the Lenders as the same shall be updated, modified or supplemented
from time to time as provided in Section 5.12.

                “Agreed Budget Variance Report” means a weekly report (i) provided by the
Borrower to the Administrative Agent (a) showing, in each case, by line item a comparison of (I)
the Actual Operating Disbursements Amount to the Budgeted Operating Disbursements Amount
through the Friday of the Prior Week and for the Cumulative Period and (II) the Actual Operating
Cash Receipts to the Budgeted Operating Cash Receipts through the Friday of the Prior Week and
for the Cumulative Period (in each case, as provided in Section 5.12(c), as applicable), noting
therein the variances from the applicable budgeted amounts set forth for such period in the Agreed
Budget, and shall include explanations for all material variances (including whether such variance
is permanent in nature or timing related) and (b) an analysis demonstrating the Borrower is in
compliance with the budget covenants set forth in Section 5.12, and (ii) certified by a Responsible
Officer of the Borrower. The Agreed Budget Variance Report shall be in a form, and shall contain
supporting information, reasonably satisfactory to the Required Lenders.

               “Agreed Capital Expenditures Budget” means the initial capital expenditures
forecast for the twelve months following the Petition Date as set forth in the Agreed Budget
delivered to the Administrative Agent and the Lenders on or before the Effective Date and which
is approved by, and in substance reasonably satisfactory to, the Administrative Agent and the
Lenders, as the same shall be updated, modified or supplemented from time to time as provided in
Section 5.12.

                 “Alternate Base Rate” means, for any day, a rate per annum equal to the greatest of
(a) the Prime Rate at such time, (b) the Federal Funds Rate in effect on such day plus 1/2 of 1%
and (c) the Adjusted LIBO Rate for a one month Interest Period on such day (or if such day is not
a Business Day, the immediately preceding Business Day) plus 1%, and if the Alternate Base Rate
shall be less than zero, such rate shall be deemed zero for purposes of this Agreement. For the
purposes of this definition, the Adjusted LIBO Rate shall be determined using the Adjusted LIBO
Rate as otherwise determined by the Administrative Agent in accordance with the definition of
“Adjusted LIBO Rate”, except that (i) if a given day is a Business Day, such determination shall
be made on such day (rather than two Business Days prior to the commencement of an Interest
Period) or (ii) if a given day is not a Business Day, the Adjusted LIBO Rate for such day shall be
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the rate determined by the Administrative Agent pursuant to preceding clause (i) for the most
recent Business Day preceding such day. Any change in the Alternate Base Rate due to a change
in the Prime Rate, the Federal Funds Rate, or such Adjusted LIBO Rate shall be effective as of the
opening of business on the day of such change in the Prime Rate, the Federal Funds Rate, or such
Adjusted LIBO Rate, respectively.

               “Anti-Corruption Laws” has the meaning assigned to such term in Section 3.18.

               “Anti-Terrorism Laws” means any laws, regulations, or orders of any
Governmental Authority of the United States, the United Nations, European Union or the
Netherlands relating to terrorism financing or money laundering, including, but not limited to, the
International Emergency Economic Powers Act (50 U.S.C. § 1701 et seq.), the Trading With the
Enemy Act (50 U.S.C. § 5 et seq.), the International Security Development and Cooperation Act
(22 U.S.C. § 2349aa-9 et seq.), the Act, and any applicable rules or regulations promulgated
pursuant to or under the authority of any of the foregoing.

               “Applicable Percentage” means, with respect to any Lender, a percentage equal to
a fraction the numerator of which is such Lender’s Revolving Commitment, DIP Term Loan
Commitments and DIP Term Loans and the denominator of which is the Aggregate Revolving
Commitment and the aggregate principal amount of all DIP Term Loan Commitments and DIP
Term Loans of all Lenders; provided that, in the case of Section 2.21 when a Defaulting Lender
shall exist, “Applicable Percentage” shall mean the percentage of the Aggregate Revolving
Commitment and aggregate DIP Term Loan Commitments and DIP Term Loans (disregarding any
Defaulting Lender’s Revolving Commitment) represented by such Lender’s Revolving
Commitment, DIP Term Loan Commitments and/or DIP Term Loans. If the Commitments have
terminated or expired, the Applicable Percentages shall be determined based upon the
Commitments most recently in effect, giving effect to any assignments and to any Lender’s status
as a Defaulting Lender at the time of determination.

               “Applicable Rate” means, for any day, with respect to any ABR Loan or LIBOR
Loan, or with respect to the commitment fees payable hereunder, as the case may be, the applicable
rate per annum set forth below under the caption “ABR Spread”, “LIBOR Spread” or
“Commitment Fee Rate”, as the case may be:

               LIBOR                          ABR                      Commitment Fee
               Spread                        Spread                        Rate
               7.00%                         6.00%                        0.50%



              “Applicable Revolving Credit Percentage” means with respect to any Revolving
Lender at any time, such Revolving Lender’s Applicable Percentage in respect of the Revolving
Commitments at such time.
               “Appraisal” means, (a) with respect to the Initial Borrowing Base Properties owned
by a Loan Party as of the Effective Date, a current appraisal of such real property and equipment
located therein prepared by an appraiser reasonably selected and engaged by the Administrative
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Agent with the consent of the Borrower, and prepared on a basis and in form and substance,
reasonably satisfactory to the Administrative Agent (provided that the Administrative Agent and
the Lenders, by their execution below, hereby agree that the current appraisals of such real property
and equipment located therein delivered to the Pre-Petition Administrative Agent on or after
February 1, 2019, in respect of “Eligible Property” under (and as defined in) the Pre-Petition Credit
Agreement on the Petition Date shall satisfy the requirements of this clause (a) with respect to the
Eligible Property covered by such Appraisals) and (b) with respect to the Initial Borrowing Base
Properties not included in the calculation of the Borrowing Base as of the Effective Date or any
other DIP Collateral Real Property owned by a Loan Party after the Effective Date and included
in the calculation of the Borrowing Base, a current appraisal of such real property and equipment
located therein prepared by an appraiser selected and engaged by the Borrower, which appraiser
shall be reasonably satisfactory to the Administrative Agent, and prepared on a basis and in form
and substance, reasonably satisfactory to each of the Borrower and the Administrative Agent.
               “Appraised Value” means, with respect to any (a) real property, the “highest and
best use value” thereof as set forth on the most recent Appraisal for such real property delivered
to the Administrative Agent, and (b) equipment, the “highest and best use value” thereof as set
forth on the most recent Appraisal for such equipment delivered to the Administrative Agent.

                “Approved Fund” means any Person (other than a natural person or a holding
company, investment vehicle or trust for, or owned and operated for the primary benefit of a natural
person) that is engaged in making, purchasing, holding or investing in bank loans and similar
extensions of credit in the ordinary course and that is administered or managed by (a) a Lender,
(b) an Affiliate of a Lender or (c) an entity or an Affiliate of an entity that administers or manages
a Lender.

               “Arranger” means Rabobank in its capacity as lead arranger, bookrunner and
backstop party.

                 “Asset Sale” means any sale, transfer, lease or other disposition (including pursuant
to a sale and leaseback transaction or as the result of the division of any Person), whether pursuant
to a single transaction or a series of related transactions, of any property, business, line of business,
enterprise or asset of the Borrower or any Restricted Subsidiary (including the Equity Interests of
any Subsidiary), other than (i) Excluded Dispositions and (ii) sales, transfers or dispositions
described in Section 6.05(c), 6.05(d), 6.05(f), 6.05(g) or 6.05(h).

               “Assignment and Assumption” means an assignment and assumption agreement
entered into by a Lender and an assignee (with the consent of any party whose consent is required
by Section 9.04), and accepted by the Administrative Agent, in the form of Exhibit A or any other
form approved by the Administrative Agent.

                “Attributed Principal Amount” means, on any day, with respect to the Permitted
Receivables Financing entered into by the Receivables Financing SPCs, the aggregate amount
(with respect to any such transaction, the “Invested Amount”) paid to, or borrowed by, such Person
as of such date under the Permitted Receivables Financing, minus the aggregate amount received


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by the applicable Receivables Financier and applied to the reduction of the Invested Amount under
the Permitted Receivables Financing.

               “Auto-Extension Letter of Credit” has the meaning assigned to such term in
Section 2.06(b)(viii).

               “Availability Period” means the period from and including the Effective Date to
but excluding the earlier of the Maturity Date and the date of termination of the Commitments.

            “Available Revolving Commitment” means, at any time, the Aggregate Revolving
Commitments then in effect minus the Revolving Exposure of all Lenders at such time.

                “Avoidance Actions” has the meaning specified in the Interim Order or, after entry
thereof, the Final Order.

              “Bail-In Action” means the exercise of any Write-Down and Conversion Powers
by the applicable EEA Resolution Authority in respect of any liability of an EEA Financial
Institution.

               “Bail-In Legislation” means, with respect to any EEA Member Country
implementing Article 55 of Directive 2014/59/EU of the European Parliament and of the Council
of the European Union, the implementing law for such EEA Member Country from time to time
which is described in the EU Bail-In Legislation Schedule.

               “Banking Services” means Lender Banking Services and Non-Lender Banking
Services.

               “Banking Services Agreement” means any agreement entered into by the Borrower
or any Restricted Subsidiary in connection with Banking Services.

                “Banking Services Obligations” means any and all obligations of the Borrower or
any Restricted Subsidiary, whether absolute or contingent and howsoever and whensoever created,
arising, evidenced or acquired (including all renewals, extensions and modifications thereof and
substitutions therefor) in connection with Banking Services.

               “Bankruptcy Cases” has the meaning specified in the recitals to this Agreement.

              “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. §§ 101-
1532, as amended, modified, succeeded or replaced from time to time.

               “Bankruptcy Court” has the meaning specified in the recitals to this Agreement.

               “Bankruptcy Event” means, with respect to any Person, such Person becomes the
subject of a bankruptcy or insolvency proceeding, or has had a receiver, conservator, trustee,
administrator, custodian, assignee for the benefit of creditors or similar Person charged with the
reorganization or liquidation of its business appointed for it, or has taken any action in furtherance
of, or indicating its consent to, approval of, or acquiescence in, any such proceeding or
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appointment, provided that a Bankruptcy Event shall not result solely by virtue of (x) any
ownership interest, or the acquisition of any ownership interest, in such Person by a Governmental
Authority or instrumentality thereof or (y) the appointment of a trustee, administrator, custodian,
or similar Person by a Governmental Authority under or based on the law in the country where
such Person or its direct or indirect parent company is subject to home jurisdiction, if applicable
Law requires that such appointment not be disclosed, provided, further, that such ownership
interest or appointment (as applicable) does not result in or provide such Person with immunity
from the jurisdiction of courts within the United States or from the enforcement of judgments or
writs of attachment on its assets or permit such Person (or such Governmental Authority or
instrumentality) to reject, repudiate, disavow or disaffirm any contracts or agreements made by
such Person.

              “Beneficial Ownership Certification” means a certification regarding beneficial
ownership as required by the Beneficial Ownership Regulation.

               “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

                 “Benefit Plan” means any of (a) an “employee benefit plan” (as defined in ERISA)
that is subject to Title I of ERISA, (b) a “plan” as defined in Section 4975 of the Code or (c) any
Person whose assets include (for purposes of ERISA Section 3(42) or otherwise for purposes of
Title I of ERISA or Section 4975 of the Code) the assets of any such “employee benefit plan” or
“plan”.

               “Board” means the Board of Governors of the Federal Reserve System of the
United States of America.

               “Borrower” has the meaning assigned to such term in the preamble of the
Agreement.

               “Borrowing” means Loans of the same Class and Type, made, converted or
continued on the same date and, in the case of LIBOR Loans, as to which a single Interest Period
is in effect.

                “Borrowing Base” means (a) 65% of the Appraised Value of all Eligible Property,
as determined based on the Borrowing Base Certificate then most recently delivered pursuant to
Section 5.01(f), minus (b) the sum of (i) the Carve-Out and (ii) the aggregate principal amount of
all DIP Term Loans then outstanding (or, prior to the Final Order Date, the aggregate outstanding
principal amount of all Loans then outstanding, together with accrued and unpaid interest thereon,
and all accrued and unpaid fees, under (and as defined in) the Pre-Petition Credit Agreement). For
the avoidance of doubt, the Borrower shall be permitted from time to time, in its sole discretion,
to increase the amount of the Borrowing Base by including additional property which satisfies the
requirements with respect to Eligible Property and delivering a Borrowing Base Certificate with
respect to such additional property in accordance with Section 5.01(f).
              “Borrowing Base Certificate” means a certificate signed by a Responsible Officer
of the Borrower, substantially in the form of Exhibit C-1, with such changes thereto as
Administrative Agent may from time to time reasonably request, and appropriately completed.
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               “Borrowing Request” means a request by the Borrower for a Borrowing in
accordance with Section 2.02 substantially in the form attached hereto as Exhibit D-1, or such
other form as may be approved by the Administrative Agent (including any form on an electronic
platform or electronic transmission system as shall be approved by the Administrative Agent),
appropriately completed and signed by a Responsible Officer of the Borrower.

               “Budgeted Capital Expenditures Amount” means the amount of budgeted capital
expenditures set forth in the Agreed Capital Expenditures Budget during the relevant period of
determination.

              “Budgeted Operating Cash Receipts” means the line item contained in the Agreed
Budget under the heading “Operating Cash Receipts” during the relevant period of determination.

               “Budgeted Operating Disbursements Amount” means the sum of the line items
contained in the Agreed Budget under the heading “Total Operating Disbursements” during the
relevant period of determination.

               “Business Day” means any day other than a Saturday, Sunday or other day on which
commercial banks are authorized to close under the Laws of, or are in fact closed in, the state
where the Administrative Agent’s Office is located and, if such day relates to any LIBOR Loan,
means any day that is also a day on which dealings in Dollar deposits are conducted by and between
banks in the London interbank eurodollar market.

               “Capital Expenditures” means for any period, with respect to any Person, the
aggregate of all expenditures by such Person for the acquisition or leasing (pursuant to a Capital
Lease) of fixed or capital assets or additions to equipment (including replacements, capitalized
repairs and improvements during such period but excluding normal maintenance which is properly
charged to operation) which are required to be capitalized under GAAP on a balance sheet of such
Person; provided that Capital Expenditures shall not include any such expenditure made in
accordance with Section 2.11(b)(ii) with the cash proceeds of any Recovery Event.

               “Capital Expenditures Test Date” means each date of delivery of financial
statements delivered pursuant to Section 5.01(b)(ii) .

                “Capital Lease” means any lease of property, real or personal, the obligations with
respect to which are required to be capitalized on a balance sheet of the lessee in accordance with
GAAP; provided however that for all purposes of this Agreement and the other Loan Documents,
any obligation relating to (a) any lease that was accounted for by the Borrower as an operating
lease as of December 31, 2018 and (b) any similar lease entered into at any time after December
31, 2018 by the Borrower or any Subsidiary, shall in each case be accounted for as obligations
relating to an operating lease and not as Capital Lease.

                “Capital Lease Obligations” means the aggregate principal component of
capitalized lease obligations relating to a Capital Lease determined in accordance with GAAP.

               “Carve-Out” has the meaning assigned to such term in the Orders.

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                “Cash Collateralize” means, to deliver to the Administrative Agent, for the benefit
of one or more of any Issuing Bank or the Lenders, as collateral for the LC Exposure or obligations
of Lenders to fund participations in respect of the LC Exposure, cash or deposit account balances
or, if the Administrative Agent and each applicable Issuing Bank shall agree in their sole
discretion, other credit support, in each case pursuant to documentation in form and substance
reasonably satisfactory to the Administrative Agent and each applicable Issuing Bank. “Cash
Collateral” shall have a meaning correlative to the foregoing and shall include the proceeds of such
cash collateral and other credit support.

               “Cash Equivalents” means:

              (a)     direct obligations of, or obligations the principal of and interest on which
       are unconditionally guaranteed by, the United States (or by any agency thereof to the extent
       such obligations are backed by the full faith and credit of the United States), in each case
       maturing within one year from the date of acquisition thereof;

               (b)     investments in (1) commercial paper and variable or fixed rate notes issued
       by (A) any domestic commercial bank of recognized standing having capital and surplus
       in excess of $250,000,000 or (B) any bank whose short-term commercial paper rating from
       S&P is at least A-1 or the equivalent thereof or from Moody’s is at least P-1 or the
       equivalent thereof (any such bank described in this clause (b) being an “Approved Bank”)
       (or by the parent company thereof) or (2) any commercial paper or variable rate notes
       issued by, or guaranteed by any domestic corporation rated A-1 (or the equivalent
       thereof) or better by S&P or P-1 (or the equivalent thereof) or better by Moody’s, and in
       each case maturing within 270 days from the date of acquisition thereof;

               (c)    investments in certificates of deposit, banker’s acceptances and time
       deposits maturing within 180 days from the date of acquisition thereof issued or guaranteed
       by or placed with, and money market deposit accounts issued or offered by, any domestic
       office of any Approved Bank;

                (d)    repurchase agreements with a term of not more than 30 days for securities
       described in clause (a) above and entered into with a financial institution satisfying the
       criteria described in clause (b) above;

               (e)   auction preferred stock rated in the highest short-term credit rating category
       by S&P or Moody’s with a maximum maturity of one year, for which the reset date will be
       used to determine the maturity date; and

              (f)    money market funds that (i) comply with the criteria set forth in Securities
       and Exchange Commission Rule 2a-7 under the Investment Company Act of 1940, (ii) are
       rated AAA by S&P and Aaa by Moody’s and (iii) have portfolio assets of at least
       $5,000,000,000.

             “Cash Management Order” means any order of the Bankruptcy Court entered in the
Bankruptcy Cases, together with all extensions, modifications and amendments thereto, consistent
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with the Orders and in form and substance reasonably satisfactory to the Required Lenders, which
among other matters authorizes the Borrower and the other Loan Parties to maintain their existing
treasury, depository, purchase card, and other cash management arrangements (as set forth in the
Pre-Petition Credit Agreement) or such other arrangements as shall be reasonably acceptable to
the Required Lenders in all material respects.

                 “Change in Control” means (a) the acquisition of record or beneficial ownership
by any Person or group (as such terms are used in Section 13(d) and 14(d) of the Securities
Exchange Act of 1934, but excluding any employee or director benefit plan or stock plan of the
Borrower or a Subsidiary or any trustee or fiduciary with respect to any such plan when acting in
that capacity or any trust related to any such plan), of Equity Interests representing more than 35%
of the aggregate ordinary voting power represented by the issued and outstanding Equity Interests
of the Borrower; or (b) during any period of 12 consecutive months, a majority of the members of
the board of directors or other equivalent governing body of the Borrower ceases to be individuals
(i) who were members of that board or equivalent governing body on the first day of such period,
(ii) whose election or nomination to that board or equivalent governing body was approved by
individuals referred to in clause (i) above constituting at the time of such election or nomination
at least a majority of that board or equivalent governing body or (iii) whose election or nomination
to that board or other equivalent governing body was approved by individuals referred to in clauses
(i) and (ii) above (or individuals previously approved under this clause (iii)) constituting at the
time of such election or nomination at least a majority of that board or equivalent governing body
(such approval, in the case of clauses (ii) or (iii), either by a specific vote or by approval of the
Borrower’s proxy statement in which such member was named as a nominee for election as a
director). As used herein, “beneficial ownership” shall have the meaning provided in Rule 13d-3 of
the SEC under the Securities Act of 1934.

                “Change in Law” means the occurrence, after the date of this Agreement (or with
respect to any Lender, if later, the date on which such Lender becomes a Lender), of any of the
following: (a) the adoption or taking effect of any law, rule, regulation or treaty, (b) any change
in any law, rule, regulation or treaty or in the administration, interpretation, implementation or
application thereof by any Governmental Authority, or (c) the making or issuance of any request,
rules, guideline, requirement or directive (whether or not having the force of law) by any
Governmental Authority; provided however, that notwithstanding anything herein to the contrary,
(i) the Dodd-Frank Wall Street Reform and Consumer Protection Act and all requests, rules,
guidelines, requirements and directives thereunder, issued in connection therewith or in
implementation thereof, and (ii) all requests, rules, guidelines, requirements and directives
promulgated by the Bank for International Settlements, the Basel Committee on Banking
Supervision (or any successor or similar authority) or the United States or foreign regulatory
authorities, in each case pursuant to Basel III, shall in each case be deemed to be a “Change in
Law” regardless of the date enacted, adopted, issued or implemented.

               “CIP Regulations” has the meaning assigned to such term in Section 9.14.

               “Class”, when used in reference to any Loan or Borrowing, refers to whether such
Loan, or the Loans comprising such Borrowing, are DIP Term Loans or Revolving Loans.

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               “Code” means the Internal Revenue Code of 1986, as amended from time to time,
and the regulations promulgated and rulings issued thereunder.

              “Collateral” means the “DIP Collateral” as defined in the Orders and in each other
Collateral Document, as applicable, and, in any event, shall exclude the Excluded Property.

               “Collateral Documents” means, collectively, the Orders and all agreements,
instruments, mortgages, deeds of trust and other documents executed in connection with any
Orders and/or this Agreement that are intended to create, perfect or evidence Liens to secure the
Secured Obligations, including, without limitation, all other security agreements, pledge
agreements, loan agreements, mortgages, notes, guarantees, subordination agreements, pledges,
powers of attorney, consents, assignments, contracts, fee letters, notices, leases, UCC financing
statements and fixture filings and all other written matter whether heretofore, now, or hereafter
executed by the Borrower or any of its Subsidiaries and delivered to the Administrative Agent
(including, without limitation, the Security Agreement and each Mortgage (if any)).

            “Commitment” means, with respect to each Lender, such Lender’s DIP Term Loan
Commitment and/or Revolving Commitment, as applicable.

               “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et
seq.), as amended from time to time, and any successor statute.

               “Communications” has the meaning assigned to such term in Section 9.01(d).

               “Compliance Certificate” means a certificate substantially in the form of Exhibit C-
2.

             “Connection Income Taxes” means Other Connection Taxes that are imposed on
or measured by net income (however denominated) or that are franchise Taxes or branch profits
Taxes.

               “Contingent Subordinated Obligation” means the contingent subordinated
obligation payable to Dairy Farmers of America described on Schedule 6.01.

                “Contractual Obligation” means, as to any Person, any provision of any security
issued by such Person or of any agreement, instrument or other undertaking to which such Person
is a party or by which it or any of its property is bound.

                “Control” means the possession, directly or indirectly, of the power to direct or
cause the direction of the management or policies of a Person, whether through the ability to
exercise voting power, by contract or otherwise. “Controlling” and “Controlled” have meanings
correlative thereto.

                 “Cumulative Period” means (i) with respect to the covenant set forth in Section
5.12(c)(i), the rolling four-week period most recently ended on the latest Friday occurring prior to
the delivery of the applicable Agreed Budget Variance Report and (ii) with respect to the covenant

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set forth in Section 5.12(c)(ii), the rolling four-week period most recently ended on the latest
Friday occurring prior to the delivery of the applicable Agreed Budget Variance Report.

               “Debtor” has the meaning specified in the recitals in this Agreement.

                “Debtor Relief Laws” means the Bankruptcy Code, and all other liquidation,
conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement,
receivership, insolvency, reorganization, or similar debtor relief Laws of the United States, any
applicable State thereof or other applicable jurisdictions from time to time in effect.

             “Default” means any event or condition which constitutes an Event of Default or
which upon notice, lapse of time or both would, unless cured or waived, become an Event of
Default.

                 “Defaulting Lender” means, subject to Section 2.21(b), any Lender that has
(a) failed to (i) fund any portion of its Loans within 2 Business Days of the date required to be
funded by it hereunder unless such Lender’s failure to fund is based on such Lender’s good faith
determination that the conditions precedent to each funding under this Agreement have not been
satisfied and such Lender has notified the Administrative Agent in writing of such determination
(each of which conditions precedent, together with any applicable default, shall be specifically
identified in such writing), or (ii) pay to the Administrative Agent, any Issuing Bank or any other
Lender any other amount required to be paid by it (including in respect to its participation in Letters
of Credit) within 2 Business Days of the date when due, (b) notified the Borrower, the
Administrative Agent, any Issuing Bank or any Lender in writing that it does not intend or expect
to comply with any of its funding obligations under this Agreement or has made a public statement
to the effect that it does not intend or expect to comply with its funding obligations (i) under this
Agreement (unless such writing or public statement indicates that such position is based on such
Lender’s good faith determination that a condition precedent (specifically identified and including
the particular default, if any) to funding a loan under this Agreement cannot be satisfied) or
(ii) under other agreements in which it is obligated to extend credit unless, in the case of this
clause (ii), such obligation is subject to a good faith dispute, (c) failed, within three Business Days
after request by the Administrative Agent, to confirm that it will comply with the terms of this
Agreement relating to its obligations (and is financially able to meet such obligations) to fund
prospective Loans and participations in then outstanding Letters of Credit unless subject to a good
faith dispute based on such Lender’s good faith determination that the conditions precedent to
funding under this Agreement have not been satisfied and such Lender has notified the
Administrative Agent in writing of such determination, provided that any such Lender shall cease
to be a Defaulting Lender under this clause (c) upon receipt of such confirmation by the
Administrative Agent, (d) has, or has a direct or indirect parent company that has, become the
subject of a Bankruptcy Event or (e) become the subject of a Bail-In Action. Any determination
by Administrative Agent that a Lender is a Defaulting Lender under any one or more of clauses
(a) through (e) of this definition shall be conclusive and binding absent manifest error, and such
Lender shall be deemed to be a Defaulting Lender (subject to Section 2.21(b)) upon delivery of
written notice of such determination to the Borrower, each Issuing Bank, and each Lender.

               “Departing Lender” has the meaning set forth in Section 2.20(a).
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              “Designated Jurisdiction” means any country or territory that is, or whose
government is, the subject of any Sanction, including, without limitation, currently the Region of
Crimea, Cuba, Iran, North Korea, Sudan and Syria.

                “DIP Collateral Real Property” means collectively, (i) each Initial Borrowing Base
Property (other than the El Paso Real Property) and (ii) each other parcel of real property of any
Loan Party (including the El Paso Real Property) that constitutes or is intended to constitute
Collateral pursuant to the Orders; provided however, that real property and Improvements thereon
referred to in this clause (ii) shall not constitute DIP Collateral Real Property until the date upon
which the Administrative Agent has received a Flood Certificate for such real property and if
applicable, related Borrower notices and flood insurance as required by Section 5.09.

               “DIP Super-Priority Claim” has the meaning set forth in Section 3.22(i).

               “DIP Term Loan” has the meaning specified in Section 2.01(b).

                “DIP Term Loan Commitment” means, for each applicable Lender, the
commitment of such Lender to convert the principal amount of its Pre-Petition Revolving Loans
on the Petition Date into DIP Term Loans on the Final Order Date in the aggregate principal
amount set forth opposite such Lender’s name in Schedule 1.01(a) directly below the column
entitled “DIP Term Loan Commitment”. The aggregate amount of DIP Term Loan Commitments
as of the date hereof is $188,800,000.00.

               “dollars”, “Dollars” or “$” refers to lawful money of the United States of America.

               “Domestic Subsidiary” means any Subsidiary that is incorporated or organized
under the laws of the United States of America, any state thereof or in the District of Columbia.

               “ECP” means an “eligible contract participant” as defined in Section 1(a)(18) of
the Commodity Exchange Act or any regulations promulgated thereunder and the applicable rules
issued by the Commodity Futures Trading Commission and/or the SEC.

                “EEA Financial Institution” means (a) any credit institution or investment firm
established in any EEA Member Country which is subject to the supervision of an EEA Resolution
Authority, (b) any entity established in an EEA Member Country which is a parent of an institution
described in clause (a) of this definition, or (c) any financial institution established in an EEA
Member Country which is a Subsidiary of an institution described in clauses (a) or (b) of this
definition and is subject to consolidated supervision with its parent.

               “EEA Member Country” means any of the member states of the European Union,
Iceland, Liechtenstein, and Norway.

               “EEA Resolution Authority” means any public administrative authority or any
Person entrusted with public administrative authority of any EEA Member Country (including any
delegee) having responsibility for the resolution of any EEA Financial Institution.


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               “Effective Date” means the first Business Day on which all of the conditions
specified in Section 4.01 are satisfied or waived in accordance with the terms of this Agreement.

               “Electronic Signature” means an electronic sound, symbol, or process attached to,
or associated with, a contract or other record and adopted by a person with the intent to sign,
authenticate or accept such contract or record.

                “Electronic System” means any electronic system, including e-mail, e-fax,
Intralinks®, Debt Domain, SyndTrak, and any other Internet or extranet-based site, whether such
electronic system is owned, operated or hosted by the Administrative Agent and any of its
respective Related Parties or any other Person, providing for access to data protected by passcodes
or other security system.

               “Eligible Equipment” means equipment (as that term is defined in the UCC) located
on any real property constituting Eligible Real Property and used in the ordinary course of a Loan
Party’s business; provided, however, an item of equipment shall not be included in Eligible
Equipment if:

              (a)     a Loan Party does not have good, valid, and marketable title thereto or such
equipment is subject to a Capital Lease,

               (b)     the Administrative Agent does not have a valid and perfected first priority
Lien thereon, subject to no other Liens except for Permitted Encumbrances,

                (c)     a Loan Party does not have actual and exclusive possession thereof,

                (d)     the Administrative Agent has not received an Appraisal of such item of
equipment, or

                 (e)      it is an aircraft, or an automobile, truck, rail car, or any vehicle subject to a
certificate of title, or consists of office furniture, computers, phones or other office equipment.

                “Eligible Property” means the Eligible Equipment and the Eligible Real Property.

               “Eligible Real Property” means real property owned by a Loan Party located in the
United States of America constituting (a) Initial Borrowing Base Property or (b) other DIP
Collateral Real Property of a Loan Party approved by the Administrative Agent acting reasonably;
provided, in each case, that Eligible Real Property shall not include the following:

                (a)    any parcel of real property with respect to which the applicable Loan Party
has not satisfied each of the PP&E Conditions as and to the extent required pursuant to the terms
of this Agreement,

                (b)    any parcel of real property with respect to which the applicable Loan Party
does not have good, valid, and marketable title thereto, subject only to a valid and perfected first
priority Lien of the Administrative Agent and Permitted Encumbrances,

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               (c) any parcel of real property with respect to which the Administrative Agent has
not received an Appraisal, or

               (d) any parcel of real property that is not the location of a processing, packing or
manufacturing plant or cold storage facility currently being operated and used by the Borrower or
its Restricted Subsidiary in the ordinary course of business (an “Operating Facility”); it being
acknowledged that any parcel of real property contiguous or adjacent to such Operating Facility
or otherwise considered to be part of or integral to the operation of such Operating Facility shall
not be otherwise considered to be ineligible pursuant to this clause (d).

              “El Paso Real Property” means the real property located at 511 N. Raynor Street,
El Paso, Texas 79903 or otherwise associated with tax parcel E014-999-0640-4100.

               “Environmental Indemnity Agreement” means an environmental indemnity
agreement by and between the Administrative Agent and any Loan Party that owns Initial
Borrowing Base Property or other Eligible Property, in form and substance reasonably acceptable
to the Administrative Agent, as the same shall be amended, modified and supplemented and in
effect from time to time.

               “Environmental Laws” means all laws, rules, regulations, codes, ordinances,
permits, orders, decrees, judgments, injunctions, notices or binding agreements issued,
promulgated or entered into by any Governmental Authority, relating in any way to the
environment, pollution, preservation or reclamation of the environment or natural resources, or the
management, generation, transportation, storage, handling, use, or release or threatened release of,
or exposure to, any Hazardous Material, as has been, is now, or may at any time hereafter be, in
effect.

                “Environmental Liability” means any liability, contingent or otherwise (including
any liability for damages, costs of environmental remediation, fines, penalties or indemnities, and
including any Lien filed against any DIP Collateral Real Property), of the Borrower or any
Subsidiary directly or indirectly resulting from or based upon (a) violation of any Environmental
Law, (b) the generation, use, handling, transportation, storage, treatment or disposal of any
Hazardous Materials, (c) exposure to any Hazardous Materials, (d) the release or threatened
release of any Hazardous Materials into the environment or (e) any contract, agreement or other
consensual arrangement pursuant to which liability is assumed or imposed with respect to any of
the foregoing.

                “Equity Interests” means, with respect to any Person, all of the shares of capital
stock of (or other ownership or profit interests in) such Person, all of the warrants, options or other
rights for the purchase or acquisition from such Person of shares of capital stock of (or other
ownership or profit interests in) such Person, all of the securities convertible into or exchangeable
for shares of capital stock of (or other ownership or profit interests in) such Person or warrants,
rights or options for the purchase or acquisition from such Person of such shares (or such other
interests), and all of the other ownership or profit interests in such Person (including partnership,
member or trust interests therein), whether voting or nonvoting, and whether or not such shares,
warrants, options, rights or other interests are outstanding on any date of determination.
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                “Equity Issuance” means any issuance by the Borrower or any of its Restricted
Subsidiaries to any Person which is not the Borrower or a Subsidiary of (a) shares of its Equity
Interests or Hybrid Equity Securities (excluding issuances of Equity Interests to directors, officers,
consultants or other employees under any equity award program, employee stock purchase plan or
other employee benefit plan in existence from time to time), (b) any shares of its Equity Interests
pursuant to the exercise of options (excluding for purposes hereof the issuance of Equity Interests
pursuant to the exercise of stock options held by directors, officers, consultants or other employees
or former employees of the Loan Parties or personal representatives or heirs or beneficiaries of
any of them) or warrants or (c) any shares of its Equity Interests or Hybrid Equity Securities
pursuant to the conversion of any debt securities to equity.

             “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended from time to time, and the regulations promulgated and rulings issued thereunder.

               “ERISA Affiliate” means any trade or business (whether or not incorporated) that,
together with the Borrower or any Subsidiary, is treated as a single employer under
Section 414(b) or (c) of the Code or, solely for purposes of Section 302 of ERISA and Section 412
and 430 of the Code, is treated as a single employer under Section 414 of the Code.

                “ERISA Event” means (a) the occurrence of any “reportable event”, as defined in
Section 4043(c) of ERISA or the regulations issued thereunder with respect to a Plan (other than
an event for which the notice is waived or otherwise not required); (b) the failure by the Borrower
or any ERISA Affiliate to make sufficient contributions for any Plan or any Multiemployer Plan
in order to meet the minimum funding standards as determined under Section 412 of the Code,
Section 430 of the Code or Section 303 of ERISA for any plan year; (c) the occurrence with respect
to any Plan subject to Section 433 of the Code or any Multiemployer Plan of an “accumulated
funding deficiency” (as defined in Section 412 of the Code or Section 302 of ERISA), whether or
not waived; (d) the filing pursuant to Section 412(d) of the Code or Section 302(c) of ERISA of
an application for a waiver of the minimum funding standard with respect to any Plan; (e) the
incurrence by the Borrower or any of its ERISA Affiliates of any liability under Title IV of ERISA
with respect to the termination of any Plan; (f) the receipt by the Borrower or any ERISA Affiliate
from the PBGC or other governmental entity of any notice relating to an intention to terminate any
Plan or Plans or to appoint a trustee to administer any Plan; (g) the incurrence by the Borrower or
any of its ERISA Affiliates of any liability with respect to the withdrawal or partial withdrawal
from any Plan or Multiemployer Plan or (h) the receipt by the Borrower or any ERISA Affiliate
of any notice, or the receipt by any Multiemployer Plan from the Borrower or any ERISA Affiliate
of any notice, concerning the imposition of Withdrawal Liability or a determination that a
Multiemployer Plan is, or is expected to be, insolvent, within the meaning of Title IV of ERISA.

              “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule
published by the Loan Market Association (or any successor person), as in effect from time to
time.

               “Event of Default” has the meaning assigned to such term in Section 7.01.


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                “Excluded Disposition” means the sale, transfer, lease or other disposition of
(a) [reserved], (b) obsolete or worn out property or assets in the ordinary course of business or
equipment that is no longer useful to the business in the ordinary course in accordance with past
practice as in existence immediately prior to the Petition Date, (c) any inventory and materials in
the ordinary course of business and on ordinary business terms, (d) cash or Cash Equivalents in
the ordinary course of business, (e) accounts receivable in connection with the collection or
compromise thereof in the ordinary course of business, and (f) property and assets to the extent
that such property or asset is exchanged for credit against the purchase price of similar replacement
property or assets.

                “Excluded Property” means the collective reference to (a)(i) any property of any
Unrestricted Subsidiary and (ii) any Equity Interests of any Unrestricted Subsidiary that is not a
Wholly-Owned Subsidiary of the Borrower on the Effective Date (provided that, if at any time
such Unrestricted Subsidiary becomes a Wholly-Owned Subsidiary of the Borrower after the
Effective Date, the Equity Interests of such Unrestricted Subsidiary shall no longer constitute
Excluded Property and shall at all times from and after such time constitute Collateral), (b) any
leased real property interest or other leasehold interest, (c) any property the pledge of which would
require consent, approval or authorization from any Governmental Authority (to the extent such
consent, approval or authorization has not been obtained or waived), (d) any property which,
subject to the terms of Section 6.10, is subject to a Lien of the type described in
Section 6.02(e) pursuant to documents which prohibit such Loan Party from granting any other
Liens in such property, (e) any “intent-to-use” Trademark (as defined in the Security Agreement)
applications filed in the U.S. Patent and Trademark Office to the extent, if any, that the grant of a
security interest therein would be in violation of the Lanham Act (15 U.S.C. 1051, et seq.) or result
in the forfeiture of a Loan Party’s right therein, and (f) any General Intangible (as defined in the
UCC), permit, lease, license, contract or other Instrument (as defined in the UCC) of such Loan
Party or Equity Interest in any Person that is not a Wholly-Owned Subsidiary of one or more of
the Loan Parties solely to the extent that the grant of a security interest in such General Intangible,
permit, lease, license, contract or other Instrument or Equity Interest in the manner contemplated
by the Collateral Documents, under the terms thereof, under any agreement applicable thereto, or
under the Bankruptcy Code or other applicable Law, is prohibited or would give the other parties
thereto the right to terminate, accelerate or otherwise alter such Loan Party’s rights, titles and
interests thereunder (including upon the giving of notice or the lapse of time or both); provided
that (x) any such limitation described in this clause (f) on the security interests granted hereunder
shall only apply to the extent that any such prohibition could not be rendered ineffective pursuant
to the UCC, the Bankruptcy Code or any other applicable Law or principles of equity and (y) in
the event of the termination or elimination of any such prohibition or the requirement for any
consent contained in the Bankruptcy Code or any other applicable Law, General Intangible, permit,
lease, license, contract or other Instrument, to the extent sufficient to permit any such item to
become Collateral, or upon the granting of any such consent, or waiving or terminating any
requirement for such consent, a security interest in such General Intangible, permit, lease, license,
contract or other Instrument shall be automatically and simultaneously granted hereunder and shall
be included as Collateral. In addition, (1) other assets may be designated as “Excluded Property”
if the Administrative Agent determines that the cost of obtaining a perfected security interest
therein is excessive in relation to the value afforded thereby and (2) upon the sale, conveyance or

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contribution thereof to a Receivables Financing SPC in connection with the Permitted Receivables
Financing, the Securitization Assets, including the Transferred Assets, shall be automatically
released from the security interests created pursuant to the Collateral Documents (and the
Administrative Agent shall, at the expense of the Borrower, execute such documentation
reasonably necessary to evidence such release); provided however, that the Administrative Agent
and the Holders of Secured Obligations shall have a Lien in all amounts due to a Loan Party from
a Receivables Financing SPC in connection with any such sale, conveyance or contribution of
Accounts and related Transferred Assets; provided further, that any Transferred Asset repurchased
by any Originator having paid the relevant repurchase price for such Transferred Asset in full to
the Seller shall not be a “Transferred Asset” from and after the date of such repurchase unless such
Transferred Asset has subsequently been transferred to the Seller.

                “Excluded Swap Obligation” means, with respect to any Loan Party, any Specified
Swap Obligation if, and to the extent that, all or a portion of the guarantee of such Loan Party of,
or the grant by such Loan Party of a security interest to secure, such Specified Swap Obligation
(or any guarantee thereof) is or becomes illegal under the Commodity Exchange Act or any rule,
regulation or order of the Commodity Futures Trading Commission (or the application or official
interpretation of any thereof) by virtue of such Loan Party’s failure for any reason to constitute an
ECP at the time the guarantee of such Loan Party or the grant of such security interest becomes or
would become effective with respect to such Specified Swap Obligation. If a Specified Swap
Obligation arises under a master agreement governing more than one swap, such exclusion shall
apply only to the portion of such Specified Swap Obligation that is attributable to swaps for which
such guarantee or security interest is or becomes illegal.

                “Excluded Taxes” means any of the following Taxes imposed on or with respect to
a Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes
imposed on or measured by net income (however denominated), franchise Taxes, and branch
profits Taxes, in each case, (i) imposed as a result of such Recipient being organized under the
laws of, or having its principal office or, in the case of any Lender, its applicable lending office
located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that are
Other Connection Taxes, (b) in the case of a Lender, U.S. Federal withholding Taxes imposed on
amounts payable to or for the account of such Lender with respect to an applicable interest in a
Loan or Commitment pursuant to a law in effect on the date on which (i) such Lender acquires
such interest in the Loan or Commitment (other than pursuant to an assignment request by the
Borrower under Section 2.20) or (ii) such Lender changes its lending office, except in each case
to the extent that, pursuant to Section 2.17, amounts with respect to such Taxes were payable either
to such Lender’s assignor immediately before such Lender acquired the applicable interest in a
Loan or Commitment or to such Lender immediately before it changed its lending office, (c) Taxes
attributable to such Recipient’s failure to comply with Section 2.17(f) and (d) any U.S. Federal
withholding Taxes imposed under FATCA.

              “Farm Credit Fee Letter” means that certain fee letter, dated November 12, 2019,
executed by the Borrower setting forth the applicable fees to be paid to CoBank ACB for its
arrangement of certain Farm Credit Lenders as Voting Participants on the Effective Date.


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               “Farm Credit Lender” means a federally-chartered Farm Credit System lending
institution organized under the Farm Credit Act of 1971, as the same may be amended or
supplemented from time to time.

                “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this
Agreement (or any amended or successor version that is substantively comparable and not
materially more onerous to comply with), any current or future regulations or official
interpretations thereof and any agreement entered into pursuant to Section 1471(b)(1) of the Code.

               “Federal Funds Rate” means, for any day, the rate per annum equal to the weighted
average of the rates on overnight Federal funds transactions with members of the Federal Reserve
System, as published by the Federal Reserve Bank of New York on the Business Day next
succeeding such day; provided that (a) if such day is not a Business Day, the Federal Funds Rate
for such day shall be such rate on such transactions on the preceding Business Day as so published
on the next succeeding Business Day, and (b) if no such rate is so published on such next
succeeding Business Day, the Federal Funds Rate for such day shall be the average of the
quotations for such day for such transactions received by Administrative Agent from three federal
funds brokers of recognized standing selected by it.

               “Fee Letters” means the Agent Fee Letter and the Arranger Fee Letter and the Farm
Credit Fee Letter.

                 “Final Order” means, collectively, the order of the Bankruptcy Court entered in the
Bankruptcy Cases after a final hearing under Bankruptcy Rule 4001(c)(2) or such other procedures
as approved by the Bankruptcy Court, which order shall be substantially in the form of the Interim
Order (with only such modifications thereto as are necessary to convert the Interim Order into a
final order and authorize the approval of the DIP Term Loans and such other modifications
satisfactory in form and substance to the Administrative Agent and the Required Lenders and each
other Lender or percentage of Lenders that would have a right to consent to such modifications in
accordance with Section 9.02(b)), and from which no appeal or motion to reconsider has been
timely filed, or if timely filed, the making of the Loans, the issuance of any Letter of Credit and/or
the performance by any Loan Party of any of their respective obligations under any of the Loan
Documents shall not be the subject of a presently effective stay pending such appeal (unless the
Administrative Agent waives such requirement), together with all extensions, modifications and
amendments thereto, in form and substance satisfactory to the Administrative Agent and the
Required Lenders and each other Lender or percentage of Lenders that would have a right to
consent to such modifications in accordance with Section 9.02(b).

             “Final Order Date” means the date on which the Final Order is entered by the
Bankruptcy Court.

               “Financial Officer” means the chief executive officer, chief financial officer,
principal accounting officer, treasurer or controller of the Borrower.




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               “Flood Certificate” means a life of loan “Standard Flood Hazard Determination
Form” of the Federal Emergency Management Agency and any successor Governmental Authority
performing a similar function, in form and substance satisfactory to Administrative Agent.

                 “Flood Insurance Laws” means, collectively, (a) the National Flood Insurance Act
of 1968 as now or hereafter in effect or any successor statute thereto, (b) the Flood Disaster
Protection Act of 1973 as now or hereafter in effect or any successor statute thereto, (c) the
National Flood Insurance Reform Act of 1994 as now or hereafter in effect or any successor statute
thereto, (d) the Flood Insurance Reform Act of 2004 as now or hereafter in effect or any successor
statute thereto and (e) the Biggert-Waters Flood Insurance Reform Act of 2012 as now or hereafter
in effect or any successor statute thereto and all applicable rules and regulations promulgated under
(a) through (e).

               “Flood Zone” means areas having special flood hazards as described in the
National Flood Insurance Act of 1968, as amended from time to time, and any successor statute.

               “Foreign Asset Sale” has the meaning set forth in Section 2.11(f).

                “Foreign Lender” means any Lender that is organized under the laws of a
jurisdiction other than that in which the Borrower is located and any other Lender that is not a
United States person within the meaning of Section 7701(a)(30) of the Code. For purposes of this
definition, the United States of America, each State thereof and the District of Columbia shall be
deemed to constitute a single jurisdiction.

               “Foreign Recovery Event” has the meaning set forth in the Section 2.11(f).

               “Foreign Subsidiary” means any Subsidiary which is not a Domestic Subsidiary.

                “Fronting Exposure” means, at any time there is a Defaulting Lender, such
Defaulting Lender’s Applicable Revolving Credit Percentage of the outstanding LC Exposure
other than LC Exposure as to which such Defaulting Lender’s participation obligation has been
reallocated to other Lenders or Cash Collateralized in accordance with the terms hereof.

               “Fully Satisfied” or “Full Satisfaction” means, as of any date, that on or before such
date:

               (a)     with respect to the Loans and Letters of Credit: (i) the principal of and
interest accrued to such date on the Loans and outstanding LC Disbursements (other than the
contingent LC Exposure) shall have been paid in full in cash, (ii) all fees, expenses, and other
amounts then due and payable (other than the contingent LC Exposure and other contingent
amounts for which a claim has not been made) shall have been paid in full in cash, (iii) the
Commitments shall have expired or irrevocably been terminated, and (iv) the contingent LC
Exposure, if any, shall have been secured by: (A) the grant of a first-priority, perfected Lien on
cash in an amount at least equal to 105% of the amount of such LC Exposure, (B) the issuance of
a “back-to-back” letter of credit in form and substance reasonably acceptable to the Issuing Bank
with an original face amount at least equal to 105% of the amount of such LC Exposure and issued

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by an issuing bank reasonably satisfactory to the Issuing Bank or (C) other collateral which is
reasonably acceptable to the Issuing Bank; and

                (b)    with respect to the Banking Services Obligations and Swap Obligations: (i)
all termination payments, fees, expenses, and other amounts then due and payable under the related
Banking Services Agreements or Swap Agreements shall have been paid in full in cash, and (ii)
unless otherwise waived by the applicable provider of Banking Services or Holder of Secured
Obligations to which such Swap Obligations are owed, all contingent amounts which could be
payable under the related Banking Services Agreements or Swap Agreements shall have been
secured by: (A) the grant of a first-priority, perfected Lien on cash in an amount at least equal to
105% of the amount of such contingent amounts, (B) the issuance of a letter of credit in form and
substance reasonably acceptable to the applicable provider of Banking Services or Holder of
Secured Obligations to which such Swap Obligations are owed and in an amount at least equal to
105% of the amount of such contingent obligations and issued by an issuing bank reasonably
satisfactory to such applicable provider of Banking Services or Holder of Secured Obligations to
which such Swap Obligations are owed or (C) other collateral which is reasonably acceptable to
the applicable provider of Banking Services; provided the amount of such Banking Services
Obligations or Swap Obligations shall be determined in accordance with Section 8.13.

               “Funding Account” means the deposit account of the Borrower to which the
Administrative Agent is authorized by the Borrower to transfer the proceeds of any Borrowings
requested or authorized pursuant to this Agreement.

                “GAAP” means generally accepted accounting principles in the United States set
forth in the opinions and pronouncements of the Accounting Principles Board and the American
Institute of Certified Public Accountants and statements and pronouncements of the Financial
Accounting Standards Board, consistently applied and as in effect from time to time.

                “Governmental Authority” means the government of the United States of America,
any other nation or any political subdivision thereof, whether state or local, and any agency,
authority, instrumentality, regulatory body, court, central bank or other entity exercising executive,
legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to
government (including any supra-national bodies such as the European Union or the European
Central Bank) and any group or body charged with setting regulatory capital rules or standards
(including, without limitation, the Basel Committee on Banking Supervision or any successor or
similar authority thereto).

               “Guarantee” means, with respect to any Person, without duplication, any
obligations of such Person (other than endorsements in the ordinary course of business of
negotiable instruments for deposit or collection) guaranteeing or intended to guarantee any
Indebtedness of any other Person in any manner, whether direct or indirect, and including without
limitation any obligation, whether or not contingent, (a) to purchase any such Indebtedness or any
property constituting security therefor, (b) to advance or provide funds or other support for the
payment or purchase of any such Indebtedness or to maintain working capital, solvency or other
balance sheet condition of such other Person (including without limitation keep well agreements,
maintenance agreements or similar agreements or arrangements) for the benefit of any holder of
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Indebtedness of such other Person, (c) to lease or purchase assets, securities or services primarily
for the purpose of assuring the holder of such Indebtedness, or (d) to otherwise assure or hold
harmless the holder of such Indebtedness against loss in respect thereof. The amount of any
Guarantee hereunder shall (subject to any limitations set forth therein) be deemed to be an amount
equal to the outstanding principal amount (or maximum principal amount, if larger) of the
Indebtedness in respect of which such Guarantee is made or, if not stated or determinable, the
maximum reasonably anticipated liability in respect thereof as determined by the guaranteeing
Person in good faith.

                “Hazardous Materials” means all explosive or radioactive substances or wastes and
all hazardous or toxic substances, wastes or other pollutants, including petroleum or petroleum
distillates, asbestos or asbestos containing materials, polychlorinated biphenyls, radon gas,
infectious or medical wastes and all other substances or wastes of any nature regulated pursuant to
any Environmental Law.

                “Holders of Secured Obligations” means the holders of the Secured Obligations
from time to time and shall include (i) each Lender and each Issuing Bank in respect of its Loans
and LC Exposure respectively, (ii) the Administrative Agent, the Issuing Banks and the Lenders
in respect of all other present and future obligations and liabilities of the Borrower and each Loan
Party of every type and description arising under or in connection with this Agreement or any other
Loan Document, (iii) each Lender and Affiliate of such Lender and each provider of Non-Lender
Banking Services in respect of Swap Agreements and Banking Services Agreements entered into
with such Person by the Borrower or any Restricted Subsidiary, (iv) each indemnified party under
Section 9.03 in respect of the obligations and liabilities of the Borrower to such Person hereunder
and under the other Loan Documents, and (v) their respective successors and (in the case of a
Lender, permitted) transferees and assigns.

                 “Hybrid Equity Securities” means any securities issued by the Borrower, any
Restricted Subsidiary or a financing vehicle of the Borrower or any Restricted Subsidiary that
(i) are classified as possessing a minimum of “intermediate equity content” by S&P and Basket C
equity credit by Moody’s and (ii) other than solely through the issuance of Equity Interests, (A) do
not require any repayments or prepayments, any redemptions, repurchases, sinking fund payments
or defeasement, or any mandatory preferred cash dividends, and (B) do not otherwise provide for
(1) any obligations thereunder or in connection therewith to become due prior to their scheduled
maturity or (2) an ability (with or without the giving of notice, the lapse of time or both) for the
holder or holders of any such securities or any trustee or agent on its or their behalf to cause any
such obligations to become due, in each case, prior to at least 180 days after the Maturity Date.

               “Improvement” means any walled and roofed building, any building in the course
of construction that qualifies for insurance coverage, and any manufactured (mobile) homes.

              “Indebtedness” means, as of any date of determination with respect to any Person,
without duplication: (a) the outstanding principal amount of all obligations for borrowed money,
whether current or long-term and all obligations evidenced by bonds, debentures, notes, loan
agreements or other similar instruments or upon which interest payments are customarily made;
(b) the maximum amount of all letters of credit (including standby and commercial) and bankers’
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acceptances, including unpaid reimbursement obligations in respect of drawn amounts under
letters of credit or bankers’ acceptance facilities; (c) all attributable indebtedness under Capital
Leases, synthetic leases, account receivables securitization programs (including the Permitted
Receivables Financing), off-balance sheet loans or similar off-balance sheet financing products;
(d) all obligations of such Person under conditional sale or other title retention agreements relating
to assets purchased by such Person (other than customary reservations or retentions of title under
agreements with suppliers entered into in the ordinary course of business); (e) all obligations
issued or assumed as the deferred purchase price of assets or services purchased (other than
contingent earn-out payments and other contingent deferred payments to the extent not fixed and
payable, and trade debt incurred in the ordinary course of business and due within six (6) months
of the incurrence thereof) which would appear as liabilities on a balance sheet; (f) all preferred
Equity Interests issued by such Person and which by the terms thereof could be (at the request of
the holders thereof or otherwise) subject to mandatory sinking fund payments, redemption or other
acceleration; (g) all obligations of such Person under take-or-pay or similar arrangements; (h) all
net obligations of such Person under Swap Agreements; (i) the Indebtedness of any partnership or
unincorporated joint venture in which such Person is a general partner or a joint venture to the
extent such Person would be liable therefor under applicable law or any agreement or instruments
by virtue of such Person’s interest in such other Person, except to the extent that Indebtedness is
expressly made non recourse to such Person; (j) all Guarantees with respect to outstanding
Indebtedness of the type specified in clauses (a) through (i) above of another person; and (k) all
Indebtedness of the type specified in clauses (a) through (j) above of another Person secured by
(or for which the holder of such Indebtedness has an existing right, contingent or otherwise, to be
secured by) any Lien on, or payable out of the proceeds of production from, assets owned or
acquired by such Person, whether or not the obligations secured thereby have been assumed.

                “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or
with respect to any payment made by or on account of any obligation of any Loan Party under any
Loan Document and (b) to the extent not otherwise described in clause (a), Other Taxes.

                “Ineligible Institution” means (a) a natural person, (b) a Defaulting Lender, (c) the
Borrower, any of its Subsidiaries or any of its Affiliates, or (d) a company, investment vehicle or
trust for, or owned and operated for the primary benefit of, a natural person or relative(s) thereof.

                “Initial Borrowing Base Property” means each parcel of real property that was a
Mortgaged Property under, and as defined in, the Pre-Petition Credit Agreement as in effect on the
Petition Date and is described on Schedule 1.01(b) (and, if applicable, equipment located thereon)
with respect to which a first priority lien (subject to only to the Carve-Out and Permitted Liens) is
granted to the Administrative Agent for the benefit of the Holders of Secured Obligations pursuant
to the Orders.

               “Intercreditor Agreement” means that certain Intercreditor Agreement dated as of
the Effective Date (including any and all supplements thereto) and executed between the
Administrative Agent and Rabobank, together with any of its permitted successors and assigns
thereunder, as Receivables Financier, and as amended, amended and restated, supplemented or
otherwise modified from time to time.

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               “Interest Election Request” means a request by the Borrower to convert or continue
a Borrowing in accordance with Section 2.08 in the form attached hereto as Exhibit D-2; or such
other form as may be approved by the Administrative Agent (including any form on an electronic
platform or electronic transmission system as shall be approved by the Administrative Agent),
appropriately completed and signed by a Responsible Officer of the Borrower.

               “Interest Payment Date” means (a) with respect to any ABR Loan, (i) the second
Business Day following the last day of each calendar month and (ii) the Maturity Date and (b) with
respect to any LIBOR Loan, the last day of the Interest Period applicable to the Borrowing of
which such Loan is a part and the Maturity Date.

                “Interest Period” means with respect to any LIBOR Borrowing, the period
commencing on the date such LIBOR Loan is disbursed, converted to or continued and ending on
the date that is one month thereafter; provided, that (i) if any Interest Period would end on a day
other than a Business Day, such Interest Period shall be extended to the next succeeding Business
Day unless, in the case of a LIBOR Borrowing only, such next succeeding Business Day would
fall in the next calendar month, in which case such Interest Period shall end on the preceding
Business Day, (ii) any Interest Period pertaining to a LIBOR Borrowing that commences on the
last Business Day of a calendar month (or on a day for which there is no numerically
corresponding day in the last calendar month of such Interest Period) shall end on the last Business
Day of the last calendar month of such Interest Period and (iii) no Interest Period shall extend
beyond the Maturity Date.

                “Interim Order” means the order of the Bankruptcy Court entered in the Bankruptcy
Cases after an interim hearing in form and substance satisfactory to the Administrative Agent and
the Lenders, together with all extensions, modifications and amendments thereto, in form and
substance satisfactory to the Administrative Agent and the Required Lenders (and each other
Lender or percentage of Lenders that would have a right to consent to such modifications in
accordance with Section 9.02(b)) which, among other matters but not by way of limitation, (i)
authorizes the Borrower and the other Loan Parties to execute and perform under the terms of this
Agreement and the other Loan Documents, (ii) authorizes Revolving Loans during the period after
the Interim Order Date and prior to the Final Order Date in the amounts and on the terms set forth
herein, and (iii) grants the DIP Super-Priority Claims and the Liens on the assets of the Loan
Parties referred to herein and in the other Loan Documents.

             “Interim Order Date” means the date on which the Interim Order is entered by the
Bankruptcy Court.

               “IRS” means the United States Internal Revenue Service.

               “Issuing Bank” means Rabobank in its individual capacity as an issuer of Letters
of Credit hereunder and its successors in such capacity as provided in Section 2.06(i) and any
Lender appointed by the Borrower (with the consent of such Lender and the Administrative Agent)
as such by notice to the Lenders as a replacement for any Issuing Bank who is at the time of such
appointment a Defaulting Lender. Each Issuing Bank may, in its discretion, arrange for one or
more Letters of Credit to be issued by Affiliates of such Issuing Bank, in which case the term
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“Issuing Bank” shall include any such Affiliate with respect to Letters of Credit issued by such
Affiliate.

                 “Laws” means, collectively, all international, foreign, federal, state and local
statutes, treaties, rules, guidelines, regulations, ordinances, codes and administrative or judicial
precedents or authorities, including the interpretation or administration thereof by any
Governmental Authority charged with the enforcement, interpretation or administration thereof,
and all applicable administrative orders, directed duties, licenses, authorizations and permits of,
and agreements with, any Governmental Authority, in each case having the force of law.

               “LC Collateral Account” has the meaning assigned to such term in Section 2.06(j).

              “LC Commitment” means, with respect to each Issuing Bank, the commitment, if
any, of such Issuing Bank to issue Letters of Credit, expressed as an amount representing the
maximum possible aggregate amount of such Issuing Bank’s LC Exposure hereunder, as such
commitment may be reduced, terminated or increased from time to time pursuant to the provisions
of this Agreement. The initial amount of each Issuing Bank’s LC Commitment is set forth on
Schedule 1.01(a), or in the Assignment and Assumption pursuant to which such Issuing Bank shall
have assumed its LC Commitment, as applicable.

               “LC Disbursement” means a payment made by an Issuing Bank pursuant to a Letter
of Credit.

                “LC Exposure” means, as at any date of determination, the aggregate amount
available to be drawn under all outstanding Letters of Credit plus the aggregate amount of all
unreimbursed LC Disbursements, including all Letter of Credit Borrowings. For purposes of
computing the amount available to be drawn under any Letter of Credit, the amount of such Letter
of Credit shall be determined in accordance with Section 1.05. For all purposes of this Agreement,
if on any date of determination a Letter of Credit has expired by its terms but any amount may still
be drawn thereunder by reason of the operation of Rule 3.14 of the ISP, such Letter of Credit shall
be deemed to be “outstanding” in the amount so remaining available to be drawn.

                “Lender Banking Services” means each and any of the following bank services
provided to the Borrower or any Restricted Subsidiary by any Lender or any of its Affiliates:
(a) credit cards or debit cards for commercial customers (including, without limitation, commercial
credit cards, debit cards and purchasing cards), (b) stored value cards and (c) treasury or other cash
management services (including, without limitation, controlled disbursement, automated
clearinghouse transactions, return items, overdrafts and interstate depository network services).

               “Lender Parent” means, with respect to any Lender, any Person as to which such
Lender is, directly or indirectly, a subsidiary.

                “Lenders” means the Persons listed on the Schedule 1.01(a) and any other Person
that shall have become a Lender hereunder pursuant to an Assignment and Assumption, other than
any such Person that ceases to be a party hereto pursuant to an Assignment and Assumption.


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              “Letter of Credit” means any letter of credit issued hereunder providing for the
payment of cash upon the honoring of a presentation thereunder. A Letter of Credit may be a
commercial letter of credit or a standby letter of credit.

                “LIBO Rate” means, with respect to any Borrowing for any Interest Period, a rate
per annum equal to the London interbank offered rate as administered by the ICE Benchmark
Administration (or any other Person that takes over the administration of such rate) for deposits in
U.S. dollars with a term equivalent to such Interest Period as displayed on the Reuters screen page
that displays such rate (currently page LIBOR01) (or, in the event such rate does not appear on a
Reuters page or screen, on the appropriate page of such other information service that publishes
such rate as shall be selected by Administrative Agent from time to time in its reasonable discretion)
at approximately 11:00 a.m., London time, 2 Business Days prior to the commencement of such
Interest Period; provided that in no event shall the LIBO Rate be less than zero. In the event that
such rate is not available at such time for any reason, then the LIBO Rate with respect to such
Borrowing for such Interest Period shall be the rate at which dollar deposits in the amount of the
requested Borrowing and for a maturity comparable to such Interest Period are offered by the
principal London office of Rabobank in immediately available funds in the London interbank
market at approximately 11:00 a.m., London time, 2 Business Days prior to the commencement
of such Interest Period; provided that in no event shall such rate be less than zero.

              “LIBO Screen Rate” shall mean the LIBO Rate quote on the applicable screen page
the Administrative Agent designates in its reasonable discretion to determine the LIBO Rate (or
such other commercially available source providing such quotations as may be designated by the
Administrative Agent in its reasonable discretion from time to time).
               “LIBO Successor Rate” has the meaning assigned to such term in Section 2.14(c).

               “LIBO Successor Rate Conforming Changes” shall mean, with respect to any
proposed LIBO Successor Rate, any conforming changes to the definition of LIBO Rate, Adjusted
LIBO Rate, Alternate Base Rate, Applicable Rate, Interest Period, timing and frequency of
determining rates and making payments of interest and other administrative matters in each case
as may be appropriate, in the reasonable discretion of the Administrative Agent, to reflect the
adoption of such LIBO Successor Rate and to permit the administration thereof by the
Administrative Agent in a manner substantially consistent with market practice (or, if the
Administrative Agent determines that adoption of any portion of such market practice is not
administratively feasible or that no market practice for the administration of such LIBO Successor
Rate exists, in such other manner of administration as the Administrative Agent reasonably
determines in consultation with the Borrower).

                “LIBOR”, when used in reference to any Loan or Borrowing, refers to whether such
Loan, or the Loans comprising such Borrowing, are bearing interest at a rate determined by
reference to the Adjusted LIBO Rate.

                “Lien” means, with respect to any asset, (a) any mortgage, deed of trust, lien,
pledge, hypothecation, encumbrance, assignment for security, levy, attachment, charge, security
interest in, on or of such asset, (b) the interest of a vendor or a lessor under any conditional sale

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agreement, Capital Lease or title retention agreement (or any financing lease having substantially
the same economic effect as any of the foregoing) relating to such asset and (c) in the case of
securities, any purchase option, call or similar right of a third party with respect to such securities.

                “Loan Documents” means this Agreement, any promissory notes issued pursuant
to this Agreement, each Compliance Certificate, each Borrowing Base Certificate, each Agreed
Budget, each Agreed Budget Variance Report, any Letter of Credit applications, the Collateral
Documents, the Subsidiary Guaranty, the Environmental Indemnity Agreements, the Fee Letters,
all Borrowing Requests, all Interest Election Requests, the Intercreditor Agreement, the Interim
Order (and, on and after the Final Order Date, the Final Order) and all other agreements,
instruments, documents and certificates identified in Section 4.01 executed and delivered to, or in
favor of, the Administrative Agent or any Lenders and including all other pledges, powers of
attorney, consents, assignments, contracts, notices, letter of credit agreements and all other
written matter whether heretofore, now or hereafter executed by or on behalf of any Loan Party,
or any employee of any Loan Party, and delivered to the Administrative Agent or any Lender in
connection with this Agreement or the transactions contemplated hereby. Any reference in this
Agreement or any other Loan Document to a Loan Document shall include all appendices,
exhibits or schedules thereto, and all amendments, restatements, supplements or other
modifications thereto, and shall refer to this Agreement or such Loan Document as the same may
be in effect at any and all times such reference becomes operative. For the avoidance of doubt,
Loan Documents shall not include Organization Documents of the Borrower or any of its
Restricted Subsidiaries, notwithstanding the fact that the same are delivered to the Administrative
Agent and the Lenders pursuant to Section 4.01.

               “Loan Parties” means the Borrower and the Subsidiary Guarantors.

              “Loans” means the loans and advances made by the Lenders pursuant to this
Agreement in the form of DIP Term Loans and Revolving Loans.

                “Material Adverse Effect” means (A) a material adverse change in, or a material
adverse effect on, the operations, business, assets, properties, liabilities (actual or contingent) or
financial condition of the Borrower and its Restricted Subsidiaries (other than any Receivables
Financing SPC), taken as a whole ((i) other than (x) the filing of the Bankruptcy Cases, (y) those
events, conditions and circumstances related and/or leading up to and customarily resulting from
the commencement of the Bankruptcy Cases (including defaults under agreements that have no
effect under the terms of the Bankruptcy Code as a result of the commencement of the Bankruptcy
Cases) and (z) any reduction in payment terms by suppliers and vendors relating to or resulting
from the commencement of the Bankruptcy Cases and (ii) taking into account the effect of the
automatic stay under the Bankruptcy Code); (B) a material impairment of the rights and remedies
of the Administrative Agent, any Issuing Bank or any Lender under any Loan Document, or of the
ability of the Borrower or any Subsidiary Guarantor to pay the Obligations and to perform its
obligations under any Loan Document to which it is a party; or (C) a material adverse effect upon
the legality, validity, binding effect or enforceability against the Borrower or any Subsidiary
Guarantor of any Loan Document to which it is a party.


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               “Material Indebtedness” means (i) the Contingent Subordinated Obligation, and
(ii) Indebtedness (other than the Loans and Letters of Credit but including the Permitted
Receivables Financing), or obligations in respect of one or more Swap Agreements, of any one or
more of the Borrower and its Subsidiaries in an aggregate principal amount exceeding
$25,000,000. For purposes of determining Material Indebtedness, the “obligations” of the
Borrower or any Subsidiary in respect of any Swap Agreement at any time shall be the maximum
aggregate amount (giving effect to any netting agreements) that the Borrower or such Subsidiary
would be required to pay if such Swap Agreement were terminated at such time.

               “Maturity Date” means the earliest to occur of:

                      (a)    the effective date of a plan of reorganization filed in the Bankruptcy
Cases that is confirmed pursuant to an order of the Bankruptcy Court;
                     (b)   the date of consummation of a sale, pursuant to section 363 of the
Bankruptcy Code or otherwise, of all or substantially all of the Debtors’ assets;
                      (c)    the date that is forty-five (45) days after the Petition Date if a Final
Order has not been entered by the Bankruptcy Court by such date;
                        (d)     the Interim Order or the Final Order, as applicable, ceasing to be in
full force and effect for any reason;
                     (e)     the acceleration of the Obligations or termination by the
Administrative Agent and/or the Required Lenders of the Revolving Commitments; and
                       (f)     the Scheduled Maturity Date.
                “Maturity Extension Conditions” shall mean:

                      (a)    a Financial Officer of the Borrower shall provide written notice (an
“Extension Election Notice”) to the Administrative Agent and the Lenders of the exercise of such
Extension Election not more than thirty (30) days and not fewer than fifteen (15) days prior to the
Scheduled Maturity Date of the Extended Scheduled Maturity Date, which notice shall be
irrevocable when delivered and shall be confirmed promptly by telephonic notice to the
Administrative Agent and shall certify, represent and warrant that on the date of delivery of such
Extension Election Notice, both immediately before and after such delivery:
                      (i)      the representations and warranties of the Borrower set forth in this
               Agreement shall be true and correct in all material respects (or in all respects if the
               applicable representation or warranty is qualified by Material Adverse Effect or
               materiality); and

                       (ii)    no Default or Event of Default shall have occurred and be continuing
               or result therefrom;

                       (b)     such Extension Election shall certify, and be accompanied by:
                      (i)  an updated, modified or supplemented rolling 13-week detailed
               budget commencing with the following Friday (with such supporting detail as the

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               Administrative Agent and its financial advisor may reasonably request), and such
               updated, modified or supplemented budget shall become the “Agreed Budget”
               subject to and in accordance with Section 5.12; and

                       (ii)   an updated Borrowing Base Certificate;

                    (c)     the Borrower shall have paid to the Administrative Agent for the
account of each Lender an aggregate fee equal to 0.50% of the maximum amount of each such
Lender’s Loans and Commitments at the time of the delivery of the applicable Extension Election
Notice; and
                       (d)    on the original Scheduled Maturity Date:
                      (i)      the representations and warranties of the Borrower set forth in this
               Agreement shall be true and correct in all material respects (or in all respects if the
               applicable representation or warranty is qualified by Material Adverse Effect or
               materiality); and

                       (ii)    no Default or Event of Default shall have occurred and be continuing
               or result from the extension of the Scheduled Maturity Date; and

                      (e)      the Borrower shall have filed a disclosure statement and Acceptable
Plan and/or a Sale Motion (as applicable) (it being understood and agreed that this clause (e) shall
be deemed to be satisfied if the Borrower has satisfied the milestones set forth in Section 5.14).
               “Maximum Available Amount” means at any time, the lesser of (a) the lesser of (x)
the Aggregate Revolving Commitments then in effect and (y) the Total Revolving Outstandings
Cap at such time and (b) the Borrowing Base as reflected in the most recently delivered Borrowing
Base Certificate.

               “Milestones” has the meaning set forth in Section 5.14.

               “Moody’s” means Moody’s Investors Service, Inc.

                “Mortgages” means each mortgage, leasehold mortgage, deed to secure debt, deed
of trust, leasehold deed of trust, and similar agreement executed by any Loan Party after the
Effective Date, for the benefit of Administrative Agent and the Holders of Secured Obligations,
granting a Lien on any real property of such Loan Party.

               “Mortgaged Property” means each parcel of owned real property and the
improvements thereto with respect to which a Mortgage is granted (or is required to be granted)
pursuant to Section 5.10.

              “Multiemployer      Plan”    means      a   multiemployer     plan   as   defined    in
Section 4001(a)(3) of ERISA.

              “National Flood Insurance Program” means the National Flood Insurance Program
created pursuant to the National Flood Insurance Act of 1968, the Flood Disaster Protection Act
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of 1973, the National Flood Insurance Reform Act of 1994 and the Flood Insurance Reform Act
of 2004, in each case as amended from time to time, and any successor statute.

                “Net Cash Proceeds” means, with respect to any Asset Sale, (a) the cash proceeds
received in respect of such Asset Sale including any cash received in respect of any non-cash
proceeds (including any cash payments received by way of deferred payment of principal pursuant
to a note or installment receivable or purchase price adjustment receivable or otherwise, but
excluding any interest payments), but only as and when received, net of (b) the sum of (i) all fees
and out-of-pocket expenses paid to third parties (other than Affiliates) in connection with such
Asset Sale, (ii) the amount of all payments required to be made as a result of such Asset Sale to
repay Indebtedness (other than Loans) secured by such asset or otherwise subject to mandatory
prepayment as a result of such Asset Sale and (iii) the amount of all taxes paid (or reasonably
estimated to be payable) and the amount of any reserves established to fund contingent liabilities
reasonably estimated to be payable, in each case during the year that such Asset Sale occurred or
the next succeeding year and that are directly attributable to such Asset Sale (as determined
reasonably and in good faith by a Financial Officer).

               “Non-Extension Notice Date” has the meaning assigned to such term in
Section 2.06(b)(viii).

                “Non-Lender Banking Services” means each and any of the following bank
products provided, pursuant to agreements entered into prior to the Effective Date, to the Borrower
or any Restricted Subsidiary in the ordinary course of business by any Person that immediately
prior to the Effective Date was a “Lender” under (and as defined in) the Pre-Petition Credit
Agreement but is not a Lender or an Affiliate of a Lender under this Agreement: (a) credit cards
or debit cards for commercial customers (including, without limitation, commercial credit cards,
debit cards and purchasing cards), (b) stored value cards and (c) treasury or other cash
management services (including, without limitation, controlled disbursement, automated
clearinghouse transactions, return items, overdrafts and interstate depository network services).

                “Obligations” means all unpaid principal of and accrued and unpaid interest on the
Loans, all LC Exposure, all accrued and unpaid fees and all expenses, reimbursements, indemnities
and other obligations of the Loan Parties to the Lenders or to any Lender, the Administrative
Agent, the Issuing Banks or to any Issuing Bank or any indemnified party arising under the Loan
Documents, and including interest, fees and expenses that accrue after the Effective Date.
Furthermore, on and from the Final Order Date, all “Obligations” of any Lender under (and as
defined in) the Pre-Petition Credit Agreement shall be deemed “Obligations” hereunder with
similar effect, and with the priority set forth in Section 2.18 of this Agreement and the Orders.

              “OFAC” means the Office of Foreign Assets Control of the United States
Department of the Treasury.

               “Order” means, as the context may require, the Interim Order or the Final Order,
whichever is then applicable.


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                “Organization Documents” means, (a) with respect to any corporation, the
certificate or articles of incorporation and the bylaws (or equivalent or comparable constitutive
documents with respect to any non-U.S. jurisdiction); (b) with respect to any limited liability
company, the certificate or articles of formation or organization and operating agreement; and
(c) with respect to any partnership, joint venture, trust or other form of business entity, the
partnership, joint venture or other applicable agreement of formation or organization and any
agreement, instrument, filing or notice with respect thereto filed in connection with its formation
or organization with the applicable Governmental Authority in the jurisdiction of its formation or
organization and, if applicable, any certificate or articles of formation or organization of such
entity.

                “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as
a result of a present or former connection between such Recipient and the jurisdiction imposing
such Tax (other than connections arising from such Recipient having executed, delivered, become
a party to, performed its obligations under, received payments under, received or perfected a
security interest under, engaged in any other transaction pursuant to or enforced any Loan
Document, or sold or assigned an interest in any Loan or Loan Document).

                “Other Taxes” means all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution,
delivery, performance, enforcement or registration of, from the receipt or perfection of a security
interest under, or otherwise with respect to, any Loan Document, except any such Taxes that are
Other Connection Taxes imposed with respect to an assignment (other than an assignment made
pursuant to Section 2.19 or 2.20).

               “Participant” has the meaning set forth in Section 9.04.

               “Participant Register” has the meaning assigned to such term in Section 9.04(c).

             “PBGC” means the Pension Benefit Guaranty Corporation referred to and defined
in ERISA and any successor entity performing similar functions.

               “Permitted Encumbrances” means:

              (a)     Liens imposed by law for Taxes that are not yet delinquent or are being
       contested in compliance with Section 5.04;

              (b)     carriers’, warehousemen’s, mechanics’, materialmen’s, repairmen’s,
       landlord’s and other like Liens imposed by law, arising in the ordinary course of business
       and securing obligations that are not overdue by more than 30 days or are being contested
       in compliance with Section 5.04;

              (c)    pledges and deposits under workers’ compensation, unemployment
       insurance and other social security laws or regulations;



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               (d)     deposits or pledges to secure the performance of bids, trade contracts,
       leases, statutory obligations, surety and appeal bonds, performance bonds and other
       obligations of a like nature, in each case in the ordinary course of business;

               (e)  judgment Liens in respect of judgments (or appeal or surety bond relating
       to such judgments) that do not constitute an Event of Default under clause (k) of
       Article VII;

               (f)   easements, zoning restrictions, licenses, title restrictions, rights-of-way and
       similar encumbrances on real property imposed by law or incurred or granted by the
       Borrower or any Subsidiary in the ordinary course of business that do not secure any
       material monetary obligations and do not materially detract from the value of the affected
       property or materially interfere with the ordinary conduct of business of the Borrower or
       any Subsidiary;

               (g)    minor imperfections in title that do not materially detract from the value of
       the affected property or materially interfere with the ordinary conduct of business of
       Borrower or any Subsidiary; and

              (h)     other immaterial Liens acceptable to the Administrative Agent in its
       reasonable discretion;

provided that the term “Permitted Encumbrances” shall not include any Lien securing
Indebtedness.

               “Permitted Liens” means, at any time, Liens in respect of property of the Borrower
or any Restricted Subsidiary permitted to exist at such time pursuant to the terms of Section 6.02.

                “Permitted Receivables Financing” means the receivables financing transactions
contemplated by the Ninth Amended and Restated Receivables Purchase Agreement, dated on or
before the Effective Date (as amended, amended and restated, supplemented or otherwise modified
from time to time), by and among Dairy Group Receivables, L.P. and Dairy Group Receivables II,
L.P., as sellers (the “Sellers”), the financial institutions from time to time party thereto as
purchasers, Rabobank, as agent for the purchasers and the other parties thereto, pursuant to which
(i) certain Loan Parties that are Originators (as defined therein) sell (as determined in accordance
with GAAP) accounts (as defined in the Uniform Commercial Code as in effect in the State of
New York), (collectively, together with certain general intangibles relating thereto and the right to
collections thereon, being the “Transferred Assets”) to a Receivables Financing SPC, (ii) such
Receivables Financing SPC then sells (as determined in accordance with GAAP) any such
Transferred Assets (or an interest therein) to any Person that is not a Subsidiary or Affiliate of the
Borrower (with respect to any such transaction, the “Receivables Financier”) and is a Purchaser
(as defined thereunder), (iii) such Loan Parties provide indemnities to the Receivables Financier
and Receivables Financier SPC to which Transferred Assets are transferred and (iv) the Borrower
undertakes to guarantee obligations and agrees to fulfill its own obligations under each
Performance Undertaking (as defined thereunder); provided that (A) such financing shall not
involve any recourse to any Loan Party or any Subsidiary (other than a Receivables Financing
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SPC) for any reason other than (x) repurchases of non-eligible assets or (y) indemnifications for
losses other than credit losses relating to the Transferred Assets, (B) such financing is subject to
the Intercreditor Agreement and (C) any amendments or modifications to any of the terms thereof
arising after the Petition Date shall not be materially adverse to the interests of the Lenders
(including, without limitation, shortening the final maturity or average life to maturity, requiring
any payment to be made sooner than originally scheduled or increasing the interest rate or fees
applicable thereto, reducing any advance rates, adding additional defaults events of default, adding
conditions or limitations to the availability of such financing, adding additional financial tests,
reducing any advance rates thereunder or changing any subordination provision thereof (in each
case, other than to cure clear errors or defects in the underlying documents)).

                 “Person” means any natural person, corporation, limited liability company, trust,
joint venture, association, company, partnership, Governmental Authority or other entity.

               “Petition Date” has the meaning specified in the recitals to this Agreement.

               “Plan” means any employee pension benefit plan (other than a Multiemployer Plan)
subject to the provisions of Title IV of ERISA or Section 412 of the Code or Section 302 of
ERISA, and in respect of which the Borrower or any ERISA Affiliate is (or, if such plan were
terminated, would under Section 4069 of ERISA be deemed to be) an “employer” as defined in
Section 3(5) of ERISA.

              “Plan Process” means a standalone Chapter 11 plan process proposed by the
Debtors, which shall be in form and substance reasonably acceptable to the Required Lenders.

                “Pledge Subsidiary” means (i) each Domestic Subsidiary, (ii) each Foreign
Subsidiary and (iii) each Receivables Financing SPC; provided that notwithstanding anything to
the contrary herein, in no event shall a Pledge Subsidiary include a Subsidiary to the extent, and
for so long as, all of the Equity Interests of such Subsidiary constitute Excluded Property.

                “PP&E Conditions” means the requirements with respect to Mortgaged Property
set forth in Section 5.11(a).

              “PP&E Conditions Completion Date” means the Business Day on which the
Borrower has satisfied the PP&E Conditions in accordance with Section 5.11(a), as reasonably
determined by the Administrative Agent and as evidenced by notice to the Lenders.

              “Pre-Petition” means the time period ending immediately prior to the filing of the
applicable Bankruptcy Cases on the Petition Date.

               “Pre-Petition Administrative Agent” has the meaning specified in the recitals to this
Agreement.

                “Pre-Petition Cash Collateral” has the meaning assigned to the term “Cash
Collateral” in the Orders.


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               “Pre-Petition Credit Agreement” has the meaning specified in the recitals to this
Agreement.

               “Pre-Petition Lenders” has the meaning specified in the recitals to this Agreement.

                 “Pre-Petition Receivables Purchase Agreement” has the meaning specified in the
recitals to this Agreement.

              “Pre-Petition Secured Parties” means, collectively, all “Holders of Secured
Obligations” under and as defined in the Pre-Petition Credit Agreement.

               “Prime Rate” means the rate of interest per annum published in the Wall Street
Journal as the U.S. dollar “prime rate” for such day and if the Wall Street Journal does not publish
such rate on such day then such rate as most recently published prior to such day.

             “Prior Week” means, as of any date of determination, the immediately preceding
week ended on a Sunday and commencing on the prior Monday.

              “PTE” means a prohibited transaction class exemption issued by the U.S.
Department of Labor, as any such exemption may be amended from time to time.

               “Rabobank” has the meaning set forth in the recitals to this Agreement.

              “Receivables Financier” has the meaning set forth in the definition of Permitted
Receivables Financing.

             “Receivables Financing SPC” means each of Dairy Group Receivables, L.P. and
Dairy Group Receivables II, L.P.

               “Recipient” means (a) the Administrative Agent, (b) any Lender and (c) any
Issuing Bank, as applicable.

               “Recovery Event” means the receipt by the Borrower or any of its Restricted
Subsidiaries of any cash insurance proceeds or condemnation award payable by reason of theft,
loss, physical destruction or damage, taking (by exercise of the power of eminent domain or
otherwise) or similar event with respect to any of their respective property or assets.

               “Register” has the meaning set forth in Section 9.04.

               “Related Parties” means, with respect to any specified Person, such Person’s
Affiliates and the respective directors, trustees, officers, employees, administrators, managers,
representatives, partners, agents and advisors of such Person and such Person’s Affiliates.

               “Replacement Lender” has the meaning set forth in Section 2.20(a).

               “Report Date” has the meaning set forth in Section 5.01(f).


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                “Required Lenders” means, at any time, Lenders having Loans and unused
Commitments representing more than 50% of the sum of the total Loans and unused Commitments
at such time; provided if there are three or more Lenders (Lenders that are Affiliates of one another
shall be deemed to be one Lender for purposes hereof), then Required Lenders shall in no event
be less than three Lenders. For purposes of making a determination of Required Lenders, (a) the
Commitments of, and the portion of the Revolving Exposure held or deemed held by, any
Defaulting Lender shall be excluded, and (b) any Voting Participant shall be deemed to be a
Lender.

                “Requirement of Law” means, as to any Person, the Organization Documents of
such Person, and any law, treaty, rule or regulation or determination of an arbitrator or a court or
other Governmental Authority, in each case applicable to or binding upon such Person or any of
its property or to which such Person or any of its property is subject.

               “Resignation Effective Date” has the meaning assigned to such term in Article VIII.

                “Responsible Officer” means the chief executive officer, president, vice president,
chief financial officer, treasurer, assistant treasurer or controller of a Loan Party, and, solely for
purposes of the delivery of incumbency and secretary certificates, the secretary or any assistant
secretary of a Loan Party and, solely for purposes of notices given pursuant to Article II, any other
officer of the applicable Loan Party so designated by any of the foregoing officers in a notice to
the Administrative Agent or any other officer or employee of the applicable Loan Party designated
in or pursuant to an agreement between the applicable Loan Party and the Administrative Agent.
Any document delivered hereunder that is signed by a Responsible Officer of a Loan Party shall
be conclusively presumed to have been authorized by all necessary corporate, partnership and/or
other action on the part of such Loan Party and such Responsible Officer shall be conclusively
presumed to have acted on behalf of such Loan Party.

                “Restricted Payment” means any dividend or other distribution (whether in cash,
securities or other property) with respect to any Equity Interests and Hybrid Equity Securities in
(or of) the Borrower or any Restricted Subsidiary, or any payment (whether in cash, securities or
other property), including any sinking fund or similar deposit, on account of the purchase,
redemption, retirement, acquisition, cancellation or termination of any such Equity Interests and
Hybrid Equity Securities in (or of) the Borrower or any Restricted Subsidiary or any option,
warrant or other right to acquire any such Equity Interests and Hybrid Equity Securities in (or
of) the Borrower or any Restricted Subsidiary.

               “Restricted Subsidiaries” means the Subsidiaries of the Borrower that are not
Unrestricted Subsidiaries.

               “Revolving Commitment” means, with respect to each Lender, the commitment, if
any, of such Lender to make Revolving Loans and to acquire participations in Letters of Credit
hereunder, expressed as an amount representing the maximum possible aggregate amount of such
Lender’s Revolving Exposure hereunder, as such commitment may be (a) reduced or terminated
from time to time pursuant to Section 2.09, (b) reduced from time to time pursuant to Section
2.11(b), and (c) reduced or increased from time to time pursuant to assignments by or to such
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Lender pursuant to Section 9.04. The initial amount of each Lender’s Revolving Commitment is
set forth on Schedule 1.01(a), or in the Assignment and Assumption pursuant to which such Lender
shall have assumed its Revolving Commitment, as applicable.

               “Revolving Exposure” means, with respect to any Lender at any time, the sum of
the outstanding principal amount of such Lender’s Revolving Loans and its LC Exposure at such
time.

               “Revolving Lender” means a Lender with a Revolving Commitment (or who held
a Revolving Commitment before giving effect to any termination thereof or as a result of the
occurrence of the Maturity Date) or who holds a Revolving Loan.

               “Revolving Loan” means a Loan made pursuant to Section 2.01(a).

             “S&P” means Standard & Poor’s Ratings Services, a Standard & Poor’s Financial
Services LLC business.

               “Sale Motion” means a motion filed by the Debtors pursuant to section 363 of the
Bankruptcy Code seeking approval of (x) any sales contemplated by the Sale Process (as stalking
horse bidder(s)) and (y) proposed bidding procedures with respect to any such sales, each in form
and substance reasonably acceptable to the Required Lenders.

                “Sale Process” means a process proposed by the Debtors for the sale of all or
substantially all of the business and assets of the Borrower and its Subsidiaries, the Equity Interest
of any of the Guarantors that is a Debtor, or the sale of one or more individual business units;
provided that such sale or other disposition shall be in form and substance reasonably acceptable
to the Required Lenders, or shall contemplate the Full Satisfaction of the Secured Obligations upon
consummation of such sale or other disposition.

               “Sanction(s)” means any sanctions or trade embargo imposed, administered or
enforced by OFAC, the United States Department of State, the United Nations Security Council,
the European Union, the Netherlands, or to the extent applicable to the Borrower or any Restricted
Subsidiary, any other sanctions authority.

               “Scheduled Maturity Date” means the date that is nine (9) months after the Petition
Date; provided that, at the election of the Borrower (an “Extension Election”), and subject to
compliance by the Borrower with the each of the Maturity Extension Conditions, such date shall
be extended (on not more than one occasion) to the date that is twelve (12) months after the Petition
Date (or an earlier date elected by the Borrower in its sole discretion) (such date, the “Extended
Scheduled Maturity Date”).

               “Scheduled Unavailability Date” has the meaning assigned to such term in Section
2.14(c).

               “SEC” means the United States Securities and Exchange Commission.


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                “Secured Obligations” means all Obligations, together with all Swap Obligations
and Banking Services Obligations owing to one or more Lenders or their respective Affiliates (or
a Person that was a Lender or Affiliate of a Lender at the time the Swap Obligation or Banking
Services Obligation was entered into) or any other Person with respect to Banking Services
Obligations arising in connection with Non-Lender Banking Services; provided that the definition
of “Secured Obligations” shall not create any guarantee by any Loan Party of (or grant of security
interest by any Loan Party to support, as applicable) any Excluded Swap Obligations of such Loan
Party for purposes of determining any obligations of any Loan Party. “Security Agreement” means
that certain Pledge and Security Agreement (including any and all supplements thereto), dated as
of the Effective Date, between the Loan Parties and the Administrative Agent, for the benefit of
the Administrative Agent and the other Holders of Secured Obligations, and any other pledge or
security agreement entered into, after the Effective Date by any other Loan Party (as required by
this Agreement or any other Loan Document), or any other Person, as the same may be amended,
restated or otherwise modified from time to time.

               “Securitization Assets” has the meaning set forth in the Intercreditor Agreement.

                “Senior Notes” means those certain 6.5% Senior Notes due 2023 issued pursuant
to the terms of the Indenture dated as of February 25, 2015 by and between the Borrower, the
guarantors listed therein and The Bank of New York Trust Company, as trustee, in an aggregate
outstanding principal amount of $700,000,000 as of the Petition Date.

               “Specified Subsidiary” means any Restricted Subsidiary that is not a Loan Party (or
not required to become a Loan Party pursuant to the terms of this Agreement).

               “Specified Swap Obligation” means, with respect to any Loan Party, any obligation
to pay or perform under any agreement, contract or transaction that constitutes a “swap” within
the meaning of section 1a(47) of the Commodity Exchange Act or any rules or
regulations promulgated thereunder.

                “Statutory Reserve Rate” means a fraction (expressed as a decimal), the numerator
of which is the number one and the denominator of which is the number one minus the aggregate
of the maximum reserve percentages (including any marginal, special, emergency or supplemental
reserves) expressed as a decimal established by the Board and any other banking authority,
domestic or foreign, to which the Administrative Agent or any Lender (including any branch,
Affiliate or other fronting office making or holding a Loan) is subject for eurocurrency funding
(currently referred to as “Eurocurrency liabilities” in Regulation D of the Board). Such reserve
percentages shall include those imposed pursuant to such Regulation D. LIBOR Loans shall be
deemed to constitute eurocurrency funding and to be subject to such reserve requirements without
benefit of or credit for proration, exemptions, or offsets that may be available from time to time to
any Lender under such Regulation D or any comparable regulation. The Statutory Reserve Rate
shall be adjusted automatically on and as of the effective date of any change in any reserve
percentage.

               “subsidiary” means, with respect to any Person (the “parent”) at any date, any
corporation, limited liability company, partnership, association or other entity (a) of which
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securities or other ownership interests representing more than 50% of the equity or more than 50%
of the ordinary voting power or, in the case of a partnership, more than 50% of the general
partnership interests are, as of such date, owned, Controlled or held, or (b) that is, as of such date,
otherwise Controlled, by the parent or one or more subsidiaries of the parent or by the parent and
one or more subsidiaries of the parent.

               “Subsidiary” means any direct or indirect subsidiary of the Borrower.

              “Subsidiary Guarantor” means each Restricted Subsidiary that becomes a party to
a Subsidiary Guaranty (including pursuant to a joinder or supplement thereto).

               “Subsidiary Guaranty” means that certain Guaranty dated as of the Effective Date
(including any and all supplements thereto) and executed by each Subsidiary Guarantor, and any
other guaranty agreements as are requested by the Administrative Agent and its counsel, in each
case as amended, amended and restated, supplemented or otherwise modified from time to time.

              “Super-Majority Required Lenders” means, at any time, Lenders having Loans and
unused Commitments representing more than 75% of the sum of the total Loans and unused
Commitments at such time; provided if there are three or more Lenders (Lenders that are Affiliates
of one another shall be deemed to be one Lender for purposes hereof), then Super-Majority
Required Lenders shall in no event be less than three Lenders. For purposes of making a
determination of Super-Majority Required Lenders, (a) the Commitments of, and the portion of
the Revolving Exposure held or deemed held by, any Defaulting Lender shall be excluded, and (b)
any Voting Participant shall be deemed to be a Lender.

                 “Swap Agreement” means any agreement with respect to any swap, forward, future
or derivative transaction or option or similar agreement involving, or settled by reference to, one or
more rates, currencies, commodities, equity or debt instruments or securities, or economic,
financial or pricing indices or measures of economic, financial or pricing risk or value or any
similar transaction or any combination of these transactions (other than in respect of Equity
Interests of the Borrower), in each case entered into to hedge or mitigate risks to which the
Borrower or any Subsidiary reasonably believes it has actual exposure or entered into in order to
effectively cap, collar or exchange interest rates; provided that no phantom stock or similar plan
providing for payments only on account of services provided by current or former directors,
officers, employees or consultants of the Borrower or the Subsidiaries shall be a Swap Agreement.

               “Swap Obligations” of a Person means any and all obligations of such Person,
whether absolute or contingent and howsoever and whensoever created, arising, evidenced or
acquired (including all renewals, extensions and modifications thereof and substitutions therefor),
under (a) any and all Swap Agreements permitted hereunder to the extent the provider of such
Swap Agreement is a Lender (or an Affiliate of such Lender) or was a Lender (or an Affiliate of
any such Lender at the time such Swap Agreement is entered into, and (b) any and all cancellations,
buy backs, reversals, terminations or assignments of any Swap Agreement transaction.




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               “Taxes” means all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments, fees or other charges imposed by any
Governmental Authority, including any interest, additions to tax or penalties applicable thereto.

               “Title Companies” has the meaning assigned to such term in Section 5.11(a).

                “Total Revolving Outstandings Cap” means (x) during the period prior to the entry
of the Final Order, $50,000,000 in principal amount at any time outstanding and (y) upon and after
entry of the Final Order, $236,200,000.00 in principal amount at any time outstanding.

               “Transactions” means the execution, delivery and performance by the Loan Parties
of the Loan Documents, the amendment and restatement of the Pre-Petition Receivables Purchase
Agreement on or before the Effective Date, the borrowing (or deemed borrowing) of Loans and
other credit extensions, the use of the proceeds thereof and the issuance of Letters of Credit
hereunder.

              “Transferred Assets” has the meaning set forth in the definition of Permitted
Receivables Financing.

                “Type”, when used in reference to any Loan or Borrowing, refers to whether the
rate of interest on such Loan, or on the Loans comprising such Borrowing, is determined by
reference to the Adjusted LIBO Rate or the Alternate Base Rate.

               “UCC” means the Uniform Commercial Code as in effect from time to time in the
State of New York or any other state the laws of which are required to be applied in connection
with the issue of perfection of security interests.

                “Unrestricted” means, when referring to cash or Cash Equivalents, that such cash
or Cash Equivalents (i) do not appear (and would not be required to appear) as “restricted” on a
consolidated balance sheet of the Borrower and its Restricted Subsidiaries or on a standalone
balance sheet of the Borrower or any individual Restricted Subsidiary (in each case, unless such
appearance is related to the Loan Documents or the Collateral Documents and the Liens created
thereunder to secure the Secured Obligations), (ii) are not subject to any Lien in favor of any other
Person other than the Administrative Agent for the benefit of the Holders of Secured Obligations
and (iii) are generally available for use by the Borrower and its Restricted Subsidiaries; provided
that in no event shall Unrestricted cash or Cash Equivalents include the actual dollar amount of
any checks issued, or wires or ACH payments initiated, by the Borrower or any of its Restricted
Subsidiaries to any Person other than the Borrower or a Restricted Subsidiary thereof.

              “Unrestricted Subsidiary” means each of Dean Foods Foundation, DF-AP, LLC,
DF-AP #1 LLC, Franklin Plastics, Inc., Good Karma Foods, Inc., Carnival Ice Cream, N.V.,
Importadora y Distribuidora Dean Foods, S.A. de C.V., Tenedora Dean Foods Internacional, S.A.
de C.V., Dairy Group Receivables II, L. P., Dairy Group Receivables GP II, LLC, Dairy Group
Receivables, L.P. and Dairy Group Receivables GP, LLC.



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                   “U.S. Person” means a “United States person” within the meaning of
     Section 7701(a)(30) of the Code.

                    “U.S. Tax Compliance Certificate” has the meaning assigned to such term in
     Section 2.17(f)(ii)(B)(3).

                     “Voting Participant” has the meaning assigned to such term in Section 9.04(c).

                    “Voting Participant Notification” has the meaning assigned to such term in
     Section 9.04(c).

                    “Wholly-Owned Subsidiary” means, with respect to any Person, a Subsidiary of
     such Person, 100% of the Equity Interests of which (other than directors’ qualifying shares or
     shares required by law to be owned by a resident of the jurisdiction of such Subsidiary) shall be
     owned by such Person or by one or more Wholly-Owned Subsidiaries of such Person.

                     “Withdrawal Liability” means liability to a Multiemployer Plan as a result of a
     complete or partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I
     of Subtitle E of Title IV of ERISA.

                     “Withholding Agent” means any Loan Party and the Administrative Agent.

                    “Write-Down and Conversion Powers” means, with respect to any EEA Resolution
     Authority, the write-down and conversion powers of such EEA Resolution Authority from time to
     time under the Bail-In Legislation for the applicable EEA Member Country, which write-down
     and conversion powers are described in the EU Bail-In Legislation Schedule.

               SECTION 1.02.       Classification of Loans and Borrowings. For purposes of this
Agreement, Loans may be classified and referred to by Class (e.g., a “Revolving Loan”) or by Type
(e.g., a “LIBOR Loan”) or by Class and Type (e.g., a “LIBOR Revolving Loan”). Borrowings also may
be classified and referred to by Class (e.g., a “Revolving Borrowing”) or by Type (e.g., a “LIBOR
Borrowing”) or by Class and Type (e.g., a “LIBOR Revolving Borrowing”).

                SECTION 1.03.          Terms Generally. The definitions of terms herein shall apply
equally to the singular and plural forms of the terms defined. Whenever the context may require, any
pronoun shall include the corresponding masculine, feminine and neuter forms. The words “include”,
“includes” and “including” shall be deemed to be followed by the phrase “without limitation”. The
word “will” shall be construed to have the same meaning and effect as the word “shall”. The word
“law” shall be construed as referring to all statutes, rules, regulations, codes and other laws (including
official rulings and interpretations thereunder having the force of law or with which affected Persons
customarily comply), and all judgments, orders and decrees, of all Governmental Authorities. Unless
the context requires otherwise (a) any definition of or reference to any agreement, instrument or other
document herein shall be construed as referring to such agreement, instrument or other document as
from time to time amended, amended and restated, supplemented or otherwise modified (subject to any
restrictions on such amendments, supplements or modifications set forth herein), (b) any definition of
or reference to any statute, rule or regulation shall be construed as referring thereto as from time to time

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amended, restated, supplemented or otherwise modified (including by succession of comparable
successor laws), (c) any reference herein to any Person shall be construed to include such Person’s
successors and assigns (subject to any restrictions on assignment set forth herein) and, in the case of any
Governmental Authority, any other Governmental Authority that shall have succeeded to any or all
functions thereof, (d) the words “herein”, “hereof” and “hereunder”, and words of similar import, shall
be construed to refer to this Agreement in its entirety and not to any particular provision hereof, (e) all
references herein to Articles, Sections, Exhibits and Schedules shall be construed to refer to Articles and
Sections of, and Exhibits and Schedules to, this Agreement, (f) the words “asset” and “property” shall
be construed to have the same meaning and effect and to refer to any and all tangible and intangible
assets and properties, including cash, securities, accounts and contract rights and (g) the words “ordinary
course of business” (or words of similar import) shall be construed to mean actions or activities
consistent with such Person’s past practice or consistent or ordinary for similar Persons in such subject
Person’s industry, as in existence on the Petition Date.

                 SECTION 1.04.        Accounting Terms; GAAP. Except as otherwise expressly provided
herein, all terms of an accounting or financial nature shall be construed in accordance with GAAP, as in
effect from time to time; provided that, if the Borrower notifies the Administrative Agent that the
Borrower requests an amendment to any provision hereof to eliminate the effect of any change in GAAP
occurring after the Effective Date or in the application thereof on the operation of such provision (or if
the Administrative Agent notifies the Borrower that the Required Lenders request an amendment to any
provision hereof for such purpose), regardless of whether any such notice is given before or after such
change in GAAP or in the application thereof, then such provision shall be interpreted on the basis of
GAAP as in effect and applied immediately before such change shall have become effective until such
notice shall have been withdrawn or such provision amended in accordance herewith. Notwithstanding
any other provision contained herein, all terms of an accounting or financial nature used herein shall be
construed, and all computations of amounts and ratios referred to herein shall be made (i) without giving
effect to any election under Accounting Standards Codification 825-10-25 (or any other Accounting
Standards Codification or Financial Accounting Standard having a similar result or effect) to value any
Indebtedness or other liabilities of the Borrower or any Subsidiary at “fair value”, as defined therein,
and (ii) without giving effect to any treatment of Indebtedness in respect of convertible debt instruments
under Accounting Standards Codification 470-20 (or any other Accounting Standards Codification or
Financial Accounting Standard having a similar result or effect) to value any such Indebtedness in a
reduced or bifurcated manner as described therein, and such Indebtedness shall at all times be valued at
the full stated principal amount thereof.

                SECTION 1.05.        Letter of Credit Amounts. Unless otherwise specified herein, the
amount of a Letter of Credit at any time shall be deemed to be the stated amount of such Letter of Credit
in effect at such time; provided, however, that with respect to any Letter of Credit that, by its terms or
the terms of any Letter of Credit documentation related thereto, provides for one or more automatic
increases in the stated amount thereof, the amount of such Letter of Credit shall be deemed to be the
maximum stated amount of such Letter of Credit after giving effect to all such increases, whether or not
such maximum stated amount is in effect at such time.

               SECTION 1.06.       Times of Day; Rates. Unless otherwise specified, all references
herein to times of day shall be references to Eastern time (daylight or standard, as applicable). The
Administrative Agent does not warrant, nor accept responsibility, nor shall the Administrative Agent
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have any liability with respect to the administration, submission or any other matter related to the rates
in the definitions of “LIBO Rate” or “Adjusted LIBO Rate” or with respect to any comparable or
successor rate thereto.

                SECTION 1.07.        Division. If, in connection with any division or plan of division of
a Subsidiary consummated by a Loan Party in its discretion under Delaware law (or any comparable
event under a different jurisdiction’s law), any new Person comes into existence, such new Person shall
be deemed, for purposes of Section 5.10 to have been organized on the first date of its existence by the
holders of its Equity Interests at such time, and the Borrower or any Restricted Subsidiary shall be
deemed, for purposes of Section 6.04, to have made an investment in the amount of the fair market value
of the assets transferred by the Borrower or such Subsidiary to such resulting Person (less the cash
consideration received) in each case on the date of such Person’s formation.

                                                ARTICLE II

                                                 The Credits

               SECTION 2.01.        Commitments. Subject to the terms and conditions set forth herein:

                    (a)    Each Lender agrees (severally and not jointly) to make Revolving Loans in
    dollars to the Borrower from time to time on any Business Day during the Availability Period in an
    aggregate principal amount that will not result in (a) such Lender’s Revolving Exposure exceeding
    such Lender’s Applicable Revolving Credit Percentage of the lesser of the Aggregate Revolving
    Commitment and the Total Revolving Outstandings Cap at such time, (b) the aggregate outstanding
    principal amount of Revolving Loans exceeding the Total Revolving Outstandings Cap or (c) the
    sum of the total Revolving Exposures then outstanding exceeding the Maximum Available Amount.
    Within the foregoing limits and subject to the terms and conditions set forth herein, the Borrower
    may borrow, prepay and reborrow Revolving Loans.

                    (b)    On and from the Final Order Date, in accordance with the terms of the Final
    Order and Section 4.03 hereof (and, for the avoidance of doubt, without the need for a Borrowing
    Request), each Lender that is a Pre-Petition Lender agrees that the aggregate outstanding principal
    amount of its Pre-Petition Revolving Loans as of the Petition Date shall be deemed exchanged for
    and converted into a term loan to the Borrower hereunder (each, a “DIP Term Loan”) on a dollar-
    for-dollar basis, which exchange and conversion (for the avoidance of doubt) shall not constitute a
    novation, and such DIP Term Loans shall be deemed a LIBOR Borrowing with an Interest Period
    of one month hereunder on the Final Order Date and shall constitute Obligations hereunder for all
    purposes under the Loan Documents and in the Orders. Amounts of DIP Term Loans prepaid or
    repaid may not be reborrowed.

               SECTION 2.02.        Loans and Borrowings.

                    (a)    Each Loan shall be made (or deemed made) as part of a Borrowing
    consisting of Loans of the same Class made by the Lenders ratably in accordance with their
    respective Revolving Commitments and/or DIP Term Loan Commitments, as applicable. The
    failure of any Lender to make any Loan required to be made by it shall not relieve any other Lender
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    of its obligations hereunder; provided that the Commitments of the Lenders are several and no
    Lender shall be responsible for any other Lender’s failure to make Loans as required.

                   (b)     Subject to Section 2.14, each Borrowing shall be comprised entirely of ABR
    Loans or LIBOR Loans as the Borrower may request in accordance herewith. Each Lender at its
    option may make any LIBOR Loan by causing any domestic or foreign branch or Affiliate of such
    Lender to make such Loan (and in the case of an Affiliate, the provisions of Sections 2.14, 2.15,
    2.16 and 2.17 shall apply to such Affiliate to the same extent as to such Lender); provided that (i)
    any exercise of such option shall not affect the obligation of the Borrower to repay such Loan in
    accordance with the terms of this Agreement and (ii) the non-performance of a Lender’s obligations
    by any domestic or foreign branch or Affiliate of such Lender so nominated by it shall not relieve
    the Lender from its obligations under this Agreement.

                    (c)      At the commencement of each Interest Period for any LIBOR Revolving
    Borrowing, such Borrowing shall be in an aggregate amount that is an integral multiple of
    $500,000 and not less than $2,500,000. At the time that each ABR Revolving Borrowing is made,
    such Borrowing shall be in an aggregate amount that is an integral multiple of $500,000 and not
    less than $2,500,000; provided that an ABR Revolving Borrowing may be in an aggregate amount
    that is equal to the entire unused balance of the Maximum Available Amount or that is required to
    finance the reimbursement of an LC Disbursement as contemplated by Section 2.06(e). Borrowings
    of more than one Type and Class may be outstanding at the same time; provided that there shall not
    at any time be more than a total of ten (10) LIBOR Borrowings outstanding.

                    (d)    Notwithstanding any other provision of this Agreement, the Borrower shall
    not be entitled to request, or to elect to convert or continue, any Borrowing if the Interest Period
    requested with respect to such Borrowing would end after the Maturity Date.

                SECTION 2.03.      Requests for Revolving Borrowings. To request a Revolving
Borrowing, the Borrower shall notify the Administrative Agent of such request either by delivery of a
written Borrowing Request signed by the Borrower (delivered by hand or telecopy) or, after the
Effective Date, by telephone (provided that any telephonic notice must be confirmed immediately by
delivery to the Administrative Agent of a Borrowing Request) (a) in the case of a LIBOR Borrowing,
not later than 1:30 p.m., New York City time, three Business Days before the date of the proposed
Borrowing or (b) in the case of an ABR Borrowing, not later than 12:00 p.m., New York City time, on
the date of the proposed Borrowing; provided that any such notice of an ABR Revolving Borrowing to
finance the reimbursement of an LC Disbursement as contemplated by Section 2.06(e) may be given not
later than 9:00 a.m., New York City time, on the date of the proposed Borrowing. Each such telephonic
Borrowing Request shall be irrevocable and shall be confirmed promptly by hand delivery or telecopy
to the Administrative Agent of a written Borrowing Request signed by the Borrower. Each such
telephonic and written Borrowing Request shall specify the following information in compliance with
Section 2.02:

                     (i)    the aggregate amount of the requested Borrowing;

                     (ii)   the date of such Borrowing, which shall be a Business Day;

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               (iii)    whether such Borrowing is to be an ABR Borrowing or a LIBOR
         Borrowing;

                 (iv)    in the case of a LIBOR Borrowing, the initial Interest Period to be
         applicable thereto and the last day thereof, which shall be a period contemplated by the
         definition of the term “Interest Period”;

                (v)     the Maximum Available Amount in effect on such date both immediately
         before and after giving effect to such Borrowing;

                (vi)   in the case of a Revolving Borrowing, the location and number of the
         Borrower’s account to which funds are to be disbursed, which shall comply with the
         requirements of Section 2.07; and

                 (vii) compliance with the applicable conditions set forth in Section 4.02 and that
         the Effective Date shall have occurred prior to the requested date of such Borrowing.

If no election as to the Type of Revolving Borrowing is specified, then the requested Revolving
Borrowing shall be an ABR Borrowing. If no Interest Period is specified with respect to any
requested LIBOR Borrowing, then the Borrower shall be deemed to have selected an Interest
Period of one month’s duration. Promptly following receipt of a Borrowing Request in accordance
with this Section, the Administrative Agent shall advise each Lender of the details thereof and of
the amount of such Lender’s Revolving Loan to be made (or deemed made) as part of the requested
Revolving Borrowing.

          SECTION 2.04.        Intentionally Omitted.

          SECTION 2.05.        Intentionally Omitted.

          SECTION 2.06.        Letters of Credit.

                (a)      General. Subject to the terms and conditions set forth herein, the Issuing
Banks agree that, in reliance upon the agreements of the Lenders set forth in this Section 2.06, the
Borrower may request the issuance of Letters of Credit denominated in dollars as the applicant
thereof for its own account or for the account of any Domestic Subsidiary, in a form reasonably
acceptable to the Administrative Agent and the relevant Issuing Bank, from time to time on any
Business Day during the Availability Period. In the event of any inconsistency between the terms
and conditions of this Agreement and the terms and conditions of any form of letter of credit
application or other agreement submitted by the Borrower to, or entered into by the Borrower with,
the relevant Issuing Bank relating to any Letter of Credit, the terms and conditions of this
Agreement shall control. The Borrower unconditionally and irrevocably agrees that, in connection
with any Letter of Credit issued for the support of any Subsidiary’s obligations as provided in the
first sentence of this paragraph, the Borrower will be fully responsible for the reimbursement of LC
Disbursements in accordance with the terms hereof, the payment of interest thereon and the
payment of fees due under Section 2.12(b) to the same extent as if it were the sole account party in
respect of such Letter of Credit (the Borrower hereby irrevocably waiving any defenses that might

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otherwise be available to it as a guarantor or surety of the obligations of such a Subsidiary that is
an account party in respect of any such Letter of Credit).

               (b)     Notice of Issuance, Amendment, Renewal, Extension; Certain Conditions.

                (i)     To request the issuance of a Letter of Credit (or the amendment, renewal or
        extension of an outstanding Letter of Credit), the Borrower shall hand deliver or telecopy
        (or transmit by electronic communication, if arrangements for doing so have been approved
        by the relevant Issuing Bank) to an Issuing Bank (which Issuing Bank shall be selected by
        the Borrower) and the Administrative Agent (reasonably in advance of the requested date
        of issuance, amendment, renewal or extension) a notice requesting the issuance of a Letter
        of Credit, or identifying the Letter of Credit to be amended, renewed or extended, and
        specifying the date of issuance, amendment, renewal or extension (which shall be a
        Business Day), the date on which such Letter of Credit is to expire (which shall comply
        with paragraph (c) of this Section), the amount of such Letter of Credit, the name and
        address of the beneficiary thereof, the documents to be presented by such beneficiary in
        case of any drawing thereunder, the full text of any certificate to be presented by such
        beneficiary in case of any drawing thereunder, the purpose and nature of the requested
        Letter of Credit and such other information as the applicable Issuing Bank may require.
        Such notice must be received by the applicable Issuing Bank and the Administrative Agent
        not later than 11:00 a.m. at least two Business Days (or such later date and time as the
        Administrative Agent and the applicable Issuing Bank may agree in a particular instance
        in their sole discretion) prior to the proposed issuance date or date of amendment, as the
        case may be. If requested by such Issuing Bank, the Borrower also shall submit a letter of
        credit application on such Issuing Bank’s standard form in connection with any request for
        a Letter of Credit.

                (ii)    Promptly after receipt of any Letter of Credit application, the applicable
        Issuing Bank will confirm with the Administrative Agent (by telephone or in writing) that
        the Administrative Agent has received a copy of such request from the Borrower and, if
        not, the applicable Issuing Bank will provide the Administrative Agent with a copy thereof.
        Unless the applicable Issuing Bank has received written notice from any Lender, the
        Administrative Agent or any Loan Party, at least one Business Day prior to the requested
        date of issuance or amendment of the applicable Letter of Credit, that one or more
        applicable conditions contained in Article IV shall not then be satisfied, then, subject to the
        terms and conditions hereof, the applicable Issuing Bank shall, on the requested date, issue
        a Letter of Credit for the account of the Borrower or enter into the applicable amendment,
        as the case may be, in each case in accordance with the applicable Issuing Bank’s usual
        and customary business practices.

               (iii) A Letter of Credit shall be issued, amended, renewed or extended only if
        (and upon issuance, amendment, renewal or extension of each Letter of Credit the
        Borrower shall be deemed to represent and warrant that), after giving effect to such
        issuance, amendment, renewal or extension (i) the amount of the LC Exposure shall not
        exceed $25,000,000, (ii) each Issuing Bank’s LC Exposure shall not exceed such Issuing

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 Bank’s LC Commitment, and (iii) the sum of the total Revolving Exposures shall not
 exceed the Maximum Available Amount.

        (iv) the Issuing Banks shall not be under any obligation to issue any Letter of Credit
 if:

                       (A)     any order, judgment or decree of any Governmental
               Authority or arbitrator shall by its terms purport to enjoin or restrain the
               Issuing Banks from issuing the Letter of Credit, or any Law applicable to
               the Issuing Banks or any request or directive (whether or not having the
               force of law) from any Governmental Authority with jurisdiction over the
               Issuing Banks shall prohibit, or request that the Issuing Banks refrain from,
               the issuance of letters of credit generally or the Letter of Credit in particular
               or shall impose upon the Issuing Banks with respect to the Letter of Credit
               any restriction, reserve or capital requirement (for which the Issuing Banks
               are not otherwise compensated hereunder) not in effect on the Effective
               Date, or shall impose upon the Issuing Banks any unreimbursed loss, cost
               or expense which was not applicable on the Effective Date and which the
               Issuing Banks in good faith deem material;

                      (B)      the beneficiary of such Letter of Credit is subject to
               Sanctions;

                       (C)     the issuance of the Letter of Credit would violate one or more
               policies of the Issuing Banks applicable to letters of credit generally;

                       (D)    except as otherwise agreed by the Administrative Agent and
               the Issuing Banks, the Letter of Credit is in an initial stated amount less than
               $100,000, in the case of a commercial Letter of Credit, or $500,000, in the
               case of a standby Letter of Credit;

                      (E)    the Letter of Credit is to be denominated in a currency other
               than Dollars;

                       (F)     subject to Section 2.21, any Lender is at that time a
               Defaulting Lender, unless the Issuing Banks have entered into
               arrangements, including the delivery of Cash Collateral as required by
               Section 2.22, satisfactory to the Issuing Banks (in their sole discretion) with
               the Borrower or such Lender to eliminate the Issuing Banks’ actual or
               potential Fronting Exposure (after giving effect to Section 2.21) with
               respect to the Defaulting Lender arising from either the Letter of Credit then
               proposed to be issued or that Letter of Credit and all other LC Exposure as
               to which the Issuing Banks have actual or potential Fronting Exposure, as
               it may elect in its sole discretion; or



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                                (G)    the Letter of Credit contains any provisions for automatic
                        reinstatement of the stated amount after any drawing thereunder.

                (v)    The Issuing Banks shall not amend any Letter of Credit if the Issuing Banks
        would not be permitted at such time to issue the Letter of Credit in its amended form under
        the terms hereof.

                (vi)    The Issuing Banks shall be under no obligation to amend any Letter of
        Credit if (A) the Issuing Banks would have no obligation at such time to issue the Letter of
        Credit in its amended form under the terms hereof, or (B) the beneficiary of the Letter of
        Credit does not accept the proposed amendment to the Letter of Credit.

                (vii) The Issuing Banks shall act on behalf of the Lenders with respect to any
        Letters of Credit issued by any Issuing Bank and the documents associated therewith, and
        the Issuing Banks shall have all of the benefits and immunities (A) provided to the
        Administrative Agent in Article VIII with respect to any acts taken or omissions suffered
        by the Issuing Banks in connection with Letters of Credit issued by it or proposed to be
        issued by it and pertaining to such Letters of Credit as fully as if the term “Administrative
        Agent” as used in Article VIII included the Issuing Banks with respect to such acts or
        omissions, and (B) as additionally provided herein with respect to the Issuing Banks.

                (viii) If the Borrower so requests, the applicable Issuing Bank shall issue a Letter
        of Credit that has automatic extension provisions (each, an “Auto-Extension Letter of
        Credit”); provided that any such Auto-Extension Letter of Credit must permit the Issuing
        Bank to prevent any such extension at least once in each twelve-month period
        (commencing with the date of issuance of such Letter of Credit) by giving prior notice to
        the beneficiary thereof not later than a day (the “Non-Extension Notice Date”) in each such
        twelve-month period to be agreed upon at the time such Letter of Credit is issued. Unless
        otherwise directed by the Issuing Bank, the Borrower shall not be required to make a
        specific request to the Issuing Bank for any such extension. Once an Auto-Extension Letter
        of Credit has been issued, the Lenders shall be deemed to have authorized (but may not
        require) the Issuing Bank to permit the extension of such Letter of Credit at any time to an
        expiry date not later than the latest expiration date permitted for such letter of Credit
        pursuant to Section 2.06(c); provided, however, that the Issuing Bank shall not permit any
        such extension if (A) the Issuing Bank has determined that it would not be permitted, or
        would have no obligation, at such time to issue such Letter of Credit in its revised form (as
        extended) under the terms hereof, or (B) it has received notice (which may be by telephone
        or in writing) on or before the day that is seven Business Days before the Non-Extension
        Notice Date (1) from the Administrative Agent that the Required Lenders have elected not
        to permit such extension or (2) from the Administrative Agent, any Lender or the Borrower
        that one or more of the applicable conditions specified in Section 4.02 is not then satisfied,
        and in each such case directing the Issuing Bank not to permit such extension.

               (c)     Expiration Date. Each Letter of Credit shall expire (or be subject to
termination by notice from the relevant Issuing Bank to the beneficiary thereof) at or prior to the
close of business on the earlier of (i) the date one year after the date of the issuance of such Letter
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of Credit or such later date as may be agreed to by the relevant Issuing Bank (or, in the case of any
renewal or extension thereof, including any Auto-Extension Letter of Credit, one year after such
renewal or extension) and (ii) the date that is five Business Days prior to the Maturity Date;
provided that a Letter of Credit may expire up to (but not later than) one year beyond the Maturity
Date so long as the Borrower Cash Collateralizes 105% of the face amount of such Letter of Credit
in the manner described in Section 2.06(j) no later than the Maturity Date on terms and conditions
reasonably acceptable to the relevant Issuing Bank and the Administrative Agent.

                (d)    Participations. By the issuance of a Letter of Credit (or an amendment to a
Letter of Credit increasing the amount thereof) and without any further action on the part of any
Issuing Bank or the Lenders, each Issuing Bank hereby grants to each Lender, and each Lender
hereby acquires from such Issuing Bank, a participation in such Letter of Credit equal to such
Lender’s Applicable Revolving Credit Percentage of the aggregate amount available to be drawn
under such Letter of Credit. In consideration and in furtherance of the foregoing, each Lender
hereby absolutely and unconditionally agrees to pay to the Administrative Agent, for the account
of the relevant Issuing Bank, such Lender’s Applicable Revolving Credit Percentage of each LC
Disbursement made by such Issuing Bank and not reimbursed by the Borrower on the date due as
provided in paragraph (e) of this Section, or of any reimbursement payment required to be refunded
to the Borrower for any reason. Each Lender acknowledges and agrees that its obligation to acquire
participations pursuant to this paragraph in respect of Letters of Credit is absolute and unconditional
and shall not be affected by any circumstance whatsoever, including any amendment, renewal or
extension of any Letter of Credit or the occurrence and continuance of a Default or reduction or
termination of the Commitments, and that each such payment shall be made without any offset,
abatement, withholding or reduction whatsoever.

                (e)     Reimbursement. Upon receipt from the beneficiary of any Letter of Credit
of any notice of a drawing under such Letter of Credit, the applicable Issuing Bank shall notify the
Borrower and the Administrative Agent thereof. Not later than 11:00 a.m., New York City time,
on the date of any LC Disbursement by an Issuing Bank under a Letter of Credit, the Borrower shall
reimburse such Issuing Bank through the Administrative Agent in an amount equal to the amount
of such drawing if the Borrower shall have received notice of such LC Disbursement prior to
9:00 a.m., New York City time, on such date, or, if such notice has not been received by the
Borrower prior to such time on such date, then not later than the Business Day immediately
following the day that the Borrower receives such notice, if such notice is not received prior to such
time on the day of receipt; provided that the Borrower may, subject to the conditions to borrowing
set forth herein, request in accordance with Section 2.03 or 2.05 that such payment be financed with
an ABR Revolving Borrowing in an equivalent amount of such LC Disbursement and, to the extent
so financed, the Borrower’s obligation to make such payment shall be discharged and replaced by
the resulting ABR Revolving Borrowing. If the Borrower fails to make such payment when due,
the Administrative Agent shall notify each Lender of the applicable LC Disbursement, the payment
then due from the Borrower in respect thereof and such Lender’s Applicable Revolving Credit
Percentage thereof. Promptly following receipt of such notice, each Lender shall pay to the
Administrative Agent its Applicable Revolving Credit Percentage of the payment then due from
the Borrower, in the same manner as provided in Section 2.07 with respect to Loans made by such
Lender (and Section 2.07 shall apply, mutatis mutandis, to the payment obligations of the Lenders),

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and the Administrative Agent shall promptly pay to such Issuing Bank the amounts so received by
it from the Lenders. Promptly following receipt by the Administrative Agent of any payment from
the Borrower pursuant to this paragraph, the Administrative Agent shall distribute such payment to
the applicable Issuing Bank or, to the extent that Lenders have made payments pursuant to this
paragraph to reimburse such Issuing Bank, then to such Lenders and such Issuing Bank as their
interests may appear. Any payment made by a Lender pursuant to this paragraph to reimburse an
Issuing Bank for any LC Disbursement (other than the funding of ABR Revolving Loans as
contemplated above) shall not constitute a Loan and shall not relieve the Borrower of its obligation
to reimburse such LC Disbursement.

                (f)     Obligations Absolute. The Borrower’s obligation to reimburse LC
Disbursements as provided in paragraph (e) of this Section shall be absolute, unconditional and
irrevocable, and shall be performed strictly in accordance with the terms of this Agreement under
any and all circumstances whatsoever and irrespective of (i) any lack of validity or enforceability
of any Letter of Credit or this Agreement, or any term or provision therein, (ii) any draft or other
document presented under a Letter of Credit proving to be forged, fraudulent or invalid in any
respect or any statement therein being untrue or inaccurate in any respect, (iii) payment by an
Issuing Bank under a Letter of Credit against presentation of a draft or other document that does
not comply with the terms of such Letter of Credit, or (iv) any other event or circumstance
whatsoever, whether or not similar to any of the foregoing, that might, but for the provisions of this
Section, constitute a legal or equitable discharge of, or provide a right of setoff against, the
Borrower’s obligations hereunder. Neither the Administrative Agent, the Lenders nor any Issuing
Bank, nor any of their Related Parties, shall have any liability or responsibility by reason of or in
connection with the issuance or transfer of any Letter of Credit or any payment or failure to make
any payment thereunder (irrespective of any of the circumstances referred to in the preceding
sentence), or any error, omission, interruption, loss or delay in transmission or delivery of any draft,
notice or other communication under or relating to any Letter of Credit (including any document
required to make a drawing thereunder), any error in interpretation of technical terms or any
consequence arising from causes beyond the control of the relevant Issuing Bank; provided that the
foregoing shall not be construed to excuse any Issuing Bank from liability to the Borrower to the
extent of any direct damages (as opposed to special, indirect, consequential or punitive damages,
claims in respect of which are hereby waived by the Borrower to the extent permitted by applicable
law) suffered by the Borrower that are caused by such Issuing Bank’s failure to exercise care when
determining whether drafts and other documents presented under a Letter of Credit comply with
the terms thereof. The parties hereto expressly agree that, in the absence of gross negligence or
willful misconduct on the part of any Issuing Bank (as finally determined by a court of competent
jurisdiction), such Issuing Bank shall be deemed to have exercised care in each such determination
and that:

                 (i)     an Issuing Bank may replace a purportedly lost, stolen, or destroyed
         original Letter of Credit or missing amendment thereto with a replacement marked as such
         or waive a requirement for its presentation;

                 (ii)   an Issuing Bank may accept documents that appear on their face to be in
         substantial compliance with the terms of a Letter of Credit without responsibility for
         further investigation, regardless of any notice or information to the contrary, and may
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         make payment upon presentation of documents that appear on their face to be in
         substantial compliance with the terms of such Letter of Credit and without regard to any
         non-documentary condition in such Letter of Credit;

                (iii) an Issuing Bank shall have the right, in its sole discretion, to decline to
         accept such documents and to make such payment if such documents are not in strict
         compliance with the terms of such Letter of Credit; and

                 (iv)   this sentence shall establish the standard of care to be exercised by an
         Issuing Bank when determining whether drafts and other documents presented under a
         Letter of Credit comply with the terms thereof (and the parties hereto hereby waive, to the
         extent permitted by applicable Law, any standard of care inconsistent with the foregoing).

                Without limiting the foregoing, none of the Administrative Agent, the Lenders, any
Issuing Bank, or any of their Related Parties shall have any liability or responsibility by reason of
(A) any presentation that includes forged or fraudulent documents or that is otherwise affected by
the fraudulent, bad faith, or illegal conduct of the beneficiary or other Person, (B) an Issuing Bank
declining to take-up documents and make payment (x) against documents that are fraudulent,
forged, or for other reasons by which that it is entitled not to honor or (y) following the Borrower’s
waiver of discrepancies with respect to such documents or request for honor of such documents or
(C) an Issuing Bank retaining proceeds of a Letter of Credit based on an apparently applicable
attachment order, blocking regulation, or third-party claim notified to such Issuing Bank.

                (g)    Disbursement Procedures. Each Issuing Bank shall, promptly following its
receipt thereof, examine all documents purporting to represent a demand for payment under a Letter
of Credit. Such Issuing Bank shall promptly notify the Administrative Agent and the Borrower by
telephone (provided that any telephonic notice must be confirmed immediately by delivery to the
Administrative Agent of a Borrowing Request) of such demand for payment and whether such
Issuing Bank has made or will make an LC Disbursement thereunder; provided that any failure to
give or delay in giving such notice shall not relieve the Borrower of its obligation to reimburse such
Issuing Bank and the Lenders with respect to any such LC Disbursement.

               (h)     Interim Interest. If any Issuing Bank shall make any LC Disbursement, then,
unless the Borrower shall reimburse such LC Disbursement in full on the date such LC
Disbursement is made, the unpaid amount thereof shall bear interest, for each day from and
including the date such LC Disbursement is made to but excluding the date that the Borrower
reimburses such LC Disbursement, at the rate per annum then applicable to ABR Revolving Loans;
provided that, if the Borrower fails to reimburse such LC Disbursement when due pursuant to
paragraph (e) of this Section, then Section 2.13(c) shall apply. Interest accrued pursuant to this
paragraph shall be for the account of such Issuing Bank, except that interest accrued on and after
the date of payment by any Lender pursuant to paragraph (e) of this Section to reimburse such
Issuing Bank shall be for the account of such Lender to the extent of such payment.

              (i)    Replacement of any Issuing Bank. Any Issuing Bank may be replaced at any
time by written agreement among the Borrower, the Administrative Agent, the replaced Issuing
Bank and the successor Issuing Bank. The Administrative Agent shall notify the Lenders of any
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such replacement of an Issuing Bank. At the time any such replacement shall become effective, the
Borrower shall pay all unpaid fees accrued for the account of the replaced Issuing Bank pursuant
to Section 2.12(b). From and after the effective date of any such replacement, (i) the successor
Issuing Bank shall have all the rights and obligations of an Issuing Bank under this Agreement with
respect to Letters of Credit to be issued thereafter and (ii) references herein to the term “Issuing
Bank” shall be deemed to refer to such successor or to any previous Issuing Bank, or to such
successor and all previous Issuing Banks, as the context shall require. After the replacement of an
Issuing Bank hereunder, the replaced Issuing Bank shall remain a party hereto and shall continue
to have all the rights and obligations of an Issuing Bank under this Agreement with respect to Letters
of Credit then outstanding and issued by it prior to such replacement, but shall not be required to
issue additional Letters of Credit.

                (j)    Cash Collateralization. If the maturity of the Loans has been accelerated in
accordance with Article VII, on the Business Day that the Borrower receives notice from the
Administrative Agent or the Required Lenders (or Lenders with LC Exposure representing greater
than 50% of the total LC Exposure) demanding the deposit of Cash Collateral pursuant to this
paragraph, the Borrower shall deposit in an account with the Administrative Agent, in the name of
the Administrative Agent and for the benefit of the Lenders (the “LC Collateral Account”), an
amount in cash equal to 105% of the LC Exposure as of such date plus accrued and unpaid interest
thereon; provided that the obligation to deposit such Cash Collateral shall become effective
immediately, and such deposit shall become immediately due and payable, without demand or other
notice of any kind, upon the occurrence of any Event of Default with respect to the Borrower
described in clause (h) or (i) of Article VII. Such deposit shall be held by the Administrative Agent
as collateral for the payment and performance of the Secured Obligations. The Administrative
Agent shall have exclusive dominion and control, including the exclusive right of withdrawal, over
such account and the Borrower hereby grants the Administrative Agent a security interest in the LC
Collateral Account. Other than any interest earned on the investment of such deposits, which
investments shall be made at the option and sole discretion of the Administrative Agent and at the
Borrower’s risk and expense, such deposits shall not bear interest. Interest or profits, if any, on
such investments shall accumulate in such account. Moneys in such account shall be applied by
the Administrative Agent to reimburse the relevant Issuing Bank for LC Disbursements for which
it has not been reimbursed and, to the extent not so applied, shall be held for the satisfaction of the
reimbursement obligations of the Borrower for the LC Exposure at such time or, if the maturity of
the Loans has been accelerated (but subject to the consent of Lenders with LC Exposure
representing greater than 50% of the total LC Exposure), be applied to satisfy other Secured
Obligations. If the Borrower is required to provide an amount of Cash Collateral hereunder as a
result of the occurrence of an Event of Default, such amount (to the extent not applied as
aforesaid) shall be returned to the Borrower within three Business Days after all such Events of
Defaults have been cured or waived.

               (k)       Reports by Issuing Banks to the Administrative Agent. On the Business Day
following the end of each calendar quarter, each Issuing Bank (other than Rabobank) shall furnish
to the Administrative Agent a report setting forth (i) the issuance and expiration dates, and the face
amount, of each Letter of Credit issued by such Issuing Bank during the most recently completed
calendar quarter, (ii) the aggregate undrawn amount of all Letters of Credit issued by such Issuing

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Bank that are outstanding as of such date and (iii) the aggregate amount of all LC Disbursements
made by such Issuing Bank that have not been reimbursed by or on behalf of the Borrower prior to
such date.

                 (l)    Applicability of ISP and UCP; Limitation of Liability. Unless otherwise
expressly agreed by the Issuing Banks and the Borrower when a Letter of Credit is issued, (i) the
rules of the ISP shall apply to each standby Letter of Credit, and (ii) the rules of the UCP shall apply
to each commercial Letter of Credit. Notwithstanding the foregoing, the Issuing Banks shall not
be responsible to the Borrower for, and the Issuing Banks’ rights and remedies against the Borrower
shall not be impaired by, any action or inaction of the Issuing Banks required or permitted under
any law, order, or practice that is required or permitted to be applied to any Letter of Credit or this
Agreement, including the Law or any order of a jurisdiction where the Issuing Banks or the
beneficiary are located, the practice stated in the ISP or UCP, as applicable, or in the decisions,
opinions, practice statements, or official commentary of the ICC Banking Commission, the Bankers
Association for Finance and Trade - International Financial Services Association (BAFT-IFSA), or
the Institute of International Banking Law & Practice, whether or not any Letter of Credit chooses
such law or practice.

                (m)     Illegality under Letters of Credit. If, at any time, it becomes unlawful for
any Issuing Bank to comply with any of its obligations under any Letter of Credit (including, but
not limited to, as a result of any Sanctions), the obligations of such Issuing Bank with respect to
such Letter of Credit shall be suspended (and all corresponding rights shall cease to accrue) until
such time as it may again become lawful for such Issuing Bank to comply its obligations under such
Letter of Credit, and such Issuing Bank shall not be liable for any losses that the Loan Parties may
incur as a result.

               (n)   Conflict with Letter of Credit Documents. In the event of any conflict
between the terms hereof and the terms of any Letter of Credit documentation, the terms hereof
shall control.

          SECTION 2.07.         Funding of Borrowings.

              (a)     DIP Term Loans. On and from the Final Order Date, upon entry of the Final
Order and subject to section 4.03 hereof, the outstanding principal amount of Pre-Petition
Revolving Loans of each Pre-Petition Lender as of the Petition Date, shall be refinanced and
deemed to be repaid by, and exchanged for, on a dollar-for-dollar basis, DIP Term Loans under this
Agreement.

               (b)     Revolving Loans.

                 (i)    Each Lender shall make each Revolving Loan to be made by it hereunder
         on the proposed date thereof by wire transfer of immediately available funds by 4:00 p.m.,
         New York City time, to the account of the Administrative Agent most recently designated
         by it for such purpose by notice to the Lenders in an amount equal to such Lender’s
         Applicable Revolving Credit Percentage. The Administrative Agent will make such
         Loans available to the Borrower by (i) promptly crediting the amounts so received, in like
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 funds, to the Funding Account or (ii) wire transfer of such funds, in accordance with
 instructions provided to (and reasonably acceptable to) the Administrative Agent by the
 Borrower; provided, however, that if, on the date the Borrowing Request with respect to
 such Borrowing is given by the Borrower, there are LC Disbursements outstanding, then
 the proceeds of such Borrowing, first, shall be applied to the payment in full of any such
 LC Disbursements, and second, shall be made available to the Borrower as provided
 above; provided that ABR Revolving Loans to finance the reimbursement of an LC
 Disbursement as provided in Section 2.06(e) shall be remitted by the Administrative
 Agent to the relevant Issuing Bank.

          (ii)   Unless the Administrative Agent shall have received notice from a Lender
 prior to the proposed date of any Borrowing that such Lender will not make available to
 the Administrative Agent such Lender’s share of such Borrowing, the Administrative
 Agent may assume that such Lender has made such share available on such date in
 accordance with paragraph (a) of this Section and may, in reliance upon such assumption,
 make available to the Borrower a corresponding amount. In such event, if a Lender has
 not in fact made its share of the applicable Borrowing available to the Administrative
 Agent, then the applicable Lender and the Borrower severally agree to pay to the
 Administrative Agent forthwith on demand such corresponding amount in immediately
 available funds with interest thereon, for each day from and including the date such
 amount is made available to the Borrower to but excluding the date of payment to the
 Administrative Agent, at (i) in the case of such Lender, the greater of the Federal Funds
 Rate and a rate determined by the Administrative Agent in accordance with banking
 industry rules on interbank compensation, plus any administrative, processing or similar
 fees customarily charged by the Administrative Agent in connection with the foregoing,
 or (ii) in the case of the Borrower, the interest rate applicable to ABR Loans. If the
 Borrower and such Lender shall pay such interest to the Administrative Agent for the
 same or an overlapping period, the Administrative Agent shall promptly remit to the
 Borrower the amount of such interest paid by the Borrower for such period. If such Lender
 pays such amount to the Administrative Agent, then such amount shall constitute such
 Lender’s Loan included in such Borrowing. Any payment by the Borrower shall be
 without prejudice to any claim the Borrower may have against a Lender that shall have
 failed to make such payment to the Administrative Agent.

        (iii) A notice of the Administrative Agent to any Lender or the Borrower with
 respect to any amount owing under this Section 2.07(b) shall be conclusive, absent
 manifest error.

         (iv)    If any Lender makes available to the Administrative Agent funds for any
 Loan to be made by such Lender as provided in the foregoing provisions of this Article II,
 and such funds are not made available to the Borrower by the Administrative Agent
 because the conditions to the applicable Borrowing set forth in Article IV are not satisfied
 or waived in accordance with the terms hereof, the Administrative Agent shall return such
 funds (in like funds as received from such Lender) to such Lender, without interest.


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                (v)      Nothing herein shall be deemed to obligate any Lender to obtain the funds
         for any Loan in any particular place or manner or to constitute a representation by any
         Lender that it has obtained or will obtain the funds for any Loan in any particular place or
         manner.

          SECTION 2.08.        Interest Elections.

                (a)    The DIP Term Loans shall, initially, be a LIBOR Borrowing with an Interest
Period of one month and each other Borrowing initially shall be of the Type specified in the
applicable Borrowing Request therefor and, in the case of any such other Borrowing that is a LIBOR
Borrowing, shall have an initial Interest Period as specified in such Borrowing Request. Thereafter,
the Borrower may elect to convert such Borrowing to a different Type or to continue such
Borrowing and, in the case of a LIBOR Borrowing, may elect Interest Periods therefor, all as
provided in this Section. The Borrower may elect different options with respect to different portions
of the affected Borrowing, in which case each such portion shall be allocated ratably among the
Lenders holding the Loans comprising such Borrowing, and the Loans comprising each such
portion shall be considered a separate Borrowing.

               (b)     To make an election pursuant to this Section, the Borrower shall notify the
Administrative Agent of such election by telephone by the time that a Borrowing Request would
be required under Section 2.03 if the Borrower were requesting a Borrowing of the Type resulting
from such election to be made on the effective date of such election. Each such telephonic Interest
Election Request shall be irrevocable and shall be confirmed promptly by hand delivery or telecopy
to the Administrative Agent of a written Interest Election Request signed by the Borrower.
Notwithstanding any contrary provision herein, this Section shall not be construed to permit the
Borrower to elect an Interest Period for LIBOR Loans that does not comply with Section 2.02(d).

               (c)    Each telephonic and written Interest Election Request shall specify the
following information in compliance with Section 2.02:

                 (i)     the Borrowing to which such Interest Election Request applies and, if
         different options are being elected with respect to different portions thereof, the portions
         thereof to be allocated to each resulting Borrowing (in which case the information to be
         specified pursuant to clauses (iii) and (iv) below shall be specified for each resulting
         Borrowing);

               (ii)    the effective date of the election made pursuant to such Interest Election
         Request, which shall be a Business Day;

               (iii) whether the resulting Borrowing is to be an ABR Borrowing or a LIBOR
         Borrowing; and

                 (iv)   if the resulting Borrowing is a LIBOR Borrowing, the Interest Period to be
         applicable thereto after giving effect to such election and the last day of such Interest
         Period, which shall be an interest period of one month (as contemplated by the definition
         of the term “Interest Period”).
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If any such Interest Election Request requests a LIBOR Borrowing but does not specify an Interest
Period, then the Borrower shall be deemed to have selected an Interest Period of one month’s
duration.

               (d)     Promptly following receipt of an Interest Election Request, the
Administrative Agent shall advise each relevant Lender of the details thereof and of such Lender’s
portion of each resulting Borrowing.

                (e)     If the Borrower fails to deliver a timely Interest Election Request with
respect to a LIBOR Borrowing prior to the end of the Interest Period applicable thereto, then, unless
such Borrowing is repaid as provided herein, at the end of such Interest Period such Borrowing
shall be converted to an ABR Borrowing. Notwithstanding any contrary provision hereof, if an
Event of Default has occurred and is continuing, then, so long as an Event of Default is continuing
(i) no outstanding Borrowing may be converted to or continued as a LIBOR Borrowing and
(ii) unless repaid, each LIBOR Borrowing shall be converted to an ABR Borrowing at the end of
the Interest Period applicable thereto.

          SECTION 2.09.         Termination and Reduction of Commitments.

               (a)    The DIP Term Loan Commitments shall terminate on the earlier of the Final
Order Date (after giving effect to the Borrowing of DIP Term Loans deemed made on such date)
and the Maturity Date. Unless previously terminated, the Revolving Commitments shall terminate
on the Maturity Date.

                (b)      The Borrower may at any time terminate the Revolving Commitments upon
(i) the payment in full in cash of all outstanding Revolving Loans, together with accrued and unpaid
interest thereon and on any Letters of Credit, (ii) the cancellation and return of all outstanding
Letters of Credit (or alternatively, with respect to each such Letter of Credit, the furnishing to the
Administrative Agent of a cash deposit (or at the discretion of the Administrative Agent a backup
standby letter of credit satisfactory to the Administrative Agent) equal to 105% of the LC Exposure
as of such date), (iii) the payment in full in cash of the accrued and unpaid fees in respect of the
Revolving Commitments, and (iv) the payment in full in cash of all reimbursable expenses and
other Obligations in respect of the Revolving Commitments together with accrued and unpaid
interest thereon.

               (c)     The Borrower may from time to time reduce the Revolving Commitments;
provided that (i) each reduction of such Revolving Commitments shall be in an amount that is an
integral multiple of $1,000,000 and not less than $5,000,000 and (ii) the Borrower shall not
terminate or reduce the Revolving Commitments if, after giving effect to any concurrent
prepayment of the Loans in accordance with Section 2.11, the sum of the Revolving Exposures
would exceed the lesser of the Aggregate Revolving Commitments and the Total Revolving
Outstandings Cap at such time.

               (d)    The Borrower shall notify the Administrative Agent of any election to
terminate or reduce the Revolving Commitments under paragraph (b) or (c) of this Section at least
one Business Day prior to the effective date of such termination or reduction, specifying such
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election and the effective date thereof. Promptly following receipt of any notice, the Administrative
Agent shall advise the Lenders of the contents thereof. Each notice delivered by the Borrower
pursuant to this Section shall be irrevocable; provided that a notice of termination of the Revolving
Commitments delivered by the Borrower may state that such notice is conditioned upon the
effectiveness of other credit facilities or the occurrence of any one or more other transactions, in
which case such notice may be revoked by the Borrower (by notice to the Administrative Agent on
or prior to the specified effective date) if such condition is not satisfied. Any termination or
reduction of the Revolving Commitments shall be permanent. Each reduction of the Revolving
Commitments shall be made ratably among the Lenders in accordance with their respective
Revolving Commitments.

          SECTION 2.10.        Repayment of Loans; Evidence of Debt.

               (a)     The Borrower hereby unconditionally promises to pay to the Administrative
Agent for the account of each Lender the then unpaid principal amount of each Loan on the Maturity
Date.

               (b)    Each Lender shall maintain in accordance with its usual practice an account
or accounts evidencing the indebtedness of the Borrower to such Lender resulting from each Loan
made by such Lender, including the amounts of principal and interest payable and paid to such
Lender from time to time hereunder.

               (c)      The Administrative Agent shall maintain accounts in which it shall record
(i) the amount of each Loan made hereunder, the Class and Type thereof and the Interest Period
applicable thereto, (ii) the amount of any principal or interest due and payable or to become due
and payable from the Borrower to each Lender hereunder and (iii) the amount of any sum received
by the Administrative Agent hereunder for the account of the Lenders and each Lender’s share
thereof.

                (d)    The entries made in the accounts maintained pursuant to paragraph (b) or
(c) of this Section shall be prima facie evidence of the existence and amounts of the obligations
recorded therein absent manifest error; provided that the failure of any Lender or the Administrative
Agent to maintain such accounts or any error therein shall not in any manner affect the obligation
of the Borrower to repay the Loans in accordance with the terms of this Agreement.

               (e)     Any Lender may request that Loans made by it be evidenced by a promissory
note. In such event, the Borrower shall prepare, execute and deliver to such Lender and its
registered assigns a promissory note payable to such Lender and in the form attached hereto as
Exhibit E. Thereafter, the Loans evidenced by such promissory note and interest thereon shall at
all times (including after assignment pursuant to Section 9.04) be represented by one or more
promissory notes in such form payable to the payee named therein and its registered assigns.

          SECTION 2.11.        Prepayment of Loans.

             (a)     The Borrower shall have the right at any time and from time to time to make
a prepayment in respect of the Borrowings in whole or in part without premium or penalty but
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subject to breakfunding payments pursuant to Section 2.16 and any amount payable pursuant to
Section 2.12(c), subject to prior notice in accordance with this paragraph (e) of this Section,
provided that each such prepayment shall be applied as set forth in clause (d) below.

                (b)     (i) Within three (3) Business Days following the receipt by any Loan Party
or any Restricted Subsidiary of any Net Cash Proceeds derived from any Asset Sale or series of
Asset Sales which cumulatively aggregate in excess of $5,000,000 from all such Asset Sales during
the term of this Agreement, the Borrower shall prepay the Obligations in an aggregate amount equal
to one hundred percent (100%) of the Net Cash Proceeds so received (each such prepayment to be
applied as set forth in clause (d) below), and (ii) to the extent of cash proceeds received in
connection with a Recovery Event which are in excess of $5,000,000 in the aggregate and which
are not applied to repair, replace or relocate damaged property or to purchase or acquire fixed or
capital assets in replacement of the assets lost or destroyed within thirty (30) days of the receipt of
such cash proceeds, the Borrower shall prepay the Obligations in an aggregate amount equal to one
hundred percent (100%) of such cash proceeds net of all third-party costs incurred to obtain such
cash proceeds (such prepayment to be applied as set forth in clause (d) below).

               (c)     If at any time (including, without limitation, on any Report Date):

                (i)    the sum of the aggregate principal amount of all of the Revolving
         Exposures exceeds the Maximum Available Amount, the Borrower shall immediately
         repay Revolving Borrowings and/or Cash Collateralize LC Exposure in an account with
         the Administrative Agent pursuant to Section 2.06(j), as applicable, in an aggregate
         principal amount sufficient to cause the aggregate principal amount of all Revolving
         Exposures to be less than or equal to the Maximum Available Amount; and/or

                 (ii)     the aggregate amount of the sum of (x) Unrestricted cash and Cash
         Equivalents owned or held by the Borrower and its Restricted Subsidiaries (for the
         avoidance of doubt, excluding the Receivables Financing SPCs and/or any not-for-profit
         Subsidiary) (determined after giving pro forma effect to the making of any Revolving
         Loan on such date and the application of proceeds therefrom and from any other
         Unrestricted cash or Cash Equivalents on hand on such date (to the extent such proceeds
         and/or other Unrestricted cash or Cash Equivalents are actually utilized by the Borrower
         and/or any such Restricted Subsidiary on the date of incurrence of such Revolving Loan
         for a permitted purpose under this Agreement other than an investment in cash or Cash
         Equivalents)), less (y) the Budgeted Operating Disbursements Amount set forth in the
         then current Agreed Budget for the immediately succeeding week, less (z) the Carve-Out,
         exceeds $30,000,000 (for purposes of Unrestricted cash denominated in a currency other
         than Dollars, taking the Dollar equivalent of such Unrestricted cash as determined on the
         intended date of borrowing of such Revolving Loan) (such amount of Unrestricted cash
         and Cash Equivalents in excess of $30,000,000, the “Excess Unrestricted Cash Amount”)
         for a period of five (5) consecutive Business Days, the Borrower shall, on the immediately
         succeeding Business Day following such five (5) Business Day period, repay Revolving
         Borrowings in an account with the Administrative Agent pursuant to Section 2.06(j), as
         applicable, in an aggregate principal amount equal to such Excess Unrestricted Cash
         Amount.
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 Each such prepayment pursuant to this clause (c) shall be applied as set forth in clause (d) below.

                (d)    All such amounts pursuant to Section 2.11(a), (b) and (c) shall be applied,
first, to prepay the Revolving Loans ratably until the Revolving Loans are paid in full, second, to
Cash Collateralize outstanding LC Exposure until such LC Exposure is Cash Collateralized in full
and third, after all then outstanding Revolving Loans are paid in full, and all outstanding LC
Exposure is Cash Collateralized, to prepay the DIP Term Loans ratably. Within the parameters of
the applications set forth above, prepayments shall be applied first to ABR Loans and then to
LIBOR Loans in direct order of Interest Period maturities. If an Event of Default has occurred and
is continuing at the time of any mandatory prepayment, the proceeds thereof shall be applied in
accordance with Section 2.18(b).

                (e)      The Borrower shall notify the Administrative Agent by
telephone (confirmed by telecopy) of any prepayment hereunder (i) in the case of prepayment of a
LIBOR Borrowing, not later than 1:30 p.m., New York City time, three Business Days before the
date of prepayment (or such later time reasonably acceptable to the Administrative Agent or, with
respect to prepayments required pursuant to Section 2.11(b)(i) or (c), such later time prior to the
making of such prepayment that is necessary to accommodate the requirements for more timely
payments set forth in such Section) or (ii) in the case of prepayment of an ABR Borrowing, not
later than 1:30 p.m., New York City time, one Business Day before the date of prepayment (or such
later time reasonably acceptable to the Administrative Agent or, with respect to prepayments
required pursuant to Section 2.11(b)(i) or (c), such later time prior to the making of such prepayment
that is necessary to accommodate the requirements for more timely payments set forth in such
Section). Each such notice shall be irrevocable and shall specify the prepayment date, the principal
amount of each Borrowing or portion thereof to be prepaid and any amount payable thereon
pursuant to Section 2.12(c); provided that, a notice of prepayment delivered by the Borrower may
state that such notice is conditioned upon the effectiveness of other credit facilities or incurrence of
Indebtedness or a Change in Control, in which case such notice may be revoked by the Borrower
(by notice to the Administrative Agent not later than 12:00 noon New York City time (or such later
time as the Administrative Agent may approve in its sole discretion), one Business Date prior to
the specified effective date) if such condition is not satisfied. Each such notice shall be in a form
reasonably approved by the Administrative Agent (including any form on an electronic platform or
electronic transmission system as shall be reasonably approved by the Administrative Agent),
appropriately completed and signed by a Responsible Officer of the Borrower. Promptly following
receipt of any such notice, the Administrative Agent shall advise the Lenders of the contents thereof.
Each partial prepayment of any Borrowing shall be in an amount that would be permitted in the
case of an advance of a Revolving Borrowing of the same Type as provided in Section 2.02. Each
prepayment of a Borrowing shall be applied ratably to the Loans included in the prepaid Borrowing.
Prepayments shall be accompanied by (i) accrued interest to the extent required by Section 2.13,
(ii) breakfunding payments pursuant to Section 2.16 and (iii) any applicable amount payable
pursuant to Section 2.12(c).

                 (f)    Notwithstanding any other provisions of this Section 2.11, (i) to the extent
that any or all of the Net Cash Proceeds of any Asset Sale by a Foreign Subsidiary (each such Asset
Sale a “Foreign Asset Sale”) or the cash proceeds received in connection with any Recovery Event
incurred by a Foreign Subsidiary (each such Recovery Event a “Foreign Recovery Event”) are
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prohibited or delayed by applicable foreign Law or the applicable Organization Documents of such
Foreign Subsidiary from being repatriated to the Borrower to repay the Obligations pursuant to
Section 2.11(b), the portion of such Net Cash Proceeds so affected will not be required to be applied
to repay the Obligations at the time provided in Section 2.11(b), but may be retained by the
applicable Foreign Subsidiary so long, but only so long, as the applicable local law or applicable
Organization Documents of such Foreign Subsidiary will not permit repatriation to the Borrower
(the Borrower hereby agreeing to use, and cause its Subsidiaries to use, all commercially reasonable
efforts to overcome or eliminate any such restrictions on repatriation and/or minimize any such
costs of prepayment and/or use the other cash and Cash Equivalents of the Borrower and its
Subsidiaries that are not affected by such restrictions to make the relevant prepayment), and if
within one year following the date on which the respective prepayment would otherwise have been
required such repatriation of any of such affected Net Cash Proceeds is permitted under the
applicable local law or the applicable Organization Documents of such Foreign Subsidiary, such
repatriation will be immediately effected and such repatriated Net Cash Proceeds will be promptly
(and in any event not later than two (2) Business Days after such repatriation) applied (net of
additional taxes payable or reserved against as a result thereof and additional costs relating to such
repatriation) to the repayment of the Obligations pursuant to this Section 2.11 or (ii) to the extent
that the Borrower has determined in good faith, after consultation with the Administrative Agent,
that repatriation to the Borrower to repay the Obligations pursuant to Section 2.11(b) of any of or
all the Net Cash Proceeds of any Foreign Asset Sale or Net Cash Proceeds of any Foreign Recovery
Event attributable to Foreign Subsidiaries would have adverse tax consequences (including any
reduction in tax attributes) with respect to such Net Cash Proceeds, such Net Cash Proceeds so
affected will not be required to be applied to repay such Obligations at the time provided in Section
2.11(b), but may be retained by the applicable Foreign Subsidiary so long, but only so long, as the
applicable adverse tax consequences with respect to such Net Cash Proceeds remain (the Borrower
hereby agreeing to use all commercially reasonable efforts to overcome or eliminate any adverse
tax consequences and/or use the other cash and Cash Equivalents of the Borrower and its
Subsidiaries that are not affected by such adverse tax consequences to make the relevant
prepayment), and if within one year following the date on which the respective prepayment would
otherwise have been required such repatriation of any of such affected Net Cash Proceeds would
no longer have adverse tax consequences, such repatriation will be immediately effected and such
repatriated Net Cash Proceeds will be promptly (and in any event not later than two Business Days
after such repatriation) applied (net of additional taxes payable or reserved against as a result thereof
and additional costs relating to such repatriation) to the repayment of the Obligations pursuant to
this Section 2.11. The annual aggregate amount of Net Cash Proceeds from Asset Sales and
Recovery Events that are exempted from prepaying the Obligations pursuant to Section 2.11(b)
shall be reduced by the Net Cash Proceeds from Foreign Asset Sales and Foreign Recovery Events
that are exempted from prepaying the Obligations by operation of this Section 2.11(f).

           SECTION 2.12.        Fees.

              (a)     The Borrower agrees to pay to the Administrative Agent for the account of
each Revolving Lender a commitment fee, which shall accrue at the Applicable Rate on the average
daily amount of the Available Revolving Commitment of such Revolving Lender during the period
from and including the Effective Date to but excluding the date on which such Commitment

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terminates. Accrued commitment fees shall be payable in arrears on the last day of each calendar
month and on the date on which the Commitments terminate, commencing on the first such date to
occur after the date hereof. All commitment fees shall be computed on the basis of a year of
360 days and shall be payable for the actual number of days elapsed (including the first day but
excluding the last day).

                 (b)     The Borrower agrees to pay (i) to the Administrative Agent for the account
of each Lender a participation fee with respect to its participations in Letters of Credit, which shall
accrue at the same Applicable Rate used to determine the interest rate applicable to LIBOR
Revolving Loans on the average daily amount of such Lender’s LC Exposure (excluding any
portion thereof attributable to unreimbursed LC Disbursements) during the period from and
including the Effective Date to but excluding the later of the date on which such Lender’s
Commitment terminates and the date on which such Lender ceases to have any LC Exposure, and
(ii) to the applicable Issuing Bank for its own account a fronting fee, which shall accrue at the rate
of 0.125% per annum on the average daily amount of the LC Exposure (excluding any portion
thereof attributable to unreimbursed LC Disbursements in respect of Letters of Credit issued by
such Issuing Bank) during the period from and including the Effective Date to but excluding the
later of the date of termination of the Revolving Commitments and the date on which there ceases
to be any LC Exposure, as well as such Issuing Bank’s standard fees and commissions with respect
to the issuance, amendment, cancellation, negotiation, transfer, presentment, renewal or extension
of any Letter of Credit or processing of drawings thereunder. Participation fees and fronting fees
accrued through and including the last day of each calendar month shall be payable in arrears on
the last day of each such calendar month and on the date on which the Commitments terminate,
commencing on the first such date to occur after the Effective Date; provided that any such fees
accruing after the date on which the Revolving Commitments terminate shall be payable on
demand. Any other fees payable to any Issuing Bank pursuant to this paragraph shall be payable
within 10 days after demand. All participation fees and fronting fees shall be computed on the basis
of a year of 360 days and shall be payable for the actual number of days elapsed (including the
first day but excluding the last day).

                (c)     In the event all or any portion of the DIP Term Loans of a Lender are repaid,
prepaid, refinanced or replaced at any time (whether voluntary or mandatory, including as a result
of acceleration or at the Maturity Date) or any Commitment of a Lender is permanently refinanced,
replaced, terminated, expired, cancelled or reduced (whether voluntary or mandatory, including in
connection with any prepayment or as a result of acceleration or at the Maturity Date (but excluding,
for the avoidance of doubt, the termination of DIP Term Loan Commitments in connection with the
making of DIP Term Loans of the equivalent principal amount (on a dollar-for-dollar basis) on the
Final Order Date in accordance with Section 2.09(a)), such repayment, prepayment, refinancing,
replacement, termination, expiration, cancellation or reduction will be made together with an exit
fee in an amount equal to (i) 1.25% of the aggregate principal amount of the DIP Term Loans so
repaid, prepaid, refinanced or replaced and (ii) without duplication of any payment pursuant to the
preceding clause (i), 1.25% of the aggregate principal amount of Commitments so permanently
refinanced, replaced, terminated, expired, cancelled or reduced.

            (d)     The Borrower agrees to pay to the Administrative Agent, the Arranger and
CoBank, ACB, in each case for its own account, the fees set forth in the applicable Fee Letter and
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such other fees payable in the amounts and at the times separately agreed upon between the
Borrower and the Administrative Agent, the Borrower and the Arranger, or the Borrower and
CoBank, ACB, as the case may be.

              (e)     All fees payable hereunder shall be paid on the dates due, in immediately
available funds, to the Administrative Agent (or to the relevant Issuing Bank, the Arranger or
CoBank, ACB, in the case of fees payable to any of them) for distribution, in the case of
commitment, participation and exit fees, to the Lenders. Fees paid shall not be refundable under
any circumstances.

           SECTION 2.13.          Interest.

              (a)     The Loans comprising each ABR Borrowing shall bear interest at the
Alternate Base Rate plus the Applicable Rate.

             (b)    The Loans comprising each LIBOR Borrowing shall bear interest at the
Adjusted LIBO Rate for the Interest Period in effect for such Borrowing plus the Applicable Rate.

                 (c)    Notwithstanding the foregoing, (i) immediately upon the occurrence of any
Event of Default described in clause (a), (o), (p), (q), (s), (t), (u) or (w) of Article VII, and (ii) at the
election of Administrative Agent or the Required Lenders upon the occurrence of any other Event
of Default, the Borrower shall pay interest on the principal amount of all outstanding Loans and, to
the fullest extent permitted by law, the outstanding amount of all interest, fees and other amounts
owed under this Agreement, at a rate per annum equal to 2.00% plus (i) in the case of any Loan,
the rate otherwise applicable to such Loan as provided in the preceding clauses of this section, and
(ii) in the case of any other amount the rate applicable to ABR Loans as provided in clause (a) of
this Section.

                (d)     Accrued interest on each Loan shall be payable in arrears on each Interest
Payment Date for such Loan and upon the earlier of termination of the Commitments and the
Maturity Date; provided that (i) interest accrued pursuant to paragraph (c) of this Section shall be
payable on demand, (ii) in the event of any repayment or prepayment of any Loan (other than a
prepayment of an ABR Revolving Loan prior to the end of the Availability Period), accrued interest
on the principal amount repaid or prepaid shall be payable on the date of such repayment or
prepayment and (iii) in the event of any conversion of any LIBOR Loan prior to the end of the
current Interest Period therefor, accrued interest on such Loan shall be payable on the effective date
of such conversion.

                (e)     All interest hereunder shall be computed on the basis of a year of 360 days,
except that interest computed by reference to the Alternate Base Rate at times when the Alternate
Base Rate is based on the Prime Rate shall be computed on the basis of a year of 365 days (or
366 days in a leap year), and in each case shall be payable for the actual number of days elapsed
(including the first day but excluding the last day). The applicable Alternate Base Rate or Adjusted
LIBO Rate shall be determined by the Administrative Agent, and such determination shall be
conclusive absent manifest error.

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         SECTION 2.14.        Alternate Rate of Interest; Illegality; LIBO Successor Rate.

               (a)  Alternate Rate of Interest. If prior to the commencement of any Interest
Period for a LIBOR Borrowing:

                (i)     the Administrative Agent determines (which determination shall be
        conclusive and binding absent manifest error) that adequate and reasonable means do not
        exist for ascertaining the Adjusted LIBO Rate or the LIBO Rate, as applicable, for such
        Interest Period; or

                (ii)   the Administrative Agent is advised by the Required Lenders that the
        Adjusted LIBO Rate or the LIBO Rate, as applicable, for such Interest Period will not
        adequately and fairly reflect the cost to such Lenders (or Lender) of making or maintaining
        their Loans (or its Loan) included in such Borrowing for such Interest Period;

then the Administrative Agent shall give notice thereof to the Borrower and the Lenders by
telephone or telecopy as promptly as practicable thereafter and, until the Administrative Agent
notifies the Borrower and the Lenders that the circumstances giving rise to such notice no longer
exist, (i) any Interest Election Request that requests the conversion of any Revolving Borrowing
to, or continuation of any Revolving Borrowing as, a LIBOR Borrowing shall be ineffective, and
(ii) if any Borrowing Request requests a LIBOR Borrowing, such Borrowing shall be made as an
ABR Borrowing.

                (b) Illegality. If any Lender determines that any Law has made it unlawful, or
that any Governmental Authority has asserted that it is unlawful, for any Lender or its applicable
lending office to make, maintain or fund Loans whose interest is determined by reference to the
Adjusted LIBO Rate, or to determine or charge interest rates based upon the Adjusted LIBO Rate,
or any Governmental Authority has imposed material restrictions on the authority of such Lender
to purchase or sell, or to take deposits of, Dollars in the London interbank market, then, on notice
thereof by such Lender to the Borrower through the Administrative Agent, any obligation of such
Lender to make or continue LIBOR Loans or to convert ABR Loans to LIBOR Loans shall be
suspended until such Lender notifies the Administrative Agent and the Borrower that the
circumstances giving rise to such determination no longer exist. Upon receipt of such notice, the
Borrower shall, upon demand from such Lender (with a copy to the Administrative Agent), convert
all LIBOR Loans of such Lender to ABR Loans, either on the last day of the Interest Period
therefor, if such Lender may lawfully continue to maintain such LIBOR Loans to such day, or
immediately, if such Lender may not lawfully continue to maintain such LIBOR Loans. Upon any
such conversion, the Borrower shall also pay accrued interest on the amount so converted.

            (c)       Notwithstanding anything to the contrary in this Agreement or any other
Loan Documents:

                (i)    if the Administrative Agent reasonably determines (which determination
        shall be conclusive absent manifest error), or the Borrower or Required Lenders notify the
        Administrative Agent (with, in the case of the Required Lenders, a copy to the Borrower)
        that the Borrower or Required Lenders (as applicable) have determined, that:
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                      (A)    adequate and reasonable means do not exist for ascertaining the
               LIBO Rate for any requested Interest Period, including, without limitation, because
               the LIBO Screen Rate is not available or published on a current basis and such
               circumstances are unlikely to be temporary; or

                      (B)      the administrator of the LIBO Screen Rate or a Governmental
               Authority having jurisdiction over the Administrative Agent has made a public
               statement identifying a specific date after which the LIBO Rate or the LIBO Screen
               Rate shall no longer be made available, or used for determining the interest rate
               applicable to loans (such specific date, the “Scheduled Unavailability Date”); or

               (ii)    if the Administrative Agent and the Borrower determine that syndicated
        loans currently being executed, or that include language similar to that contained in this
        Section, are being executed or amended (as applicable) to incorporate or adopt a new
        benchmark interest rate to replace the LIBO Rate,

then, reasonably promptly after such determination by the Administrative Agent or receipt by the
Administrative Agent of such notice, as applicable, the Administrative Agent and the Borrower
may amend this Agreement to replace the LIBO Rate with an alternate benchmark rate (including
any mathematical or other adjustments to the benchmark (if any) incorporated therein), giving due
consideration to any evolving or then prevailing market convention for determining interest rates
for loans for similar Dollar denominated syndicated credit facilities for such alternative
benchmarks (any such proposed rate, a “LIBO Successor Rate”), together with any proposed LIBO
Successor Rate Conforming Changes and notwithstanding anything in Section 9.02 to the contrary,
any such amendment (which shall be in form and substance reasonably satisfactory to the
Borrower) shall become effective at 5:00 p.m. (New York time) on the fifth Business Day after
the Administrative Agent shall have posted such proposed amendment to all Lenders and the
Borrower unless, prior to such time, Lenders comprising the Required Lenders have delivered to
the Administrative Agent written notice that such Required Lenders do not accept such
amendment. If no LIBO Successor Rate has been determined and the circumstances under clause
(i) above exist or the Scheduled Unavailability Date has occurred (as applicable), the
Administrative Agent will promptly so notify the Borrower and each Lender. Thereafter, (x) the
obligation of the Lenders to make or maintain LIBOR Loans shall be suspended, (to the extent of
the affected LIBOR Loans or Interest Periods), and (y) the Adjusted LIBO Rate component shall
no longer be utilized in determining the Alternate Base Rate. Upon receipt of such notice,
Borrower may revoke any pending request for a Borrowing of, conversion to or continuation of
LIBOR Loans (to the extent of the affected LIBOR Loans or Interest Periods) or, failing that, will
be deemed to have converted such request into a request for a Borrowing of ABR Loans (subject
to the foregoing clause (y)) in the amount specified therein. Notwithstanding anything else herein,
any definition of LIBO Successor Rate shall provide that in no event shall such LIBO Successor
Rate be less than zero for purposes of this Agreement.

         SECTION 2.15.        Increased Costs.

              (a)     If any Change in Law shall:

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                 (i)     impose, modify or deem applicable any reserve, special deposit, liquidity
         or similar requirement (including any compulsory loan requirement, insurance charge or
         other assessment) against assets of, deposits with or for the account of, or credit extended
         by, any Lender or any Issuing Bank (except any statutory reserve requirement included in
         the calculation of the Adjusted LIBO Rate);

                (ii)   impose on any Lender or any Issuing Bank or the London interbank market
         any other condition, cost or expense (other than Taxes) affecting this Agreement or Loans
         made by such Lender or any Letter of Credit or participation therein; or

                 (iii) subject any Recipient to any Taxes (other than (A) Indemnified Taxes,
         (B) Taxes described in clauses (b) through (d) of the definition of Excluded Taxes and
         (C) Connection Income Taxes) on its loans, loan principal, letters of credit, commitments,
         or other obligations, or its deposits, reserves, other liabilities or capital attributable thereto;

and the result of any of the foregoing shall be to increase the cost to such Lender or such other
Recipient of making, continuing, converting into or maintaining any Loan (or of maintaining its
obligation to make any such Loan) or to increase the cost to such Lender, such Issuing Bank or
such other Recipient of participating in, issuing or maintaining any Letter of Credit or to reduce
the amount of any sum received or receivable by such Lender, such Issuing Bank or such other
Recipient hereunder (whether of principal, interest or otherwise), then the Borrower will pay to
such Lender, such Issuing Bank or such other Recipient, as the case may be, such additional
amount or amounts as will compensate such Lender, such Issuing Bank or such other Recipient,
as the case may be, for such actual and direct costs (but not including anticipated profits)
reasonably incurred or reduction suffered.

                 (b)    If any Lender or any Issuing Bank determines that any Change in Law
regarding capital or liquidity requirements has or would have the effect of reducing the rate of return
on such Lender’s or such Issuing Bank’s capital or on the capital of such Lender’s or such Issuing
Bank’s holding company, if any, as a consequence of this Agreement or the Loans made by, or
participations in Letters of Credit held by, such Lender, or the Letters of Credit issued by such
Issuing Bank, to a level below that which such Lender or such Issuing Bank or such Lender’s or
such Issuing Bank’s holding company could have achieved but for such Change in Law (taking into
consideration such Lender’s or such Issuing Bank’s policies and the policies of such Lender’s or
such Issuing Bank’s holding company with respect to capital adequacy and liquidity), then from
time to time the Borrower will pay to such Lender or such Issuing Bank, as the case may be, such
additional amount or amounts as will compensate such Lender or such Issuing Bank or such
Lender’s or such Issuing Bank’s holding company for any such reduction suffered as reasonably
determined by such Lender or such Issuing Bank (which determination shall be made in good faith
(and not on an arbitrary or capricious basis) and generally consistent with similarly situated
customers of such Lender or such Issuing Bank, as applicable, under agreements having provisions
similar to this Section 2.15, after consideration of such factors as such Lender or such Issuing Bank,
as applicable, then reasonably determines to be relevant; provided that neither such Lender nor such
Issuing Bank, as applicable, shall be required to disclose any confidential or proprietary information
in connection therewith).

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                    (c)   A certificate of a Lender or an Issuing Bank setting forth the amount or
    amounts necessary to compensate such Lender or such Issuing Bank or its holding company, as the
    case may be, as specified in paragraph (a) or (b) of this Section shall be delivered to the Borrower
    and shall be conclusive absent manifest error. The Borrower shall pay such Lender or such Issuing
    Bank, as the case may be, the amount shown as due on any such certificate within 15 days after
    receipt thereof.

                    (d)     Failure or delay on the part of any Lender or any Issuing Bank to demand
    compensation pursuant to this Section shall not constitute a waiver of such Lender’s or such Issuing
    Bank’s right to demand such compensation; provided that the Borrower shall not be required to
    compensate a Lender or an Issuing Bank pursuant to this Section for any increased costs or
    reductions incurred more than 180 days prior to the date that such Lender or such Issuing Bank, as
    the case may be, notifies the Borrower of the Change in Law giving rise to such increased costs or
    reductions and of such Lender’s or such Issuing Bank’s intention to claim compensation therefor;
    provided further that, if the Change in Law giving rise to such increased costs or reductions is
    retroactive, then the 180-day period referred to above shall be extended to include the period of
    retroactive effect thereof.

                SECTION 2.16.        Break Funding Payments. In the event of (a) the payment of any
principal of any LIBOR Loan other than on the last day of an Interest Period applicable thereto
(including as a result of an Event of Default), (b) the conversion of any LIBOR Loan other than on the
last day of the Interest Period applicable thereto, (c) the failure to borrow, convert, continue or prepay
any LIBOR Loan on the date specified in any notice delivered pursuant hereto (regardless of whether
such notice may be revoked under Section 2.09(d) and is revoked in accordance therewith), or (d) the
assignment of any LIBOR Loan other than on the last day of the Interest Period applicable thereto as a
result of a request by the Borrower pursuant to Section 2.20, then, in any such event, the Borrower shall
compensate each Lender for the loss, cost and expense attributable to such event. In the case of a LIBOR
Loan, such loss, cost or expense to any Lender shall be deemed to include an amount determined by
such Lender to be the excess, if any, of (i) the amount of interest which would have accrued on the
principal amount of such Loan had such event not occurred, at the Adjusted LIBO Rate that would have
been applicable to such Loan, for the period from the date of such event to the last day of the then current
Interest Period therefor (or, in the case of a failure to borrow, convert or continue, for the period that
would have been the Interest Period for such Loan), over (ii) the amount of interest which would accrue
on such principal amount for such period at the interest rate which such Lender would bid were it to bid,
at the commencement of such period, for dollar deposits of a comparable amount and period from other
banks in the eurodollar market. A certificate of any Lender setting forth any amount or amounts that
such Lender is entitled to receive pursuant to this Section shall be delivered to the Borrower and shall
be conclusive absent manifest error. The Borrower shall pay such Lender the amount shown as due on
any such certificate within 10 days after receipt thereof.

               SECTION 2.17.         Taxes.

                   (a)    Payments Free of Taxes. Any and all payments by or on account of any
    obligation of any Loan Party under any Loan Document shall be made without deduction or
    withholding for any Taxes, except as required by applicable law. If any applicable law (as
    determined in the good faith discretion of an applicable Withholding Agent) requires the deduction
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or withholding of any Tax from any such payment by a Withholding Agent, then the applicable
Withholding Agent shall be entitled to make such deduction or withholding and shall timely pay
the full amount deducted or withheld to the relevant Governmental Authority in accordance with
applicable law and, if such Tax is an Indemnified Tax, then the sum payable by the applicable Loan
Party shall be increased as necessary so that after such deduction or withholding has been made
(including such deductions and withholdings applicable to additional sums payable under this
Section 2.17) the applicable Recipient receives an amount equal to the sum it would have received
had no such deduction or withholding been made.

              (b)    Payment of Other Taxes by the Borrower. The Borrower shall timely pay to
the relevant Governmental Authority in accordance with applicable law, or at the option of the
Administrative Agent timely reimburse it for, Other Taxes.

               (c)     Evidence of Payments. As soon as practicable after any payment of Taxes
by any Loan Party to a Governmental Authority pursuant to this Section 2.17, such Loan Party shall
deliver to the Administrative Agent the original or a certified copy of a receipt issued by such
Governmental Authority evidencing such payment, a copy of the return reporting such payment or
other evidence of such payment reasonably satisfactory to the Administrative Agent.

               (d)    Indemnification by the Loan Parties. The Loan Parties shall indemnify each
Recipient, within 10 days after written demand therefor, for the full amount of any Indemnified
Taxes (including Indemnified Taxes imposed or asserted on or attributable to amounts payable
under this Section) payable or paid by such Recipient or required to be withheld or deducted from
a payment to such Recipient and any reasonable expenses arising therefrom or with respect thereto,
whether or not such Indemnified Taxes were correctly or legally imposed or asserted by the relevant
Governmental Authority. A certificate setting forth in reasonable detail the amount of such
payment or liability delivered to the Borrower by a Lender (with a copy to the Administrative
Agent), or by the Administrative Agent on its own behalf or on behalf of a Lender, shall be
conclusive absent manifest error.

                 (e)     Indemnification by the Lenders. Each Lender shall severally indemnify the
Administrative Agent, within 10 days after demand therefor, for (i) any Indemnified Taxes
attributable to such Lender (but only to the extent that any Loan Party has not already indemnified
the Administrative Agent for such Indemnified Taxes and without limiting the obligation of the
Loan Parties to do so), (ii) any Taxes attributable to such Lender’s failure to comply with the
provisions of Section 9.04(c) relating to the maintenance of a Participant Register and (iii) any
Excluded Taxes attributable to such Lender, in each case, that are payable or paid by the
Administrative Agent in connection with any Loan Document, and any reasonable expenses arising
therefrom or with respect thereto, whether or not such Taxes were correctly or legally imposed or
asserted by the relevant Governmental Authority. A certificate as to the amount of such payment
or liability delivered to any Lender by the Administrative Agent shall be conclusive absent manifest
error. Each Lender hereby authorizes the Administrative Agent to set off and apply any and all
amounts at any time owing to such Lender under any Loan Document or otherwise payable by the
Administrative Agent to the Lender from any other source against any amount due to the
Administrative Agent under this paragraph (e).

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      (f)     Status of Lenders.

         (i)    Any Lender that is entitled to an exemption from or reduction of
 withholding Tax with respect to payments made under any Loan Document shall deliver
 to the Borrower and the Administrative Agent, at the time or times reasonably requested
 by the Borrower or the Administrative Agent, such properly completed and executed
 documentation prescribed by applicable law or reasonably requested by the Borrower or
 the Administrative Agent as will permit such payments to be made without withholding
 or at a reduced rate of withholding. In addition, any Lender, if reasonably requested by
 the Borrower or the Administrative Agent, shall deliver such other documentation
 prescribed by applicable law or reasonably requested by the Borrower or the
 Administrative Agent as will enable the Borrower or the Administrative Agent to
 determine whether or not such Lender is subject to backup withholding or information
 reporting requirements. Notwithstanding anything to the contrary in the preceding
 two sentences, the completion, execution and submission of such documentation (other
 than such documentation set forth in Section 2.17(f)(ii)(A), (ii)(B) and (ii)(D) below)
 shall not be required if in the Lender’s reasonable judgment such completion, execution
 or submission would subject such Lender to any material unreimbursed cost or expense
 or would materially prejudice the legal or commercial position of such Lender.

       (ii)    Without limiting the generality of the foregoing, in the event that the
 Borrower is a U.S. Person:

              (A)     any Lender that is a U.S. Person shall deliver to the Borrower and
       the Administrative Agent on or prior to the date on which such Lender becomes a
       Lender under this Agreement (and from time to time thereafter upon the reasonable
       request of the Borrower or the Administrative Agent), executed originals of IRS
       Form W-9 certifying that such Lender is exempt from U.S. Federal backup
       withholding tax;

               (B)     any Foreign Lender shall, to the extent it is legally entitled to do so,
       deliver to the Borrower and the Administrative Agent (in such number of copies as
       shall be requested by the recipient) on or prior to the date on which such Foreign
       Lender becomes a Lender under this Agreement (and from time to time thereafter
       upon the reasonable request of the Borrower or the Administrative Agent),
       whichever of the following is applicable;

              (1) in the case of a Foreign Lender claiming the benefits of an income tax
              treaty to which the United States is a party (x) with respect to payments of
              interest under any Loan Document, executed originals of IRS
              Form W-8BEN-E establishing an exemption from, or reduction of, U.S.
              Federal withholding Tax pursuant to the “interest” article of such tax treaty
              and (y) with respect to any other applicable payments under any Loan
              Document, IRS Form W-8BEN-E establishing an exemption from, or
              reduction of, U.S. Federal withholding Tax pursuant to the “business
              profits” or “other income” article of such tax treaty;
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              (2) executed originals of IRS Form W-8ECI;

              (3) in the case of a Foreign Lender claiming the benefits of the exemption
              for portfolio interest under Section 881(c) of the Code, (x) a certificate
              substantially in the form of Exhibit F-1 to the effect that such Foreign
              Lender is not a “bank” within the meaning of Section 881(c)(3)(A) of the
              Code, a “10 percent shareholder” of the Borrower within the meaning of
              Section 881(c)(3)(B) of the Code, or a “controlled foreign corporation”
              described in Section 881(c)(3)(C) of the Code (a “U.S. Tax Compliance
              Certificate”) and (y) executed originals of IRS Form W-8BEN-E; or

              (4) to the extent a Foreign Lender is not the beneficial owner, executed
              originals of IRS Form W-8IMY, accompanied by IRS Form W-8ECI, IRS
              Form W-8BEN or IRS Form W-8BEN-E, as applicable, a U.S. Tax
              Compliance Certificate substantially in the form of Exhibit F-2 or
              Exhibit F-3, IRS Form W-9, and/or other certification documents from each
              beneficial owner, as applicable; provided that if the Foreign Lender is a
              partnership and one or more direct or indirect partners of such Foreign
              Lender are claiming the portfolio interest exemption, such Foreign Lender
              may provide a U.S. Tax Compliance Certificate substantially in the form of
              Exhibit F-4 on behalf of each such direct and indirect partner;

               (C)     any Foreign Lender shall, to the extent it is legally entitled to do so,
       deliver to the Borrower and the Administrative Agent (in such number of copies as
       shall be requested by the recipient) on or prior to the date on which such Foreign
       Lender becomes a Lender under this Agreement (and from time to time thereafter
       upon the reasonable request of the Borrower or the Administrative Agent), executed
       originals of any other form prescribed by applicable law as a basis for claiming
       exemption from or a reduction in U.S. Federal withholding Tax, duly completed,
       together with such supplementary documentation as may be prescribed by
       applicable law to permit the Borrower or the Administrative Agent to determine the
       withholding or deduction required to be made; and

                (D)   if a payment made to a Lender under any Loan Document would be
       subject to U.S. Federal withholding Tax imposed by FATCA if such Lender were
       to fail to comply with the applicable reporting requirements of FATCA (including
       those contained in Section 1471(b) or 1472(b) of the Code, as applicable), such
       Lender shall deliver to the Borrower and the Administrative Agent at the time or
       times prescribed by law and at such time or times reasonably requested by the
       Borrower or the Administrative Agent such documentation prescribed by
       applicable law (including as prescribed by Section 1471(b)(3)(C)(i) of the Code)
       and such additional documentation reasonably requested by the Borrower or the
       Administrative Agent as may be necessary for the Borrower and the Administrative
       Agent to comply with their obligations under FATCA and to determine that such
       Lender has complied with such Lender’s obligations under FATCA or to determine
       the amount to deduct and withhold from such payment. Solely for purposes of this
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                clause (D), “FATCA” shall include any amendments made to FATCA after the date
                of this Agreement.

Each Lender agrees that if any form or certification it previously delivered expires or becomes
obsolete or inaccurate in any respect, it shall update such form or certification or promptly notify
the Borrower and the Administrative Agent in writing of its legal inability to do so.

                (g)      Treatment of Certain Refunds. If any party determines, in its sole discretion
exercised in good faith, that it has received a refund of any Taxes as to which it has been indemnified
pursuant to this Section 2.17 (including by the payment of additional amounts pursuant to this
Section 2.17), it shall pay to the indemnifying party an amount equal to such refund (but only to the
extent of indemnity payments made under this Section 2.17 with respect to the Taxes giving rise to
such refund), net of all out-of-pocket expenses (including Taxes) of such indemnified party and
without interest (other than any interest paid by the relevant Governmental Authority with respect
to such refund). Such indemnifying party, upon the request of such indemnified party, shall repay
to such indemnified party the amount paid over pursuant to this paragraph (g) (plus any penalties,
interest or other charges imposed by the relevant Governmental Authority) in the event that such
indemnified party is required to repay such refund to such Governmental Authority.
Notwithstanding anything to the contrary in this paragraph (g), in no event will the indemnified
party be required to pay any amount to an indemnifying party pursuant to this paragraph (g) the
payment of which would place the indemnified party in a less favorable net after-Tax position than
the indemnified party would have been in if the Tax subject to indemnification and giving rise to
such refund had not been deducted, withheld or otherwise imposed and the indemnification
payments or additional amounts with respect to such Tax had never been paid. This paragraph shall
not be construed to require any indemnified party to make available its Tax returns (or any other
information relating to its Taxes that it deems confidential) to the indemnifying party or any other
Person.

               (h)    Survival. Each party’s obligations under this Section 2.17 shall survive the
resignation or replacement of the Administrative Agent or any assignment of rights by, or the
replacement of, a Lender, and the Full Satisfaction of the Secured Obligations.

               (i)    Defined Terms. For purposes of this Section 2.17, the term “Lender”
includes each Issuing Bank and the term “applicable law” includes FATCA.

          SECTION 2.18.         Payments Generally; Allocation of Proceeds; Sharing of Set-offs.

               (a)     The Borrower shall make each payment required to be made by it hereunder
(whether of principal, interest, fees or reimbursement of LC Disbursements, or of amounts payable
under Section 2.15, 2.16 or 2.17, or otherwise) prior to 2:00 p.m., New York City time, on the date
when due, in immediately available funds, free and clear of and without condition or deduction for
any counterclaim, defense, recoupment or setoff. Any amounts received after such time on any
date may, in the discretion of the Administrative Agent, be deemed to have been received on the
next succeeding Business Day for purposes of calculating interest thereon. All such payments shall
be made to the Administrative Agent at its offices as the Administrative Agent may from time to
time notify to the Borrower and the Lenders, except payments to be made directly to an Issuing
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Bank as expressly provided herein and except that payments pursuant to Sections 2.15, 2.16,
2.17 and 9.03 shall be made directly to the Persons entitled thereto. The Administrative Agent shall
distribute any such payments received by it for the account of any other Person to the appropriate
recipient promptly following receipt thereof. If any payment hereunder shall be due on a day that
is not a Business Day, the date for payment shall be extended to the next succeeding Business Day,
and, in the case of any payment accruing interest, interest thereon shall be payable for the period of
such extension. All payments hereunder shall be made in dollars.

                (b)     Any proceeds of Collateral received by the Administrative Agent (i) not
constituting either (A) a specific payment of principal, interest, fees or other sum payable under the
Loan Documents (which shall be applied as specified by the Borrower) or (B) a mandatory
prepayment made when an Event of Default has not occurred and is continuing at the time (which
shall be applied in accordance with Section 2.11) or (ii) after an Event of Default has occurred and
is continuing and the Administrative Agent so elects or the Required Lenders so direct, shall be
applied ratably first, to pay any fees, indemnities, or expense reimbursements including amounts
then due to the Administrative Agent and any Issuing Bank from the Borrower (other than in
connection with Swap Obligations and Banking Services Obligations), second, to pay any fees or
expense reimbursements then due to the Lenders from the Borrower (other than in connection with
Swap Obligations and Banking Services Obligations), third, to pay interest then due and payable
on the Loans and the Letters of Credit ratably, fourth, to prepay principal on the Revolving Loans
and unreimbursed LC Disbursements ratably, to pay an amount to the Administrative Agent equal
to the aggregate undrawn face amount of all outstanding Letters of Credit and the aggregate amount
of any unpaid LC Disbursements, to be held as Cash Collateral for such Obligations and to pay any
amounts owing with respect to Swap Obligations (all such amounts under this “fourth” item being
applied ratably in accordance with all such amounts due), fifth, to prepay principal on the DIP Term
Loans ratably, sixth, to the payment of any other Secured Obligation due to the Administrative
Agent or any Lender (or its Affiliate) by the Borrower or any Loan Party (other than Banking
Services Obligations arising with respect to Non-Lender Banking Services), seventh, to the
payment of all Banking Services Obligations arising in connection with Non-Lender Banking
Services and eighth, to the payment of the surplus, if any, to whoever may be lawfully entitled to
receive such surplus. Notwithstanding the foregoing, amounts received from any Loan Party shall
not be applied to any Excluded Swap Obligation of such Loan Party. Notwithstanding anything to
the contrary contained in this Agreement, unless so directed by the Borrower, or unless a Default
is in existence, none of the Administrative Agent or any Lender shall apply any payment which it
receives to any LIBOR Loan, except (a) on the expiration date of the Interest Period applicable to
any such LIBOR Loan or (b) in the event, and only to the extent, that there are no outstanding ABR
Loans of the same Class and, in any event, the Borrower shall pay the break funding payment
required in accordance with Section 2.16. The Administrative Agent and the Lenders shall have
the continuing and exclusive right to apply and reverse and reapply any and all such proceeds and
payments to any portion of the Secured Obligations.

               (c)     If any Lender shall, by exercising any right of set off or counterclaim or
otherwise, obtain payment in respect of any principal of or interest on any of its Revolving Loans
or participations in LC Disbursements resulting in such Lender receiving payment of a greater
proportion of the aggregate amount of its Revolving Loans and participations in LC Disbursements

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    and accrued interest thereon than the proportion received by any other Lender, then the Lender
    receiving such greater proportion shall purchase (for cash at face value) participations in the
    Revolving Loans and participations in LC Disbursements of other Lenders to the extent necessary
    so that the benefit of all such payments shall be shared by the Lenders ratably in accordance with
    the aggregate amount of principal of and accrued interest on their respective Revolving Loans and
    participations in LC Disbursements; provided that (i) if any such participations are purchased and
    all or any portion of the payment giving rise thereto is recovered, such participations shall be
    rescinded and the purchase price restored to the extent of such recovery, without interest, and (ii) the
    provisions of this paragraph shall not be construed to apply to any payment made by the Borrower
    pursuant to and in accordance with the express terms of this Agreement or any payment obtained
    by a Lender as consideration for the assignment of or sale of a participation in any of its Loans or
    participations in LC Disbursements to any assignee or participant, other than to the Borrower or
    any Subsidiary or Affiliate thereof (as to which the provisions of this paragraph shall apply). The
    Borrower consents to the foregoing and agrees, to the extent it may effectively do so under
    applicable law, that any Lender acquiring a participation pursuant to the foregoing arrangements
    may exercise against the Borrower rights of set-off and counterclaim with respect to such
    participation as fully as if such Lender were a direct creditor of the Borrower in the amount of such
    participation.

                    (d)    Unless the Administrative Agent shall have received notice from the
    Borrower prior to the date on which any payment is due to the Administrative Agent for the account
    of the Lenders or the Issuing Banks hereunder that the Borrower will not make such payment, the
    Administrative Agent may assume that the Borrower has made such payment on such date in
    accordance herewith and may, in reliance upon such assumption, distribute to the Lenders or the
    Issuing Banks, as the case may be, the amount due. In such event, if the Borrower has not in fact
    made such payment, then each of the Lenders or each Issuing Bank, as the case may be, severally
    agrees to repay to the Administrative Agent forthwith on demand the amount so distributed to such
    Lender or such Issuing Bank with interest thereon, for each day from and including the date such
    amount is distributed to it to but excluding the date of payment to the Administrative Agent, at the
    greater of the Federal Funds Rate and a rate determined by the Administrative Agent in accordance
    with banking industry rules on interbank compensation.

                    (e)    If any Lender shall fail to make any payment required to be made by it
    pursuant to Section 2.05(b), 2.06(d) or (e), 2.07(b), 2.18(c) or 9.03(c), then the Administrative
    Agent may, in its discretion (notwithstanding any contrary provision hereof), (i) apply any amounts
    thereafter received by the Administrative Agent for the account of such Lender and for the benefit
    of the Administrative Agent or the applicable Issuing Bank to satisfy such Lender’s obligations to
    it under such Section until all such unsatisfied obligations are fully paid and/or (ii) hold any such
    amounts in a segregated account over which the Administrative Agent shall have exclusive control
    as Cash Collateral for, and application to, any future funding obligations of such Lender under any
    such Section; in the case of each of clauses (i) and (ii) above, in any order as determined by the
    Administrative Agent in its discretion.

               SECTION 2.19.      Mitigation Obligations. If any Lender requests compensation under
Section 2.15, or if the Borrower is required to pay any additional amount or make any indemnity
payment to any Lender or any Governmental Authority for the account of any Lender pursuant to
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Section 2.17, then such Lender shall use reasonable efforts to designate a different lending office for
funding or booking its Loans hereunder or to assign its rights and obligations hereunder to another of its
offices, branches or affiliates, if, in the reasonable judgment of such Lender, such designation or
assignment (i) would eliminate or reduce amounts payable pursuant to Section 2.15 or 2.17, as the case
may be, in the future and (ii) would not subject such Lender to any material unreimbursed cost or
expense and would not otherwise be materially disadvantageous to such Lender (and the Borrower
hereby agrees to pay all reasonable costs and expenses incurred by any Lender in connection with any
such designation or assignment).

               SECTION 2.20.        Departing Lenders; Replacement of Lenders.

                   (a)    In addition to any rights and remedies that may be available to the Borrower
    under this Agreement or applicable law, if any Lender (x) shall become affected by any of the
    changes or events described in Sections 2.15 or 2.17 and the Borrower is required to pay additional
    amounts or make indemnity payments with respect to the Lender thereunder, (y) becomes a
    Defaulting Lender or (z) has failed to consent to a proposed amendment, waiver, discharge or
    termination which pursuant to the terms of Section 9.02 or any other provision of any Loan
    Document requires the consent of all affected Lenders and with respect to which the Required
    Lenders shall have granted their consent (any such Lender being hereinafter referred to as a
    “Departing Lender”), then in such case, the Borrower may, at its sole expense and effort, upon
    notice to the Administrative Agent and such Departing Lender, require such Lender to assign and
    delegate, without recourse (in accordance with and subject to the restrictions contained in, and
    consents required by, Section 9.04), all of its interests, rights (other than its existing rights to
    payments pursuant to Sections 2.15 and 2.17) and obligations under this Agreement and the related
    Loan Documents to an any Person other than an Ineligible Institution that shall assume such
    obligations (which assignee may be another Lender, if a Lender accepts such assignment) (a
    “Replacement Lender”); provided, that

                      (i)    the Borrower shall have paid to the Administrative Agent the assignment
             fee (if any) specified in Section 9.04(b)(ii)(A);

                     (ii)   such Lender shall have received payment of an amount equal to the
             outstanding principal of its Loans and LC Disbursements, accrued interest thereon, accrued
             fees and all other amounts payable to it hereunder and under the other Loan Documents
             from the assignee (to the extent of such outstanding principal and accrued interest and fees)
             or the Borrower (in the case of all other amounts);

                    (iii) in the case of any such assignment resulting from a claim for compensation
             under Section 2.15 or payments required to be made pursuant to Section 2.17, such
             assignment will result in a reduction in such compensation or payments thereafter;

                     (iv)   such assignment does not conflict with applicable Laws; and

                    (v)     in the case of an assignment resulting from clause (z) of this Section 2.20(a),
             the applicable assignee shall have consented to the applicable amendment, waiver or
             consent.
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                (b)     Upon any assignment by any Lender pursuant to this Section 2.20 becoming
effective, the Replacement Lender shall thereupon be deemed to be a “Lender” for all purposes of
this Agreement (unless such Replacement Lender was, itself, a Lender prior thereto) and such
Departing Lender shall thereupon cease to be a “Lender” for all purposes of this Agreement and
shall have no further rights or obligations hereunder (other than pursuant to Section 2.15 or 2.17 and
Section 9.03) while such Departing Lender was a Lender.

                (c)    Notwithstanding any Departing Lender’s failure or refusal to assign its
rights, obligations, Loans and Commitments under this Section 2.20, the Departing Lender shall
cease to be a “Lender” for all purposes of this Agreement and the Replacement Lender shall be
substituted therefor upon payment to the Departing Lender by the Replacement Lender of all
amounts set forth in this Section 2.20 without any further action of the Departing Lender.

                (d)     Notwithstanding anything in this Section to the contrary, (i) any Lender that
acts as an Issuing Bank may not be replaced hereunder at any time it has any Letter of Credit
outstanding hereunder unless arrangements satisfactory to such Lender (including the furnishing of
a backstop standby letter of credit in form and substance, and issued by an issuer, reasonably
satisfactory to such Issuing Bank or the depositing of cash collateral into a cash collateral account
in amounts and pursuant to arrangements reasonably satisfactory to such Issuing Bank) have been
made with respect to such outstanding Letter of Credit and (ii) the Lender that acts as the
Administrative Agent may not be replaced hereunder except in accordance with the terms of Article
VIII.

          SECTION 2.21.         Defaulting Lenders.

               (a)    Defaulting Lender Adjustments. Notwithstanding anything to the contrary
contained in this Agreement, if any Lender becomes a Defaulting Lender, then, until such time as
such Lender is no longer a Defaulting Lender, to the extent permitted by applicable Law:
                       (i)     Waivers and Amendments. Such Defaulting Lender’s right to
        approve or disapprove any amendment, waiver or consent with respect to this Agreement
        shall be restricted as set forth in the definition of Required Lenders, Super-Majority
        Required Lenders and Section 9.02(b).
                        (ii)   Defaulting Lender Waterfall. Any payment of principal, interest,
        fees or other amounts received by the Administrative Agent for the account of such
        Defaulting Lender (whether voluntary or mandatory, at maturity, pursuant to Article VII
        or otherwise) or received by the Administrative Agent from a Defaulting Lender pursuant
        to Section 9.08 shall be applied at such time or times as may be determined by the
        Administrative Agent as follows: first, to the payment of any amounts owing by such
        Defaulting Lender to the Administrative Agent hereunder; second, to the payment on a pro
        rata basis of any amounts owing by such Defaulting Lender to any Issuing Bank hereunder;
        third, to Cash Collateralize the Issuing Banks’ Fronting Exposure with respect to such
        Defaulting Lender in accordance with Section 2.22; fourth, as the Borrower may request
        (so long as no Default or Event of Default exists), to the funding of any Loan in respect of
        which such Defaulting Lender has failed to fund its portion thereof as required by this
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 Agreement, as determined by the Administrative Agent; fifth, if so determined by the
 Administrative Agent and the Borrower, to be held in a deposit account and released pro
 rata in order to (x) satisfy such Defaulting Lender’s potential future funding obligations
 with respect to Loans under this Agreement and (y) Cash Collateralize the Issuing Banks’
 future Fronting Exposure with respect to such Defaulting Lender with respect to future
 Letters of Credit issued under this Agreement, in accordance with Section 2.22; sixth, to
 the payment of any amounts owing to the Lenders or the Issuing Banks as a result of any
 judgment of a court of competent jurisdiction obtained by any Lender or the Issuing Banks
 against such Defaulting Lender as a result of such Defaulting Lender’s breach of its
 obligations under this Agreement; seventh, so long as no Default or Event of Default exists,
 to the payment of any amounts owing to the Borrower as a result of any judgment of a
 court of competent jurisdiction obtained by the Borrower against such Defaulting Lender
 as a result of such Defaulting Lender's breach of its obligations under this Agreement; and
 eighth, to such Defaulting Lender or as otherwise directed by a court of competent
 jurisdiction; provided that if (x) such payment is a payment of the principal amount of any
 Loans or LC Disbursements in respect of which such Defaulting Lender has not fully
 funded its appropriate share, and (y) such Loans were made or the related Letters of Credit
 were issued at a time when the conditions set forth in Section 4.02 were satisfied or waived,
 such payment shall be applied solely to pay the Loans of, and LC Disbursements owed to,
 all Non-Defaulting Lenders on a pro rata basis prior to being applied to the payment of any
 Loans of, or LC Disbursements owed to, such Defaulting Lender until such time as all
 Loans and funded and unfunded participations in Letters of Credit are held by the Lenders
 pro rata in accordance with the Commitments without giving effect to clause (iv) below.
 Any payments, prepayments or other amounts paid or payable to a Defaulting Lender that
 are applied (or held) to pay amounts owed by a Defaulting Lender or to post Cash Collateral
 pursuant to this Section shall be deemed paid to and redirected by such Defaulting Lender,
 and each Lender irrevocably consents hereto.
                (iii)   Commitment and Letter of Credit Fees.
                       (A)    No Defaulting Lender shall be entitled to receive any
        commitment fee due under Section 2.12(a) for any period during which that Lender
        is a Defaulting Lender (and the Borrower shall not be required to pay any such fee
        that otherwise would have been required to have been paid to that Defaulting
        Lender).

                        (B)    Each Defaulting Lender shall be entitled to receive fees with
        respect to Letters of Credit due under Section 2.12(b) for any period during which
        that Lender is a Defaulting Lender only to the extent allocable to its Applicable
        Revolving Credit Percentage of the stated amount of Letters of Credit for which it
        has provided Cash Collateral pursuant to Section 2.22.

                        (C)  With respect to any fees not required to be paid to any
        Defaulting Lender pursuant to clause (A) or (B) above, the Borrower shall (x) pay
        to each Non-Defaulting Lender that portion of any such fee otherwise payable to
        such Defaulting Lender with respect to such Defaulting Lender’s participation in
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               Letters of Credit that has been reallocated to such Non-Defaulting Lender pursuant
               to clause (iv) below, (y) pay to each Issuing Bank, as applicable, the amount of any
               such fee otherwise payable to such Defaulting Lender to the extent allocable to such
               Issuing Bank’s Fronting Exposure to such Defaulting Lender, and (z) not be
               required to pay the remaining amount of any such fee.

                       (iv)    Reallocation of Participations to Reduce Fronting Exposure. All or
       any part of such Defaulting Lender’s participation in Letters of Credit shall be reallocated
       among the Non-Defaulting Lenders in accordance with their respective Applicable
       Revolving Credit Percentages (calculated without regard to such Defaulting Lender’s
       Commitment) but only to the extent that such reallocation does not cause the aggregate
       Revolving Exposure of any Non-Defaulting Lender to exceed such Non-Defaulting
       Lender’s Commitment. Subject to Section 9.20, no reallocation hereunder shall constitute
       a waiver or release of any claim of any party hereunder against a Defaulting Lender arising
       from that Lender having become a Defaulting Lender, including any claim of a Non-
       Defaulting Lender as a result of such Non-Defaulting Lender’s increased exposure
       following such reallocation.
                      (v)     Cash Collateral. If the reallocation described in clause (iv) above
       cannot, or can only partially, be effected, the Borrower shall, without prejudice to any right
       or remedy available to it hereunder or under law, Cash Collateralize the Issuing Banks’
       Fronting Exposure in accordance with the procedures set forth in Section 2.22.
               (b)     Defaulting Lender Cure. If the Borrower, the Administrative Agent and
each Issuing Bank agree in writing that a Lender is no longer a Defaulting Lender, the
Administrative Agent will so notify the parties hereto, whereupon as of the effective date specified
in such notice and subject to any conditions set forth therein (which may include arrangements
with respect to any Cash Collateral), that Lender will, to the extent applicable, purchase at par that
portion of outstanding Loans of the other Lenders or take such other actions as the Administrative
Agent may determine to be necessary to cause the Loans and funded and unfunded participations
in Letters of Credit to be held pro rata by the Lenders in accordance with the Commitments
(without giving effect to paragraph (a)(iv) above), whereupon, such Lender will cease to be a
Defaulting Lender; provided that no adjustments will be made retroactively with respect to fees
accrued or payments made by or on behalf of the Borrower while that Lender was a Defaulting
Lender; and provided, further, that except to the extent otherwise expressly agreed by the affected
parties, no change hereunder from Defaulting Lender to Lender will constitute a waiver or release
of any claim of any party hereunder arising from that Lender’s having been a Defaulting Lender.
               (c)       New Letters of Credit. So long as any Lender is a Defaulting Lender, no
Issuing Bank shall be required to issue, extend, increase, reinstate or renew any Letter of Credit
unless it is satisfied that it will have no Fronting Exposure after giving effect thereto.

         SECTION 2.22.         Cash Collateral.

              (a)    Obligation to Cash Collateralize. At any time that there shall exist a
Defaulting Lender, within one Business Day following the written request of the Administrative

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     Agent or any Issuing Bank (with a copy to the Administrative Agent), the Borrower shall Cash
     Collateralize the Issuing Banks’ Fronting Exposure with respect to such Defaulting Lender
     (determined after giving effect to Section 2.21(a)(iv) and any Cash Collateral provided by such
     Defaulting Lender) in an amount not less than the 105% of the Fronting Exposure of the Issuing
     Bank.
                    (b)      Grant of Security Interest. The Borrower, and to the extent provided by any
     Defaulting Lender, such Defaulting Lender, hereby grants to the Administrative Agent, for the
     benefit of the Issuing Banks, and agrees to maintain, a first priority security interest in all such
     Cash Collateral as security for the Defaulting Lender’s obligation to fund participations in respect
     of Letters of Credit, to be applied pursuant to clause (c) below. If at any time the Administrative
     Agent determines that Cash Collateral is subject to any right or claim of any Person other than the
     Administrative Agent and the Issuing Banks as herein provided, or that the total amount of such
     Cash Collateral is less than the 105% of the Fronting Exposure of the Issuing Bank, the Borrower
     will, promptly upon demand by the Administrative Agent, pay or provide to the Administrative
     Agent additional Cash Collateral in an amount sufficient to eliminate such deficiency (after giving
     effect to any Cash Collateral provided by the Defaulting Lender).
                    (c)     Application. Notwithstanding anything to the contrary contained in this
     Agreement, Cash Collateral provided under this Section or Section 2.21 in respect of Letters of
     Credit shall be applied to the satisfaction of the Defaulting Lender’s obligation to fund
     participations in respect of Letters of Credit (including, as to Cash Collateral provided by a
     Defaulting Lender, any interest accrued on such obligation) for which the Cash Collateral was so
     provided, prior to any other application of such property as may otherwise be provided for herein.
                     (d)     Termination of Requirement. Cash Collateral (or the appropriate portion
     thereof) provided to reduce any Issuing Bank’s Fronting Exposure shall no longer be required to
     be held as Cash Collateral pursuant to this Section following (i) the elimination of the applicable
     Fronting Exposure (including by the termination of Defaulting Lender status of the applicable
     Lender), or (ii) the determination by the Administrative Agent and each Issuing Bank that there
     exists excess Cash Collateral; provided that, subject to Section 2.21 the Person providing Cash
     Collateral and each Issuing Bank may agree that Cash Collateral shall be held to support future
     anticipated Fronting Exposure or other obligations and; provided further that to the extent that such
     Cash Collateral was provided by the Borrower, such Cash Collateral shall remain subject to the
     security interest granted pursuant to the Loan Documents.
                                                ARTICLE III

                                       Representations and Warranties

                   The Borrower represents and warrants to the Administrative Agent, the Issuing
     Bank and the Lenders that:

                SECTION 3.01.        Organization; Powers; Subsidiaries. Each of the Borrower and its
Restricted Subsidiaries is duly organized, validly existing and in good standing under the laws of the
jurisdiction of its incorporation or organization and, subject to the entry of the Interim Order (or the
Final Order, when entered), has all requisite power and authority to carry on its business as now
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conducted, execute, deliver and perform its obligations under the Loan Documents to which it is a party,
and, except where the failure to do so, individually or in the aggregate, could not reasonably be expected
to result in a Material Adverse Effect, is qualified to do business in, and is in good standing in, every
jurisdiction where such qualification is required. Schedule 3.01 sets forth (a) a correct and complete list
of the name and relationship to the Borrower of each and all of the Borrower’s Subsidiaries, (b) a true
and complete listing of each class of each of the Restricted Subsidiaries’ authorized Equity Interests, of
which all of such issued shares are validly issued, outstanding, fully paid and non-assessable, and owned
beneficially and of record by the Persons identified on Schedule 3.01, and (c) the type of entity of the
Borrower and each of its Subsidiaries. All of the issued and outstanding Equity Interests owned by any
Loan Party have been (to the extent such concepts are relevant with respect to such ownership interests)
duly authorized and issued and are fully paid and non-assessable.

               SECTION 3.02.         Authorization; Enforceability. Subject to entry and the terms of the
Interim Order (or the Final Order, when applicable), the Transactions are within each Loan Party’s
corporate or limited liability company powers, will not contravene the terms of any Loan Party’s
Organization Documents and have been duly authorized by all necessary corporate, limited liability
company and, if required, stockholder action. Subject to entry and the terms of the Interim Order (or
the Final Order, when applicable), the Loan Documents to which each Loan Party is a party have been
duly executed and delivered by such Loan Party and constitute a legal, valid and binding obligation of
such Loan Party, enforceable in accordance with its terms, subject to applicable Debtor Relief Laws and
subject to general principles of equity, regardless of whether considered in a proceeding in equity or at
Law.

                SECTION 3.03.         Governmental Approvals; No Conflicts. Subject to entry and the
terms of the Interim Order (or the Final Order, when applicable), the Transactions (a) do not require any
material consent or approval of, registration or filing with, or any other action by, any Governmental
Authority, except such as have been obtained or made and are in full force and effect and except for
filings necessary to perfect Liens created pursuant to the Loan Documents and the filing on or about the
Effective Date of one or more current reports on Form 8-K with respect to the Transactions, (b) will not
violate any material Law applicable to the Borrower or any of its Restricted Subsidiaries, (c) except as
could not reasonably be expected to have a Material Adverse Effect, will not violate or result in a default
under any indenture, agreement or other instrument binding upon the Borrower or any of its Restricted
Subsidiaries or its assets (except those as to which waivers or consents have been obtained), and (d) will
not result in the creation or imposition of any Lien on any asset of the Borrower or any of its Restricted
Subsidiaries, except Liens created pursuant to the Loan Documents.

               SECTION 3.04.        Financial Condition; No Material Adverse Change.

                    (a)     The Borrower has heretofore furnished to the Lenders its (i) consolidated
    balance sheet and statements of income, stockholders equity and cash flows as of and for the
    fiscal years ended December 31, 2017 and December 31, 2018, reported on by Deloitte & Touche
    LLP, independent public accountants, and (ii) unaudited consolidated balance sheet and related
    statements of income, stockholders’ equity and cash flows as of and for the fiscal quarters ended
    March 31, 2019 and June 30, 2019. Such financial statements present fairly, in all material respects,
    the financial position and results of operations and cash flows of the Borrower and its consolidated
    Subsidiaries as of such date in accordance with GAAP.
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                    (b) Since Petition Date, there has been no development or event which has had
     or could reasonably be expected to have a Material Adverse Effect.

               SECTION 3.05.         Properties.

                     (a)     Each of the Borrower and its Restricted Subsidiaries has (i) good title to (in
    the case of fee interests in real property), (ii) valid leasehold interests in (in the case of leasehold
    interests in real or personal property), and (iii) marketable title to (in the case of all other personal
    property), all of their respective assets, except where the failure to do so could not reasonably be
    expected to have a Material Adverse Effect. All such assets are free and clear of Liens except for
    Permitted Liens.

                     (b) The Borrower and each of its Restricted Subsidiaries owns, has the legal
     right to use or is licensed to use, all trademarks, tradenames, copyrights, patents and other
     intellectual property necessary to its business as currently conducted, except where the failure to
     do so could not reasonably be expected to have a Material Adverse Effect, and, to the knowledge
     of the Borrower or any of its Restricted Subsidiaries, the use thereof by the Borrower and its
     Restricted Subsidiaries does not infringe upon the rights of any other Person except for such
     infringements that, in the aggregate, could not reasonably be expected to have a Material Adverse
     Effect.

               SECTION 3.06.         Litigation and Environmental Matters.

                   (a)      Other than the Bankruptcy Cases, there are no actions, suits or proceedings
    by or before any arbitrator or Governmental Authority pending against or, to the knowledge of the
    Borrower, threatened against or affecting the Borrower or any of its Restricted Subsidiaries (i) as
    to which there is a reasonable probability of an adverse determination and that, if adversely
    determined, could reasonably be expected, individually or in the aggregate, to result in a Material
    Adverse Effect or (ii) that involve this Agreement or the Transactions.

                   (b)     Except for any other matters that, individually or in the aggregate, could not
    reasonably be expected to result in a Material Adverse Effect, (i) none of the Borrower or any of its
    Restricted Subsidiaries has received any written or actual notice of any claim with respect to any
    Environmental Liability or has knowledge or reason to believe that any such notice will be received
    or is threatened and (ii) none of the Borrower or any of its Restricted Subsidiaries (1) has, at any
    time during the last five (5) years, failed to comply with any Environmental Law or to obtain,
    maintain or comply with any permit, license or other approval required under any Environmental
    Law or (2) has become subject to any Environmental Liability.

                SECTION 3.07.        Compliance with Laws and Agreements. Each of the Borrower and
its Restricted Subsidiaries is in compliance with all Laws applicable to it or its property, and all orders,
writs, injunctions, and decrees of any Governmental Authority applicable to it or its property, all
Material Indebtedness and all other indentures, agreements and other instruments binding upon it or its
property, in each case except where the failure to do so, individually or in the aggregate, could not
reasonably be expected to result in a Material Adverse Effect.

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              SECTION 3.08.        Investment Company Status. Neither the Borrower nor any of its
Subsidiary Guarantors is required to register as an “investment company” as defined in, or subject to
regulation under, the Investment Company Act of 1940.

                SECTION 3.09.         Taxes. Each of the Borrower and its Restricted Subsidiaries has
timely filed or caused to be filed all Tax returns and reports required to have been filed and has paid or
caused to be paid all Taxes required to have been paid by it, except (a) Taxes that are being contested in
good faith by appropriate proceedings and for which the Borrower or such Restricted Subsidiary, as
applicable, has set aside on its books adequate reserves to the extent required by GAAP or (b) to the
extent that the failure to do so could not be expected to result in a Material Adverse Effect. There is no
tax assessment proposed in writing, or to the knowledge of any Loan party, threatened, against the
Borrower or any Restricted Subsidiary that could, if made, be reasonably expected to have a Material
Adverse Effect. Neither the Borrower or any Restricted Subsidiary thereof is party to any tax sharing
agreement.

                SECTION 3.10.        ERISA. Except as set forth on Schedule 3.10(a), neither Borrower,
any Restricted Subsidiary nor any of their respective ERISA Affiliates is party to, contributes to, is
obligated to contribute to, or otherwise has any obligation or is bound by (a) any Multiemployer Plan or
(b) any Plan subject to Section 433 of the Code. Except as set forth on Schedule 3.10(b), no ERISA
Event has occurred within the previous five (5) years or is reasonably expected to occur that, when taken
together with all other such ERISA Events for which liability is reasonably expected to occur, could
reasonably be expected to result in a Material Adverse Effect. Except as set forth on Schedule 3.10(b),
neither the Borrower, any Restricted Subsidiary nor any of their respective ERISA Affiliates reasonably
anticipates that any Material Adverse Effect will arise from any increase either in the annual financial
expense for any Plan or Multiemployer Plan (determined in accordance with Statement of Financial
Accounting Standards No. 87) or in the annual minimum funding contribution for any Plan or
Multiemployer Plan (determined in accordance with the assumptions used for funding such Plan or
Multiemployer Plan pursuant to Section 412, 430, 431 or 432 of the Code), and neither the Borrower,
any Restricted Subsidiary nor any of their respective ERISA Affiliates is aware of any facts that could
form the basis for materially changing the method of determining the actuarial assumptions, interest
rates, or other calculations associated with any Plan or Multiemployer Plan. None of the assets of the
Borrower, any Restricted Subsidiary or any of their respective ERISA Affiliates is the subject of any
Lien arising under Section 303(k) of ERISA or Section 430(k) of the Code, and there are no facts which
could be expected to give rise to such a Lien. Except as set forth on Schedule 3.10, as of the Effective
Date, the present value of all accumulated benefit obligations under each Plan (based on the assumptions
used for purposes of Statement of Financial Accounting Standards No. 87) did not, as of the date of the
most recent financial statements reflecting such amounts, exceed the fair market value of the assets of
such Plan. Except as set forth on Schedule 3.10, as of the Effective Date, no Multiemployer Plan is
subject to the additional funding rules of Section 432 of the Code for multiemployer plans that are in
endangered or critical status. As of the Effective Date, no Loan Party is nor will be (a) an employee
benefit plan subject to ERISA, (b) a plan or account subject to Section 4975 of the Code; (c) an entity
deemed to hold “plan assets” of any such plans or accounts for purposes of ERISA or the Code; or (d) a
“governmental plan” within the meaning of ERISA.

              SECTION 3.11.      Disclosure. All financial projections and forecasts delivered to the
Administrative Agent and the Lenders in connection with this Agreement have been prepared by the
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Borrower in good faith based upon assumptions believed by the Borrower to be reasonable at the time
made available to the Administrative Agent and the Lenders, it being recognized by the Administrative
Agent and the Lenders that such projections are as to future events and are not to be viewed as facts and
are subject to significant uncertainties and contingencies, many of which are beyond the Borrower’s
control, and that actual results during the period or periods covered by such projections may differ
significantly from the projected results and such differences may be material. There is no fact now
known to the Borrower or any of its Subsidiaries which has, or could reasonably be expected to have, a
Material Adverse Effect which fact has not been set forth herein or in the periodic and other reports filed
by the Borrower or any Subsidiary with the SEC, in the financial statements of the Borrower and its
Subsidiaries furnished to the Administrative Agent and/or the Lenders, or in any certificate, opinion or
other written statement made or furnished by any Loan Party to the Administrative Agent and/or the
Lenders. None of the reports, financial statements, certificates or other information furnished by or on
behalf of the Borrower to the Administrative Agent or any Lender in connection with the negotiation of
this Agreement or any other Loan Document (as modified or supplemented by other information so
furnished) or delivered hereunder contains any material misstatement of fact or omits to state any
material fact necessary to make the statements therein, in the light of the circumstances under which
they were made, not materially misleading; provided that, with respect to projected financial
information, the Borrower represents only that such information was prepared in good faith based upon
assumptions believed to be reasonable at the time delivered. Notwithstanding anything contained in this
Section 3.11, the parties hereto acknowledge and agree that uncertainty is inherent in any forecasts and
projections and that such forecasts and projections (including the Agreed Budget and the Agreed Capital
Expenditures Budget) do not constitute guarantees of future performance. The information included in
the Beneficial Ownership Certification is true and correct in all material respects.

              SECTION 3.12.        Use of Proceeds. The proceeds of the Loans have been (or will be,
as the case may be) used only as permitted under Section 5.08.

               SECTION 3.13.        Intentionally Omitted.

                SECTION 3.14.        Labor Disputes. As of the Effective Date, there are no labor
controversies, strikes, lockouts or slowdowns pending against or, to the knowledge of the Borrower,
threatened against or affecting the Borrower or any of its Restricted Subsidiaries (i) which could
reasonably be expected, individually or in the aggregate, to result in a Material Adverse Effect, or
(ii) that involve this Agreement or the Transactions.

               SECTION 3.15.        No Default. No Default has occurred and is continuing.

                SECTION 3.16.        Federal Reserve Regulations. No part of the proceeds of any Loan
have been or will be used, whether directly or indirectly, for any purpose that entails a violation of any
of the regulations of the Board, including Regulations T, U, and X.

                SECTION 3.17.        Business Locations; Taxpayer Identification Number. Set forth on
Schedule 3.17(a) is a list of all locations where any tangible personal property of any Loan Party is
located as of the Effective Date. Set forth on Schedule 3.17(b) is the chief executive office, exact legal
name, U.S. tax payer identification number and organizational identification number of each Loan Party
as of the Effective Date.
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               SECTION 3.18.       Sanctions; Anti-Corruption.

                    (a)    Neither the Borrower nor any of its Subsidiaries, nor, to the knowledge of
    the Borrower and its Subsidiaries, any director, officer or employee thereof, is an individual or
    entity that is, or is owned or controlled by any Persons that are, the subject or target of any
    Sanctions, or located, organized or resident in a Designated Jurisdiction. No Loan or Letters of
    Credit, nor the proceeds from any Loan or Letter of Credit, has been or will be used, directly or
    indirectly, to lend, contribute, provide or has otherwise made available to fund any activity or
    business of any Person who is the target of any Sanctions, or in any other manner that will result in
    any material violation by any Lender, the Administrative Agent, the Arrangers, any Issuing Bank,
    or any Participant of Sanctions.

                    (b)     The Borrower and its Restricted Subsidiaries have instituted and maintained
    policies and procedures reasonably designed to promote and achieve material compliance by the
    Loan Parties, the Restricted Subsidiaries and their respective directors, officers and employees (in
    each case solely to the extent of their course of employment) with the United States Foreign Corrupt
    Practices Act of 1977 and other similar anti-bribery, anti-corruption and anti-money laundering
    legislation, rules or regulations, including those of any other jurisdictions applicable to Borrower
    or any of its Restricted Subsidiaries (collectively, “Anti-Corruption Laws”). The Borrower, its
    Restricted Subsidiaries and, to the knowledge of the Borrower and its Restricted Subsidiaries, their
    respective directors, officers and employees (in each case solely to the extent of their course of
    employment by the Borrower and its Restricted Subsidiaries), are in compliance with all applicable
    Sanctions and Anti-Corruption Laws in all material respects.

                SECTION 3.19.        Real Property. Set forth on Part 1 of Schedule 3.19 is a complete
and correct list, as of the Effective Date, of all of the real property owned by the Borrower or any
Restricted Subsidiary, indicating in each case the use of the respective property, the identity of the
owner, and the location of the respective property. To the knowledge of the Borrower, (x) as of the
Effective Date, except as set forth on Part 2 of Schedule 3.19, no Initial Borrowing Base Property owned
by a Loan Party has Improvements located in a Flood Zone and in which flood insurance has been made
available under the National Flood Insurance Program and (y) no Eligible Property owned by a Loan
Party and included in the calculation of the Borrowing Base set forth in the most recent Borrowing Base
Certificate delivered pursuant to Section 5.01(f) has Improvements located in a Flood Zone and in which
flood insurance has been made available under the National Flood Insurance Program. Each Loan Party
maintains flood insurance for each of the DIP Collateral Real Properties (or the portion of such
properties that contains Improvements located in a Flood Zone), (a) in an amount equal to the lesser of
(i) the fair market value of each such property or (ii) the maximum available insurance amount under
the National Flood Insurance Program and (b) is otherwise in compliance with the Flood Insurance
Laws.

               SECTION 3.20.        Insurance. The properties of the Loan Parties and their Restricted
Subsidiaries are insured with financially sound and reputable insurance companies not Affiliates of the
Borrower, in such amounts, with such deductibles and covering such risks as are customarily carried by
companies engaged in similar businesses and owning similar properties in localities where the applicable
Loan Party or the applicable Restricted Subsidiary operates, including the use of self-insurance plans.

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The property and general liability insurance coverage of the Loan Parties as in effect on the Effective
Date is outlined as to carrier, policy number, expiration date, type and amount on Schedule 3.20.

                 SECTION 3.21.       EEA Financial Institutions. No Loan Party is an EEA Financial
Institution.

               SECTION 3.22.       Security and Priority. (a) Subject to entry and the terms of the
Interim Order (or the Final Order, when applicable), all of the Obligations of each Loan Party are
authorized by each Order and shall, subject to the Carve-Out, at all times:

                       (i) pursuant to section 364(c)(1) of the Bankruptcy Code, constitute joint and
      several allowed superpriority administrative expense claims against the Loan Parties (without the
      need to file any proof of claim) with priority over any and all claims against the Loan Parties (other
      than claims in connection with the Permitted Receivables Financing), now existing or hereafter
      arising, of any kind whatsoever, including, without limitation, all administrative expenses of the
      kind specified in sections 503(b) and 507(b) of the Bankruptcy Code and any and all administrative
      expenses or other claims arising under sections 105, 326, 328, 330, 331, 363, 364(c)(1), 365,
      503(a), 503(b), 506(c) (upon entry of the Final Order), 507(a), 507(b), 507(d), 726, 1113 or 1114
      of the Bankruptcy Code (including any adequate protection obligations), whether or not such
      expenses or claims may become secured by a judgment lien or other non-consensual lien, levy or
      attachment, which allowed claims (the “DIP Super-Priority Claims”) shall for purposes of section
      1129(a)(9)(A) of the Bankruptcy Code be considered administrative expenses allowed under
      section 503(b) of the Bankruptcy Code, and which DIP Super-Priority Claims shall be payable
      from and have recourse to all pre- and post-petition assets and property, whether existing on the
      Petition Date or thereafter acquired, of the Loan Parties and all proceeds thereof (excluding
      Avoidance Actions but including, effective upon entry of the Final Order and to the extent provided
      for therein, the proceeds of any Avoidance Actions), subject only to the Liens thereon to the extent
      set forth in the Orders and the Carve-Out. The DIP Super-Priority Claims shall be entitled to the
      full protection of section 364(e) of the Bankruptcy Code in the event that the Interim Order (or,
      after entry thereof, the Final Order) or any provision thereof is vacated, reversed, amended or
      otherwise modified, on appeal or otherwise;

                      (ii) pursuant to section 361, 362, 364(c)(2), 364(c)(3) and 364(d) of the Bankruptcy
      Code and the Collateral Documents, be secured by a valid, binding, perfected, continuing,
      enforceable, non-avoidable first priority security interest in and Lien on the Collateral of each Loan
      Party (subject to the Carve-Out and the Liens permitted by Section 6.02) to the extent such
      Collateral is not subject to valid, enforceable, perfected and non-avoidable Liens as of the Petition
      Date; and

                      (iii) pursuant to sections 364(c)(3) and 364(d)(1) of the Bankruptcy Code and the
      Collateral Documents, be secured by a valid, binding, perfected, continuing, enforceable, non-
      avoidable security interest and Lien on all other Collateral of each Loan Party (excluding
      Avoidance Actions, but, upon entry of the Final Order, including proceeds of Avoidance Actions),
      which security interests and Liens on such Collateral shall in each case be (i) senior to and prime
      all other Liens and security interests (other than liens and security interests identified in subclause
      (ii) below) in the Loan Parties’ Collateral, (ii) junior only to any valid, binding, enforceable,
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     perfected and unavoidable Liens in favor of third parties that were (x) in existence immediately
     prior to the Petition Date, or (y) perfected subsequent to the Petition Date as permitted by section
     546(b) of the Bankruptcy Code, but in each case, solely to the extent that such Liens and security
     interests of such third parties are, as of the Petition Date, senior to the Prepetition Liens (as defined
     in the Orders) and (iii) subject to the Carve-Out and the Liens permitted by Section 6.02.

                    (b)     Upon (and at all times after) the entry, and subject to the terms, of each of
     the Interim Order and the Final Order, each such Order shall is effective to create in favor of the
     Administrative Agent, for the benefit of the Secured Parties, a legal, valid, enforceable and
     perfected security interest in the Collateral of the Loan Parties and proceeds thereof.

                    (c)     Upon (and at all times after) the entry, and subject to the terms, of each of
     the Interim Order and the Final Order, each such Order and the Loan Documents is sufficient to
     provide the DIP Super-Priority Claims and security interests in and Liens on the Collateral of the
     Loan Parties described in, and with the priority provided in, Section 3.22(a) hereof.

               SECTION 3.23.        Orders. (a) The Loan Parties are in compliance in all material
respects with the terms and conditions of the Interim Order or the Final Order, as applicable.

                      (b)     The Interim Order, or at all times after the Final Order Date, the Final Order,
     is in full force and effect and has not been vacated, reversed, terminated, or rescinded or, without
     the prior written consent of the Administrative Agent and the Lenders, given in their respective
     sole discretion, amended or modified.

                     (c)     No appeal of the Order shall have been filed, or, if the Order is the subject
     of a pending appeal in any respect, none of such Order, the making of the Loans or the performance
     by Borrower or any other Loan Party of any of its obligations under any of the Loan Documents
     shall be the subject of a presently effective stay pending appeal. The Borrower, the Administrative
     Agent and the Lenders shall be entitled to rely in good faith upon the Order, notwithstanding
     objection thereto or appeal therefrom by any interested party. The Borrower, the Administrative
     Agent, the Lenders and the Issuing Bank shall be permitted and required to perform their respective
     obligations in compliance with this Agreement notwithstanding any such objection or appeal
     unless the relevant Order has been stayed by a court of competent jurisdiction.

                SECTION 3.24.        Bankruptcy Cases. (a) The Bankruptcy Cases were commenced on
the Petition Date in accordance with applicable Laws and proper notice thereof was given for (i) the
motion seeking approval of the Loan Documents and the Interim Order and Final Order, (ii) the hearing
for the entry of the Interim Order and (iii) following the entry of the Interim Order, the hearing for entry
of the Final Order. The Borrower and the other Loan Parties shall give, on a timely basis as specified
in the Interim Order or the Final Order, as applicable, all notices required to be given as specified in the
Interim Order or Final Order, as applicable.

                     (b)    Notwithstanding the provisions of section 362 of the Bankruptcy Code, and
     subject to the provisions of Article VII and the applicable provisions of the Interim Order or the
     Final Order, as the case may be (and subject to any notice required hereunder or thereunder), upon
     the maturity (whether by acceleration or otherwise) of any of the Obligations, the Administrative
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     Agent and the Lenders shall be entitled to immediate payment of the Obligations and to enforce
     the remedies provided for hereunder, under the Order or under applicable Laws, without further
     motion or application to, or order from, the Bankruptcy Court.

                     (c)   No order has been entered in any of the Bankruptcy Cases (i) for the
     appointment of a Chapter 11 trustee, (ii) for the appointment of an examiner (other than a fee
     examiner) or receiver having expanded powers (beyond those set forth under Sections 1106(a)(3)
     and (4) of the Bankruptcy Code) under section 1104 of the Bankruptcy Code or (iii) to convert any
     of the Bankruptcy Cases to a case under Chapter 7 of the Bankruptcy Code or to dismiss any of
     the Bankruptcy Cases.

                SECTION 3.25.        Agreed Budget and Agreed Capital Expenditures Budget. The
initial Agreed Budget attached to this Agreement as Exhibit B and the initial Agreed Capital
Expenditures Budget, which were each furnished to the Administrative Agent and the Lenders on or
prior to the Effective Date, and each subsequent Agreed Budget or Agreed Capital Expenditures Budget
delivered in accordance with Section 5.12, has been prepared in good faith, with due care and based
upon assumptions the Borrower believes to be reasonable assumptions on the date of delivery of the
then-applicable Agreed Budget or Agreed Capital Expenditures Budget. To the knowledge of the
Borrower, as of the Effective Date, no facts exist that (individually or in the aggregate) could reasonably
be expected to result in any material change in the Agreed Budget or the Agreed Capital Expenditures
Budget. The Borrower shall hereafter deliver to the Administrative Agent and the Lenders updates to
the Agreed Budget or Agreed Capital Expenditures Budget in accordance with Section 5.12.

                                                ARTICLE IV

                                                  Conditions

              SECTION 4.01.         Effective Date. The obligations of the Lenders to make Loans and
of Issuing Bank to issue Letters of Credit hereunder shall not become effective until the date on which
the Administrative Agent shall have received each of the following, in each case reasonably satisfactory
to the Administrative Agent (and to the extent specified below, to each Lender) in form and substance:

                    (a)    Executed Counterparts. From each party thereto, a counterpart of this
     Agreement and the other Loan Documents to be executed and delivered as of the Effective Date,
     signed and delivered on behalf of such party.

                     (b)     [Reserved].

                    (c)   Corporate Documents.        Such documents and certificates as the
     Administrative Agent may reasonably request relating to the organization, existence and good
     standing of each Loan Party, the authorization of the Transactions, the identity, authority and
     capacity of each Responsible Officer authorized to act on behalf of a Loan Party in connection
     with the Loan Documents and any other legal matters relating to the Loan Party, this Agreement,
     the other Loan Documents or the Transactions.

                     (d)     Collateral Documents.
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                                  (A)    The Administrative Agent shall have received the Security
         Agreement, duly executed and delivered by the Loan Parties and the Administrative
         Agent. In addition, Administrative Agent shall have received evidence that all filings,
         registrations and recordings have been made in the appropriate governmental offices, and
         all other action has been taken, that Administrative Agent deems necessary or desirable
         in order to create, in favor of Administrative Agent on behalf of the Holders of Secured
         Obligations, a perfected first-priority Lien on the Collateral described in the Interim
         Order and/or the Security Agreement, subject to no other Liens except for the Carve-Out
         and Permitted Liens. Without limiting the foregoing, each Loan Party shall deliver to
         the Administrative Agent: (x) all certificates, if any, representing the outstanding Equity
         Interests of each Pledge Subsidiary, promissory notes, if any, evidencing all Indebtedness
         owed to such Loan Party as of the Effective Date to the extent required to be pledged
         pursuant to the Security Agreement, and stock powers and instruments of transfer,
         endorsed in blank, with respect to such stock certificates and promissory notes; and (y)
         all documentation, including UCC financing statements, required by law or reasonably
         requested by the Administrative Agent to be filed, registered or recorded to create or
         perfect the Liens intended to be created under the Interim Order and/or the Security
         Agreement.
                                (B)     The Collateral Documents and the Interim Order, upon
         entry thereof, shall be effective to create in favor of the Administrative Agent, for the
         benefit of the Secured Parties, legal, valid, enforceable, perfected and unavoidable Liens
         on and security interests in the Collateral as set forth in Section 3.22 and subject in all
         respects to Section 9.23. The Loan Parties shall have delivered UCC financing
         statements, in suitable form for filing, and shall have made arrangements for the filing
         thereof that are reasonably acceptable to the Administrative Agent. For the avoidance of
         doubt, the Interim Order shall deem any and all Liens granted by the Loan Parties to be
         perfected.
                (e)     Insurance. Subject to Section 5.17, evidence that all insurance required to
be maintained under this Agreement and the Collateral Documents has been obtained and is in
effect, together with the certificates of insurance, naming Administrative Agent, on behalf of the
Lenders and any Issuing Bank, as an additional insured and a lender’s loss payee, as the case may
be, under all insurance policies maintained with respect to the assets and properties of the Loan
Parties that constitute Collateral and all endorsements thereto required under this Agreement and
the Collateral Documents. The Administrative Agent and Lenders shall have received Flood
Certificates for each DIP Collateral Real Property described in clause (i) of the definition thereof
and to the extent applicable, signed Borrower notices and flood insurance required to be
maintained under this Agreement.
                (f)    Borrowing Base Certificate. The Administrative Agent and the Lenders
shall have received on or prior to the Effective Date a Borrowing Base Certificate which calculates
the Borrowing Base as of Effective Date.

              (g)      Agreed Budget. The Administrative Agent and the Lenders shall have
received a copy of the Agreed Budget, certified by a Responsible Officer of the Borrower, and in
form and substance satisfactory to the Administrative Agent and the Lenders.
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               (h)    Amendment and Restatement of Pre-Petition Receivables Financing
Agreement. The Pre-Petition Receivables Financing Agreement has been amended and restated
pursuant to the Permitted Receivables Financing and documentation relating thereto, in each case
on terms and in form and substance reasonably acceptable to the Administrative Agent and the
Required Lenders and the Administrative Agent shall have received satisfactory evidence that such
amendment and restatement has occurred and copies of all amendments and restatements of, or
amendments to, any material documents related to the Permitted Receivables Financing, in each
case together with all exhibits and schedules thereto, in connection therewith certified by a
Responsible Officer of Borrower.

                (i)    Financial Compliance. The financial statements referenced in Section 3.04
shall have been delivered to the Administrative Agent and the Lenders (and, by its execution of
this Agreement, each of the Administrative Agent and each Lender acknowledges receipt of such
financial statements for the fiscal years ended December 31, 2017 and December 31, 2018, and
the fiscal quarters ended March 31, 2019 and June 30, 2019).

                  (j)      Officer’s Certificate. A certificate of a Responsible Officer of the Borrower,
dated the Effective Date, certifying (i) either (x) evidence that all authorizations or approvals of
any Governmental Authority and approvals or consents of any other Person, required in connection
with the Transactions shall have been obtained, or (y) that no such authorizations, approvals, and
consents are so required, and (ii) compliance with the conditions set forth in clauses (a), (b), (c),
(e), (f), (g), (h), (i) and (j) of Section 4.02.

                (k)     [Reserved].

                (l)     Fees. Evidence that the Borrower shall have paid all accrued fees and
expenses of the Administrative Agent and the Lenders as required to be paid on the Effective Date
under the terms of the Agent Fee Letter or any other letter agreements between the Borrower and
the Administrative Agent, including (unless waived by the Administrative Agent) the fees, charges
and disbursements of White & Case LLP, counsel to the Administrative Agent, FTI Consulting,
as financial adviser, and counsel to each of the Lenders, in each case, in connection with the
negotiation, preparation, execution, and delivery of the Loan Documents (directly to such counsel
if requested by Administrative Agent or the applicable Lender) to the extent invoiced prior to the
Effective Date (or, with respect to counsel of any Lender, at least three (3) Business Days prior to
the Effective Date), plus such additional amounts of such fees, charges, and disbursements as shall
constitute its reasonable estimate of such fees, charges, and disbursements incurred or to be
incurred by it through the closing proceedings (provided that such estimate shall not thereafter
preclude a final settling of accounts between the Borrower and the Administrative Agent).

               (m)    Know Your Customer Requirements. (i) All documents, certificates, and
other information reasonably requested in writing (which may be via e-mail) by each Lender
pursuant to Section 9.14 and (ii) a Beneficial Ownership Certification in relation to the Borrower
(with applicable exemption noted thereon), in each case prior to the Effective Date .

             (n)    Financing Orders. The Interim Order shall have been entered by the
Bankruptcy Court and shall be in full force and effect and shall not have been (i) stayed, vacated,
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     reversed or rescinded, and any appeal of such order shall not have been timely filed and a stay of
     such order pending appeal shall not be presently effective or (ii) without the prior written consent
     of the Administrative Agent and the Required Lenders (given in their sole discretion), revised,
     amended or modified. The Debtors shall be in compliance in all respects with the Interim Order.
                     (o)    Other Bankruptcy Court Orders.         The Cash Management Order and all
     other “first day orders” or other orders to be entered on or prior to the Effective Date (including,
     without limitation, an order of the Bankruptcy Court approving the continuation of the Permitted
     Receivables Financing), including all payments approved by the Bankruptcy Court in any such
     orders, shall be reasonably satisfactory in form and substance to the Administrative Agent and the
     Required Lenders in all respects, shall have been entered by the Bankruptcy Court, and shall not
     have been (i) stayed, vacated, reversed or rescinded or (ii) without the prior written consent of the
     Administrative Agent and the Required Lenders, revised, amended or modified (not to be
     unreasonably withheld).
                     The Administrative Agent shall notify the Borrower, the Issuing Bank, and the
     Lenders of the Effective Date, and such notice shall be conclusive and binding. Each Lender that
     has signed this Agreement shall be deemed to have consented to, approved or accepted or to be
     satisfied with, each document or other matter required thereunder to be consented to or approved
     by or acceptable or satisfactory to a Lender unless the Administrative Agent shall have received
     written notice from such Lender prior to the proposed Effective Date specifying its objection
     thereto.

              SECTION 4.02.       Each Credit Event. The obligation of each Lender to make a Loan
on the occasion of any Borrowing (other than the DIP Term Loans), and of any Issuing Bank to issue,
amend, renew or extend any Letter of Credit, is subject to the satisfaction of the following conditions:

                   (a)      The representations and warranties of the Borrower set forth in this
    Agreement shall be true and correct in all material respects (or in all respects if the applicable
    representation or warranty is qualified by Material Adverse Effect or materiality) on and as of the
    date of such Borrowing or the date of issuance, amendment, renewal or extension of such Letter of
    Credit, as applicable (provided that to the extent any such representation or warranty expressly
    relates to an earlier date, such representation or warranty shall instead be true and correct in all
    material respects (or in all respects if the applicable representation or warranty is qualified by
    Material Adverse Effect or materiality) as of such earlier date).

                  (b)      At the time of and immediately after giving effect to such Borrowing or the
    issuance, amendment, renewal or extension of such Letter of Credit, as applicable, no Default or
    Event of Default shall have occurred and be continuing.

                 (c)    At the time of and immediately after giving effect to such Borrowing or the
    issuance, amendment, renewal or extension of such Letter of Credit, as applicable, the total
    Revolving Exposures of all Lenders shall not exceed the Maximum Available Amount.

                 (d)    The Administrative Agent and, if applicable, an Issuing Bank shall have
    received a Borrowing Request in accordance with the requirements hereof, which Borrowing

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Request or notice shall be consistent with, and for a purpose permitted under, the Agreed Budget
in accordance with Section 5.12.

               (e)     No injunction, writ, restraining order, or other order of any nature (whether
temporary, preliminary or permanent) restricting or prohibiting, directly or indirectly, any
Borrowing or issuance, amendment, extension or renewal of a Letter of Credit shall have been
issued and remain in force by any Governmental Authority (including, without limitation, the
Bankruptcy Court) against the Borrower, any other Loan Party, any Lender, the applicable Issuing
Bank or any of their respective Affiliates, and such Borrowing or issuance, amendment, extension
or renewal of a Letter of Credit shall not violate any requirement of applicable Laws.

               (f)     Since the Petition Date, no Material Adverse Effect shall have occurred.

                 (g)    The Interim Order and, following entry of the Final Order, the Final Order,
shall be in full force and effect, and shall not have been (x) stayed, vacated, reversed or rescinded,
and any appeal of such Order shall not have been timely filed or, if such Order is the subject of a
pending appeal in any respect, none of such Order, the making of the Loans, the issuance of Letters
of Credit or the performance by Borrower or any other Loan Party of any of its obligations under
any of the Loan Documents shall be the subject of a presently effective stay pending appeal, and
(y)(A) with respect to the Interim Order, without the prior written consent of the Administrative
Agent and the Required Lenders (and each other Lender or percentage of Lenders that would have
a right to consent to such modifications in accordance with Section 9.02(b)), given in their sole
discretion, revised, amended or modified or (B) with respect to the Final Order, without the prior
written consent (not to be unreasonably withheld or delayed) of the Administrative Agent and the
Required Lenders (and each other Lender or percentage of Lenders that would have a right to
consent to such modifications in accordance with Section 9.02(b)), revised, amended or modified.

               (h)     [Reserved].

               (i)      Solely with respect to the issuance, amendment, renewal or extension of any
Letter of Credit, (x) at the time of request for issuance, amendment, renewal or extension of such
Letter of Credit, and (y) both immediately before and after such issuance, amendment, renewal or
extension thereof there shall be no remaining capacity for the issuance of letters of credit under the
Permitted Receivables Financing at such time and such Letter of Credit shall not have been
requested to replace or backstop or otherwise support obligations owing, or letters of credit issued,
under the Permitted Receivables Financing.

               (j)    Solely with respect to a Borrowing of Revolving Loans, the aggregate
amount of the sum of (x) Unrestricted cash and Cash Equivalents owned or held by the Borrower
and its Restricted Subsidiaries (for the avoidance of doubt, excluding the Receivables Financing
SPCs and/or any not-for-profit Subsidiary) (determined after giving pro forma effect to the making
of each such Revolving Loan and the application of proceeds therefrom and from any other
Unrestricted cash or Cash Equivalents on hand (to the extent such proceeds and/or other
Unrestricted cash or Cash Equivalents are actually utilized by the Borrower and/or any such
Restricted Subsidiary on the date of incurrence of such Revolving Loan for a permitted purpose
under this Agreement other than an investment in cash or Cash Equivalents)), less (y) the Budgeted
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    Operating Disbursements Amount set forth in the then current Agreed Budget for the immediately
    succeeding week less (z) the Carve-Out, shall not exceed $30,000,000 (for purposes of Unrestricted
    cash denominated in a currency other than Dollars, taking the Dollar equivalent of such Unrestricted
    cash as determined on the intended date of borrowing of such Revolving Loan).

     Each Borrowing and each issuance, amendment, renewal or extension of a Letter of Credit shall
     be deemed to constitute a representation and warranty by the Borrower on the date thereof as to
     the matters specified in paragraphs (a) through (k) of this Section 4.02.

             SECTION 4.03.         DIP Term Loan Borrowing. Notwithstanding anything herein to the
     contrary, to the extent the Effective Date shall have occurred on or prior to such date, the DIP
     Term Loans shall be (and be deemed to have been) made immediately and automatically upon
     entry of the Final DIP Order (and subject to the terms thereof), without the need for the taking of
     any action by any other Person or the satisfaction of any other conditions.

                                                ARTICLE V

                                           Affirmative Covenants

                   Until the Secured Obligations have been Fully Satisfied, the Borrower covenants
     and agrees with the Administrative Agent, the Issuing Banks and the Lenders that:

                SECTION 5.01.      Financial Statements and Other Information. The Borrower will
furnish to the Administrative Agent for delivery to each Lender:

                    (a)     by no later than the earlier of the date on which such financial statements are
    required to be filed by the Borrower with the SEC (without giving effect to any extensions
    thereof) and the date which occurs 90 days after the end of each fiscal year of the Borrower, (i) its
    audited consolidated balance sheet and related statements of income, stockholders’ equity and cash
    flows as of the end of and for such year (including, for the avoidance of doubt, for the fiscal year
    ending December 31, 2019), setting forth in each case in comparative form the figures for the
    previous fiscal year, all reported on by independent public accountants of recognized national
    standing to the effect that such consolidated financial statements present fairly in all material
    respects the financial condition and results of operations of the Borrower and its consolidated
    Subsidiaries on a consolidated basis in accordance with GAAP, accompanied by any management
    letter prepared by said accountants and (ii) consolidated balance sheet and related statements of
    income and cash flows of the Borrower and its Restricted Subsidiaries, in each case as at the end of
    such fiscal year, setting forth in comparative form the corresponding consolidated figures for the
    preceding fiscal year, accompanied by a certificate of a Financial Officer of the Borrower, which
    certificate shall state that such financial statements fairly present in all material respects the
    financial condition and results of operations of the Borrower and its Restricted Subsidiaries, in
    accordance with GAAP, as at the end of and for such period (subject to normal year-end audit
    adjustments);

                   (b)     (i) by no later than the earlier of the date on which such financial statements
    are required to be filed by the Borrower with the SEC (without giving effect to any extensions
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thereof) and the date which occurs 45 days after the end of each of the first three fiscal quarters of
each fiscal year of the Borrower, beginning with the fiscal quarter ending September 30, 2019, the
unaudited consolidated balance sheet and related statements of income, stockholders’ equity and
cash flows for the Borrower and its Restricted Subsidiaries and for the Borrower and its Subsidiaries
as of the end of and for such fiscal quarter and the then elapsed portion of the fiscal year, setting
forth in each case in comparative form the figures for the corresponding period or periods of (or, in
the case of the balance sheet, as of the end of) the previous fiscal year, all certified by one of its
Financial Officers as presenting fairly in all material respects the financial condition and results of
operations of the Borrower and its consolidated Subsidiaries or the Borrower and its Restricted
Subsidiaries in accordance with GAAP consistently applied, subject to normal year-end audit
adjustments and the absence of footnotes;

                       (ii) by no later than the date which occurs 30 days after the end of each fiscal
month of the Borrower, beginning with the fiscal month ending October 31, 2019, the unaudited
consolidated balance sheet and related statements of income, stockholders’ equity and cash flows
for the Borrower and its Restricted Subsidiaries and for the Borrower and its Restricted Subsidiaries
as of the end of and for such fiscal month and the then elapsed portion of the fiscal year, (A)
including a report of Capital Expenditures for such fiscal month, together with commentary on the
variances from the amounts set forth in the Agreed Capital Expenditures Budget for such period,
beginning with the fiscal month of November 2019; and (B) setting forth in comparative form the
corresponding consolidated figures for the preceding fiscal year, accompanied by a certificate of a
Financial Officer of the Borrower, which certificate shall state that such financial statements present
the financial condition and results of operations of the Borrower and its Restricted Subsidiaries in
a manner consistent with past practice, and subject to normal year-end audit adjustments and the
absence of footnotes;

                 (c)    (I) concurrently with any delivery of financial statements under clause (a) or
(b)(i) above, a Compliance Certificate executed by a Financial Officer of the Borrower (i) certifying
(x) as to whether a Default has occurred and is continuing and, if a Default has occurred, specifying
the details thereof and any action taken or proposed to be taken with respect thereto, (y) that the
Borrower is in compliance with the covenants contained in Section 5.12(c) and (z) that the Borrower
and its Restricted Subsidiaries are in compliance with the covenants contained in Article VI and
(ii) stating whether any change in GAAP or in the application thereof has occurred since the date
of the audited financial statements referred to in Section 3.04 and, if any such change has occurred,
specifying the effect of such change on the financial statements accompanying such certificate, and
(II) no later than (A) for the first eight (8) calendar weeks occurring after the Petition Date, 12:00
p.m. (New York time) on Friday of each calendar week and (B) thereafter, 5:00 p.m. (New York
time) on Thursday of each calendar week (or, in each case, if any such day is not a Business Day,
the next Business Day) in each case, occurring after the Petition Date, an Agreed Budget Variance
Report (which such delivery under this clause (c) may, unless the Administrative Agent requests
executed originals, be by electronic communication including fax or email and shall be deemed to
be an original authentic counterpart thereof for all purposes) (provided that the first Agreed Budget
Variance Report shall be delivered no later than 12:00 p.m. (New York time) on November 29,
2019 for the period through November 22, 2019 and for the Cumulative Period);


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                (d)    promptly after the same become publicly available, to the extent not
available by electronic or other readily accessible means, copies of all periodic and other reports,
proxy statements and other non-confidential materials filed by the Borrower or any Restricted
Subsidiary with the SEC, or with any national securities exchange, or distributed by the Borrower
to its shareholders generally, as the case may be;

               (e)      concurrently with any delivery of financial statements under clause (a) or
(b) above, a certificate containing information regarding the amount of all Asset Sales that were
made during such prior fiscal year and amounts received in connection with any Recovery Event
during such prior fiscal year;

                (f)    on (i) the Effective Date (after giving effect to any Loans made on such date),
(ii) the Final Order Date (after giving effect to the incurrence of the DIP Term Loans hereunder),
(iii) each date on which any Asset Sale or Recovery Event occurs with respect to any Eligible
Property with a value (as determined by reference to the most recent Borrowing Base Certificate
delivered by the Borrower pursuant to this clause (f) as applicable) in excess of $10,000,000 in the
aggregate for all such events since the last Borrowing Base Certificate was delivered, (iv) a date
within 5 Business Days after each date on which any equipment or real property with a value (as
determined by reference to the most recent Borrowing Base Certificate delivered by the Borrower
pursuant to this clause (f)) in excess of $10,000,000 in the aggregate for all such equipment and
real property since the last Borrowing Base Certificate was delivered that is used in calculating the
Borrowing Base no longer qualifies as Eligible Equipment or Eligible Real Property, respectively
and (v) each date on which the Borrower elects to include any additional property in the calculation
of the Borrowing Base and satisfies the requirements with respect to Eligible Property (each such
date, a “Report Date”), a Borrowing Base Certificate prepared as of the applicable Report Date,
including a reasonably detailed calculation of the Borrowing Base as of such Report Date, and
solely in the case of clause (v) above, together with copies of the Appraisals for all additional
Eligible Property included in the calculation of the Borrowing Base;

               (g)     [reserved];

              (h)     by no later than 4:00 p.m. (New York time) every Friday (or, if such day is
not a Business Day, the next Business Day), a weekly report of aggregate accounts receivable,
aggregate bank balances and aggregate one and two day “check float” reports, in each case, of the
Borrower and its Restricted Subsidiaries on a consolidating basis;

               (i)     by no later than 4:00 p.m. (New York time) on December 19, 2019 (but no
earlier than December 16, 2019), an updated, modified or supplemented rolling 13-week detailed
budget commencing with the following Saturday (with such supporting detail as the Administrative
Agent and its financial advisor may request);

                (j)     as soon as reasonably practicable following receipt of a bona fide written
expression of interest with respect to any material Asset Sale that the Borrower determines in good
faith is reasonably capable of being consummated, the details thereof; provided that none of the
Borrower or any Restricted Subsidiary shall be required to disclose or provide any information (i)
that constitutes non-financial trade secrets or non-financial proprietary information of the Borrower
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or any of its Subsidiaries or any of their respective customers and/or suppliers, (ii) in respect of
which disclosure to the Administrative Agent or any Lender (or any of their respective
representatives) is prohibited by any applicable law, (iii) that is subject to attorney-client or similar
privilege or constitutes attorney work product or (iv) in respect of which the Borrower or any
Restricted Subsidiary owes confidentiality obligations to any third party (provided such
confidentiality obligations were not entered into solely in contemplation of the requirements of this
Section 5.01(j)); provided, further, that in the event the Borrower does not provide any certificate,
report or information requested pursuant to this clause (j) in reliance on the preceding proviso, the
Borrower shall provide notice to the Administrative Agent that such certificate, report or
information is being withheld and the Borrower shall use commercially reasonable efforts to
describe, to the extent both feasible and permitted under applicable law or confidentiality
obligations, or without waiving such privilege, as applicable, the applicable certificate, report or
information;

               (k)    as soon as reasonably practicable in advance of filing, copies of all material
pleadings, motions and applications to be filed by any of the Loan Parties in the Bankruptcy Cases;

                (l)     [reserved];

                (m)     [reserved];

                (n)    as soon as reasonably practicable following such delivery, all written reports
regularly delivered by any of the Loan Parties to any official or unofficial creditors’ committee or
their respective advisors in the Bankruptcy Cases;

               (o)    promptly upon the reasonable request of the Administrative Agent, an
accounting of all monies deposited in, and the balances in, the Deposit Accounts of the Loan Parties;
and

                 (p)     promptly following any request therefor, such other information regarding
the operations, business affairs and financial condition of the Borrower or any Subsidiary as the
Administrative Agent or any Lender (through the Administrative Agent) may reasonably request;
provided that none of the Borrower or any Restricted Subsidiary shall be required to disclose or
provide any information (i) that constitutes non-financial trade secrets or non-financial proprietary
information of the Borrower or any of its Subsidiaries or any of their respective customers and/or
suppliers, (ii) in respect of which disclosure to the Administrative Agent or any Lender (or any of
their respective representatives) is prohibited by any applicable law, (iii) that is subject to attorney-
client or similar privilege or constitutes attorney work product or (iv) in respect of which the
Borrower or any Restricted Subsidiary owes confidentiality obligations to any third party (provided
such confidentiality obligations were not entered into solely in contemplation of the requirements
of this Section 5.01(p)); provided, further, that in the event the Borrower does not provide any
certificate, report or information requested pursuant to this clause (p) in reliance on the preceding
proviso, the Borrower shall provide notice to the Administrative Agent that such certificate, report
or information is being withheld and the Borrower shall use commercially reasonable efforts to
describe, to the extent both feasible and permitted under applicable law or confidentiality

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    obligations, or without waiving such privilege, as applicable, the applicable certificate, report or
    information.

     Documents required to be delivered pursuant to Section 5.01(a) or 5.01(b)(i) (to the extent any
     such documents are included in materials otherwise filed with the SEC) may be delivered
     electronically and if so delivered, shall be deemed to have been delivered on the date (i) on which
     the Borrower posts such documents, or provides a link thereto on the Borrower’s website on the
     Internet at www.deanfoods.com; or (ii) on which such documents are posted on the Borrower’s
     behalf on an Internet or intranet website, if any, to which each Lender and the Administrative
     Agent have access (whether a commercial, third party website or whether sponsored by the
     Administrative Agent); provided, that (i) the Borrower shall deliver paper copies of such
     documents to the Administrative Agent upon its request to the Borrower to deliver such paper
     copies until a written request to cease delivering paper copies is given by the Administrative Agent
     and (ii) the Borrower shall notify the Administrative Agent (by facsimile or electronic mail) of the
     posting of any such documents and provide to the Administrative Agent by electronic mail
     electronic versions (i.e., soft copies) of such documents. The Administrative Agent shall have no
     obligation to request the delivery of or to maintain paper copies of the documents referred to above,
     and in any event shall have no responsibility to monitor compliance by the Borrower with any such
     request by a Lender for delivery, and each Lender shall be solely responsible for requesting
     delivery to it or maintaining copies of such documents.

              SECTION 5.02.       Notices of Material Events. The Borrower will furnish to the
Administrative Agent and each Lender prompt written notice (in any event, within 5 Business Days)
upon any Responsible Officer of the Borrower obtaining actual knowledge thereof, of the following:

                   (a)     the occurrence of any Default;

                   (b)     the filing or commencement of any action, suit or proceeding by or before
    any arbitrator or Governmental Authority against or affecting any Loan Party, any Subsidiary or
    any Affiliate thereof (other than the Bankruptcy Cases) that has a reasonable probability of an
    adverse determination and that, if adversely determined, could reasonably be expected to result in
    a Material Adverse Effect;

                (c)     the occurrence of any ERISA Event that, alone or together with any other
    ERISA Events that have occurred, could reasonably be expected to result in a Material Adverse
    Effect;

                  (d)    the occurrence of any Environmental Liability that, alone or together with
    any other Environmental Liability that have occurred, could reasonably be expected to result in a
    Material Adverse Effect;

                 (e)     the occurrence of any event or transaction for which the Borrower is required
    to make a mandatory prepayment pursuant to Section 2.11;

                    (f)    any change in the information provided in the Beneficial Ownership
    Certification that would result in a change to any exemption set forth therein; and
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                     (g)    any other development that results in, or could reasonably be expected to
     result in, a Material Adverse Effect.

      Each notice delivered under this Section shall be accompanied by a statement of a Financial
      Officer or other executive officer of the Borrower setting forth the details of the event or
      development requiring such notice and any action taken or proposed to be taken with respect
      thereto.

                 SECTION 5.03.         Existence; Conduct of Business. The Borrower will, and will cause
each of its Restricted Subsidiaries to, (a) do or cause to be done all things necessary to preserve, renew
and keep in full force and effect (i) its legal existence and (ii) the rights, qualifications, licenses, permits,
franchises, governmental authorizations, intellectual property rights, licenses and permits necessary in
the conduct of its business, except, with respect to clause (ii), where failure to so maintain could not
reasonably be expected to have a Material Adverse Effect; provided that the foregoing shall not prohibit
any merger, consolidation, liquidation or dissolution permitted under Section 6.03 and (b) carry on and
conduct its business in substantially the same manner and in substantially the same fields of enterprise
as it is presently conducted (and those ancillary or reasonably related thereto).

                SECTION 5.04.       Payment of Obligations. To the extent permitted by the Bankruptcy
Court and provided for in the Agreed Budget, the Borrower will, and will cause each of its Restricted
Subsidiaries to, pay or discharge all Material Indebtedness and all other material liabilities and
obligations, including Taxes, before the same shall become delinquent or in default (subject, where
applicable, to specified grace periods), except where the validity or amount thereof is being contested
in good faith by appropriate proceedings and (a) the Borrower or such Restricted Subsidiary has set
aside on its books adequate reserves with respect thereto to the extent required by GAAP or (b) the
failure to make payment could not reasonably be expected to result in a Material Adverse Effect or the
imposition of a Lien on any material portion of any Loan Party’s property.

                SECTION 5.05.         Maintenance of Properties. The Borrower will, and will cause each
of its Restricted Subsidiaries to, keep and maintain all property material to the conduct of its business in
good working order and condition, ordinary wear and tear and obsolescence excepted.

                SECTION 5.06.          Books and Records; Inspection Rights. The Borrower will, and will
cause each of its Restricted Subsidiaries to, (i) keep proper books of record and account in which
complete entries in accordance with GAAP are made of all material dealings and transactions in relation
to its business and activities and (ii) permit any representatives designated by the Administrative Agent
or any Lender, upon reasonable prior notice, to visit and inspect its properties, to examine and make
extracts from its books and records, including environmental assessment reports and Phase I or Phase II
studies, to discuss its affairs, finances and condition with its officers and to conduct field exams and
appraisals of inventory, machinery and equipment, all at such reasonable times and as often as
reasonably requested. The Borrower acknowledges that the Administrative Agent, after exercising its
rights of inspection, may prepare and distribute to the Lenders certain reports pertaining to the assets for
internal use by the Administrative Agent and the Lenders.

                SECTION 5.07.         Compliance with Laws. (a) The Borrower will, and will cause each
of its Restricted Subsidiaries to, comply with all Laws applicable to it or its property (including, without
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limitation, ERISA and Environmental Laws and the Bankruptcy Code, the Orders and any other order
of the Bankruptcy Court), except where the failure to do so could not reasonably be expected to result
in a Material Adverse Effect.

                    (b) The Borrower will maintain in effect and enforce policies and procedures
     reasonably designed to achieve material compliance by the Loan Parties, the Restricted
     Subsidiaries and their respective directors, officers and employees (in each case solely to the extent
     of their course of employment) with Anti-Corruption Laws and applicable Anti-Terrorism Laws
     and Sanctions.


                SECTION 5.08.        Use of Proceeds. The Borrower will use the proceeds of the
Revolving Loans and Letters of Credit (a) to pay fees, interest, payments and expenses associated with
this Agreement and the other Loan Documents, including certain fees and expenses of professionals
retained by the Administrative Agent and the other Holders of Secured Obligations, (b) to fund the cost
of administrating the Bankruptcy Cases (including, without limitation, adequate protection payments
and professional fees and expenses), (c) to finance other Pre-Petition and pre-filing expenses that are
approved by the Bankruptcy Court and permitted by the Agreed Budget (subject to permitted variances),
(d) for working capital and general corporate purposes, and (e) with respect to the proceeds of the DIP
Term Loans, to refinance and replace in full the aggregate principal amount of the Pre-Petition
Revolving Loans and other Pre-Petition obligations outstanding under the Pre-Petition Credit
Agreement on the Final Order Date; provided that, for the avoidance of doubt, the Debtors’ use of the
Collateral to pay obligations benefiting from the Carve-Out shall not be limited or deemed limited by
any Agreed Budget. No part of the proceeds of the Loans and other credit extensions under this
Agreement and the other Loan Documents or Pre-Petition Cash Collateral shall be used to prosecute,
investigate or for proceedings to, contest the claims of the Holders of Secured Obligations or Pre-Petition
Secured Parties or the liens in favor of the Holders of Secured Obligations or Pre-Petition Secured
Parties that secure the Obligations or Pre-Petition Revolving Loans, or prevent, hinder or delay any of
the Administrative Agent’s or the Holders of Secured Obligations’, or the Pre-Petition Administrative
Agent’s or Pre-Petition Secured Parties’ enforcement or realization upon any of the Collateral or
collateral securing the Pre-Petition Obligations, other than with respect to seeking a determination of
whether an Event of Default has not occurred or is not continuing; provided that up to $75,000 in the
aggregate of the proceeds of Revolving Loans, the Collateral, the collateral securing any Pre-Petition
Indebtedness and the Carve-Out shall be made available to a Committee (as defined in the Interim Order)
for investigation costs in respect of any Pre-Petition Indebtedness and liens in accordance with the
Interim Order (or the Final Order, as applicable). No part of the proceeds of any Loan or Letter of Credit
will be used, whether directly or indirectly, for any purpose that entails a violation of any of the
regulations of the Board, including Regulations T, U and X, or in violation of Section 3.18.

                SECTION 5.09.         Insurance. The Borrower will, and will cause each of its Restricted
Subsidiaries to, maintain with financially sound and reputable carriers (a) insurance in such amounts,
and against such risks (including loss or damage by fire and other normally insured perils and loss in
transit; business interruption; and general liability), and such other hazards, as is customarily maintained
by companies of established repute engaged in the same or similar businesses operating in the same or
similar locations (including the use of self-insurance plans), (b) with respect to each DIP Collateral Real

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Property with Improvements located in a Flood Zone and in which flood insurance has been made
available under the National Flood Insurance Program, flood insurance in an amount and otherwise
sufficient to comply with all Flood Insurance Laws , and (c) all insurance required pursuant to the
Collateral Documents. The Borrower will furnish to the Lenders, upon request of the Administrative
Agent, information in reasonable detail as to the insurance so maintained, including, without limitation,
annual renewals of flood insurance policies and other evidence of compliance with the flood insurance
requirements in this Section 5.09. The Borrower shall use commercially reasonable efforts to deliver to
the Administrative Agent certificates of insurance and endorsements (x) to all “All Risk” physical
damage insurance policies on all of the Loan Parties’ tangible property and assets and business
interruption insurance policies naming the Administrative Agent lender loss payee, and (y) to all general
liability policies naming the Administrative Agent an additional insured. The Borrower will furnish to
the Administrative Agent and the Lenders prompt written notice of any casualty or other insured damage
to any material portion of the Collateral or the commencement of any action or proceeding for the taking
of any material portion of the Collateral or interest therein under power of eminent domain or by
condemnation or similar proceeding.

               SECTION 5.10.        Subsidiary Guarantors; Pledges; Collateral; Further Assurances

                    (a)    As promptly as possible but in any event by the earlier of (i) five (5) days (or
    such later date as may be agreed upon by the Administrative Agent) after (x) any Person (other than
    an Unrestricted Subsidiary) becomes a Subsidiary of the Borrower or (y) any Subsidiary qualifies
    independently as, or is designated by the Borrower as, a Subsidiary Guarantor and (ii) the date on
    which any Person that is not a Subsidiary Guarantor guarantees the obligations of the Borrower or
    any Subsidiary under the Senior Notes or any Material Indebtedness of any Loan Party (the date of
    such creation, designation, qualification or guarantee being the “Trigger Date”), the Borrower shall
    provide the Administrative Agent with written notice thereof setting forth information in reasonable
    detail describing the material assets of such Person and shall, (x) in the case of a Person described
    in the preceding clause (i), within thirty (30) days (or such later date as may be agreed to by the
    Administrative Agent) after the Trigger Date or (y) in the case of a Person described in the
    preceding clause (ii), on the Trigger Date (or such later date as may be agreed to by the
    Administrative Agent), cause each such Subsidiary to deliver to the Administrative Agent
    appropriate joinders to the Subsidiary Guaranty and the Security Agreement pursuant to which such
    Subsidiary agrees to be bound by the terms and provisions thereof, such Subsidiary Guaranty and
    Security Agreement and take such other action (including delivering such UCC financing
    statements, executing and delivering security agreements for filing and recording in the U.S. Patent
    and Trademark Office and the U.S. Copyright Office and, if reasonably requested by the
    Administrative Agent, executing and delivering Mortgages covering the real property and fixtures
    owned by such Subsidiary) as shall be reasonably necessary or advisable in the opinion of the
    Administrative Agent, and in form and substance reasonably satisfactory to the Administrative
    Agent, to create and perfect valid and enforceable first-priority priming Liens, subject to no other
    Liens except for the Carve-Out and Permitted Encumbrances, on substantially all of the property of
    such new Subsidiary as collateral security for the Secured Obligations, in each case to be
    accompanied by appropriate corporate resolutions, other corporate documentation and legal
    opinions in form and substance reasonably satisfactory to the Administrative Agent and its counsel.


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The Borrower shall furnish to Administrative Agent updated Schedules 3.01, and 3.19 with respect
to such new Subsidiary, in form and detail reasonably satisfactory to Administrative Agent;

                (b)    The Borrower will cause, and will cause each other Loan Party to cause, all
existing and newly-acquired owned and leased property (whether personal, tangible, intangible, or
mixed property but excluding Excluded Property) to be subject at all times (subject to the time
periods in clause (a) above) to first priority, perfected Liens in favor of the Administrative Agent
for the benefit of the Holders of Secured Obligations to secure the Secured Obligations in
accordance with the terms and conditions of the Collateral Documents, subject in any case to
Permitted Liens. Without limiting the generality of the foregoing, the Borrower will cause the
issued and outstanding Equity Interests of each Pledge Subsidiary directly owned by the Borrower
or any other Loan Party to be subject at all times (subject to the time periods in clause (a) above) to
a first priority, perfected Lien in favor of the Administrative Agent to secure the Secured
Obligations in accordance with the terms and conditions of the Collateral Documents or such other
security documents as the Administrative Agent shall reasonably request (it being understood and
agreed that any such pledge of Equity Interests of a Receivables Financing SPC shall contain such
remedy standstills (up to 365 days after the payment in full of the Permitted Receivables Financing)
and other customary provisions for pledges of this type).

               (c)     Subject to the terms of the Orders, if any real property is acquired by any
Loan Party after the Effective Date, the Borrower shall notify the Administrative Agent and the
Lenders thereof, and, if reasonably requested by the Administrative Agent, the Borrower shall
promptly cause such assets to be subjected to a Lien securing the Secured Obligations and shall
take, and cause the other Loan Parties to take, such actions as are necessary or reasonably requested
by the Administrative Agent to grant and perfect such Liens and deliver such other documents
(including the delivery of such Mortgages, title insurance commitments, exception documents,
surveys, Flood Certificates, Environmental Indemnity Agreements, surveys and engineering, soils
and other reports, environmental assessments, opinions of counsel and other documents as may be
reasonably requested by Administrative Agent) as is consistent with those required to be delivered
in accordance with Section 5.11, all at the expense of such Loan Party.

               (d)    Without limiting the foregoing, the Borrower will, and will cause each
Subsidiary to, execute and deliver, or cause to be executed and delivered, to the Administrative
Agent such documents, agreements and instruments, and will take or cause to be taken such further
actions, which may be required by law or which the Administrative Agent may, from time to time,
reasonably request to carry out the terms and conditions of this Agreement and the other Loan
Documents and to ensure perfection and priority of the Liens created or intended to be created by
the Collateral Documents, all at the expense of the Borrower.

                (e)    If any additional assets (excluding Excluded Property) are acquired by a
Loan Party after the Effective Date (other than assets constituting Collateral under the Orders that
become subject to the Lien in favor of the Administrative Agent under the Orders and/or other then
existing Collateral Documents upon acquisition thereof), the Borrower will notify the
Administrative Agent thereof, and, if requested by the Administrative Agent, the Borrower will,
within thirty (30) days (or such later date as may be agreed to by the Administrative Agent), cause
such assets to be subjected to a Lien securing the Secured Obligations and will take, and cause the
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other Loan Parties to take, such actions as shall be necessary or reasonably requested by the
Administrative Agent to grant and perfect such Liens, including actions described in
paragraph (c) of this Section, all at the expense of the Borrower.

                 (f)     Subject to the terms of the Orders, the Borrower shall cause each Subsidiary
resulting from a division of a Loan Party to execute any and all further documents, financing
statements, agreements and instruments, and take all such further actions (including the filing and
recording of financing statements, fixture filings, mortgages, deeds of trust and other documents),
which may be required under any applicable law, or which the Administrative Agent may
reasonably request, to effectuate the transactions contemplated by the Loan Documents or to grant,
preserve, protect or perfect the Liens created or intended to be created by the Collateral Documents
or the validity or priority of any such Lien, and to deliver such appropriate corporate resolutions,
other corporate documentation and legal opinions in form and substance reasonably satisfactory to
the Administrative Agent and its counsel as the Administrative Agent may request in its reasonable
discretion, all at the expense of the Borrower.

                (g)     Notwithstanding the provisions of this Section 5.10 or Section 5.11 to the
contrary, (i) no pledge of a security interest in any Excluded Property shall be required, (ii) no
account control agreement (unless requested by the Administrative Agent in its reasonable
discretion), foreign law pledge, foreign law security agreement or legal opinion of foreign counsel
shall be required and (ii) no Appraisal with respect to any real property that is not included in the
calculation of the Borrowing Base shall be required.

          SECTION 5.11.        Mortgaged Property.

               (a)     PP&E Conditions.

                 (i)      No later than the date that is sixty (60) days after the Interim Order Date
         (or such later date as may be agreed upon by the Administrative Agent in its sole
         discretion), the Borrower shall deliver or cause to be delivered to the Administrative Agent
         (A) with respect to the Initial Borrowing Base Properties title searches conducted by a
         Title Company, which shall reveal no Liens or other issues of title other than Permitted
         Encumbrances and (B) with respect to the DIP Collateral Real Property described in
         clause (ii) of the definition thereof, Flood Certificates and, if applicable, related Borrower
         notices and evidence of flood insurance in compliance with Section 5.09; and

                (ii)    With respect to any real property of the Loan Parties, including the Initial
         Borrowing Base Properties, within sixty (60) days after reasonable request by the
         Administrative Agent (or such later date as may be agreed upon by the Administrative
         Agent in its sole discretion), the Borrower shall deliver or cause to be delivered to the
         Administrative Agent the following documents, each of which shall be executed (and,
         where appropriate, acknowledged) by Persons reasonably satisfactory to the
         Administrative Agent in form and substance reasonably acceptable to the Administrative
         Agent:


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               (A)     one or more Mortgages covering the Initial Borrowing Base
        Property or other Eligible Real Property, as the Administrative Agent may request,
        in each case duly executed and delivered by the parties thereto in recordable form
        (in such number of copies as the Administrative Agent shall have reasonably
        requested);

               (B)    one or more Environmental Indemnity Agreements, in each case
        duly executed and delivered by each Loan Party that owns an Initial Borrowing
        Base Property or other Eligible Property;

                (C)     (1) solely with respect to the Initial Borrowing Base Property or
        other Eligible Property, one or more mortgagee policies of title insurance in the
        form of and issued by one or more title companies reasonably satisfactory to the
        Administrative Agent (the “Title Companies”), insuring the validity and first-
        priority of the Liens created under each Mortgage for and in amounts and
        containing such endorsements and affirmative coverage reasonably satisfactory to
        the Administrative Agent, subject only to Permitted Encumbrances, and (2) with
        respect to other real property of the Loan Parties, title searches conducted by a Title
        Company, which shall reveal no Liens or other issues of title other than Permitted
        Encumbrances, and in each case, to the extent necessary or advisable under
        applicable law, for filing in the appropriate county land office, UCC financing
        statements covering fixtures, in each case appropriately completed and,
        appropriate, duly executed;

                (D)      to the extent otherwise available, copies of the most recent as-built
        surveys of each parcel of the Mortgaged Property or such other documentation as
        may be required by the Title Companies to remove any survey exception from the
        policies of title insurance delivered pursuant to Section 5.11(a)(ii)(C) above;

               (E)    to the extent otherwise available, copies of the most recent
        environmental assessment reports and Phase I or Phase II studies with respect to
        such Mortgaged Property; and

                (F)     such other documents and instruments in connection with the
        Mortgages and DIP Collateral Real Property as shall reasonably be deemed
        necessary by the Administrative Agent (including Flood Certificates for all DIP
        Collateral Real Property and, if applicable, related Borrower notices and evidence
        of flood insurance in compliance with Section 5.09 and customary opinions of
        counsel with respect to the Mortgages in the states where the Mortgaged Properties
        are located), and evidence that all other actions that the Administrative Agent may
        deem necessary or desirable in order to create valid first and subsisting Liens on
        the property described in the Mortgages has been taken.

        In addition, the Borrower shall have paid to the Title Companies (i) all expenses
 and premiums of the Title Companies in connection with the issuance of such policies and

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             (ii) an amount equal to the recording and stamp taxes payable in connection with recording
             the Mortgages in the appropriate county land office.

                    (b)      Environmental Reports. If the Administrative Agent at any time has a
    reasonable basis to believe that there may be a material violation of any Environmental Laws by,
    or any material Environmental Liability of, any Loan Party or related to any Initial Borrowing Base
    Property or any other Eligible Real Property or Mortgaged Property, or any real property adjacent
    to any such real Initial Borrowing Base Property or other Eligible Real Property or Mortgaged
    Property that is likely to materially and adversely affect an Initial Borrowing Base Property or other
    Eligible Real Property or Mortgaged Property, then the Borrower shall, upon the request of the
    Administrative Agent, provide the Administrative Agent with such environmental reports and
    assessments, engineering studies or other written material or data as Administrative Agent may
    reasonably require relating thereto.

                   (c)     Environmental Remediation. In the event that the Administrative Agent
    reasonably determines, from the environmental reports or information delivered pursuant to
    Section 5.11(b) or pursuant to any other reasonably reliable information, that remedial action to
    correct an environmental condition is required under Environmental Law with respect to any Loan
    Party or the Initial Borrowing Base Property, any other Eligible Real Property or Mortgaged
    Property or any other property of any Loan Party, the Borrower shall take such action as is required
    under Environmental Law to cure any material violation or potential violation of any Environmental
    Laws or any material actual or potential Environmental Liability relating to such environmental
    condition.

                    (d)     Appraisals. Except to the extent received by the Administrative Agent on or
    prior to the Interim Order Date, the Borrower shall use commercially reasonable efforts (which
    shall, in any event, include the payment of professional fees, costs and expense of appraisal firms
    performing such Appraisals) to, no later than the date that is sixty (60) days after the Interim Order
    Date (or such later date as may be agreed upon by the Administrative Agent in its sole discretion),
    deliver to the Administrative Agent an Appraisal with respect to each Initial Borrowing Base
    Property owned by a Loan Party as of the Effective Date.

               SECTION 5.12.        Agreed Budget; Capital Expenditures. (a) The use of Revolving
Loans and other credit extensions by the Borrower under this Agreement and the other Loan Documents
shall be limited in accordance with the Agreed Budget (subject to variances permitted under Section
5.12(c)). The initial Agreed Budget shall be in the form of Exhibit B for the first thirteen (13) week
period from the Petition Date, and such initial Agreed Budget shall be approved by, and in form and
substance reasonably satisfactory to the Administrative Agent and the Lenders (it being acknowledged
and agreed that the initial Agreed Budget attached hereto as Exhibit B is approved by and satisfactory
to the Administrative Agent and Lenders). Furthermore, following the Petition Date, the Agreed Budget
shall be updated, modified or supplemented by the Borrower (i)(x) on January 24, 2020 and (y) from
and after February 25, 2020, on the first Friday of each calendar month thereafter (or, if such day is not
a Business Day, the next Business Day), (ii) at its election if the average price payable by the Borrower
and its Restricted Subsidiaries for raw milk as indicated in any existing Agreed Budget increases by
10% when compared to the immediately preceding Agreed Budget delivered hereunder or (iii) upon the
written request of the Administrative Agent or the Required Lenders from time to time, and, in the case
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of each of (i), (ii) and (iii) above, each such updated, modified or supplemented budget shall be approved
in writing (including by email) by, and shall be in form and substance reasonably satisfactory to, the
Administrative Agent and the Required Lenders and no such updated, modified or supplemented budget
shall be effective until so approved and once so approved shall be deemed an Agreed Budget; provided
that the Administrative Agent and the Required Lenders shall be deemed to have approved an Agreed
Budget delivered after the Petition Date pursuant to this Section 5.12(a) unless the Administrative Agent
or Lenders constituting the Required Lenders shall have objected to such Agreed Budget within five (5)
Business Days after delivery thereof; provided, further, that (A) in the event the Administrative Agent
and the Required Lenders are deemed to have approved an Agreed Budget as a result of their failure to
object within such five (5) Business Day period after delivery thereof, the prior Agreed Budget shall
continue in effect until the end of the period to which such prior Agreed Budget relates, and (B) in the
event the Administrative Agent and the Required Lenders, on the one hand, and the Borrower, on the
other hand, cannot agree as to an updated, modified or supplemented budget, the prior Agreed Budget
shall continue in effect, with weekly details for any periods after the initial 13-week period to be derived
in a manner reasonably satisfactory to the Required Lenders from the cash flow forecasts prepared by
the Borrower. Each Agreed Budget delivered to the Administrative Agent and the Lenders shall be
accompanied by such supporting documentation as reasonably requested by the Administrative Agent
or the Required Lenders. Each Agreed Budget shall be prepared in good faith, with reasonable due care
and based upon assumptions which the Borrower believes to be reasonable at the time of delivery
thereof. To the extent any such updated Agreed Budget is approved pursuant to this Section 5.12(a),
the line item amounts set forth therein shall be used to calculate the projected line items commencing
with the week in which such updated Agreed Budget is approved by the Administrative Agent and the
Required Lenders and for subsequent weeks set forth therein, and any prior weeks tested as part of any
then applicable cumulative period shall be calculated using the projected line items set forth in the
previously Agreed Budget in which such prior weeks were first forecasted (unless otherwise approved
by the Administrative Agent and the Required Lenders).

                     (b) [Reserved].

                     (c) Commencing with:

                    (i) the period from the Petition Date through the fourth Friday thereafter and each
             two-week period ended on a Friday thereafter, the Borrower shall not permit the Actual
             Operating Disbursements Amount for the Cumulative Period to exceed 110% of the
             Budgeted Operating Disbursements Amount for such Cumulative Period;

                    (ii) the period from the Petition Date through the fourth Friday thereafter, and for
             each two-week period ended on a Friday thereafter, the Borrower shall not permit the
             Actual Operating Cash Receipts for the Cumulative Period to be less than 92.5% of the
             Budgeted Operating Cash Receipts as set forth in the Agreed Budget for such Cumulative
             Period; and/or

                    (iii) the fiscal month of the Borrower in which the Petition Date occurs, on each
             Capital Expenditures Test Date, the Borrower shall not permit the Actual Capital
             Expenditures Amount since the Effective Date and through the end of such fiscal month to
             exceed 110% of the Budgeted Capital Expenditures Amount for such period.
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                   (d) The Administrative Agent and the Lenders (i) may assume that the Borrower
     will comply with the Agreed Budget and the Agreed Capital Expenditures Budget, (ii) shall have
     no duty to monitor such compliance and (iii) shall not be obligated to pay (directly or indirectly
     from the Collateral or otherwise) any unpaid expenses incurred or authorized to be incurred
     pursuant to any Agreed Budget. The line items in the Agreed Budget and the Agreed Capital
     Expenditures Budget for payment of interest, expenses and other amounts to the Administrative
     Agent and the Lenders are estimates only, and the Borrower remains obligated to pay any and all
     Obligations in accordance with the terms of the Loan Documents and the applicable Order
     regardless of whether such amounts exceed such estimates. Nothing in any Agreed Budget or
     Agreed Capital Expenditures Budget shall constitute an amendment or other modification of any
     Loan Document or any of the borrowing restrictions or other lending limits set forth therein.

                SECTION 5.13.          Agreement to Deliver Collateral Documents. The Loan Parties shall
(a) cause all of the Collateral (including, without limitation, all owned and leased real and personal
property and assets of each Loan Party but excluding Excluded Property) to be subject at all times to
senior priority, perfected Liens in favor of the Administrative Agent to secure the Obligations pursuant
to the terms and conditions, and subject to the priorities, set forth herein and in the Interim Order and
the Final Order, and (b) deliver, to the extent reasonably requested by the Administrative Agent, security
agreements, pledge agreements, recordations, filings, documents, deeds of trust and other agreements
and appropriate UCC-1 financing statements in form and substance reasonably satisfactory to the
Administrative Agent.

                SECTION 5.14.        Milestones. The Loan Parties shall ensure that each of the
milestones set forth below (collectively, the “Milestones”) is achieved in accordance with the applicable
timing referred to below (or by such later time as approved in writing by the Administrative Agent and
the Required Lenders):

                     (a) on or before the date falling thirty (30) days after the Petition Date, the Debtors
             shall have delivered to the Administrative Agent a draft Sale Motion;

                    (b) within forty-five (45) days after the Petition Date, the Final Order shall have
             been entered by the Bankruptcy Court;

                     (c) on or before the date falling ninety (90) days after the Petition Date, the Debtors
             shall have delivered to the Administrative Agent an election of whether it intends to pursue
             a Sale Process, a Plan Process or a combination of both;

                     (d) if a Sale Process is elected, on or before the date falling ninety (90) days after
             the Petition Date, the Debtors shall have filed a Sale Motion;

                      (e) if a Plan Process is elected, on or before the date falling ninety (90) days after
              the Petition Date, the Debtors shall have filed an Acceptable Plan and related disclosure
              statement (in each case, in form and substance acceptable to the Required Lenders) with
              respect to any Plan Process;



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                     (f) if a Sale Process is elected, on or before the date falling one hundred twenty
              (120) days after the Petition Date, the Bankruptcy Court shall have entered an order
              approving the Sale Motion;

                     (g) if a Sale Process is elected, on or before the date falling one hundred sixty
              (160) days after the Petition Date, the Bankruptcy Court shall have entered an order
              approving each sale contemplated by any relevant Sale Process following completion of
              the process contemplated by the bid procedures described in the Sale Motion;

                    (h) if a Plan Process is elected, on or before the date falling one hundred sixty (160)
             days after the Petition Date, the Bankruptcy Court shall have entered an order confirming
             an Acceptable Plan; and

                    (i) if a Sale Process is elected, on or before the date falling two hundred forty (240)
             days after the Petition Date, the Bankruptcy Code shall have entered an order confirming
             an Acceptable Plan.

                SECTION 5.15.       Periodic Calls. From time to time (but no more often than once per
week) upon reasonable request of the Administrative Agent, the Borrower shall conduct and participate
in status calls with the Administrative Agent and Lenders (and their respective advisors) to discuss (i)
the Agreed Budget or the Agreed Budget Variance Reports and/or any other reports or information
delivered pursuant to Section 5.01 or Section 5.12 or otherwise, (ii) the financial operations and
performance of the Loan Parties’ business, or (iii) such other matters relating to the Loan Parties as the
Administrative Agent (or its agents or advisors) shall reasonably request (subject to limitations on
confidentiality arrangements and/or to protect attorney-client privilege).

               SECTION 5.16.      Deposit Accounts. If the Loan Parties shall elect to close any
Deposit Accounts that existed on the Petition Date (all of which Deposit Accounts existing on the
Petition Date are identified on Schedule 5.16) or establish or otherwise acquire any new Deposit
Accounts, then the Loan Parties shall reasonably promptly provide notice to the Administrative Agent
of such election. Upon entry of the Order and the Cash Management Order (and except as otherwise
provided in the Cash Management Order or the Order), the Borrower shall, and shall cause each other
Loan Party to, comply with the terms of the Cash Management Order and the Orders in all material
respects.

                SECTION 5.17.       Post-Closing Obligations. The Borrower shall execute and deliver,
or cause to be executed and delivered, to the Administrative Agent such agreements and other documents
described on Schedule 5.17 and take or cause to be taken such actions, and otherwise comply with such
obligations, as are specified on Schedule 5.17, in each case, on or before the deadlines specified on
Schedule 5.17 for such documents, actions or obligations; provided that the Administrative Agent in its
discretion may from time to time extend in writing (which may be via email from the Administrative
Agent or counsel to the Administrative Agent on their behalf) the deadlines set forth on Schedule 5.17
if the Borrower are using commercially reasonable efforts to obtain or perform the items required by
such deadlines. All conditions precedent, affirmative covenants and representations contained in this
Agreement and the other Loan Documents shall be deemed modified to the extent necessary to effect
the foregoing (and to permit the taking of the actions described above within the time periods required
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above, rather than as elsewhere provided in the Loan Documents); provided that to the extent any
representation and warranty would not be true, any covenant breached or any condition precedent not
met under this Agreement and/or the other Loan Documents and a Default or Event of Default would
occur and be continuing solely as of the fact that the foregoing actions were not taken on the Effective
Date (any such Default or Event of Default, a “Related Default”), the respective representation and
warranty shall be required to be true and correct in all material respects (or, to the extent qualified by
materiality, in all respects) and the respective covenant complied with and condition precedent met at
the time the respective action is taken (or was required to be taken) in accordance with the foregoing
provisions of this Section 5.17 (and such Related Default shall be deemed not to have occurred and/or
be continuing to the extent occurring as a result of such failure to comply) and the parties hereto
acknowledge and agree that the failure to take any of the actions set forth in Section 5.17, within the
relevant time periods required above (after giving effect to any extension provided by the Administrative
Agent in its discretion, as permitted above), shall give rise to an immediate Event of Default pursuant
to this Agreement.

                                                ARTICLE VI

                                             Negative Covenants

                   Until the Secured Obligations have been Fully Satisfied, the Borrower covenants
     and agrees with the Administrative Agent, the Issuing Banks and the Lenders that:

              SECTION 6.01.          Indebtedness. The Borrower will not, and will not permit any
Restricted Subsidiary to, create, incur or suffer to exist any Indebtedness, except:

                    (a)    the Secured Obligations;

                   (b)     Indebtedness existing on the Petition Date and set forth on Schedule
    6.01 (including the Indebtedness under the Senior Notes and the Pre-Petition Credit Agreement);

                     (c)    intercompany Indebtedness permitted by Section 6.04 (other than Section
    6.04(i) or (o)); provided, that if any such Indebtedness is owed by a Loan Party, such Indebtedness
    and any Lien on the assets of such Loan Party related thereto shall be subordinated to the Secured
    Obligations in right of payment and security on terms reasonably satisfactory to the Administrative
    Agent;

                   (d)     Indebtedness of the Borrower or any Restricted Subsidiary incurred to
    finance the acquisition, construction or improvement of any fixed or capital assets (whether or not
    constituting purchase money Indebtedness), including Capital Lease Obligations and any
    Indebtedness assumed in connection with the acquisition of any such assets or secured by a Lien
    on any such assets prior to the acquisition thereof, and extensions, renewals and replacements of
    any such Indebtedness that do not increase the outstanding principal amount thereof; provided that
    the aggregate principal amount of Indebtedness permitted by this clause (d) shall not exceed
    $25,000,000 at any time outstanding;



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                    (e)     obligations in respect of the Permitted Receivables Financing in an aggregate
    principal amount not to exceed (x) $425,000,000 at any time outstanding plus (y) from time to time
    on a temporary basis (i) solely to the extent, and for so long as, reasonably necessary to replace any
    “Existing Letters of Credit” (as defined in the Permitted Receivables Facility as in effect on the
    Effective Date, the “Existing AR Facility Letters of Credit”) and (ii) as and to the extent expressly
    permitted pursuant to, and in accordance with, the terms of the Permitted Receivables Facility (as
    in effect on the Effective Date), additional amounts not to exceed the face amount of such Existing
    AR Facility Letters of Credit being so replaced;

                   (f)     [reserved];

                   (g)     [reserved];

                   (h)    Indebtedness in respect of Swap Agreements entered into in the ordinary
    course of business and not for any speculative purposes;

                   (i)     [reserved];

                   (j)     [reserved];

                     (k)    Indebtedness in respect of workers’ compensation claims, property casualty
    or liability insurance, take-or-pay obligations in supply arrangements, self-insurance obligations,
    performance, bid and surety bonds and completion guaranties, in each case in the ordinary course
    of business;

                    (l)    Indebtedness arising from the honoring by a bank or other financial
    institution of a check, draft or similar instrument inadvertently drawn by the Borrower or any
    Subsidiary in the ordinary course of business against insufficient funds, so long as such
    Indebtedness is promptly repaid; and

                    (m)    other Indebtedness of a type described in clause (d), (e), (f), (g) or (i) of the
     definition thereof (and clause (j) of the definition of Indebtedness to the extent relating to
     Indebtedness of a type described in such specified clauses of the definition of Indebtedness) of the
     Borrower and its Restricted Subsidiaries in a principal amount of up to but not to exceed
     $5,000,000 in the aggregate at any one time outstanding.

               SECTION 6.02.        Liens. The Borrower will not, and will not permit any Restricted
Subsidiary to, create, incur, assume or permit to exist any Lien on any property or asset now owned or
hereafter acquired by it, except:

                   (a)     Liens securing the Secured Obligations;

                   (b)     Permitted Encumbrances;

                  (c)     any Lien on any property or asset of, or leased by, the Borrower or any
    Restricted Subsidiary existing on the Petition Date and set forth on Schedule 6.02; provided that

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(i) such Lien shall not apply to any other property or asset of the Borrower or any Subsidiary and
(ii) such Lien shall secure only those obligations which it secures on the Effective Date;

               (d)     Liens securing obligations, with aggregate net outstanding amounts payable
not in excess of $5,000,000, under Swap Agreements;

                (e)    Liens on fixed or capital assets acquired, constructed or improved by the
Borrower or any Restricted Subsidiary; provided that (i) such security interests secure Indebtedness
permitted by Section 6.01(d), (ii) such security interests and the Indebtedness secured thereby are
incurred prior to or within 90 days after such acquisition or the completion of such construction or
improvement, (iii) the Indebtedness secured thereby does not exceed the cost of acquiring,
constructing or improving such fixed or capital assets and (iv) such security interests shall not apply
to any other property or assets of the Borrower or any Subsidiary;

               (f)     [reserved];

                (g)     Liens upon real or personal property heretofore leased or leased after the
Effective Date (under operating or Capital Leases) in the ordinary course of business by the
Borrower or any of its Restricted Subsidiaries in favor of the lessor created at the inception of the
lease transaction, securing obligations of the Borrower or any of its Restricted Subsidiaries under
or in respect of such lease and extending to or covering only the property subject to such lease and
improvements thereon;

               (h)      Liens of sellers or creditors of sellers of farm products encumbering such
farm products when sold to any of the Borrower or its Restricted Subsidiaries pursuant to the Food
Security Act of 1985 or pursuant to similar state laws to the extent such Liens may be deemed to
extend to the assets of such Person;

               (i)     protective Uniform Commercial Code filings with respect to personal
property leased by, or consigned to, any of the Borrower or its Restricted Subsidiaries;

               (j)     Liens granted to provide adequate protection pursuant to the Interim Order;

                (k)     Liens in favor of a Receivables Financing SPC or a Receivables Financier
created or deemed to exist in connection with the Permitted Receivables Financing (including any
related filings of any financing statements), but only to the extent that any such Lien relates to the
applicable Transferred Assets actually sold, contributed, financed or otherwise conveyed or pledged
pursuant to such transaction;

               (l)    Liens securing the obligations under the Pre-Petition Credit Agreement;
provided that such Liens existed on the Petition Date;

               (m)     [reserved];

               (n)     normal and customary rights of setoff upon deposits of cash in favor of banks
or other depository institutions;

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                (o)   Liens of sellers of goods to the Borrower and its Subsidiaries arising under
Article 2 of the UCC or similar provisions of applicable law in the ordinary course of business,
covering only the goods sold and securing only the unpaid purchase price for such goods and related
expenses;

               (p)    Liens in favor of customs and revenue authorities arising as a matter of law
to secure the payment of customs duties in connection with the importation of goods;

              (q)     Liens solely on any cash earnest money deposits made in connection with an
investment permitted by Section 6.04;

               (r)     transfer restrictions, purchase options, calls or similar rights of third-party
joint venture partners with respect to Equity Interests of joint venture entities;

               (s)     other Liens on assets of the Borrower and its Restricted Subsidiaries securing
other obligations of the Borrower and its Restricted Subsidiaries in an aggregate principal amount
not to exceed $5,000,000 at any one time outstanding;

                 (t)    non-exclusive licenses or sublicenses by the Borrower or any of its
Restricted Subsidiaries of intellectual property in the ordinary course of business; provided that the
same do not in any material respect interfere with the business of the Borrower and its Restricted
Subsidiaries, individually and/or taken as a whole, or materially detract from the use or value of the
relative assets of the Borrower and its Restricted Subsidiaries, individually and/or taken as a whole;
and

               (u)    if a Sale Process is elected or another Asset Sale permitted hereunder is
undertaken, Liens arising by virtue of the asset purchase agreements approved in connection with
the Sale Process or otherwise permitted to be entered into hereunder, in each case limited to
customary encumbrances applicable solely to the assets sold (or to be sold) in connection therewith
securing the contractual rights of the purchaser.

          SECTION 6.03.         Fundamental Changes.

               (a)             The Borrower will not, and will not permit any Restricted
Subsidiary to, merge into or consolidate with any other Person, or permit any other Person to merge
into or consolidate with it, or divide, liquidate or dissolve, except that, if at the time thereof and
immediately after giving effect thereto no Default shall have occurred and be continuing and such
action is permitted (or not prohibited) pursuant to the Orders, (i) any Subsidiary of the Borrower
(other than a Receivables Financing SPC) may merge into the Borrower in a transaction in which
the Borrower is the surviving corporation, (ii) any Subsidiary (other than a Receivables Financing
SPC) may merge into any Loan Party in a transaction in which the surviving entity is a Loan Party
and (iii) any Subsidiary that is not a Loan Party (other than a Receivables Financing SPC) may
merge into the Borrower or any of its Restricted Subsidiaries (other than a Receivables Financing
SPC) in a transaction in which a Restricted Subsidiary is the surviving corporation; provided that
any such merger involving a Person that is not a Wholly-Owned Subsidiary immediately prior to
such merger shall not be permitted unless also permitted by Section 6.04.
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                    (b)    The Borrower will not, nor will it permit any of its Restricted Subsidiaries
    to, (i) engage to any substantial extent in any business other than operations involved in the
    manufacture, processing and distribution of food, beverage or packaging products or businesses of
    the type conducted by the Borrower and its Subsidiaries on the Petition Date or (ii) change its
    fiscal year from the basis in effect on the Petition Date.

                SECTION 6.04.        Investments, Loans, Advances and Acquisitions. The Borrower will
not, and will not permit any Restricted Subsidiary to, purchase, hold or acquire (including pursuant to
any merger with any Person that was not a Loan Party and a Wholly-Owned Subsidiary prior to such
merger) any Equity Interests, evidences of indebtedness or other securities (including any option,
warrant or other right to acquire any of the foregoing) of, make or permit to exist any loans or advances
to, make or permit to exist any investment or any other interest in, any other Person, or purchase or
otherwise acquire (in one transaction or a series of transactions) any assets of any other Person
constituting a business unit (whether through purchase of assets, merger or otherwise), except:

                      (a)   investments in cash and Cash Equivalents;

                      (b)   investments in existence on the Petition Date and described on Schedule
              6.04;

                      (c)   operating deposit accounts with depository institutions;

                      (d)   [reserved];

                     (e)    purchases of inventory and other assets to be sold or used in the ordinary
              course of business;

                      (f)   investments (including, but not limited to, intercompany loans) (i) by any
              Subsidiary of the Borrower in any Loan Party, (ii) by any Loan Party in any other Loan
              Party and (iii) by Restricted Subsidiaries of the Borrower that are not Loan Parties in
              Restricted Subsidiaries of the Borrower that are not Loan Parties, in each case, made in
              the ordinary course of business or in accordance with past practice;

                      (g) investments by the Borrower and its Restricted Subsidiaries in the Equity
              Interests of their Subsidiaries to the extent outstanding as of the Petition Date;

                     (h) loans and advances to employees of the Borrower and/or its Restricted
              Subsidiaries in the ordinary course of business not exceeding $2,500,000 in the aggregate;

                      (i)   investments in the form of Swap Agreements permitted by Section 6.01(h);

                      (j)   deposits to secure bids, tenders, utilities, vendors, leases, licenses, statutory
              obligations, surety and appeal bonds and other deposits of like nature arising in the
              ordinary course of business;

                     (k) investments by any Receivables Financing SPC or any Loan Party in a
              Receivables Financing SPC, in each case, made in connection with the Permitted
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              Receivables Financing, and loans permitted by the Permitted Receivables Financing that
              are made by a Loan Party to a Receivables Financing SPC or by a Receivables Financing
              SPC to a Loan Party in connection therewith;

                      (l)   [reserved];

                      (m)   [reserved];

                      (n) investments consisting of extensions of credit in the nature of accounts
              receivable or notes receivable arising from the grant of trade credit in the ordinary course
              of business, and investments received in satisfaction or partial satisfaction thereof from
              financially troubled account debtors or other disputes with customers or suppliers to the
              extent reasonably necessary in order to prevent or limit loss and Investments consisting
              of the prepayment of suppliers and service providers on customary terms in the ordinary
              course of business;

                      (o)   Guarantees permitted by Section 6.01 (other than Section 6.01(c));

                     (p) to the extent permitted by Section 6.05 (other than Section 6.05(f)),
              non-cash consideration received in connection with sales or dispositions;

                     (q) to the extent constituting an investment by such Person, the payment,
              prepayment, redemption or acquisition for value of Indebtedness of such Person permitted
              by Section 6.07(a); and

                            (r)     investments in Good Karma Foods, Inc. in an aggregate amount not
              to exceed $1,500,000 at any time outstanding; provided that the aggregate amount of such
              investment during the period from the Petition Date to the date sixty (60) days after the
              Petition Date shall not exceed $500,000.

     For purposes of covenant compliance, the amount of any investment shall be the amount actually
     invested, without adjustment for subsequent increases or decreases in the value of such investment,
     less any amount repaid, returned, distributed or otherwise received in respect of any investment,
     in each case, in cash.

               SECTION 6.05.         Asset Sales. The Borrower will not, and will not permit any
Restricted Subsidiary to, sell, transfer, lease or otherwise dispose of any asset, including any Equity
Interest owned by it, and including, without limitation, pursuant to a division or plan of division of any
Restricted Subsidiary under Delaware law (or any comparable event under a different jurisdiction’s law),
except:

                      (a)   any Excluded Disposition;

                      (b) sales, leases, transfers and dispositions of obsolete or worn-out property
              (including intellectual property), tools or equipment no longer used or useful in its
              business or real property no longer used or useful in its business in the ordinary course or

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  in a manner consistent with past practice; provided, that the proceeds thereof are used to
  repay the Obligations to the extent required by clauses (b) or (c) of Section 2.11;

         (c)   sales, leases, transfers and dispositions of assets (i) from a Loan Party to
  another Loan Party and (ii) from any Specified Subsidiary to a Loan Party or another
  Specified Subsidiary;

         (d) any sale of Transferred Assets by such Person to a Receivables Financing
  SPC and subsequently to the Receivables Financier in connection with the Permitted
  Receivables Financing;

          (e)   sale and leaseback transactions permitted by Section 6.06;

          (f)   to the extent constituting a sale, transfer, lease or other disposition,
  including pursuant to a division or plan of division, the creation of Liens, the
  consummation of fundamental changes, the making of investments and the making of
  Restricted Payments permitted by Sections 6.02, 6.03, 6.04 and 6.07, respectively (except
  to the extent permitted pursuant to cross reference to this Section 6.05 or any clause
  contained in this Section 6.05);

        (g) to the extent constituting a sale or disposition, the unwinding of any Swap
  Agreement pursuant to its terms;

          (h) transfers of condemned property as a result of the exercise of “eminent
  domain” or other similar policies to the respective Governmental Authority or agency that
  has condemned same (whether by deed in lieu of condemnation or otherwise), and
  transfers of properties that have been subject to a casualty to the respective insurer of such
  property as part of an insurance settlement; provided, that the proceeds thereof are used
  to repay the Obligations to the extent required by clauses (b) or (c) of Section 2.11;

          (i)    to the extent constituting a sale, transfer, lease or other disposition, non-
  exclusive licenses or sublicenses by the Borrower or any of its Subsidiaries of intellectual
  property in the ordinary course of business; provided that the same do not in any material
  respect interfere with the business of the Borrower and its Restricted Subsidiaries,
  individually and/or taken as a whole, or materially detract from the use or value of the
  relative assets of the Borrower and its Restricted Subsidiaries, individually and/or taken
  as a whole;

         (j)    sales, transfers, leases and other dispositions of other assets so long as the
  aggregate amount thereof sold or otherwise disposed of by the Borrower and its Restricted
  Subsidiaries during the term of this Agreement shall not have a net book value in excess
  of $25,000,000; provided that the Net Cash Proceeds thereof are used to repay the
  Obligations to the extent required by clauses (b) or (c) of Section 2.11; and

          (k)   if a Sale Process is elected, pursuant to a Sale Process referred to in Section
  5.14.

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                 SECTION 6.06.        Sale and Leaseback Transactions. The Borrower will not, and will
not permit any Restricted Subsidiary to, enter into any arrangement, directly or indirectly, whereby it
shall sell or transfer any property, real or personal, used or useful in its business, whether now owned
or hereafter acquired, and thereafter rent or lease such property or other property that it intends to use
for substantially the same purpose or purposes as the property sold or transferred, except for such
transactions in existence on the Petition Date and described on Schedule 6.06.

                SECTION 6.07.         Restricted Payments. The Borrower will not, nor will it permit any
Restricted Subsidiary to, directly or indirectly, declare, order, make or set apart any sum for or pay any
Restricted Payment, except (a) to make dividends or other distributions payable to any Loan Party
(directly or indirectly through Subsidiaries, and, in the case of dividends or other distributions paid by
Subsidiaries, ratably (or less than ratably) to other Persons that own the applicable class of Equity
Interests in such Subsidiary), (b) to make dividends to or repurchases from the Borrower or the holders
of ownership interests of such Restricted Subsidiary the proceeds of which shall be used to pay taxes
that are then due and payable and which relate to the business of the Borrower and its Restricted
Subsidiaries, and (c) to the extent constituting Restricted Payments, the Borrower and its Subsidiaries
may enter into and consummate transactions expressly permitted by Section 6.04.

               SECTION 6.08.         Prepayment of Other Indebtedness. The Borrower will not, nor will
it permit any Restricted Subsidiary to, directly or indirectly, declare, order, set apart any sum for or make
any voluntary or mandatory payment, prepayment, redemption, acquisition for value, refund,
refinancing or exchange of (a) any Indebtedness or claim arising prior to the Petition Date except as set
forth in the Agreed Budget (subject to permitted variances) or payments made pursuant to the Permitted
Receivables Financing and (b) any Indebtedness arising after the Petition Date (including, without
limitation, any interest, premium or other amounts owing in respect thereof but excluding, for the
avoidance of doubt, regularly scheduled payments at maturity), except (i) with respect to Indebtedness
under the Loan Documents or the Permitted Receivables Financing and (ii) for payments made pursuant
to the Interim Order or the Final Order (including, without limitation, in connection with the deemed
making of the DIP Term Loans on the Final Order Date) and, in each case, as set forth in the Agreed
Budget (subject to permitted variances) or otherwise reasonably acceptable to the Administrative Agent
and the Required Lenders.

                 SECTION 6.09.        Transactions with Affiliates. Except as expressly permitted by this
Agreement, the Borrower will not, nor will it permit any of its Restricted Subsidiaries to, directly or
indirectly: (a) make any investment in an Affiliate other than investments permitted hereunder;
(b) transfer, sell, lease, assign or otherwise dispose of any assets to an Affiliate other than transfers,
sales, leases, assignments or other dispositions permitted hereunder; (c) merge into or consolidate with
or purchase or acquire assets from an Affiliate other than transactions permitted under Section 6.03 or
6.04; or (d) enter into any other transaction directly or indirectly with or for the benefit of an Affiliate
(including, without limitation, guarantees and assumptions of obligations of an Affiliate); provided that
(i) the Borrower and its Restricted Subsidiaries may continue to be party to the Permitted Receivables
Financing, (ii) any Affiliate who is an individual may serve as a director, officer or employee of the
Borrower or any of its Restricted Subsidiaries and receive reasonable compensation for his or her
services in such capacity, and (iii) the Borrower and its Restricted Subsidiaries may enter into
transactions (other than extensions of credit by the Borrower or any of its Subsidiaries to an Affiliate

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that are not investments permitted hereunder) that are not otherwise prohibited hereunder so long as
such transactions are on fair and reasonable terms (including as to monetary or business consideration
arising therefrom) substantially as advantageous to the Borrower and its Restricted Subsidiaries as the
terms (including as to monetary or business consideration) that would be obtained in a comparable arm’s
length transaction with a Person not an Affiliate.

               SECTION 6.10.        Restrictive Agreements.

                     (a)     The Borrower will not, nor will it permit any Restricted Subsidiary to, enter
    into, or permit to exist, any Contractual Obligation (including Organization Documents) that
    encumbers or restricts the ability of any such Person to (i) in the case of any Restricted Subsidiary
    pay dividends or make any other distributions to any Loan Party on its Equity Interests or with
    respect to any other interest or participation in, or measured by, its profits, (ii) pay any Indebtedness
    or other obligation owed to any Loan Party, (iii) make loans or advances to any Loan Party, (iv) sell,
    lease or transfer any of its properties or assets to any Loan Party, or (v) act as a Subsidiary Guarantor
    pursuant to the Loan Documents or any renewals, refinancings, exchanges, refundings or extension
    thereof, except (in respect of any of the matters referred to in clauses (i)-(v) above) for such
    encumbrances or restrictions existing under or by reason of (A) this Agreement and the other Loan
    Documents, (B) applicable Law, (C) any document or instrument governing Indebtedness incurred
    pursuant to Section 6.01(d); provided that any such restriction contained therein relates only to the
    asset or assets constructed or acquired in connection therewith, (D) Indebtedness of a Subsidiary
    which is not a Loan Party which is permitted by Section 6.01, so long as such restrictions do not
    impair the ability of the Loan Parties to perform their obligations under this Agreement or any other
    Loan Document, (E) any restrictions regarding licenses or sublicenses by the Borrower and its
    Subsidiaries of intellectual property in the ordinary course of business (in which case such
    restriction shall relate only to such intellectual property), (F) customary restrictions and conditions
    contained in agreements relating to the sale of a Subsidiary or assets pending such sale; provided
    that such restrictions and conditions apply only to the Subsidiary or assets that are to be sold and
    such sale is permitted hereunder, (G) restrictions or conditions imposed by any agreement relating
    to secured Indebtedness permitted by this Agreement if such restrictions or conditions apply only
    to the assets securing such Indebtedness, (H) customary provisions in leases and other contracts
    restricting the assignment thereof, (I) restrictions contained in documents executed in connection
    with the Permitted Receivables Financing (provided that such restrictions, as whole, are no more
    restrictive that those contained in such documents as in effect on the Petition Date), (J) any Lien
    permitted hereunder or any document or instrument governing any such Lien; provided that any
    such restriction contained therein relates only to the asset or assets subject to such Lien, (K) any
    document or instrument governing the Senior Notes as in effect on the Petition Date, (L) customary
    provisions in joint venture agreements and other similar agreements applicable to joint ventures
    permitted under Section 6.04 and applicable solely to such joint venture and are entered into in the
    ordinary course of business, (M) [reserved], and (N) any agreements existing on the Petition Date
    and set forth on Schedule 6.10.

                   (b)    The Borrower will not, nor will it permit any Restricted Subsidiary to, enter
    into, assume or become subject to any agreement prohibiting or otherwise restricting the creation
    or assumption of any Lien upon its properties or assets to secure the Secured Obligations pursuant
    to the Loan Documents, whether now owned or hereafter acquired, or requiring the grant of any
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    security for such obligation if security is given for the Secured Obligations except (i) pursuant to
    this Agreement and the other Loan Documents, (ii) pursuant to applicable Law, (iii) pursuant to any
    document or instrument governing Indebtedness incurred pursuant to Section 6.01(d); provided that
    in the case of Section 6.01(d) any such restriction contained therein relates only to the asset or assets
    constructed or acquired in connection therewith, (iv) customary restrictions and conditions
    contained in agreements relating to the sale of a Subsidiary or assets pending such sale; provided
    that such restrictions and conditions apply only to the Subsidiary or assets that are to be sold and
    such sale is permitted hereunder, (v) restrictions or conditions imposed by any agreement relating
    to secured Indebtedness permitted by this Agreement if such restrictions or conditions apply only
    to the assets securing such Indebtedness, (vi) customary provisions in leases and other contracts
    restricting the assignment thereof, (vii) pursuant to the documents executed in connection with the
    Permitted Receivables Financing (but only to the extent that the related prohibitions against other
    encumbrances are no more restrictive than those in effect on the Petition Date and pertain to the
    applicable Transferred Assets actually sold, contributed, financed or otherwise conveyed or pledged
    pursuant to the Permitted Receivables Financing, (viii) restrictions in any document or instrument
    governing any Permitted Lien; provided that any such restriction contained therein relates only to
    the asset or assets subject to such Permitted Lien, (ix) [reserved], (x) software and other intellectual
    property licenses pursuant to which the Borrower or Subsidiary is the licensee of the relevant
    software or intellectual property, as the case may be, (in which case, any prohibition or limitation
    shall relate only to the assets subject of the applicable license), (xi) customary provisions in joint
    venture agreements and other similar agreements applicable to joint ventures permitted under
    Section 6.04 and applicable solely to such joint venture and are entered into in the ordinary course
    of business, (xii) any agreements existing on the Petition Date and set forth on Schedule 6.10 and
    (x) restrictions or conditions contained in any document or instrument governing the Senior Notes
    as in effect on the Petition Date.

                 SECTION 6.11.        Amendments to Other Indebtedness. Except in connection with a
confirmed plan of reorganization in the Bankruptcy Cases which is reasonably satisfactory to the
Administrative Agent and the Required Lenders (or which provides for the Full Satisfaction of the
Secured Obligations on the date of effectiveness of such plan), the Borrower will not, nor will it permit
any Restricted Subsidiary to, amend or modify (or permit the amendment or modification of) any of the
terms of any Indebtedness (including, without limitation, the Permitted Receivables Financing and
documentation relating thereto) arising prior to or after the Petition Date in a manner materially adverse
to the interests of the Lenders (including, without limitation, shortening the final maturity or average
life to maturity, requiring any payment to be made sooner than originally scheduled or increasing the
interest rate or fees applicable thereto, reducing any advance rates, adding additional defaults events of
default, adding conditions or limitations to the availability of such financing, adding additional financial
tests, reducing any advance rates thereunder or changing any subordination provision thereof (in each
case, other than to cure clear errors or defects in the underlying documents)).

               SECTION 6.12.         Intentionally Omitted.

               SECTION 6.13.        Sanctions. The Loan Parties will not, directly or indirectly, use the
proceeds of any Loan or Letter of Credit, or lend, contribute or otherwise make available such proceeds
to any subsidiary, joint venture partner or other Person, (a) to fund any activity or business of or with
any Person, or in any Designated Jurisdiction, that, at the time of such funding, is, or whose government
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is, the target of any Sanctions, unless otherwise authorized by applicable Laws; or (b) in any other
manner that will result in any violation by any Person participating in the Loans or Letters of Credit,
whether as the Administrative Agent, Arranger, Issuing Bank, Lender, or Participant, of any Sanctions.

                SECTION 6.14.        Anti-Corruption Laws. The Loan Parties will not, directly or
indirectly, use the proceeds of any Loan or Letter of Credit for any purpose which would breach, in any
material respect, any Anti-Corruption Law.

                SECTION 6.15.        Chapter 11 Claims. The Borrower shall not, nor shall it permit any
Subsidiary that is a Debtor to, directly or indirectly, incur, create, assume, suffer to exist or permit any
administrative expense claim (other than any superpriority administrative expense claim granted in
respect of the Permitted Receivables Financing) or Lien that is pari passu with or senior to the claims or
Liens, as the case may be, of the Administrative Agent and the other Holders of Secured Obligations,
against the Loan Parties hereunder, or apply to the Bankruptcy Court for authority so to do, except for
the Carve-Out and Liens permitted to be senior pursuant to Section 6.02.

              SECTION 6.16.          Revision of Orders; Application to Bankruptcy Court.              The
Borrower shall not, nor shall it permit any Subsidiary to, directly or indirectly:

                    (a)     seek, consent to or suffer to exist (or support any Person that seeks) any
    modification, stay, vacation, reversal or amendment of the Interim Order or the Final Order except
    for any material substantive modifications and amendments agreed to in writing by Administrative
    Agent and the Required Lenders; provided that, any waiver, consent or amendment of any Order
    that is materially and disproportionately adverse in any respect to any Lender relative to any other
    Lender shall require the written consent of such adversely and disproportionately affected Lender
    in addition to the Administrative Agent and the Required Lenders; or

                    (b)     apply to the Bankruptcy Court for authority (or support any Person that
    seeks) to take any action prohibited by this Article VI (except to the extent such application and the
    taking of such action is conditioned upon the receiving the written consent of the Administrative
    Agent and the requisite applicable Lenders).

                                                ARTICLE VII

                                         Events of Default; Remedies

               SECTION 7.01.         Events of Default. If any of the following events (“Events of
Default”) shall occur:

                     (a)     Non-Payment of Principal. The Borrower or any other Loan Party shall fail
     to pay any principal of any Loan or any reimbursement obligation in respect of any LC
     Disbursement when and as the same shall become due and payable, whether at the due date thereof
     or at a date fixed for prepayment thereof or otherwise;

                     (b)     Non-Payment of Other Amounts. The Borrower or any other Loan Party
     shall fail to pay any interest on any Loan or any fee or any other amount (other than an amount

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referred to in paragraph (a) above) payable under this Agreement, when and as the same shall
become due and payable and such failure shall continue unremedied for a period of three (3)
Business Days;

               (c)      Representations and Warranties. Any information contained in any
Compliance Certificate or Agreed Budget Variance Report, or any representation or warranty
made or deemed made by or on behalf of any Loan Party or any other Restricted Subsidiary in or
in connection with this Agreement or any Loan Document or any amendment or modification
thereof or waiver thereunder, or in any report, certificate, financial statement or other document
furnished pursuant to or in connection with this Agreement or any Loan Document or any
amendment or modification thereof or waiver thereunder, shall prove to have been false or
incorrect in any material respect when made or deemed made (unless any such certification,
representation or warranty is qualified as to materiality or as to Material Adverse Effect, in which
case such certification, representation, or warranty shall prove to have been incorrect in any
respect); provided that for the avoidance of doubt, no variance in any Agreed Budget Variance
Report shall be (or be deemed) such a material misrepresentation or misstatement if upon
correction thereof, the Borrower would remain in compliance with its covenants hereunder.

                (d)     Non-Compliance with Specific Covenants. The Borrower or any Restricted
Subsidiary shall fail to observe or perform any covenant, condition or agreement contained in (i)
Section 5.01(f), 5.02(a), 5.03 (with respect to the Borrower’s existence), 5.08, 5.11, 5.12, 5.14,
5.17 or in Article VI or (ii) Section 5.13, 5.15 or 5.16 and, in the case of this clause (ii), such failure
shall continue unremedied for a period of five (5) Business Days after the earlier of a Responsible
Officer of the Borrower or any of its Restricted Subsidiaries having knowledge of such breach or
notice thereof from the Administrative Agent;

                (e)     Other Non-Compliance. Any of the Borrower or any of its Restricted
Subsidiaries shall fail to observe or perform any covenant, condition or agreement contained in
this Agreement or any other Loan Document (other than those which constitute a default under
another Section of this Article VII), and such failure shall continue unremedied for a period of
fifteen (15) days after the earlier of a Responsible Officer of the Borrower or any of its Restricted
Subsidiaries having knowledge of such breach or notice thereof from the Administrative Agent;

               (f)     Payment Default to Other Indebtedness. The Borrower or any of its
Restricted Subsidiaries shall fail to make any payment (whether of principal or interest and
regardless of amount in respect of the Permitted Receivables Facility or any other postpetition
Material Indebtedness, when and as the same shall become due and payable (giving effect to any
applicable waivers or grace periods) (except to the extent any such payment is prohibited pursuant
to the Orders));

                (g)     Cross-Default to Other Indebtedness. Any event or condition (other than
(i) any required prepayment of Indebtedness secured by a Permitted Lien that becomes due as the
result of the disposition of the assets subject to such Lien so long as such disposition is permitted
by this Agreement and permitted (or not prohibited) by the Orders and (ii) any defaults that occur
solely as a result of the commencement of the Bankruptcy Cases) occurs that results in the
Permitted Receivables Financing or any other Material Indebtedness becoming due prior to its
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scheduled maturity or that enables or permits (with or without the giving of notice, the lapse of
time or both) the holder or holders of (or purchaser(s) party to) the Permitted Receivables
Financing or any other Material Indebtedness or any trustee or agent on its or their behalf to cause
the Permitted Receivables Financing or any Material Indebtedness to become due, or to require
the prepayment, repurchase, redemption or defeasance thereof, prior to its scheduled maturity;
provided that no Event of Default under this clause (g) shall occur if the remedies under any
Material Indebtedness resulting from such event or condition are subject to the automatic stay
applicable under Section 362 of the Bankruptcy Code;

               (h)     [Reserved]

               (i)     [Reserved]

               (j)     [Reserved]

               (k)     Judgments. After the Petition Date, one or more judgments for the payment
of money (excluding any “first day orders” or any order fixing the amount of any claim in the
Bankruptcy Cases) in an aggregate amount in excess of $25,000,000 (to the extent not covered by
insurance or other creditworthy indemnitor) shall be rendered against the Borrower or any
Restricted Subsidiary or any combination thereof and the same shall remain undischarged for a
period of thirty (30) consecutive days during which execution shall not be effectively stayed
(including pursuant to the Bankruptcy Code), or any action not in violation of the automatic stay
applicable under section 362 of the Bankruptcy Code shall be legally taken by a postpetition
judgment creditor to attach or levy upon any assets of the Borrower or any Restricted Subsidiary
to enforce any such judgment;

               (l)   ERISA. An ERISA Event shall have occurred that, when taken together
with all other ERISA Events that have occurred, could reasonably be expected to result in a
Material Adverse Effect;

               (m)     Change in Control. A Change in Control shall occur; or

               (n)     Invalidity of Loan Documents. Any material provision of any Loan
Document for any reason ceases to be valid, binding and enforceable in accordance with its terms
(or any Loan Party shall challenge the enforceability of any Loan Document or shall assert in
writing, or engage in any action or inaction based on any such assertion, that any provision of any
of the Loan Documents has ceased to be or otherwise is not valid, binding and enforceable in
accordance with its terms);

                (o)     Dissolution or Liquidation. Any Loan Party or any Subsidiary thereof
voluntarily or involuntarily dissolves or is dissolved, liquidates or is liquidated or files a motion
with the Bankruptcy Court seeking (or supports or consents to any Person seeking) authorization
to so dissolve or liquidate (including, without limitation, under any Debtor Relief Law);

               (p)   Certain Orders. An order with respect to any of the Bankruptcy Cases shall
be entered by the Bankruptcy Court (or any of the Debtors shall file an application or motion or

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pleading for entry of or in support of an order) (i) appointing a Chapter 7 trustee, or a Chapter 11
trustee under section 1104 of the Bankruptcy Code, (ii) appointing an examiner (other than a fee
examiner) or receiver with enlarged powers (beyond those set forth in section 1106(a)(3) and (4)
of the Bankruptcy Code) relating to the operation of the business under section 1106(b) of the
Bankruptcy Code, (iii) dismissing any of the Bankruptcy Cases or converting any of the
Bankruptcy Cases under section 1112 of the Bankruptcy Code or otherwise to a case under chapter
7 of the Bankruptcy Code or (iv) providing for the disposition without the Administrative Agent’s
consent of all or material portion of any of the assets of any Loan Party or any other Restricted
Subsidiary of the Borrower, any Equity Interest of any Loan Party or any other Restricted
Subsidiary of the Borrower, or any material business line of the Loan Parties and their Restricted
Subsidiaries either through a sale under section 363 of the Bankruptcy Code, through a confirmed
plan of reorganization in the Bankruptcy Cases or otherwise except (I) as otherwise permitted by
the Orders, (II) pursuant to a transaction that is permitted (and subject to any mandatory
prepayment obligations (as applicable)) under this Agreement or (III) pursuant to a transaction that
provides for the Full Satisfaction of the Secured Obligations;

               (q)     Non-Compliance with the Final Order or Interim Order. Any Loan Party or
any of Restricted Subsidiary of the Borrower fails or neglects to comply with any provision of the
Final Order or the Interim Order, as applicable;

               (r)    Exclusivity. The period pursuant to section 1121 of the Bankruptcy Code
during which the Debtors have the exclusive right to file a plan of reorganization or solicit
acceptance thereof expires or an order shall have been entered by the Bankruptcy Court terminating
or reducing such period, unless such termination or reduction is consented to by the Administrative
Agent (or in each case any of the Loan Parties shall seek to, or shall support (whether by way of
motion or other pleadings filed with the Bankruptcy Court or any other writing executed by any
Loan Party) any other Person's motion to, have such an order entered, in each case unless the
Administrative Agent consents to such action);

                 (s)    Entry of Unapproved Order. An order with respect to any of the Bankruptcy
Cases shall be entered by the Bankruptcy Court, or any of the Loan Parties or any other Restricted
Subsidiary of the Borrower shall have filed or supported a motion or other pleading for entry of an
order, (i) to revoke, reverse, stay, vacate, terminate, extend, rescind or seek reconsideration of any
provision of the Cash Management Order or the order approving the Permitted Receivables
Financing, (ii) to modify, supplement or amend any provision of the Interim Order, the Final Order
or this Agreement without the prior written consent of the Administrative Agent and the affected
Lenders or (iii) to permit any administrative expense or any claim (now existing or hereafter
arising, of any kind or nature whatsoever) to have administrative priority as to any of the Loan
Parties, equal or superior to the priority of the Lenders in respect of the Obligations, other than any
superpriority administrative expense claim granted in respect of the Permitted Receivables
Financing, subject only to the extent of the Carve-Out, or (iv) to grant or permit the grant of a
Lien on the Collateral (other than a Lien permitted by Section 6.02) that is senior to or pari passu
with the Liens on such Collateral securing the Obligations (other than a Lien permitted by Section
6.02), (v) to permit charging of any of the Collateral under section 506(c) of the Bankruptcy Code
against the Secured Parties, or (vi) without the prior written consent of the Required Lenders, to
authorize financing for any of the Loan Parties under section 364 of the Bankruptcy Code (other
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than the transactions contemplated by the Loan Documents and any Permitted Receivables
Financing) unless such financing is expressly permitted hereunder or such order contemplates the
Full Satisfaction of the Secured Obligations upon consummation thereof;

                (t)     Filing of Unapproved Plan. An order shall be entered by the Bankruptcy
Court confirming a plan of reorganization or liquidation in any of the Bankruptcy Cases (or an
order shall be entered by the Bankruptcy Court approving a disclosure statement related to such
plan) other than an Acceptable Plan, or any of the Loan Parties or any of their Subsidiaries shall
file, propose, support, or fail to contest in good faith the filing or confirmation of such a plan;

                (u)     Relief from the Automatic Stay. The Bankruptcy Court shall enter an order
or orders granting relief from the automatic stay applicable under section 362 of the Bankruptcy
Code to a holder or holders of any Lien (other than a holder or holders of a Lien ranking senior in
priority to the Liens securing the Loans) or a Lien on any part of the Collateral securing the Loans
to permit foreclosure (or the granting of a deed in lieu of foreclosure or the like) on any such
Collateral with a value in excess of $5,000,000 in the aggregate or the Equity Interests in any Loan
Party or any Subsidiary whose Equity Interest (or portion thereof) has been pledged as security for
the Obligations (unless constituting a sale or other disposition permitted by Section 6.05) or permit
any such third parties to exercise other remedies that would have a Material Adverse Effect);

               (v)      Pre-Petition Cash Collateral. The Bankruptcy Court shall enter an order
denying or terminating the use of Pre-Petition Cash Collateral, and the Debtors have not obtained
use of cash collateral (consensually or non-consensually).

                (w)      Unenforceability of the Interim Order or Final Order. Any material
provision of the Interim Order or the Final Order shall for any reason cease to be valid or binding
or enforceable against any of the Loan Parties, or any of the Loan Parties or any other Subsidiary
of the Borrower shall so state in writing; or any of the Loan Parties or any other Subsidiary of the
Borrower shall commence or join in any legal proceeding to contest in any manner that the Interim
Order or the Final Order constitutes a valid and enforceable agreement, or any of the Loan Parties
or any other Subsidiary of the Borrower shall commence or join in any legal proceeding to contest
the validity or perfection of any of the Liens in favor of the Holders of Secured Obligations, or any
of the Loan Parties shall commence or join in any legal proceeding to assert that it has no further
obligation or liability under the Interim Order or the Final Order;

                 (x)    Motion against the Holders of Secured Obligations. Any of the Loan Parties
or any other Subsidiary of the Borrower shall seek to, or shall support (whether by way of motion
or other pleadings filed with the Bankruptcy Court or any other writing executed by any Loan
Party or by oral argument) any other person’s motion to: (i) disallow in whole or in part any of the
Obligations arising under this Agreement or any other Loan Document (or any such order is
entered), or (ii) challenge the validity and enforceability of the Liens or security interests granted
or confirmed herein or in the Interim Order or the Final Order in favor of the Holders of Secured
Obligations;

            (y)     Prohibited Payment. Any of the Borrower or any Restricted Subsidiary shall
make any payment (as adequate protection or otherwise), or application for authority to pay, on
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account of any claim or debt arising prior to the Petition Date other than payments authorized by
the Bankruptcy Court in respect of the Interim Order, the Final Order or by any other orders entered
by the Bankruptcy Court in amounts consistent with the Agreed Budget;

                (z)     Failure to Conduct Business. If any Loan Party or other Restricted
Subsidiary is enjoined, restrained or in any way prevented by an order of a court of competent
jurisdiction (other than an order of the Bankruptcy Court approved by the Required Lenders) from
continuing to conduct all or any material part of its business or affairs;

              (aa)Failure to Satisfy Milestones. Any of the Milestones are not satisfied in
accordance with the terms (including the deadline for satisfaction) relating to such Milestone;

              (bb) Consolidation. Any Loan Party or any other Restricted Subsidiary of the
Borrower shall consolidate or combine with any other Person except to the extent expressly
permitted by Section 6.05 or pursuant to a confirmed Acceptable Plan; or

               (cc) Roll-Up. The Bankruptcy Court does not approve on the Final Order Date,
or any determination is made by the Bankruptcy Court at any time, that it will not approve the
“roll-up” of the Pre-Petition Revolving Loans into DIP Term Loans under this Agreement, in a
manner and on terms satisfactory to the affected Lenders and in accordance with Section 2.01(b);

then, and in any such event, and at any time thereafter during the continuance of such event, the
Administrative Agent, on behalf of the Holders of Secured Obligations, may, and at the direction
of the Required Lenders shall, take any or all of the following actions at the same or different
times, subject to any applicable notice period in the Orders, but without any action, approval,
further order or application of the Bankruptcy Court, and without the requirement to give prior
notice:

                (i)    declare the Commitment of each Lender to make Loans and/or any
        obligation of the Issuing Banks to issue Letters of Credit to be terminated, reduced or
        otherwise restricted whereupon such Commitments and obligations shall be terminated,
        reduced or restricted to the extent that any such Commitment or obligation remains;

                (ii)   in the case of this clause (ii), at the direction of the Required Lenders,
        declare the unpaid principal amount of all or any portion of the outstanding Loans, all
        interest accrued and unpaid thereon, and all other amounts owing or payable hereunder or
        under any other Loan Document to be immediately due and payable, without presentment,
        demand, protest or other notice of any kind (except any notice required by the Orders), all
        of which are hereby expressly waived by the Borrower;

                (iii) require that the Borrower Cash Collateralize that portion of the L/C
        Obligations composed of the aggregate undrawn amount of Letters of Credit (in an amount
        equal to 105% of the Fronting Exposure of the Issuing Banks) if applicable; and

                (iv)  subject to the proviso below, in the case of this clause (iv), at the direction
        of the Required Lenders, exercise on behalf of itself, the Issuing Banks, the Lenders and

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         the other Holders of Secured Obligations all rights and remedies available to it, the Issuing
         Banks, the Lenders and the other Holders of Secured Obligations under the Loan
         Documents, including to enforce any and all Liens and security interests created pursuant
         to the Collateral Documents or exercise of any other rights or remedies with respect to the
         Collateral (including rights to set off or apply any amounts in any bank accounts that are
         a part of the Collateral);

provided that immediately upon the giving of any notice of the occurrence and continuance of an
Event of Default by the Administrative Agent in accordance with the Orders, (w) any obligation
of each Lender to make Loans and/or and any obligation of Issuing Banks to issue Letters of Credit
shall be suspended; (x) the Administrative Agent may block or limit withdrawals from any bank
accounts that are a part of the Collateral (including, without limitation, by sending any control
activation notices to depositary banks pursuant to any control agreement), (i) in accordance with
the Agreed Budget and the Loan Documents to fund payroll, make any required utilities payments
and make any other critical payments necessary to continue operations, and (ii) to satisfy the
Carve-Out, (y) except as otherwise expressly provided herein and in the Orders, the Loan Parties
shall deliver and cause the delivery of the proceeds of the Loans and any Collateral to the
Administrative Agent as provided herein; and (z) the Administrative Agent shall be permitted to
apply such proceeds in accordance with the terms herein and in the Loan Documents.

          SECTION 7.02.        Prohibition on Credit Bidding By Lenders.

Each Lender hereby agrees that, except as otherwise provided in any Loan Documents or with the
written consent of the Administrative Agent and the Required Lenders, it will not take any
enforcement action with respect to all or any portion of the Collateral, accelerate obligations under
any Loan Documents, or exercise any right that it might otherwise have under applicable Laws to
credit bid at foreclosure sales, UCC sales or other similar Dispositions of all or any portion of the
Collateral.

                                          ARTICLE VIII

                           The Administrative Agent and Issuing Banks

          SECTION 8.01.        Authorization and Action.

                (a)    Each of the Lenders and Issuing Banks hereby irrevocably appoints the
Administrative Agent to act on its behalf as the Administrative Agent hereunder and under the other
Loan Documents and authorizes the Administrative Agent to take such actions on its behalf and to
exercise such powers as are delegated to Administrative Agent by the terms hereof or thereof,
together with such actions and powers as are reasonably incidental thereto. The provisions of this
Article VIII are solely for the benefit of the Administrative Agent, the Lenders, and the Issuing
Banks, and no Loan Party has rights as a third party beneficiary of any of such provisions. It is
understood and agreed that the use of the term “agent” herein or in any other Loan Documents (or
any other similar term) with reference to the Administrative Agent is not intended to connote any
fiduciary or other implied (or express) obligations arising under agency doctrine of any applicable

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law. Instead such term is used as a matter of market custom, and is intended to create or reflect
only an administrative relationship between contracting parties.

                (b)    The Administrative Agent shall also act as the collateral agent under the
Loan Documents, and each of the Lenders and Issuing Banks hereby irrevocably appoints and
authorizes the Administrative Agent to act as the agent of such Lender and Issuing Bank for
purposes of acquiring, holding, and enforcing any and all Liens on Collateral granted by any of the
Loan Parties to secure any of the Secured Obligations, together with such powers and discretion as
are reasonably incidental thereto. In this connection, the Administrative Agent, as collateral agent
and any co-agents, sub-agents, and attorneys-in-fact appointed by Administrative Agent pursuant
to Section 8.05 for purposes of holding or enforcing any Lien on the Collateral (or any portion
thereof) granted under the Collateral Documents, or for exercising any rights and remedies
thereunder at the direction of the Administrative Agent, shall be entitled to the benefits of all
provisions of Articles VIII and IX as if set forth in full herein with respect thereto. The
Administrative Agent is authorized on behalf of all the Lenders, without the necessity of any notice
to or further consent from the Lenders or the Issuing Bank, from time to time to take any action
with respect to any Collateral or the Loan Documents which may be necessary to perfect and
maintain perfected the Liens upon any Collateral granted pursuant to any Collateral Document.

          SECTION 8.02.         Administrative Agent and its Affiliates.

               (a)    The Person serving as the Administrative Agent hereunder shall have the
same rights and powers in its capacity as a Lender as any other Lender and may exercise the same
as though it were not the Administrative Agent and the term “Lender” or “Lenders” shall, unless
otherwise expressly indicated or unless the context otherwise requires, include the Person serving
as the Administrative Agent hereunder in its individual capacity. Such Person and its Affiliates
may accept deposits from, own securities of, lend money to, act as the financial advisor or in any
advisory capacity for and generally engage in any kind of business with the Borrower or any
Subsidiary or other Affiliate thereof as if it were not the Administrative Agent hereunder and
without any duty to account therefor to the Lenders.

                (b)     Each Lender and Issuing Bank understands that the Person serving as the
Administrative Agent, acting in its individual capacity, and its Affiliates (collectively, the “Agent’s
Group”) is engaged in a wide range of financial services and businesses (including investment
management, financing, securities trading, corporate and investment banking and research) (such
services and businesses are collectively referred to in this Article VIII as “Activities”) any may
engage in the Activities with or on behalf of one or more of the Loan Parties or their respective
Affiliates. Furthermore, the members of the Agent’s Group may, in undertaking the Activities,
engage in trading in financial products or undertake other investment businesses for its own account
or on behalf of others (including the Loan Parties and their Affiliates and including holding, for its
own account or on behalf of others, equity, debt and similar positions in the Borrower, another Loan
Party or their respective Affiliates), including trading in or holding long, short or derivative
positions in securities, loans, or other financial products of one or more of the Loan parties or their
Affiliates. Each Lender and Issuing Bank understands and agrees that in engaging in the Activities,
the members of the Agent’s Group may receive or otherwise obtain information concerning the
Loan Parties or their Affiliates (including information concerning the ability of the Loan Parties to
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    perform their respective obligations hereunder and under the other Loan Documents) which
    information may not be available to any of the Lenders that are not members of the Agent’s Group.
    Neither the Administrative Agent nor any other member of the Agent’s Group shall have any duty
    to disclose to any Lender or Issuing Bank or use on behalf of any Lender or Issuing Bank, nor be
    liable for the failure to so disclose or use, any information whatsoever about or derived from the
    Activities or otherwise (including any information concerning the business, prospects, operations,
    property, financial and other condition or creditworthiness of any Loan Party or any Affiliate of
    any Loan Party) or to account for any revenue or profits obtained in connection with the Activities,
    except that the Administrative Agent shall deliver or otherwise make available to each Lender such
    documents as are expressly required by any Loan Document to be transmitted by the Administrative
    Agent to the Lenders.

                      (c)     Each Lender and Issuing Bank further understands that there may be
    situations where members of the Agent’s Group or their respective customers (including the Loan
    Parties and their Affiliates) either now have or may in the future have interests or take actions that
    may conflict with the interests of any one or more of the Lenders or Issuing Banks (including the
    interests of any Lender or Issuing Bank hereunder and under the other Loan Documents). Each
    Lender and Issuing Bank agrees that no member of the Agent’s Group is or shall be required to
    restrict its activities as a result of any Person serving as the Administrative Agent being a member
    of the Agent’s Group, and that each member of the Agent’s Group may undertake any Activities
    without further consultation with or notification of any Lender or Issuing Bank. None of (i) this
    Agreement nor any other Loan Document, (ii) the receipt by the any members of the Agent’s Group
    of information (including information concerning the ability of the Loan Parties to perform their
    respective obligations hereunder and under the other Loan Documents), or (iii) any other matter,
    shall give rise to any fiduciary, equitable, or contractual duties (including any duty of trust, care or
    confidence) owing by the Administrative Agent or any member of the Agent’s Group to any Lender
    or Issuing Bank including any such duty that would prevent or restrict any member of the Agent’s
    Group from acting on behalf of customers (including the Loan Parties or their Affiliates) or for its
    own account.

                SECTION 8.03.        Duties. The Administrative Agent shall not have any duties or
obligations except those expressly set forth herein and in the other Loan Documents. Without limiting
the generality of the foregoing, the Administrative Agent:

                  (a)     shall not be subject to any fiduciary or other implied duties, regardless of
    whether a Default has occurred and is continuing;

                   (b)    shall not have any duty to take any discretionary action or exercise any
    discretionary powers, except discretionary rights and powers expressly contemplated hereby or by
    the other Loan Documents that the Administrative Agent is required to exercise as directed in
    writing by the Required Lenders (or such other number or percentage of the Lenders as shall be
    expressly provided for herein or in the other Loan Documents) and may (but, except as expressly
    contemplated hereby or by the other Loan Documents, is not required to) seek instructions from the
    Lenders or Required Lenders (or any other applicable percentage of Lenders) with respect to any
    matter or duty hereunder or under any other Loan Document; provided that the Administrative
    Agent shall not be required to take any action that, in its opinion or the opinion of its counsel, may
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expose the Administrative Agent to liability or that is contrary to any Loan Document or applicable
law, including for the avoidance of doubt any action that may be in violation of the automatic stay
under any Debtor Relief Law or that may effect a forfeiture, modification or termination of property
of a Defaulting Lender in violation of any Debtor Relief Law;

               (c)     shall not, except as expressly set forth herein and in the other Loan
Documents, have any duty to disclose, and shall not be liable for the failure to disclose, any
information relating to any Loan Party or any of their respective Affiliates that is communicated to
or obtained by the Person serving as the Administrative Agent or any of its Affiliates in any
capacity; and

                (d)     shall not be liable for any damage or loss resulting from or caused by events
or circumstances beyond the Administrative Agent's reasonable control, including nationalization,
expropriation, currency or funds transfer restrictions, the interruption, disruption, or suspension of
the normal procedures and practices of any securities market, power, mechanical, communications,
or other technological failures or interruptions, computer viruses or the like, fires, floods,
earthquakes, or other natural disasters, civil, and military disturbance, acts of war or terrorism, riots,
revolution, acts of God, work stoppages, strikes, national disasters of any kind, or other similar
events or acts, or errors by the Borrower in its instructions to the Administrative Agent.

           SECTION 8.04.         Administrative Agent’s Reliance, Etc.

                (a)    The Administrative Agent shall not be liable for any action taken or not taken
by it (i) with the consent or at the request of the Required Lenders (or such other number or
percentage of the Lenders as shall be necessary, or as the Administrative Agent shall believe in
good faith shall be necessary, under the circumstances as provided in Article VIII and Section 9.02)
and shall be fully protected in all cases in acting, or refraining from acting, in accordance with a
request or consent of such number or percentage of Lenders or (ii) in the absence of its own gross
negligence or willful misconduct as determined by a court of competent jurisdiction by final and
nonappealable judgment. The Administrative Agent shall be deemed not to have knowledge of any
Default or Event of Default unless and until a Loan Party, a Lender, or an Issuing Bank has given
written notice describing such Default or Event of Default to the Administrative Agent. The
Administrative Agent shall not be responsible for or have any duty to ascertain or inquire into (i)
any statement, warranty or representation made in or in connection with this Agreement or any
other Loan Document, (ii) the contents of any certificate, report or other document delivered
hereunder or thereunder or in connection herewith or therewith, (iii) the performance or observance
of any of the covenants, agreements or other terms or conditions set forth herein or therein or the
occurrence of any Default or Event of Default, (iv) the validity, enforceability, effectiveness or
genuineness of this Agreement, any other Loan Document or any other agreement, instrument or
document, or the creation, perfection or priority of any Lien purported to be created by the Collateral
Documents, or (v) the satisfaction of any condition set forth in Article IV or elsewhere herein or
therein, other than to confirm receipt of items expressly required to be delivered to the
Administrative Agent.

               (b)     The Administrative Agent shall be entitled to rely upon, and shall not incur
any liability for relying upon, any notice, request, certificate, consent, statement, instrument,
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document, or other writing (including any electronic message, Internet or intranet website posting
or other distribution) believed by it to be genuine and to have been signed, sent, or otherwise
authenticated by the proper Person. The Administrative Agent also may rely upon any statement
made to it orally or by telephone and believed by it to be made by the proper Person, and shall not
incur any liability for relying thereon. In determining compliance with any condition hereunder to
the making of a Loan, or the issuance, extension, renewal or increase of a Letter of Credit, that by
its terms must be fulfilled to the satisfaction of a Lender or Issuing Bank, the Administrative Agent
may presume that such condition is satisfactory to such Lender or Issuing Bank unless the
Administrative Agent shall have received notice to the contrary from such Lender or Issuing Bank
prior to the making of such Loan or the issuance of such Letter of Credit. The Administrative Agent
may consult with legal counsel (who may be counsel for a Loan Party), independent accountants
and other experts selected by it, and shall not be liable for any action taken or not taken by it in
accordance with the advice of any such counsel, accountants or experts.

              (c)     Each Lender (x) represents and warrants, as of the date such Person became
a Lender party hereto, to, and (y) covenants, from the date such Person became a Lender party
hereto to the date such Person ceases being a Lender party hereto, for the benefit of, the
Administrative Agent, and not, for the avoidance of doubt, to or for the benefit of the Borrower or
any other Loan Party, that at least one of the following is and will be true:

                (i)      such Lender is not using “plan assets” (within the meaning of Section 3(42)
         of ERISA or otherwise) of one or more Benefit Plans with respect to such Lender’s
         entrance into, participation in, administration of and performance of the Loans, the Letters
         of Credit, the Commitments or this Agreement,

                 (ii)   the transaction exemption set forth in one or more PTEs, such as PTE 84-
         14 (a class exemption for certain transactions determined by independent qualified
         professional asset managers), PTE 95-60 (a class exemption for certain transactions
         involving insurance company general accounts), PTE 90-1 (a class exemption for certain
         transactions involving insurance company pooled separate accounts), PTE 91-38 (a class
         exemption for certain transactions involving bank collective investment funds) or PTE 96-
         23 (a class exemption for certain transactions determined by in-house asset managers), is
         applicable with respect to such Lender’s entrance into, participation in, administration of
         and performance of the Loans, the Letters of Credit, the Commitments and this
         Agreement,

                 (iii) (A) such Lender is an investment fund managed by a “Qualified
         Professional Asset Manager” (within the meaning of Part VI of PTE 84-14), (B) such
         Qualified Professional Asset Manager made the investment decision on behalf of such
         Lender to enter into, participate in, administer and perform the Loans, the Letters of
         Credit, the Commitments and this Agreement, (C) the entrance into, participation in,
         administration of and performance of the Loans, the Letters of Credit, the Commitments
         and this Agreement satisfies the requirements of sub-sections (b) through (g) of Part I of
         PTE 84-14 and (D) to the best knowledge of such Lender, the requirements of subsection
         (a) of Part I of PTE 84-14 are satisfied with respect to such Lender’s entrance into,

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              participation in, administration of and performance of the Loans, the Letters of Credit, the
              Commitments and this Agreement, or

                     (iv)   such other representation, warranty and covenant as may be agreed in
              writing between the Administrative Agent, in its sole discretion, and such Lender.

                    (d)    In addition, unless either (1) sub-clause (i) in the immediately preceding
    clause (c) is true with respect to a Lender or (2) a Lender has provided another representation,
    warranty and covenant in accordance with sub-clause (iv) in the immediately preceding clause (c),
    such Lender further (x) represents and warrants, as of the date such Person became a Lender party
    hereto, to, and (y) covenants, from the date such Person became a Lender party hereto to the date
    such Person ceases being a Lender party hereto, for the benefit of, the Administrative Agent, and
    not, for the avoidance of doubt, to or for the benefit of the Borrower or any other Loan Party, that
    the Administrative Agent is not a fiduciary with respect to the assets of such Lender involved in
    such Lender’s entrance into, participation in, administration of and performance of the Loans, the
    Letters of Credit, the Commitments and this Agreement (including in connection with the
    reservation or exercise of any rights by the Administrative Agent under this Agreement, any Loan
    Document or any documents related to hereto or thereto).

               SECTION 8.05.         Sub-Agents. The Administrative Agent may perform any and all its
duties and exercise its rights and powers hereunder or under any other Loan Document by or through
any one or more sub-agents appointed by the Administrative Agent. The Administrative Agent and any
such sub-agent may perform any and all its duties and exercise its rights and powers by or through their
respective Related Parties. The Administrative Agent is authorized on behalf of all the Lenders, without
the necessity of any notice to or further consent from the Lenders or the Issuing Banks, from time to
time to permit any co-agents, sub-agents and attorneys-in-fact appointed by the Administrative Agent
to take any action with respect to any Collateral or the Loan Documents which may be necessary to
perfect and maintain perfected the Liens upon any Collateral granted pursuant to any Collateral
Document. The exculpatory provisions of this Article VIII, as well as all other indemnity and expense
reimbursement provisions of this Agreement (including, without limitation, Section 9.03), shall apply
to any such sub-agent and to the Related Parties of the Administrative Agent and any such sub-agent,
and shall apply to their respective activities in connection with the syndication of the credit facilities
provided for herein as well as activities as the Administrative Agent and as though such co-agents, sub-
agents and attorneys-in-fact were the “collateral agent” under the Loan Documents. The Administrative
Agent shall not be responsible for the negligence or misconduct of any sub-agent except to the extent
that a court of competent jurisdiction determines in a final and nonappealable judgment that
Administrative Agent acted with gross negligence or willful misconduct in the selection of such sub-
agents.

               SECTION 8.06.        Resignation.

                    (a)    The Administrative Agent may resign at any time by giving notice of its
    resignation to the Lenders, the Issuing Banks, and the Borrower. Upon receipt of any such notice
    of resignation, the Required Lenders shall have the right, in consultation with and, so long as no
    Event of Default then exists, subject to the approval (not to be unreasonably withheld or delayed)
    of, the Borrower, to appoint a successor, which shall be a financial institution with an office in the
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    United States, or an Affiliate of any such financial institution with an office in the United States. If
    no successor shall have been so appointed by the Required Lenders and, if applicable, the Borrower
    and shall have accepted such appointment within 30 days after the retiring Administrative Agent
    gives notice of its resignation (or such earlier day as shall be agreed by the Required Lenders, the
    “Resignation Effective Date”), then the retiring Administrative Agent may, on behalf of the Lenders
    and Issuing Banks, appoint a successor Administrative Agent meeting the qualifications set forth
    above. Whether or not a successor has been appointed, such resignation shall become effective in
    accordance with such notice on the Resignation Effective Date.

                    (b)     With effect from the Resignation Effective Date (i) the retiring
    Administrative Agent shall be discharged from its duties and obligations hereunder and under the
    other Loan Documents (except that in the case of any possessory Collateral held by the
    Administrative Agent on behalf of the Lenders or Issuing Banks under any of the Loan Documents,
    the retiring Administrative Agent shall continue to hold such Collateral until such time as a
    successor Administrative Agent is appointed) and (ii) except for any indemnity payments owed to
    the retiring Administrative Agent, all payments, communications and determinations provided to
    be made by, to or through the Administrative Agent shall instead be made by or to each Lender and
    each Issuing Bank directly, until such time as the Required Lenders appoint a successor
    Administrative Agent as provided for above. Upon the acceptance of a successor’s appointment as
    the Administrative Agent hereunder, such successor shall succeed to and become vested with all of
    the rights, powers, privileges and duties of the retiring Administrative Agent (other than any rights
    to indemnity payments owed to the retiring Administrative Agent) and the retiring Administrative
    Agent shall be discharged from all of its duties and obligations hereunder or under the other Loan
    Documents. The fees payable by the Borrower to a successor Administrative Agent shall be the
    same as those payable to its predecessor unless otherwise agreed between the Borrower and such
    successor. After the retiring Administrative Agent’s resignation hereunder and under the other
    Loan Documents, the provisions of this Section and Section 9.03 shall continue in effect for the
    benefit of such retiring Administrative Agent, its sub-agents and their respective Related Parties in
    respect of any actions taken or omitted to be taken by any of them while the retiring Administrative
    Agent was acting as the Administrative Agent.

                    (c)     Any resignation by Rabobank as the Administrative Agent pursuant to this
    Section shall also constitute its resignation as Issuing Bank. In the event of any such resignation as
    an Issuing Bank, the Borrower shall be entitled to appoint any Revolving Lender that is willing to
    accept such appointment as successor issuing bank. Upon the acceptance of a successor’s
    appointment as the Administrative Agent hereunder, (i) such successor shall succeed to and become
    vested with all of the rights, powers, privileges and duties of the retiring Issuing Bank, (ii) the
    retiring Issuing Bank shall be discharged from all of their respective duties and obligations
    hereunder or under the other Loan Documents, and (iii) the successor Issuing Bank shall issue
    letters of credit in substitution for the Letters of Credit, if any, outstanding at the time of such
    succession or make other arrangements reasonably satisfactory to the retiring Issuing Bank to
    effectively assume the obligations of the retiring Issuing Bank with respect to such Letters of Credit.

              SECTION 8.07.        Lender Credit Decision.      Each Lender and Issuing Bank
acknowledges that it has, independently and without reliance upon the Administrative Agent or any
other Lender or any of their Related Parties and based on such documents and information as it has
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deemed appropriate, made its own credit analysis and decision to enter into this Agreement. Each
Lender and Issuing Bank also acknowledges that it will, independently and without reliance upon the
Administrative Agent or any other Lender or any of their Related Parties and based on such documents
and information as it shall from time to time deem appropriate, continue to make its own decisions in
taking or not taking action under or based upon this Agreement, any other Loan Document or any related
agreement or any document furnished hereunder or thereunder. In this regard, each Lender further
acknowledges that White & Case LLP is acting in this transaction as special counsel to Rabobank only,
except to the extent otherwise expressly stated in any legal opinion or any Loan Document. Each other
party hereto will consult with its own legal counsel to the extent that it deems necessary in connection
with the Loan Documents and the matters contemplated therein.

               SECTION 8.08.       Other Agent Titles.         Anything herein to the contrary
notwithstanding, neither the “Bookrunner” or “Lead Arranger” listed on the cover page hereof or the
“Arranger” referenced herein shall have any powers, duties or responsibilities under this Agreement or
any of the other Loan Documents, except in its capacity, as applicable, as the Administrative Agent, a
Lender or an Issuing Bank hereunder.

                SECTION 8.09.       Agent May File Proofs of Claim; Bankruptcy Events. In case of the
pendency of any proceeding under any Debtor Relief Law or any other judicial proceeding relative to
any Loan Party or any Subsidiary, the Administrative Agent (irrespective of whether the principal of
any Loan or LC Disbursement shall then be due and payable as herein expressed or by declaration or
otherwise and irrespective of whether the Administrative Agent shall have made any demand any Loan
Party or any other Person primarily or secondarily liable) shall be entitled and empowered (but not
obligated), by intervention in such proceeding or otherwise:

                   (a)    to file and prove a claim for the whole amount of the principal and interest
    owing and unpaid in respect of the Loans, LC Disbursements and all other Obligations or Secured
    Obligations that are owing and unpaid and to file such other documents as may be necessary or
    advisable in order to have the claims of the Lenders, the Issuing Banks, and the Administrative
    Agent (including any claim for the reasonable compensation, expenses, disbursements and
    advances of the Lenders, the Issuing Banks, and the Administrative Agent and their respective
    agents and counsel and all other amounts due the Lenders, the Issuing Banks, and the
    Administrative Agent under Article II and Section 9.03) allowed in such judicial proceeding; and

                  (b)     to collect and receive any monies or other property payable or deliverable on
    any such claims and to distribute the same in accordance with this Agreement;

                     and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other
     similar official in any such judicial proceeding is hereby authorized by each Lender and Issuing
     Bank to make such payments to the Administrative Agent and, in the event that the Administrative
     Agent shall consent to the making of such payments directly to the Lenders and Issuing Banks, to
     pay to the Administrative Agent any amount due for the reasonable compensation, expenses,
     disbursements and advances of the Administrative Agent and its agents and counsel, and any other
     amounts due the Administrative Agent under Article II and Section 9.03.

               SECTION 8.10.       Collateral.
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              (a)    The Holders of Secured Obligations                irrevocably   authorize   the
Administrative Agent, at its option and in its discretion:

                  (i)    to release any Lien (A) on all Collateral upon the Full Satisfaction of all
         Secured Obligations, (B) with respect to any Collateral that is sold or otherwise disposed
         of to a Person other than a Loan Party pursuant to a disposition permitted by Section 6.05,
         or (C) subject to Section 9.02, as may be approved, authorized, or ratified in writing by
         the Required Lenders;

                 (ii)    [reserved];

                 (iii)   [reserved];

                (iv)    to confirm in writing whether specific items or types of Loan Parties’
         property are or are not included in the Collateral pursuant to the Loan Documents;

                (v)    to release any Subsidiary Guarantor from its obligations under the
         Guaranty Agreement if such Person ceases to be a Subsidiary as a result of a transaction
         permitted under the Loan Documents; and

                 (vi)   to enter into the Intercreditor Agreement, and perform all obligations
         thereunder, respectively, and to enter into any amendments of the Intercreditor Agreement
         which do not materially modify the rights of the Holders of the Secured Obligations
         thereunder, and the Holders of the Secured Obligations agree to be bound by the terms
         thereof.

               (b)    Upon request by the Administrative Agent at any time, the Holders of
Secured Obligations will confirm in writing the Administrative Agent’s authority to release or
subordinate its interest in particular types or items of property, or to release any Subsidiary
Guarantor from its obligations under the Subsidiary Guaranty pursuant to this Section 8.10.

                 (c)    The Administrative Agent, at the sole expense of the Loan Parties, shall
execute and deliver to the Loan Parties all releases or other documents reasonably necessary or
desirable to evidence or effect any release of Liens or release of Guaranty Agreement authorized
under Section 8.10(a), in each case, without recourse to, or representation or warranty from, the
Administrative Agent; provided, that (i) the Administrative Agent shall not be required to execute
any document necessary to evidence such release authorized under clause (i)(B) or (v) of
Section 8.10(a) unless a Responsible Officer of the Borrower shall certify in writing to the
Administrative Agent that the transaction requiring such release is permitted under the Loan
Documents (it being acknowledged that the Administrative Agent may rely on any such certificate
without further enquiry), (ii) the Administrative Agent shall not be required to execute any
document necessary to evidence such release on terms that, in the Administrative Agent’s opinion,
would expose the Administrative Agent to liability or create any obligation or entail any
consequence other than the release of such Lien without recourse, representation, or warranty, and
(iii) no such release shall in any manner discharge, affect, or impair the Secured Obligations or any
Liens (other than those expressly being released) upon (or obligations of any Loan Parties in respect
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of) all interests retained by the Loan Parties, including, the proceeds of any sale, all of which shall
continue to constitute part of the Collateral. To the extent the Administrative Agent is required to
execute any releases or other documents in accordance with this Section 8.10(c), the Administrative
Agent shall do so promptly upon request of the Borrower without the consent or further agreement
of any Holder of Secured Obligations.

                (d)     The Administrative Agent shall have no obligation whatsoever to any of the
Holders of Secured Obligations to assure that the Collateral exists or is owned by any Loan Party
or its Subsidiaries or is cared for, protected, or insured or has been encumbered, or that the
Administrative Agent’s Liens have been properly or sufficiently or lawfully created, perfected,
protected, or enforced or are entitled to any particular priority, or to exercise at all or in any
particular manner or to continue exercising, any of the rights, authorities and powers granted or
available to the Administrative Agent pursuant to any of the Loan Documents, it being understood
and agreed that in respect of the Collateral, or any act, omission, or event related thereto, subject to
the terms and conditions contained herein, the Administrative Agent may act in any manner it may
deem appropriate, in its sole discretion given the Administrative Agent’s own interest in the
Collateral in its capacity as one of the Lenders and that the Administrative Agent shall have no
other duty or liability whatsoever to any Holders of Secured Obligations as to any of the foregoing,
except as otherwise provided herein.

                (e)     The Holders of Secured Obligations hereby irrevocably authorize the
Administrative Agent, based upon the instruction of the Required Lenders, to (i) consent to, credit
bid or purchase (either directly or through one or more acquisition vehicles) all or any portion of
the Collateral at any sale thereof conducted under the provisions of the Bankruptcy Code, including
under section 363 of the Bankruptcy Code, (ii) credit bid or purchase (either directly or through one
or more acquisition vehicles) all or any portion of the Collateral at any sale or other disposition
thereof conducted under the provisions of the UCC, including pursuant to Section 9-610 or 9-620
of the UCC, or (iii) credit bid or purchase (either directly or through one or more acquisition
vehicles) all or any portion of the Collateral at any other sale or foreclosure conducted by the
Administrative Agent (whether by judicial action or otherwise) in accordance with applicable law.
In connection with any such credit bid or purchase, (A) the Secured Obligations owed to the Holders
of Secured Obligations shall be entitled to be, and shall be, credit bid on a ratable basis (with
Secured Obligations with respect to contingent or unliquidated claims being estimated for such
purpose if the fixing or liquidation thereof would not unduly delay the ability of Administrative
Agent to credit bid or purchase at such sale or other disposition of the Collateral and, if such claims
cannot be estimated without unduly delaying the ability of the Administrative Agent to credit bid,
then such claims shall be disregarded, not credit bid, and not entitled to any interest in the asset or
assets purchased by means of such credit bid) and the Holders of Secured Obligations whose
Secured Obligations are credit bid shall be entitled to receive interests (ratably based upon the
proportion of their Secured Obligations credit bid in relation to the aggregate amount of Secured
Obligations so credit bid) in the asset or assets so purchased (or in the Equity Interests of the
acquisition vehicle or vehicles that are used to consummate such purchase), and (B) the
Administrative Agent, based upon the instruction of the Required Lenders, may accept non-cash
consideration, including debt and equity securities issued by such acquisition vehicle or vehicles
and in connection therewith the Administrative Agent may reduce the Secured Obligations owed

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    to the Holders of Secured Obligations (ratably based upon the proportion of their Secured
    Obligations credit bid in relation to the aggregate amount of Obligations so credit bid) based upon
    the value of such non-cash consideration.

                  (f)    The Holders of the Secured Obligations acknowledge and agree that,
    Rabobank or any of its Affiliates is, and may at any time be, the Receivables Financier under the
    Permitted Receivables Financing.

                SECTION 8.11.         Issuing Banks. No Issuing Bank nor any of their respective Related
Parties shall be liable for any action taken or omitted to be taken by any of them hereunder or otherwise
in connection with any Loan Document except for its or their own gross negligence or willful
misconduct as determined by a court of competent jurisdiction by final and nonappealable judgment.
Without limiting the generality of the preceding sentence, Issuing Banks (a) shall have no duties or
responsibilities except those expressly set forth in the Loan Documents, and shall not by reason of any
Loan Document be a trustee or fiduciary for any Lender or for the Administrative Agent, (b) shall not
be required to initiate any litigation or collection proceedings under any Loan Document, (c) shall not
be responsible to any Lender or the Administrative Agent for any recitals, statements, representations,
or warranties contained in any Loan Document, or any certificate or other documentation referred to or
provided for in, or received by any of them under, any Loan Document, or for the value, validity,
effectiveness, enforceability, or sufficiency of any Loan Document or any other documentation referred
to or provided for therein or for any failure by any Person to perform any of its obligations thereunder,
(d) may consult with legal counsel (including counsel for the Loan Parties or the Administrative Agent),
independent public accountants, and other experts selected by it and shall not be liable for any action
taken or omitted to be taken in good faith by it in accordance with the advice of such counsel,
accountants, or experts, and (e) shall incur no liability under or in respect of any Loan Document by
acting upon any notice, consent, certificate, or other instrument or writing believed by it to be genuine
and signed or sent by the proper party or parties. As to any matters not expressly provided for by any
Loan Document, each Issuing Bank shall in all cases be fully protected in acting, or in refraining from
acting, hereunder in accordance with instructions signed by the Required Lenders, and such instructions
of the Required Lenders and any action taken or failure to act pursuant thereto shall be binding on all of
the Lenders and the Administrative Agent; provided, however, that no Issuing Bank shall be required
to take any action which such Issuing Bank reasonably believes exposes it to personal liability or which
such Issuing Bank reasonably believes is contrary to any Loan Document or applicable law.

                SECTION 8.12.        Agency for Perfection. The Administrative Agent hereby appoints
each other Lender as its agent (and each Lender hereby such appointment) for the purpose of perfecting
the Administrative Agent’s Liens in assets which, in accordance with Article 8 or Article 9, as
applicable, of the UCC can be perfected by possession or control. Should any Lender obtain possession
or control of any such Collateral, such Lender shall notify Administrative Agent thereof, and, promptly
upon the Administrative Agent’s request therefor shall deliver possession or control of such Collateral
to the Administrative Agent or in accordance with the Administrative Agent’s instructions.

              SECTION 8.13.       Affiliates of Lenders; Banking Services Providers; Swap
Obligations. By accepting the benefits of the Loan Documents, any Affiliate of a Lender, or any Person
providing Non-Lender Banking Services, that is owed any Secured Obligation is bound by the terms of
the Loan Documents. Notwithstanding the foregoing: (a) neither the Administrative Agent, any Lender
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nor any Loan Party shall be obligated to deliver any notice or communication required to be delivered
to any Lender under any Loan Documents to any Affiliate of any Lender or any Person providing Non-
Lender Banking Services; and (b) no Affiliate of any Lender or Person providing Non-Lender Banking
Services that is owed any Secured Obligation shall be included in the determination of the Required
Lenders or entitled to consent to, reject, or participate in any manner in any amendment, waiver or other
modification of any Loan Document. The Administrative Agent shall deal solely and directly with the
related Lender of any such Affiliate in connection with all matters relating to the Loan Documents. The
Secured Obligation owed to such Affiliate shall be considered the Secured Obligations of its related
Lender for all purposes under the Loan Documents and such Lender shall be solely responsible to the
other parties hereto for all the obligations of such Affiliate under any Loan Document. It is understood
and agreed that the rights and benefits under this Agreement, the Collateral Documents, and the
Subsidiary Guaranties of each Lender or Affiliate of a Lender that provides Lender Banking Services or
is owed any Swap Obligations and each Person providing Non-Lender Banking Services, in such
capacity, consist exclusively of such Lender’s, Affiliate’s or other Person’s right to share in payments
and collections of the Collateral and payments under the Subsidiary Guaranties; provided that for the
avoidance of doubt, (i) obligations of the Borrower or any Subsidiary under any Banking Services
Agreement or Swap Agreement shall be secured and guaranteed pursuant to the Collateral Documents
and Subsidiary Guaranties, respectively, only to the extent that, and for so long as, the other Secured
Obligations are so secured and guaranteed and (ii) any release of Collateral or any Subsidiary Guarantors
effected in the manner permitted by this Agreement shall not require the consent of holders of
obligations under Banking Services Agreements or Swap Agreements. All Banking Services
Obligations and Swap Obligations shall be secured but on a silent basis, so that notwithstanding any
other provision, if any, in this Agreement or any Collateral Document or Subsidiary Guaranty, no Lender
or Affiliate of a Lender that provides Lender Banking Services or is owed any Swap Obligations and no
provider of Non-Lender Banking Services shall be able to take any action in respect of the Collateral or
Subsidiary Guaranties nor instruct the Required Lenders or the Administrative Agent to take any such
action nor have any rights in connection with the management or release of any Collateral or the
obligations of any Subsidiary Guarantor under any Subsidiary Guaranty. By accepting the benefits of
the Collateral and the Subsidiary Guaranties, such Lender, Affiliate or other Person shall be deemed to
have appointed the Administrative Agent as its agent and agreed to be bound by the Loan Documents
as a Holder of Secured Obligations, subject to the limitations set forth in this paragraph. The
Administrative Agent shall not owe any fiduciary duty, duty of loyalty, duty of care, duty of disclosure,
or any other obligation whatsoever to any Lender or Affiliate of a Lender that provides Banking Services
or is owed any Swap Obligations or any provider of Non-Lender Banking Services, in each case with
respect to any Banking Services Obligation or Swap Obligation. The Administrative Agent shall have
no duty to determine the amount or the existence of any amounts owing under any Banking Services
Agreements or Swap Agreements. In connection with any such distribution of payments and collections
or termination or release by the Administrative Agent of any Liens or Subsidiary Guarantors thereunder,
the Administrative Agent shall be entitled to assume no amounts are due under any Banking Services
Agreement or Swap Agreement unless such Lender or Affiliate of a Lender that provides Lender
Banking Services or is owed any Swap Obligations or such provider of Non-Lender Banking Services
has notified the Administrative Agent in writing of the amount of any such liability owed to it at least 5
Business Days prior to such distribution, termination, or release.



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                                           ARTICLE IX

                                           Miscellaneous

          SECTION 9.01.        Notices.

                (a)    Except in the case of notices and other communications expressly permitted
to be given by telephone (and subject to paragraph (b) below), all notices and other communications
provided for herein shall be in writing and shall be delivered by hand or overnight courier service,
mailed by certified or registered mail or sent by telecopy, as follows:

                (i)    if to the Borrower, to Dean Foods Corporation, 2711 N. Haskell Avenue,
         Suite 3400, Dallas, Texas 75204, Attention: Office of the General Counsel;

                 (ii)    if to the Administrative Agent in connection with any Borrowing Request,
         Interest Election Request, or any payment or prepayment of the Obligations, to it at c/o
         Rabobank Corporate Banking Services, 245 Park Avenue, 38th Floor, New York, NY
         10167; Telecopy No. (914) 304-9327; Telephone No. (212) 574-7325 / (212) 574-7346;
         Attention: Ann McDonough/Vivian Li; Email: fm.am.syndicatedloans@rabobank.com
         and Vivian.Li@rabobank.com;

                (iii) if to Rabobank as Issuing Bank, to it at c/o Rabo Support Services, Inc., at
         Rabobank Corporate Banking Services, 245 Park Avenue 38th Floor, New York, NY
         10167; Attention: Sandra Rodriguez; Telecopy No. (914) 304-9329; Telephone No. (212)
         574-7315;      Email:    Sandra.L.Rodriguez@rabobank.com           with     a      copy
         to: RaboNYSBL@rabobank.com;

                 (iv)   if to the Administrative Agent in connection with any other matter
         (including deliveries under Section 5.01 and other matters), to it at Rabobank Loan
         Syndications, 245 Park Avenue, 37th Floor, New York, NY 10167, Attention: Loan
         Syndications; Telecopy No. (212) 808-2578; Telephone No. (212) 808-6808; Email:
         syndications.ny@rabobank.com; and

                (v)     if to any other Lender, to it at its address (or telecopy number) set forth in
         its Administrative Questionnaire.

Notices sent by hand or overnight courier service, or mailed by certified or registered mail, shall
be deemed to have been given when received; notices sent by facsimile shall be deemed to have
been given when sent (except that, if not given during normal business hours for the recipient,
shall be deemed to have been given at the opening of business on the next Business Day for the
recipient).   Notices delivered through Electronic Systems, to the extent provided in
paragraph (b) below, shall be effective as provided in said paragraph (b).

             (b)   Notices and other communications to the Lenders and the Issuing Banks
hereunder may be delivered or furnished by using Electronic Systems pursuant to procedures
approved by the Administrative Agent; provided that the foregoing shall not apply to notices

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pursuant to Article II unless otherwise agreed by the Administrative Agent and the applicable
Lender. The Administrative Agent, the Issuing Banks, or the Borrower may each, in its discretion,
agree to accept notices and other communications to it hereunder by electronic communications
pursuant to procedures approved by it; provided that approval of such procedures may be limited
to particular notices or communications.

                Unless the Administrative Agent otherwise prescribes, (i) notices and other
communications sent to an e-mail address shall be deemed received upon the sender’s receipt of
an acknowledgement from the intended recipient (such as by the “return receipt requested”
function, as available, return e-mail or other written acknowledgement), and (ii) notices or
communications posted to an Internet or intranet website shall be deemed received upon the
deemed receipt by the intended recipient, at its e-mail address as described in the foregoing
clause (i), of notification that such notice or communication is available and identifying the
website address therefor; provided that, for both clauses (i) and (ii) above, if such notice, email or
other communication is not sent during the normal business hours of the recipient, such notice,
email or communication shall be deemed to have been sent at the opening of business on the next
business day for the recipient.

                (c)     Each of the Borrower, the Administrative Agent and each Issuing Bank may
change its address, facsimile or telephone number for notices and other communications hereunder
by notice to the other parties hereto. Each other Lender may change its address, facsimile or
telephone number for notices and other communications hereunder by notice to the Borrower, the
Administrative Agent and the Issuing Banks. In addition, each Lender agrees to notify the
Administrative Agent from time to time to ensure that the Administrative Agent has on record (i)
an effective address, contact name, telephone number, facsimile number and electronic mail address
to which notices and other communications may be sent and (ii) accurate wire instructions for such
Lender.

              (d)     Electronic Systems.

                (i)    The Borrower agrees that the Administrative Agent may, but shall not be
        obligated to, make Communications (as defined below) available to the Issuing Banks and
        the Lenders by posting the Communications on Debt Domain, Intralinks, Syndtrak,
        ClearPar or a substantially similar Electronic System.

                (ii)    Any Electronic System used by the Administrative Agent is provided “as
        is” and “as available”. The Agent Parties (as defined below) do not warrant the adequacy
        of such Electronic Systems and expressly disclaim liability for errors or omissions in the
        Communications. No warranty of any kind, express, implied or statutory, including,
        without limitation, any warranty of merchantability, fitness for a particular purpose,
        non-infringement of third-party rights or freedom from viruses or other code defects, is
        made by any Agent Party in connection with the Communications or any Electronic
        System. In no event shall the Administrative Agent or any of its Related Parties
        (collectively, the “Agent Parties”) have any liability to any Loan Party, any Lender, any
        Issuing Bank or any other Person or entity for damages of any kind, including, without
        limitation, direct or indirect, special, incidental or consequential damages, losses or
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        expenses (whether in tort, contract or otherwise) arising out of any Loan Party’s or the
        Administrative Agent’s transmission of communications or notices through IntraLinks,
        Syndtrak, ClearPar, or a substantially similar electronic transmission system, any other
        electronic platform or electronic messaging service, or through an Electronic System.
        “Communications” means, collectively, any notice, demand, communication, information,
        document or other material provided by or on behalf of any Loan Party pursuant to any
        Loan Document or the transactions contemplated therein which is distributed by the
        Administrative Agent, any Lender or any Issuing Bank by means of electronic
        communications pursuant to this Section, including through an Electronic System.

               (e)      Reliance by Administrative Agent, Issuing Bank and Lenders. The
Administrative Agent, the Issuing Banks and the Lenders shall be entitled to rely and act upon any
notices (including telephonic notices, Borrowing Requests and Interest Election Requests)
purportedly given by or on behalf of the Borrower even if (i) such notices were not made in a
manner specified herein, were incomplete or were not preceded or followed by any other form of
notice specified herein, or (ii) the terms thereof, as understood by the recipient, varied from any
confirmation thereof. The Borrower shall indemnify the Administrative Agent, the Issuing Banks,
each Lender and the Related Parties of each of them from all losses, costs, expenses and liabilities
resulting from the reliance by such Person on each notice purportedly given by or on behalf of the
Borrower. All telephonic notices to and other telephonic communications with the Administrative
Agent may be recorded by the Administrative Agent, and each of the parties hereto hereby consents
to such recording.

          SECTION 9.02.         Waivers; Amendments.

               (a)     No failure or delay by the Administrative Agent, any Issuing Bank or any
Lender in exercising any right or power hereunder or under any other Loan Document shall operate
as a waiver thereof, nor shall any single or partial exercise of any such right or power, or any
abandonment or discontinuance of steps to enforce such a right or power, preclude any other or
further exercise thereof or the exercise of any other right or power. The rights and remedies of the
Administrative Agent, the Issuing Banks and the Lenders hereunder and under any other Loan
Document are cumulative and are not exclusive of any rights or remedies that they would otherwise
have. No waiver of any provision of any Loan Document or consent to any departure by the
Borrower therefrom shall in any event be effective unless the same shall be permitted by
paragraph (b) of this Section, and then such waiver or consent shall be effective only in the specific
instance and for the purpose for which given. Without limiting the generality of the foregoing, the
making of a Loan or issuance of a Letter of Credit shall not be construed as a waiver of any Default,
regardless of whether the Administrative Agent, any Lender or any Issuing Bank may have had
notice or knowledge of such Default at the time.

               (b)     Neither this Agreement nor any other Loan Document nor any provision
hereof or thereof may be waived, amended or modified except (x) in the case of this Agreement,
pursuant to an agreement or agreements in writing entered into by the Borrower and the Required
Lenders, or (y) in the case of any other Loan Document, pursuant to an agreement or agreements
in writing entered into by the Administrative Agent with the consent of the Required Lenders and
the Loan Party or Loan Parties that are parties thereto; provided that no such agreement shall,
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(i) increase the Commitment of any Lender without the written consent of such Lender, (ii) reduce
or forgive the principal amount of any Loan or LC Disbursement or reduce the rate of interest
thereon, or reduce or forgive any interest or fees or other amounts payable hereunder, without the
written consent of each Lender directly affected thereby; provided, however, that only the consent
of the Required Lenders shall be necessary to amend Section 2.13(c), (iii) postpone any scheduled
date of payment of the principal amount of any Loan or LC Disbursement (other than any reduction
of the amount of, or any extension of the payment date for, the mandatory prepayments required
under Section 2.11, in each case which shall only require the approval of the Required Lenders), or
any date for the payment of any interest, fees or other Obligations payable hereunder, or reduce the
amount of, waive or excuse any such payment, or postpone the scheduled date of expiration of any
Commitment, without the written consent of each Lender directly affected thereby, (iv) change
Section 2.18(b) or (c) in a manner that would alter the manner in which payments are shared,
without the written consent of each Lender adversely affected thereby, (v) change any of the
provisions of this Section or the definition of “Required Lenders” or any other provision of any
Loan Document specifying the number or percentage of Lenders required to waive, amend or
modify any rights thereunder or make any determination or grant any consent thereunder, without
the written consent of each Lender, (vi) release all or substantially all of the Subsidiary Guarantors
from their obligations under the Subsidiary Guaranty (except as otherwise permitted herein or in
the other Loan Documents), without the written consent of each Lender, (vii) except as provided in
Section 8.10 or in any Collateral Document, release all or substantially all of the Collateral, without
the written consent of each Lender, (viii) except as provided in Section 8.10, contractually
subordinate the payment of all Obligations to any other Indebtedness or contractually subordinate
the priority of all of the Liens in favor of the Administrative Agent securing the Secured Obligations
to the Liens securing any other Funded Indebtedness (other than Indebtedness permitted by Section
6.01(d)), without the written consent of each Lender adversely affected thereby, or (ix) amend the
definition of “Borrowing Base” or any defined term used therein in a manner that results in more
credit being made available to the Borrower based upon the Borrowing Base without the written
consent of the Super-Majority Required Lenders; provided further that no such agreement shall
amend, modify or otherwise affect the rights or duties of the Administrative Agent or any Issuing
Bank hereunder without the prior written consent of the Administrative Agent or such Issuing Bank,
as the case may be (it being understood that any change to Section 2.21 shall require the consent of
the Administrative Agent and the Issuing Banks). The Administrative Agent may also amend
Schedule 1.01(a) to reflect assignments entered into pursuant to Section 9.04. Notwithstanding the
foregoing, no consent with respect to any amendment, waiver or other modification of this
Agreement shall be required of any Defaulting Lender, except with respect to any amendment,
waiver or other modification referred to in clause (i), (ii) or (iii) of the first proviso of this
paragraph and then only in the event such Defaulting Lender shall be directly affected by such
amendment, waiver or other modification.

               (c)     [Reserved].

               (d)     Notwithstanding anything to the contrary herein (i) the Administrative Agent
may, with the consent of the Borrower only, amend, modify or supplement this Agreement or any
of the other Loan Documents to cure any ambiguity, omission, mistake, defect or inconsistency and
(ii) the Administrative Agent may, in its discretion, grant extensions of time for the creation or

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perfection of security interests in, and Mortgages on, or obtaining of title insurance or taking of
other actions with respect to, particular assets (including extensions beyond the Effective Date or
any date set forth in Schedule 5.17) as and to the extent expressly provided in this Agreement.

          SECTION 9.03.         Expenses; Indemnity; Damage Waiver.

                (a)     The Borrower shall pay (i) all reasonable and documented out-of-pocket
expenses incurred by each of the Administrative Agent and its Affiliates and each of the Lenders
party hereto as of the Effective Date, including the reasonable fees, charges and disbursements of
counsel for the Administrative Agent and/or counsel for each of the Lenders party hereto as of the
Effective Date, and of consultants, advisors, appraisers and auditors, in connection with the
syndication and distribution (including, without limitation, via the internet or through a service such
as Intralinks or DebtDomain) of the credit facilities provided for herein, the preparation,
negotiation, execution, delivery and administration of the Loan Documents or any amendments,
modifications or waivers of the provisions of the Loan Documents (whether or not the transactions
contemplated hereby or thereby shall be consummated) and the preparation and review of
pleadings, documents and reports related to the Bankruptcy Cases (and any successor cases relating
thereto), attendance at meetings, court hearings or conferences related to the Bankruptcy Cases (and
any successor cases relating thereto) and general monitoring of the Bankruptcy Cases (and any
successor cases relating thereto), (ii) all reasonable and documented out-of-pocket expenses
incurred by any Issuing Bank in connection with the issuance, amendment, renewal or extension of
any Letter of Credit or any demand for payment thereunder, (iii) all out-of-pocket expenses incurred
by the Administrative Agent, any Issuing Bank or any Lender, including the fees, charges and
disbursements of any counsel for the Administrative Agent, any Issuing Bank or any Lender, in
connection with the enforcement, collection or protection of its rights in connection with the Loan
Documents, including its rights under this Section, or in connection with the Loans made or Letters
of Credit issued hereunder, including all such out-of-pocket expenses incurred during any workout,
restructuring or negotiations in respect of such Loans or Letters of Credit, and (iv) without limiting
the generality of the foregoing, all reasonable fees and expenses of any financial advisory, appraisal
or accounting firm retained by or for the benefit of the Administrative Agent).

                (b)     The Borrower shall indemnify the Administrative Agent (and any sub-agent
thereof), the Arrangers, each Issuing Bank and each Lender, and each Related Party of any of the
foregoing Persons (each such Person being called an “Indemnitee”) against, and hold each
Indemnitee harmless from, any and all losses, claims, damages, penalties, liabilities and related
expenses, including the fees, charges and disbursements of any counsel for any Indemnitee,
incurred by or asserted against any Indemnitee arising out of, in connection with, or as a result of
(i) the execution or delivery of the Loan Documents or any agreement or instrument contemplated
thereby, the performance by the parties hereto of their respective obligations thereunder or the
consummation of the Transactions or any other transactions contemplated hereby, (ii) any Loan or
Letter of Credit or the use or proposed use of the proceeds therefrom (including any refusal by any
Issuing Bank to honor a demand for payment under a Letter of Credit if the documents presented
in connection with such demand do not strictly comply with the terms of such Letter of Credit),
(iii) any actual or alleged presence or release of Hazardous Materials on or from any property
owned, leased or operated by the Borrower or any of its Subsidiaries, or any Environmental
Liability related in any way to the Borrower or any of its Subsidiaries, or (iv) any actual or
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prospective claim, litigation, investigation or proceeding relating to any of the foregoing, whether
based on contract, tort or any other theory, whether brought by a third party or by the Borrower or
any of its Subsidiaries, and regardless of whether any Indemnitee is a party thereto; provided that
such indemnity shall not, as to any Indemnitee, be available to the extent that such losses, claims,
damages, penalties, liabilities or related expenses (1) are determined by a court of competent
jurisdiction by final and nonappealable judgment to have resulted from (x) the gross negligence or
willful misconduct of such Indemnitee or (y) the material breach of any express obligation of an
Indemnitee under this Agreement pursuant to a claim initiated by the Borrower or (2) arise out of
any investigation, litigation or proceeding that does not involve an act or omission by the Borrower
or any Subsidiary and solely in connection with a dispute among Indemnitees (except when and to
the extent that one of the parties to such dispute was acting in its capacity as an Agent, Issuing Bank
or other agency capacity and, in such case, excepting only such party). This Section 9.03(b) shall
not apply with respect to Taxes other than any Taxes that represent losses, claims or damages arising
from any non-Tax claim.

                 (c)    To the extent that the Borrower fails to pay any amount required to be paid
by it to the Administrative Agent (or any sub-agent thereof) or any Issuing Bank under
paragraph (a) or (b) of this Section, but without affecting the Borrower’s obligations to make such
payments, each Lender severally agrees to pay to the Administrative Agent or any Issuing Bank, as
the case may be, such Lender’s Applicable Percentage (or with respect to payments to an Issuing
Bank, its Applicable Revolving Credit Percentage) (determined as of the time that the applicable
unreimbursed expense or indemnity payment is sought), of such unpaid amount (it being understood
that the Borrower’s failure to pay any such amount shall not relieve the Borrower of any default in
the payment thereof); provided that the unreimbursed expense or indemnified loss, claim, damage,
penalty, liability or related expense, as the case may be, was incurred by or asserted against the
Administrative Agent (or any sub-agent thereof) or any Issuing Bank in its capacity as such.

                (d)    To the fullest extent permitted by applicable law, the Borrower shall not
assert, and hereby waives, any claim against any Indemnitee, on any theory of liability, for special,
indirect, consequential or punitive damages (as opposed to direct or actual damages) arising out of,
in connection with, or as a result of, this Agreement, any other Loan Document or any agreement
or instrument contemplated hereby or thereby, the Transactions, any Loan or Letter of Credit or the
use of the proceeds thereof, other than, in each case, for direct or actual damages resulting from
such Indemnitee’s (x) gross negligence, (y) willful misconduct or (z) material breach of express
obligations hereunder pursuant to a claim initiated by the Borrower, in each case as determined by
a final and non-appealable judgment of a court of competent jurisdiction. No Indemnitee shall be
liable for any damages arising from the use by unintended recipients of any information or other
materials distributed to such unintended recipients by such Indemnitee through
telecommunications, electronic or other information transmission systems in connection with this
Agreement or the other Loan Documents or the transactions contemplated hereby or thereby.

              (e)    All amounts due under this Section shall be payable promptly after
written demand therefor.



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                (f)     The agreements of this Section and the indemnity provision of Section
9.01(e) shall survive the resignation or replacement of the Administrative Agent and/or the Issuing
Banks, the replacement of any Lender, and the Full Satisfaction of the Secured Obligations.

          SECTION 9.04.         Successors and Assigns.

                (a)     The provisions of this Agreement shall be binding upon and inure to the
benefit of the parties hereto and their respective successors and assigns permitted hereby (including
any Affiliate of an Issuing Bank that issues any Letter of Credit), except that (i) the Borrower may
not assign or otherwise transfer any of its rights or obligations hereunder without the prior
written consent of the Administrative Agent and each Lender (and any attempted assignment or
transfer by the Borrower without such consent shall be null and void) and (ii) no Lender may assign
or otherwise transfer its rights or obligations hereunder except in accordance with this Section.
Nothing in this Agreement, expressed or implied, shall be construed to confer upon any Person
(other than the parties hereto, their respective successors and assigns permitted hereby (including
any Affiliate of an Issuing Bank that issues any Letter of Credit), Participants (to the extent provided
in paragraph (c) of this Section) and, to the extent expressly contemplated hereby, the Related
Parties of each of the Administrative Agent, the Issuing Banks and the Lenders) any legal or
equitable right, remedy or claim under or by reason of this Agreement.

                (b)     (i) Subject to the conditions set forth in paragraph (b)(ii) below, any Lender
may assign to one or more Persons (other than an Ineligible Institution) all or a portion of its rights
and obligations under this Agreement (including all or a portion of its Commitment and the Loans
at the time owing to it) with the prior written consent (such consent not to be unreasonably withheld
or delayed) of:

                        (A)     the Administrative Agent; and

                        (B)     other than with respect to any DIP Term Loan, each Issuing Bank;

                        provided that no DIP Term Loan Commitment (and no underlying Pre-
                        Petition obligations relating thereto) may be assigned by any Person
                        between the Effective Date and the effectuation of the DIP Term Loans
                        upon the entry of the Final DIP Order unless such Person transfers such DIP
                        Term Loan Commitment and the related underlying Pre-Petition obligations
                        simultaneously, in the same amount and to the same Person.

                 (ii)    Assignments shall be subject to the following additional conditions:

                       (A)    except in the case of an assignment to a Lender or an Affiliate of a
                Lender or an Approved Fund, an assignment of the entire remaining amount of the
                assigning Lender’s Commitment or Loans of any Class, the amount of the
                Commitment or Loans of the assigning Lender subject to each such assignment
                (determined as of the date the Assignment and Assumption with respect to such
                assignment is delivered to the Administrative Agent) shall not be less than
                $5,000,000 with integral multiples of $500,000 in excess thereof unless each of the
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        Borrower and the Administrative Agent otherwise consent; provided that no such
        consent of the Borrower shall be required if an Event of Default has occurred and
        is continuing;

                (B)     each partial assignment shall be made as an assignment of a
        proportionate part of all the assigning Lender’s rights and obligations under this
        Agreement; provided that this clause shall not be construed to prohibit the
        assignment of a proportionate part of all the assigning Lender’s rights and
        obligations in respect of one Class of Loans;

                (C)    the parties to each assignment shall execute and deliver to the
        Administrative Agent an Assignment and Assumption, together with a processing
        and recordation fee of $3,500, such fee to be paid by either the assigning Lender or
        the assignee Lender or shared between such Lenders; provided, however, that the
        Administrative Agent may, in its sole discretion, elect to waive such processing and
        recordation fee in the case of any assignment; and

                (D)      the assignee, if it shall not be a Lender, shall deliver to the
        Administrative Agent an Administrative Questionnaire in which the assignee
        designates one or more credit contacts to whom all syndicate-level information
        (which may contain material non-public information about the Borrower and its
        Affiliates, the Loan Parties and their Related Parties or their respective securities)
        will be made available and who may receive such information in accordance with
        the assignee’s compliance procedures and applicable laws, including Federal and
        state securities laws.

          (iii) Subject to acceptance and recording thereof pursuant to
  paragraph (b)(iv) of this Section, from and after the effective date specified in each
  Assignment and Assumption the assignee thereunder shall be a party hereto and, to the
  extent of the interest assigned by such Assignment and Assumption, have the rights and
  obligations of a Lender under this Agreement, and the assigning Lender thereunder shall,
  to the extent of the interest assigned by such Assignment and Assumption, be released
  from its obligations under this Agreement (and, in the case of an Assignment and
  Assumption covering all of the assigning Lender’s rights and obligations under this
  Agreement, such Lender shall cease to be a party hereto but shall continue to be entitled
  to the benefits of Sections 2.15, 2.16, 2.17 and 9.03). Upon request, the Borrower (at its
  expense) shall execute and deliver a promissory note in the form of Exhibit E to the
  assignee Lender. Any assignment or transfer by a Lender of rights or obligations under
  this Agreement that does not comply with this Section 9.04 shall be treated for purposes
  of this Agreement as a sale by such Lender of a participation in such rights and obligations
  in accordance with paragraph (c) of this Section.

          (iv)   The Administrative Agent, acting for this purpose as a non-fiduciary agent
  of the Borrower, shall maintain at one of its offices a copy of each Assignment and
  Assumption delivered to it and a register for the recordation of the names and addresses
  of the Lenders, and the Commitment of, and principal amount (and stated interest) of the
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         Loans and LC Disbursements owing to, each Lender pursuant to the terms hereof from
         time to time (the “Register”). The entries in the Register shall be conclusive, and the
         Borrower, the Administrative Agent, the Issuing Banks and the Lenders may treat each
         Person whose name is recorded in the Register pursuant to the terms hereof as a Lender
         hereunder for all purposes of this Agreement, notwithstanding notice to the contrary. The
         Register shall be available for inspection by the Borrower, any Issuing Bank and any
         Lender, at any reasonable time and from time to time upon reasonable prior notice.

                 (v)     Upon its receipt of a duly completed Assignment and Assumption executed
         by an assigning Lender and an assignee, the assignee’s completed Administrative
         Questionnaire (unless the assignee shall already be a Lender hereunder), the processing
         and recordation fee referred to in paragraph (b) of this Section and any written consent to
         such assignment required by paragraph (b) of this Section, the Administrative Agent shall
         accept such Assignment and Assumption and record the information contained therein in
         the Register; provided that if either the assigning Lender or the assignee shall have failed
         to make any payment required to be made by it pursuant to Section 2.05(b), 2.06(d) or (e),
         2.07(b), 2.18(c) or 9.03(c), the Administrative Agent shall have no obligation to accept
         such Assignment and Assumption and record the information therein in the Register
         unless and until such payment shall have been made in full, together with all accrued
         interest thereon. No assignment shall be effective for purposes of this Agreement unless
         it has been recorded in the Register as provided in this paragraph.

                (c)     (i) Any Lender may, without the consent of the Borrower, the Administrative
Agent or the Issuing Banks, sell participations to one or more banks or other entities (a
“Participant”), other than an Ineligible Institution, in all or a portion of such Lender’s rights and
obligations under this Agreement (including all or a portion of its Commitment and the Loans owing
to it); provided that (A) such Lender’s obligations under this Agreement shall remain unchanged,
(B) such Lender shall remain solely responsible to the other parties hereto for the performance of
such obligations and (C) the Borrower, the Administrative Agent, the Issuing Banks and the other
Lenders shall continue to deal solely and directly with such Lender in connection with such
Lender’s rights and obligations under this Agreement. Any agreement or instrument pursuant to
which a Lender sells such a participation shall provide that such Lender shall retain the sole right
to enforce this Agreement and to have this Agreement enforced by the Administrative Agent on its
behalf, and to approve any amendment, modification or waiver of any provision of this Agreement;
provided that such agreement or instrument may provide that such Lender will not, without the
consent of the Participant, agree to any amendment, modification or waiver described in the first
proviso to Section 9.02(b) that affects such Participant. Subject to paragraph (c)(ii) of this Section,
the Borrower agrees that each Participant shall be entitled to the benefits of Sections 2.15, 2.16 and
2.17 (subject to the requirements and limitations therein, including the requirements under
Section 2.17(f) (it being understood that the documentation required under Section 2.17(f) shall be
delivered to the participating Lender)) to the same extent as if it were a Lender and had acquired its
interest by assignment pursuant to paragraph (b) of this Section. To the extent permitted by law,
each Participant also shall be entitled to the benefits of Section 9.08 as though it were a Lender;
provided such Participant agrees to be subject to Section 2.18(c) as though it were a Lender. The
Borrower and the Administrative Agent shall be entitled to conclusively rely on information

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contained in notices delivered pursuant to this paragraph. Each Lender that sells a participation
shall, acting solely for this purpose as a non-fiduciary agent of the Borrower, maintain a register on
which it enters the name and address of each Participant and the principal amounts (and stated
interest) of each Participant’s interest in the Loans or other obligations under the Loan Documents
(the “Participant Register”); provided that no Lender shall have any obligation to disclose all or any
portion of the Participant Register (including the identity of any Participant or any information
relating to a Participant’s interest in any Commitments, Loans, Letters of Credit or its other
obligations under any Loan Document) to any Person except to the extent that such disclosure is
necessary to establish that such Commitment, Loan, Letter of Credit or other obligation is in
registered form under Section 5f.103-1(c) of the United States Treasury Regulations. The entries
in the Participant Register shall be conclusive absent manifest error, and such Lender shall treat
each Person whose name is recorded in the Participant Register as the owner of such participation
for all purposes of this Agreement notwithstanding any notice to the contrary. For the avoidance
of doubt, the Administrative Agent (in its capacity as Administrative Agent) shall have no
responsibility for maintaining a Participant Register.

                 (ii)    A Participant shall not be entitled to receive any greater payment under
         Section 2.15 or 2.17 than the applicable Lender would have been entitled to receive with
         respect to the participation sold to such Participant, except to the extent such entitlement
         to receive a greater payment results from a Change in Law that occurs after the Participant
         acquired the applicable participation.

                 (iii) Notwithstanding anything in Section 9.04(c) to the contrary, any
         Participant that is a Farm Credit Lender that (i) has purchased a participation in a
         minimum amount of $10,000,000.00, (ii) has been designated as a voting Participant (a
         “Voting Participant”) in a notice (a “Voting Participant Notice”) sent by the relevant
         Lender or existing Voting Participant to the Administrative Agent and (iii) receives, prior
         to becoming a Voting Participant, the consent of the Administrative Agent (such consent
         to be required only to the extent and under the circumstances it would be required if such
         Voting Participant were to become a Lender pursuant to an assignment in accordance with
         Section 9.04(b) and such consent is not required for an assignment to an existing Voting
         Participant), shall be entitled to vote as if such Voting Participant were a Lender on all
         matters subject to a vote by the Lender, and the voting rights of the selling Lender or
         existing Voting Participant shall be correspondingly reduced, on a dollar-for-dollar
         basis. Each Voting Participant Notice shall include, with respect to each Voting
         Participant, the information that would be included by a prospective Lender in an
         Assignment and Assumption. Notwithstanding the foregoing, each Farm Credit Lender
         designated as a Voting Participant on Schedule 9.04 shall be a Voting Participant without
         delivery of a Voting Participation Notification and without the prior written consent of the
         Administrative Agent. The Administrative Agent and the Borrower shall be entitled to
         conclusively rely on information contained in Voting Participant Notices and all other
         notices delivered pursuant hereto. The voting rights of each Voting Participant are solely
         for the benefit of such Voting Participant and shall not inure to any assignee or participant
         of such Voting Participant that is not a Farm Credit Lender.


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                     (d)    Any Lender may at any time pledge or assign a security interest in all or any
    portion of its rights under this Agreement to secure obligations of such Lender, including without
    limitation any pledge or assignment to secure obligations to a Federal Reserve Bank or any other
    central bank, and this Section shall not apply to any such pledge or assignment of a security interest;
    provided that no such pledge or assignment of a security interest shall release a Lender from any of
    its obligations hereunder or substitute any such pledgee or assignee for such Lender as a party
    hereto.

                    (e)     Notwithstanding anything to the contrary contained herein, if at any time
    Rabobank assigns all of its Commitments and Loans pursuant to Section 9.04(b), Rabobank may,
    upon 30 days’ notice to the Borrower and the Lenders, resign as an Issuing Bank. In the event of
    any such resignation as an Issuing Bank, the Borrower shall be entitled to appoint from among the
    Lenders a successor Issuing Bank hereunder; provided that such Lender consents in writing and in
    advance to becoming a successor Issuing Bank hereunder; provided further, however, that no failure
    by the Borrower to appoint any such successor shall affect the resignation of Rabobank as an Issuing
    Bank. If Rabobank resigns as an Issuing Bank, it shall retain all the rights, powers, privileges and
    duties of an Issuing Bank hereunder with respect to all Letters of Credit outstanding as of the
    effective date of its resignation as an Issuing Bank and all Obligations with respect thereto
    (including the right to require the Lenders to make ABR Loans or fund risk participations pursuant
    to Section 2.06(e)). Upon the appointment of a successor Issuing Bank, (a) such successor shall
    succeed to and become vested with all of the rights, powers, privileges and duties of the retiring
    Issuing Bank and (b) the successor Issuing Bank shall issue letters of credit in substitution for the
    Letters of Credit, if any, outstanding at the time of such succession or make other arrangements
    satisfactory to Rabobank to effectively assume the obligations of Rabobank with respect to such
    Letters of Credit.

                SECTION 9.05.         Survival. All covenants, agreements, representations and warranties
made by the Loan Parties in the Loan Documents and in the certificates or other instruments delivered
in connection with or pursuant to this Agreement or any other Loan Document shall be considered to
have been relied upon by the other parties hereto and shall survive the execution and delivery of the
Loan Documents and the making of any Loans and issuance of any Letters of Credit, regardless of any
investigation made by any such other party or on its behalf and notwithstanding that the Administrative
Agent, any Issuing Bank or any Lender may have had notice or knowledge of any Default or incorrect
representation or warranty at the time any credit is extended hereunder, and shall continue in full force
and effect as long as the principal of or any accrued interest on any Loan or any fee or any other amount
payable under this Agreement is outstanding and unpaid or any Letter of Credit is outstanding and so
long as the Commitments have not expired or terminated. The provisions of Sections 2.15, 2.16,
2.17 and 9.03 and Article VIII shall survive and remain in full force and effect regardless of the
consummation of the transactions contemplated hereby, the repayment of the Loans, the expiration or
termination of the Letters of Credit and the Commitments or the termination of this Agreement or any
provision hereof.

               SECTION 9.06.        Counterparts; Integration; Effectiveness. This Agreement may be
executed in counterparts (and by different parties hereto on different counterparts), each of which shall
constitute an original, but all of which when taken together shall constitute a single contract. This
Agreement, the other Loan Documents and any separate letter agreements with respect to fees payable
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to the Administrative Agent constitute the entire contract among the parties relating to the subject matter
hereof and supersede any and all previous agreements and understandings, oral or written, relating to
the subject matter hereof. Except as provided in Section 4.01, this Agreement shall become effective
when it shall have been executed by the Administrative Agent and when the Administrative Agent shall
have received counterparts hereof which, when taken together, bear the signatures of each of the other
parties hereto, and thereafter shall be binding upon and inure to the benefit of the parties hereto and their
respective successors and assigns. Delivery of an executed counterpart of a signature page of this
Agreement by telecopy, e-mailed.pdf or any other electronic means that reproduces an image of the
actual executed signature page shall be effective as delivery of a manually executed counterpart of this
Agreement. The words “execute”, “execution”, “signed”, “signature”, “delivery”, and words of like
import in or relating to any document to be signed in connection with this Agreement and the
transactions contemplated hereby (including, without limitation, Assignment and Assumptions,
amendments, Borrowing Requests, waivers and consents) shall be deemed to include Electronic
Signatures, the electronic matching of assignment terms and contract formations on electronic platforms
approved by the Administrative Agent, deliveries or the keeping of records in electronic form, each of
which shall be of the same legal effect, validity or enforceability as a manually executed signature,
physical delivery thereof or the use of a paper-based recordkeeping system, as the case may be, to the
extent and as provided for in any applicable law, including the Federal Electronic Signatures in Global
and National Commerce Act, the New York State Electronic Signatures and Records Act, or any other
similar state laws based on the Uniform Electronic Transactions Act; provided that notwithstanding
anything contained herein to the contrary the Administrative Agent is under no obligation to agree to
accept electronic signatures in any form or in any format unless expressly agreed to by the
Administrative Agent pursuant to procedures approved by it.

                 SECTION 9.07.        Severability. Any provision of any Loan Document held to be
invalid, illegal or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the
extent of such invalidity, illegality or unenforceability without affecting the validity, legality and
enforceability of the remaining provisions thereof; and the invalidity of a particular provision in a
particular jurisdiction shall not invalidate such provision in any other jurisdiction.

                SECTION 9.08.         Right of Setoff. If an Event of Default shall have occurred and be
continuing, each Lender and each of its Affiliates is hereby authorized at any time and from time to
time, to the fullest extent permitted by law, to set off and apply any and all deposits (general or special,
time or demand, provisional or final) at any time held and other obligations at any time owing by such
Lender or Affiliate to or for the credit or the account of the Borrower or any Subsidiary Guarantor
against any of and all the Secured Obligations held by such Lender, irrespective of whether or not such
Lender shall have made any demand under the Loan Documents and although such obligations may be
unmatured. The applicable Lender shall notify the Borrower, the Administrative Agent of such set-off
or application; provided that any failure to give or any delay in giving such notice shall not affect the
validity of any such set-off or application under this Section. The rights of each Lender under this
Section are in addition to other rights and remedies (including other rights of setoff) which such Lender
may have.

               SECTION 9.09.         Governing Law; Jurisdiction; Consent to Service of Process.


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                    (a)    This Agreement and the other Loan Documents and any claims, controversy,
   dispute or cause of action (whether in contract or tort or otherwise) based upon, arising out of or
   relating to this Agreement or any other Loan Document (except, as to any other loan document, as
   expressly set forth therein) and the Transactions contemplated hereby and thereby shall be governed
   by, and construed in accordance with, the Law of the State of New York and, to the extent
   applicable, the Bankruptcy Code.

                   (b)     Each of the parties hereto hereby irrevocably and unconditionally submits,
   for itself and its property, to the exclusive jurisdiction of the Bankruptcy Court and, if the
   Bankruptcy Court does not have, or abstains from, jurisdiction, the Supreme Court of the State of
   New York sitting in New York County, Borough of Manhattan, and of the United States District
   Court for the Southern District of New York, and any appellate court from any thereof in any action
   or proceeding arising out of or relating to any Loan Documents, or for recognition or enforcement
   of any judgment, and each of the parties hereto hereby irrevocably and unconditionally agrees that
   all claims in respect of any such action or proceeding may be heard and determined in such New
   York State or, to the extent permitted by law, in such Federal court. Each of the parties hereto agrees
   that a final judgment in any such action or proceeding shall be conclusive and may be enforced in
   other jurisdictions by suit on the judgment or in any other manner provided by law. Nothing in this
   Agreement or any other Loan Document shall affect any right that the Administrative Agent, any
   Issuing Bank or any Lender may otherwise have to bring any action or proceeding relating to this
   Agreement or any other Loan Document against any Loan Party or its properties in the courts of
   any jurisdiction.

                   (c)     Each of the parties hereto hereby irrevocably and unconditionally waives, to
   the fullest extent it may legally and effectively do so, any objection which it may now or hereafter
   have to the laying of venue of any suit, action or proceeding arising out of or relating to this
   Agreement or any other Loan Document in any court referred to in paragraph (b) of this Section.
   Each of the parties hereto hereby irrevocably waives, to the fullest extent permitted by law, the
   defense of an inconvenient forum to the maintenance of such action or proceeding in any such court.

                  (d)    Each party to this Agreement irrevocably consents to service of process in
   the manner provided for notices in Section 9.01. Nothing in this Agreement or any other Loan
   Document will affect the right of any party to this Agreement to serve process in any other manner
   permitted by law.

          SECTION 9.10.  WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY
WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT
MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT, ANY OTHER LOAN
DOCUMENT OR THE TRANSACTIONS CONTEMPLATED THEREBY (WHETHER BASED ON
CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY HERETO (A) CERTIFIES THAT
NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT,
IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND
(B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN INDUCED

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TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS
AND CERTIFICATIONS IN THIS SECTION.

               SECTION 9.11.         Headings. Article and Section headings and the Table of Contents
used herein are for convenience of reference only, are not part of this Agreement and shall not affect the
construction of, or be taken into consideration in interpreting, this Agreement.

                 SECTION 9.12.         Confidentiality. Each of the Administrative Agent, the Issuing
Banks and the Lenders agrees to maintain the confidentiality of the Information (as defined below),
except that Information may be disclosed (a) to its Affiliates and its and its Affiliates’ respective
directors, trustees, officers, employees and agents, including accountants, auditors, legal counsel and
other advisors who have a need to know such Information in connection with the transactions
contemplated by the Loan Documents (it being understood that the Persons to whom such disclosure is
made will be informed of the confidential nature of such Information and instructed to keep such
Information confidential), (b) to the extent requested by any regulatory authority (including any
self-regulatory authority, such as the National Association of Insurance Commissioners), (c) to the
extent required by Requirement of Law or by any subpoena or similar legal process, (d) to any other
party to this Agreement, (e) in connection with the exercise of any remedies hereunder or any suit, action
or proceeding relating to this Agreement or any other Loan Document or the enforcement of rights
hereunder or thereunder, (f) subject to an agreement containing provisions substantially the same as
those of this Section, to (i) any assignee of or Participant in, or any prospective assignee of or Participant
in, any of its rights or obligations under this Agreement or (ii) any actual or prospective counterparty
(or its advisors) to any swap or derivative transaction relating to the Borrower, its Subsidiaries and their
obligations, (g) with the prior consent of the Borrower, (h) to the extent such Information (i) becomes
publicly available other than as a result of a breach of this Section or (ii) becomes available to the
Administrative Agent, an Issuing Bank or any Lender on a nonconfidential basis from a source other
than the Borrower (which source is not known by such recipient to be in breach of confidentiality
obligations to the Borrower or any Subsidiary), (i) on a confidential basis to any rating agency in
connection with rating the Borrower or its Subsidiaries or the credit facilities provided hereunder, (j) on
a confidential basis to its insurers, reinsurers and insurance brokers, or (k) on a confidential basis to the
CUSIP Service Bureau or any similar agency in connection with the issuance and monitoring of CUSIP
numbers of other market identifiers with respect to the credit facilities provided hereunder. For the
purposes of this Section, “Information” means all information received from a Loan Party or any
Subsidiary relating to the Loan Parties or any Subsidiary or any of their respective businesses, other than
any such information that is available to the Administrative Agent, any Issuing Bank or any Lender on
a nonconfidential basis prior to disclosure by such Loan Party or any Subsidiary (other than any such
information received from a source that is known by such recipient to be in breach of confidentiality
obligations to such Loan Party or any Subsidiary). Any Person required to maintain the confidentiality
of Information as provided in this Section shall be considered to have complied with its obligation to do
so if such Person has exercised the same degree of care to maintain the confidentiality of such
Information as such Person would accord to its own confidential information. In addition, the
Administrative Agent and the Lenders may disclose the existence of this Agreement and information
about this Agreement to market data collectors, similar service providers to the lending industry and
service providers to the Arrangers and the Lenders in connection with the administration of this


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Agreement, the other Loan Documents, and the Commitments, but only to the extent consistent with
information that has previously been publicly disclosed by the Borrower.

               EACH LENDER ACKNOWLEDGES THAT INFORMATION AS
     DEFINED IN SECTION 9.12 FURNISHED TO IT PURSUANT TO THIS AGREEMENT
     MAY INCLUDE MATERIAL NON-PUBLIC INFORMATION CONCERNING THE
     BORROWER AND ITS RELATED PARTIES OR THEIR RESPECTIVE SECURITIES,
     AND CONFIRMS THAT IT HAS DEVELOPED COMPLIANCE PROCEDURES
     REGARDING THE USE OF MATERIAL NON-PUBLIC INFORMATION AND THAT IT
     WILL HANDLE SUCH MATERIAL NON-PUBLIC INFORMATION IN ACCORDANCE
     WITH THOSE PROCEDURES AND APPLICABLE LAW, INCLUDING FEDERAL AND
     STATE SECURITIES LAWS.

               ALL INFORMATION, INCLUDING REQUESTS FOR WAIVERS AND
     AMENDMENTS, FURNISHED BY THE BORROWER OR THE ADMINISTRATIVE
     AGENT PURSUANT TO, OR IN THE COURSE OF ADMINISTERING, THIS
     AGREEMENT WILL BE SYNDICATE-LEVEL INFORMATION, WHICH MAY
     CONTAIN MATERIAL NON-PUBLIC INFORMATION ABOUT THE BORROWER
     AND ITS AFFILIATES, THE LOAN PARTIES AND THEIR RELATED PARTIES OR
     THEIR RESPECTIVE SECURITIES AND ITS SECURITIES. ACCORDINGLY, EACH
     LENDER REPRESENTS TO THE BORROWER AND THE ADMINISTRATIVE AGENT
     THAT IT HAS IDENTIFIED IN ITS ADMINISTRATIVE QUESTIONNAIRE A CREDIT
     CONTACT WHO MAY RECEIVE INFORMATION THAT MAY CONTAIN MATERIAL
     NON-PUBLIC INFORMATION IN ACCORDANCE WITH ITS COMPLIANCE
     PROCEDURES AND APPLICABLE LAW.

                SECTION 9.13.        Several Obligations; Nonreliance; Violation of Law. The respective
obligations of the Lenders hereunder are several and not joint and the failure of any Lender to make any
Loan or perform any of its obligations hereunder shall not relieve any other Lender from any of its
obligations hereunder. Each Lender hereby represents that it is not relying on or looking to any margin
stock for the repayment of the Borrowings provided for herein. Anything contained in this Agreement
to the contrary notwithstanding, neither any Issuing Bank nor any Lender shall be obligated to extend
credit to the Borrower in violation of any Requirement of Law.

                SECTION 9.14.        USA PATRIOT Act. Each of the Administrative Agent, the Issuing
Bank, and each Lender that is subject to the requirements of the USA Patriot Act (Title III of Pub. L.
107-56 (signed into law October 26, 2001)) (the “Act”) hereby notifies each Loan Party that pursuant to
the requirements of the Act, it is required to obtain, verify and record information that identifies such
Loan Party, which information includes the name and address of such Loan Party and other information
that will allow such Lender to identify such Loan Party in accordance with the Act. The Borrower
hereby agrees to provide, and cause each other Loan Party to provide, such information promptly upon
the request of the Administrative Agent or any Lender. Each Lender subject to the Act acknowledges
and agrees that neither such Lender, nor any of its Affiliates, participants or assignees, may rely on the
Administrative Agent to carry out such Lender’s, Affiliate’s, participant’s or assignee’s customer
identification program, or other obligations required or imposed under or pursuant to the USA Patriot
Act or the regulations thereunder, including the regulations contained in 31 CFR 103.121 (as hereafter
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amended or replaced, the “CIP Regulations”), or any other Anti-Terrorism Law, including any
programs involving any of the following items relating to or in connection with any Loan Party, its
Affiliates or its agents, this Agreement, the Loan Documents or the transactions hereunder or
contemplated hereby: (a) any identity verification procedures, (b) any record-keeping, (c) comparisons
with government lists, (d) customer notices, or (e) other procedures required under the CIP Regulations
or such other law.

               SECTION 9.15.       Disclosure. The Borrower and each Lender hereby acknowledges
and agrees that the Administrative Agent and/or its Affiliates from time to time may hold investments
in, make other loans to or have other relationships with any of the Borrower, its Subsidiaries and their
respective Affiliates.

               SECTION 9.16.         Appointment for Perfection. Each Lender hereby appoints each
other Lender as its agent for the purpose of perfecting Liens, for the benefit of the Administrative Agent
and the Holders of Secured Obligations, in assets which, in accordance with Article 9 of the UCC or any
other applicable law can be perfected only by possession. Should any Lender (other than the
Administrative Agent) obtain possession of any such Collateral, such Lender shall notify the
Administrative Agent thereof, and, promptly upon the Administrative Agent’s request therefor shall
deliver such Collateral to the Administrative Agent or otherwise deal with such Collateral in accordance
with the Administrative Agent’s instructions.

                 SECTION 9.17.         Interest Rate Limitation. Notwithstanding anything herein to the
contrary, if at any time the interest rate applicable to any Loan, together with all fees, charges and other
amounts which are treated as interest on such Loan under applicable law (collectively the “Charges”),
shall exceed the maximum lawful rate (the “Maximum Rate”) which may be contracted for, charged,
taken, received or reserved by the Lender holding such Loan in accordance with applicable law, the rate
of interest payable in respect of such Loan hereunder, together with all Charges payable in respect
thereof, shall be limited to the Maximum Rate and, to the extent lawful, the interest and Charges that
would have been payable in respect of such Loan but were not payable as a result of the operation of
this Section shall be cumulated and the interest and Charges payable to such Lender in respect of other
Loans or periods shall be increased (but not above the Maximum Rate therefor) until such cumulated
amount, together with interest thereon at the Federal Funds Rate to the date of repayment, shall have
been received by such Lender.

                SECTION 9.18.         No Advisory or Fiduciary Responsibility. In connection with all
aspects of each transaction contemplated hereby (including in connection with any amendment, waiver
or other modification hereof or of any other Loan Document), the Borrower acknowledges and agrees
that: (i) (A) the arranging and other services regarding this Agreement provided by the Lenders are
arm’s-length commercial transactions between the Borrower and its Affiliates, on the one hand, and the
Lenders and their Affiliates, on the other hand, (B) the Borrower has consulted its own legal, accounting,
regulatory and tax advisors to the extent it has deemed appropriate, and (C) the Borrower is capable of
evaluating, and understands and accepts, the terms, risks and conditions of the transactions contemplated
hereby and by the other Loan Documents; (ii) (A) each of the Lenders and their Affiliates is and has
been acting solely as a principal and, except as expressly agreed in writing by the relevant parties, has
not been, is not, and will not be acting as an advisor, agent or fiduciary for the Borrower or any of its
Affiliates, or any other Person and (B) no Lender or any of its Affiliates has any obligation to the
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Borrower or any of its Affiliates with respect to the transactions contemplated hereby except, in the case
of a Lender, those obligations expressly set forth herein and in the other Loan Documents; and (iii) each
of the Lenders and their respective Affiliates may be engaged in a broad range of transactions that
involve interests that differ from those of the Borrower and its Affiliates, and no Lender or any of its
Affiliates has any obligation to disclose any of such interests to the Borrower or its Affiliates. To the
fullest extent permitted by law, the Borrower hereby waives and releases any claims that it may have
against each of the Lenders and their Affiliates with respect to any breach or alleged breach of agency
or fiduciary duty in connection with any aspect of any transaction contemplated hereby.

               SECTION 9.19.        Release of Subsidiary Guarantors.

                   (a)     A Subsidiary Guarantor shall automatically be released from its obligations
    under the Subsidiary Guaranty upon the consummation of any transaction permitted by this
    Agreement as a result of which such Subsidiary Guarantor ceases to be a Subsidiary; provided that,
    if so required by this Agreement, the Required Lenders shall have consented to such transaction
    and the terms of such consent shall not have provided otherwise. In connection with any
    termination or release pursuant to this Section, the Administrative Agent shall (and is hereby
    irrevocably authorized by each Lender to) execute and deliver to any Loan Party, at such Loan
    Party’s expense, all documents that such Loan Party shall reasonably request to evidence such
    termination or release. Any execution and delivery of documents pursuant to this Section shall be
    without recourse to or warranty by the Administrative Agent.

                   (b)    Further, the Administrative Agent may (and is hereby irrevocably authorized
    by each Lender to), upon the request of the Borrower, release any Subsidiary Guarantor from its
    obligations under the Subsidiary Guaranty if such Subsidiary Guarantor is no longer a Subsidiary
    upon the consummation of a transaction permitted by this Agreement.

                   (c)    At such time as the Secured Obligations (other than Obligations expressly
    stated to survive such payment and termination) shall have been Fully Satisfied, the Subsidiary
    Guaranty and all obligations (other than those expressly stated to survive such termination) of each
    Subsidiary Guarantor thereunder shall automatically terminate, all without delivery of any
    instrument or performance of any act by any Person.

                 SECTION 9.20.       Acknowledgement and Consent to Bail-In of EEA Financial
Institutions. Solely to the extent any Lender or Issuing Bank that is an EEA Financial Institution is a
party to this Agreement and notwithstanding anything to the contrary in any Loan Document or in any
other agreement, arrangement or understanding among any such parties, each party hereto acknowledges
that any liability of any Lender or Issuing Bank that is an EEA Financial Institution arising under any
Loan Document, to the extent such liability is unsecured, may be subject to the write-down and
conversion powers of an EEA Resolution Authority and agrees and consents to, and acknowledges and
agrees to be bound by:

                   (a)      the application of any Write-Down and Conversion Powers by an EEA
    Resolution Authority to any such liabilities arising hereunder which may be payable to it by any
    party hereto that is an EEA Financial Institution; and

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                   (b)     the effects of any Bail-in Action on any such liability, including, if
    applicable:

                            (i)     a reduction in full or in part or cancellation of any such liability;

                            (ii)    a conversion of all, or a portion of, such liability into shares or other
            instruments of ownership in such EEA Financial Institution, its parent undertaking, or a
            bridge institution that may be issued to it or otherwise conferred on it, and that such shares
            or other instruments of ownership will be accepted by it in lieu of any rights with respect
            to any such liability under this Agreement or any other Loan Document; or

                            (iii) the variation of the terms of such liability in connection with the
            exercise of the write-down and conversion powers of any EEA Resolution Authority.

              SECTION 9.21.         Construction; Independence of Covenants.

                   (a)      The Borrower, each other Loan Party (by its execution of the Loan
    Documents to which it is a party), the Administrative Agent and each Lender acknowledges that
    each of them has had the benefit of legal counsel of its own choice and has been afforded an
    opportunity to review the Loan Documents with its legal counsel and that the Loan Documents
    shall be construed as if jointly drafted by the parties thereto.

                    (b)     All covenants and other agreements contained in this Agreement or any
    other Loan Document shall be given independent effect so that, if a particular action or condition
    is not permitted by any of such covenants or other agreements, the fact that such action or condition
    would be permitted by an exception to, or otherwise be within the limitations of, another covenant
    or other agreement shall not avoid the occurrence of a Default if such action is taken or such
    condition exists.

               SECTION 9.22.        Acknowledgement Regarding Any Supported QFCs. To the extent
that the Loan Documents provide support, through a guarantee or otherwise, for Swap Agreements or
any other agreement or instrument that is a QFC (such support, “QFC Credit Support” and each such
QFC a “Supported QFC”), the parties acknowledge and agree as follows with respect to the resolution
power of the Federal Deposit Insurance Corporation under the Federal Deposit Insurance Act and Title
II of the Dodd-Frank Wall Street Reform and Consumer Protection Act (together with the regulations
promulgated thereunder, the “U.S. Special Resolution Regimes”) in respect of such Supported QFC and
QFC Credit Support (with the provisions below applicable notwithstanding that the Loan Documents
and any Supported QFC may in fact be stated to be governed by the laws of the State of New York
and/or of the United States or any other state of the United States):

                    (a)     in the event a Covered Entity that is party to a Supported QFC (each, a
    “Covered Party”) becomes subject to a proceeding under a U.S. Special Resolution Regime, the
    transfer of such Supported QFC and the benefit of such QFC Credit Support (and any interest and
    obligation in or under such Supported QFC and such QFC Credit Support, and any rights in property
    securing such Supported QFC or such QFC Credit Support) from such Covered Party will be
    effective to the same extent as the transfer would be effective under the U.S. Special Resolution
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    Regime if the Supported QFC and such QFC Credit Support (and any such interest, obligation and
    rights in property) were governed by the laws of the United States or a state of the United States.
    In the event a Covered Party or a BHC Act Affiliate of a Covered Party becomes subject to a
    proceeding under a U.S. Special Resolution Regime, Default Rights under the Loan Documents
    that might otherwise apply to such Supported QFC or any QFC Credit Support that may be
    exercised against such Covered Party are permitted to be exercised to no greater extent than such
    Default Rights could be exercised under the U.S. Special Resolution Regime if the Supported QFC
    and the Loan Documents were governed by the laws of the United States or a state of the United
    States. Without limitation of the foregoing, it is understood and agreed that rights and remedies of
    the parties with respect to a Defaulting Lender shall in no event affect the rights of any Covered
    Party with respect to a Supported QFC or any QFC Credit Support.

                   (b)    As used in this Section 9.22, the following terms have the following
    meanings:

                    “BHC Act Affiliate” of a party means an “affiliate” (as such term is defined under,
            and interpreted in accordance with, 12 U.S.C. 1841(k)) of such party.

                    “Covered Entity” means any of the following:

                   (i)    a “covered entity” as that term is defined in, and interpreted in accordance
            with, 12 C.F.R. § 252.82(b);

                   (ii)   a “covered bank” as that term is defined in, and interpreted in accordance
            with, 12 C.F.R. § 47.3(b); or

                   (iii) a “covered FSI” as that term is defined in, and interpreted in accordance
            with, 12 C.F.R. § 382.2(b).

                   “Default Right” has the meaning assigned to that term in, and shall be interpreted
            in accordance with, 12 C.F.R. §§ 252.81, 47.2 or 382.1, as applicable.

                    “QFC” has the meaning assigned to the term “qualified financial contract” in, and
            shall be interpreted in accordance with, 12 U.S.C. 5390(c)(8)(D).

              SECTION 9.23.         Orders. The Loan Parties, the Administrative Agent, the Issuing
Banks and the Lenders hereby expressly agree that in the event of any conflict between this Agreement
and the Orders, the Orders shall control.

                                         [Signature Pages Follow]




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              IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
duly executed by their respective authorized officers as of the day and year first above written.

 BORROWER:                                    DEAN FOODS COMPANY,
                                              as the Borrower


                                              By:
                                                       Name:
                                                       Title:




                                         Signature Page to
                                         Credit Agreement
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ISSUING BANK AND                   COÖPERATIEVE RABOBANK U.A., NEW
ADMINISTRATIVE AGENT:              YORK BRANCH, an Issuing Bank and
                                   Administrative Agent


                                   By:
                                            Name:
                                            Title:


                                   By:
                                            Name:
                                            Title:




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LENDERS:                           COÖPERATIEVE RABOBANK U.A., NEW
                                   YORK BRANCH, as a Lender


                                   By:
                                            Name:
                                            Title:


                                   By:
                                            Name:
                                            Title:




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                                 [●], as a Lender


                                 By:
                                          Name:
                                          Title:




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                                 [●], as a Lender


                                 By:
                                          Name:
                                          Title:




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                                 [●], as a Lender


                                 By:
                                          Name:
                                          Title:




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                                 [●], as a Lender


                                 By:
                                          Name:
                                          Title:




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Dean Foods                                                                                                                                                                                             HIGHLY CONFIDENTIAL
Exhibit 2: DIP Budget                                                                                                                                                                                               DRAFT
$ in millions

Forecast
Week Ending                      15-Nov         22-Nov         29-Nov         6-Dec          13-Dec         20-Dec         27-Dec            3-Jan       10-Jan         17-Jan         24-Jan      31-Jan             7-Feb       Period
Week #                               1              2              3              4              5              6              7              8              9              10             11          12              13             Total


Operating Cash Receipts          $   119        $   121        $   134        $   138        $   143        $   149        $   157       $     145       $   139        $    145       $    127    $    108       $     143       $ 1,767
Operating Disbursements                  (13)           (83)           (76)           (89)       (103)          (194)          (130)              (89)           (70)       (237)          (174)        (103)            (96)         (1,458)


  Net Operating Cashflows        $   106        $       37     $       58     $       49     $       40     $       (45) $         27    $        56     $       68     $    (92) $         (47) $          5     $         47    $     309

Ch 11. & Other Disbursements         (121)              (82)           (68)           (19)           (13)           (10)           (6)             (4)            (3)            (4)        -               (7)             (2)         (338)

  Total Net Cash Flow            $       (15) $         (45) $         (10) $         30     $       27     $       (55) $         21    $        51     $       66     $    (96) $         (47) $          (2) $           45    $      (29)
